Case 8:20-bk-13014-ES         Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55               Desc
                               Main Document    Page 1 of 392


 1 D. EDWARD HAYS, #162507
   ehays@marshackhays.com
 2 TINHO MANG, #322146
   tmang@marshackhays.com
 3 MARSHACK HAYS LLP
   870 Roosevelt
 4 Irvine, California 92620
   Telephone: (949) 333-7777
 5 Facsimile: (949) 333-7778

 6 Attorneys for Chapter 7 Trustee,
   RICHARD A. MARSHACK
 7

 8                              UNITED STATES BANKRUPTCY COURT
 9                 CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
10
     In re                                                 Case No. 8:20-bk-13014-ES
11
     NORTHERN HOLDING, LLC,                                Chapter 7 (converted)
12
                    Debtor.                                NOTICE AND APPLICATION FOR
13                                                         ISSUANCE OF AN ORDER TO SHOW
                                                           CAUSE RE: CIVIL CONTEMPT FOR
14                                                         WILLFUL VIOLATION OF AUTOMATIC
                                                           STAY AND THE COURT’S FARM
15                                                         OPERATOR ORDER; MEMORANDUM
                                                           OF POINTS AND AUTHORITIES;
16                                                         DECLARATIONS OF RICHARD A.
                                                           MARSHACK, TINHO MANG, AND LORI
17                                                         ENSLEY; REQUEST FOR JUDICIAL
                                                           NOTICE
18
                                                           [HEARING NOT REQUIRED –
19                                                         LBR 9020-1(D)]
20 TO THE HONORABLE ERITHE A. SMITH, UNITED STATES BANKRUPTCY JUDGE, THE

21 OFFICE OF THE UNITED STATES TRUSTEE, AND ALL INTERESTED PARTIES:

22           PLEASE TAKE NOTICE that Richard A. Marshack, the duly-appointed and acting chapter 7
23 trustee (“Trustee”) of the bankruptcy estate (“Estate”) of Northern Holding, LLC (“Debtor”)

24 respectfully submits this application for issuance of an order to show cause re: civil contempt

25 pursuant to Local Bankruptcy Rule 9020-1. The alleged contemnor is LeRoy E. Codding IV

26 (“Codding”), in his individual capacity and as the manager of any other entity including Rabbit

27 Ridge Wine Sales, Inc. (“RR”) unlawfully receiving money constituting cash collateral and property

28 of the Estate. On September 7, 2021, as Dk. No. 211, the Court entered a Farm Operator Order

                                             1
     NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES        Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                Desc
                              Main Document    Page 2 of 392


 1 authorizing Trustee to conduct a limited scope farming operation to cultivate and harvest wine grape

 2 crops growing on Estate properties through an authorized farm operator, Codding, in his individual

 3 capacity. The order provided that all proceeds of crops sold would be “paid directly to the Estate”

 4 and Codding agreed to cancel all existing grape purchase agreements and direct the funds to be paid

 5 to Trustee. Rather than obey the Court’s order, Codding engaged in a pattern of deceiving Trustee

 6 and concealing at least a half-dozen known contracts, and – only after a confused customer contacted

 7 Trustee to ask why Codding was demanding payment be made to him – ultimately admitted to

 8 receiving no less than $140,000 in diverted grape proceeds. Based on Codding’s conversion of

 9 Estate property, he violated a specific and definite order of the Court and violated the automatic stay

10 of 11 U.S.C. § 362 (which also forms the basis for a finding of contempt). As such, Codding is not

11 entitled to any claim whatsoever against the Estate pursuant to 11 U.S.C. § 502(d). Codding must be

12 required to appear before the Court and show cause why he, intentionally and with full knowledge of

13 the existence of the automatic stay and the Farm Operator Order, chose to ignore the orders and

14 convert money for his own personal benefit. Codding must also be ordered to account for all Estate

15 property and proceeds to ensure that no further conversion has occurred.

16         NOTICE IS FURTHER GIVEN that any opposition to the issuance of the requested order to
17 show cause and other requested relief must be filed within seven days after service of the motion for

18 order to show cause. LBR 9020-1(b). Failure to timely file a response may be treated by the Court as

19 consent to the issuance of the order to show cause. See LBR 9020-1(d)(1). Additionally, the Court

20 may enter an order to show cause at any time under its inherent sanctions authority and in its broad

21 discretion, notwithstanding the opposition period for a motion for order to show cause contained in

22 the Local Rules.

23         NOTICE IS FURTHER GIVEN that the Motion requests the issuance of an order to show
24 cause which shall be lodged concurrently with the Motion.

25         NOTICE IS FURTHER GIVEN that the Application requests the issuance of appropriate
26 sanctions against any party found in contempt including, but not limited to: Imposition of

27 compensatory damages incurred by the Estate, including the actual unlawful receipt of proceeds

28 constituting property of the Estate, attorneys’ fees and costs incurred by Trustee in connection with

                                             2
     NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES        Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                Desc
                              Main Document    Page 3 of 392


 1 addressing Codding’s contumacious conduct, disallowance of any claim for reimbursement by

 2 Codding against the Estate for services rendered or costs incurred, and requests for entry of further

 3 orders regarding Codding’s breaches of the Court’s existing orders. Since his theft was discovered,

 4 Trustee sought to amicably negotiate with Codding to provide an accounting and turnover of the

 5 money and to determine whether Codding was in fact entitled to any reimbursements. Rather than

 6 cooperate, Codding has now threatened to sue, discredit, and report Trustee to state, local, and

 7 federal authorities. No action may be taken against Trustee for his administration of the Estate

 8 except through leave of the Court pursuant to the Barton doctrine.

 9

10 Dated: April 1, 2022                        MARSHACK HAYS LLP
11
                                               By: /s/ D. Edward Hays
12                                                  D. EDWARD HAYS
                                                    TINHO MANG
13                                                  Attorneys for Chapter 7 Trustee,
                                                    RICHARD A. MARSHACK
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                             3
     NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES                      Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                                 Desc
                                            Main Document    Page 4 of 392


 1                                                           TABLE OF CONTENTS
 2 1.           Summary of Argument ..............................................................................................................4
 3
     2.         Factual Background ...................................................................................................................7
 4
                A.         Pre-Petition ....................................................................................................................7
 5
                B.         The Bankruptcy Case .....................................................................................................7
 6
                C.         Farm Operator Agreement & Drilling Motion...............................................................9
 7
                D.         Trustee’s Discovery and Investigation of Codding’s Contempt. .................................11
 8
                E.         Known Unpaid Vendors ..............................................................................................15
 9
     3.         Legal Argument .......................................................................................................................16
10

11              A.         All proceeds of grape crops grown on Estate property are property of the
                           Estate. ...........................................................................................................................16
12
                B.         Codding willfully violated the Operate Order. ............................................................16
13
                C.         Codding willfully violated the Turnover Order. ..........................................................17
14
                D.         Codding’s misappropriation of funds also violates the automatic stay. ......................18
15
                E.         A responding party must raise a fair ground of doubt in order to avoid liability
16                         for civil contempt. ........................................................................................................19
17
                F.         Trustee may recover compensatory damages and the Court may issue
18                         appropriate coercive sanctions including compensatory damages. .............................19

19              G.         Any claim for reimbursement by Codding must be disallowed under 11 U.S.C.
                           § 502(d) unless and until he has returned all diverted Estate property. .......................20
20
                H.         Further Court Orders are appropriate in light of Codding’s litigation threats. ............21
21
     4.         Conclusion ...............................................................................................................................22
22

23 Declaration of Richard A. Marshack ...................................................................................................24

24 Declaration of Tinho Mang ..................................................................................................................29

25 Declaration of Lori J. Ensley ...............................................................................................................32

26 REQUEST FOR JUDICIAL NOTICE ................................................................................................33

27

28

                                               i
       NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES                  Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                            Desc
                                        Main Document    Page 5 of 392


 1                                                   TABLE OF AUTHORITIES
 2 Cases

 3 America’s Servicing Co. v. Schwartz-Tallard (In re Schwartz-Tallard),

 4    803 F.3d 1095, 1100-01 (9th Cir. 2015 .......................................................................................... 19
 5 Barton v. Barbour,

 6    104 U.S. 126 (1886)] ...................................................................................................................... 21
 7 Brace v. Speier (In re Brace),

 8    2019 Bankr. LEXIS 80 at *21 (B.A.P. 9th Cir. 2019).................................................................... 20
 9 California Artificial Stone Paving Co. v. Molitor,

10    113 U.S. 609, 618 (1885) ............................................................................................................... 19
11 Chambers v. NASCO, Inc.,

12    501 U.S. 32, 44 (1991) ................................................................................................................... 20
13 City of Chicago v. Fulton,

14    141 S.Ct. 585, 589 (2021) .............................................................................................................. 18
15 Dyer,

16    322 F.3d at 1192 ....................................................................................................................... 19, 20
17 Eaconomy, LLC v. Auvoria Prime, LLC,

18     482 F.Supp.3d 1030, 1032 (E.D. Cal. 2020) ................................................................................. 16
19 Fulton,

20    141 S.Ct. 585, 589-90 (2021) ......................................................................................................... 18
21 Go-Video v. Motion Picture Association of America (In re Dual-Deck Video Cassette Recorder

22    Antitrust Litigation),
23    10 F.3d 693, 695 (9th Cir. 1993) .................................................................................................... 16
24 In re Crown Vantage,

25    421 F.3d at 970 ......................................................................................................................... 21, 22
26 In re Hofstee,

27    1991 Bankr. LEXIS 914 at *12-13 (B.A.P. 9th Cir. January 25, 1991) ......................................... 16
28

                                             ii
     NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES                     Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                             Desc
                                           Main Document    Page 6 of 392


 1 In re Yellowstone Mountain Club, LLC,

 2        841 F.3d 1090, 1094 (9th Cir. 2016) .............................................................................................. 21
 3 Labor/Community Strategy Ctr. v. Los Angeles County Metropolitan Transportation Authority,

 4       564 F.3d 1115, 1123 (9th Cir. 2009) .............................................................................................. 16
 5 MicroAge, Inc. v. Viewsonic Corp. (In re MicroAge, Inc.),

 6       291 B.R. 503, 514 (B.A.P. 9th Cir. 2002) ...................................................................................... 21
 7 Movitz v. Baker (In re Triple Star Welding, Inc.),

 8       324 B.R. 778, 794 (B.A.P. 9th Cir. 2005) ...................................................................................... 21
 9 Price v. Lehtinen (In re Lehtinen),

10       564 F.3d 1052, 1058-59 (9th Cir. 2009 .......................................................................................... 20
11 Satterfield v. Malloy,

12       700 F.3d 1231, 1234 (10th Cir. 2012) ............................................................................................. 21
13 Stuart v. City of Scottsdale (In re Stuart),

14       632 B.R. 531, 543 (B.A.P. 9th Cir. 2021) ...................................................................................... 18
15 Taggart v. Lorenzen,

16       139 S.Ct. 1795, 1801-02 (2019 ...................................................................................................... 19
17 Taggart,

18       139 S.Ct. at 1802 ............................................................................................................................ 19
19 Statutes

20 11 U.S.C. § 362(a)(3).......................................................................................................................... 18

21 11 U.S.C. § 502(d) .............................................................................................................................. 21

22 11 U.S.C. § 503(b)(1)(A) .................................................................................................................... 21

23 11 U.S.C. § 522(f) ............................................................................................................................... 20

24 11 U.S.C. § 522(h) .............................................................................................................................. 20

25 11 U.S.C. § 522(i) ............................................................................................................................... 21

26 11 U.S.C. § 541(a) .............................................................................................................................. 16

27 11 U.S.C. § 541(a)(1).......................................................................................................................... 16

28 11 U.S.C. § 541(a)(6).......................................................................................................................... 16

                                               iii
        NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES                     Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                            Desc
                                           Main Document    Page 7 of 392


 1 11 U.S.C. § 542 ....................................................................................................................... 18, 20, 21

 2 11 U.S.C. § 543 ............................................................................................................................. 20, 21

 3 11 U.S.C. § 544 ................................................................................................................................... 20

 4 11 U.S.C. § 545 ................................................................................................................................... 20

 5 11 U.S.C. § 547 ................................................................................................................................... 20

 6 11 U.S.C. § 548 ................................................................................................................................... 20

 7 11 U.S.C. § 549 ............................................................................................................................. 20, 21

 8 11 U.S.C. § 550 ............................................................................................................................. 20, 21

 9 11 U.S.C. § 553 ............................................................................................................................. 20, 21

10 11 U.S.C. § 724(a) .............................................................................................................................. 20

11 Rules

12 LBR 9020-1(b) ...................................................................................................................................... 2

13 LBR 9020-1(d)(1) ................................................................................................................................. 2

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                               iv
        NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES        Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                Desc
                              Main Document    Page 8 of 392


 1                            Memorandum of Points and Authorities
 2 1.      Summary of Argument
 3         A bankruptcy court has inherent and civil contempt powers to enforce compliance with its
 4 orders. In this case, Trustee was appointed upon conversion of a Chapter 11 case in the middle of the

 5 growing season for hundreds of acres of vineyard crops in Paso Robles, California. Left with no

 6 other viable options, and the refusal of the secured creditor Farm Credit West, FCLA (“FCW”) to

 7 fund any farming operations to preserve the value of the crops, Trustee negotiated an agreement with

 8 Codding, individually, for Codding to serve as the temporary farm operator and to advance all direct

 9 farming expenses. Codding was the pre-conversion managing member of Debtor and was intimately

10 familiar with the farming operations.

11         Unfortunately, Codding abused his position of trust and confidence, and directly violated the
12 Court’s order directing all proceeds of crop to be deposited with Trustee. Codding intentionally

13 concealed his diversion of funds and has thus far refused to provide a complete accounting to

14 Trustee. Trustee must preserve and enforce the Estate’s rights to the diverted funds of approximately

15 $140,000 or more and respectfully requests issuance of an order to show cause. Under the Farm

16 Operator Order, Trustee had the right to reimburse Codding for his actual services and expenditures.

17 But, despite Trustee’s requests, Codding has not yet provided sufficient information to determine at

18 this time the amount of his alleged administrative claim. Pursuant to a written agreement signed by

19 Codding after the unauthorized diversion was discovered by Trustee, Codding claimed up to

20 $232,000 in advanced expenses as reimbursements. In the event Codding is allowed any

21 administrative claim, Trustee retains the right to offset or reduce such claim by the funds already

22 taken by Codding.

23         The Court’s order approving limited operations under 11 U.S.C. § 721 and a farm operator
24 agreement between Trustee and Codding individually, entered on September 7, 2021, as Docket No.

25 211 (defined below as “Operate Order”) specifically contained the following language:

26            Trustee is authorized to operate the Debtor’s business through Leroy Codding for the
27             limited purpose of completing the Fall 2021 harvest pursuant to 11 U.S.C. § 721 to the
28

                                             4
     NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES           Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                    Desc
                                 Main Document    Page 9 of 392


 1               extent necessary to complete the fall 2021 harvest, with such authorization to terminate at
 2               the earliest of: (a) completion of the fall 2021 harvest; or (b) October 31, 2021;
 3              Trustee is authorized to cancel all currently existing grape sales agreements and to
 4               renegotiate all such agreements, including entering into and executing any reasonably
 5               prudent subsequent grape sales agreements without further order of the Court;
 6              The proceeds of all sales of agricultural products (“Crop”) grown on: (1) 2380 Live Oak
 7               Road, Paso Robles, CA; (2) 1172 San Marcos Road, Paso Robles, CA; and (3) APN 027-
 8               145-022 (collectively, the “Properties”) shall be paid directly to the Estate and the
 9               Trustee is authorized to receive and hold all gross proceeds of the sale of any Crop…
10           Codding breached the farm operator agreement,1 and violated the Operate Order and the
11 automatic stay of 11 U.S.C. § 362 by, among other things:

12              Entering into contracts to sell grapes where the listed seller to the contract was an entity
13               other than the Trustee, such as Rabbit Ridge Wine Sales, Inc. (a company owned by
14               Codding) and failing to disclose both the contract and the receipt of the proceeds, which
15               he kept and placed into his or his entities’ bank accounts
16              Failing to disclose all existing grape purchase agreements to Trustee, and failing to cancel
17               all existing grape purchase agreements (Agreement, ¶ 6) and present for review to
18               Trustee such that Trustee could negotiate the terms of such agreements
19              Failing to provide proof of workers compensation insurance and compliance with tax
20               withholding obligations (Agreement, ¶ 8)
21              Failing to provide Trustee with a weekly list of expenses (Agreement, ¶ 10)
22              Failing to provide Trustee with documentation sufficient to substantiate his demands for
23               reimbursement of expenses during the period of authorized operations (Agreement, ¶ 10)
24              Exceeding the access authorization paragraphs by processing and bottling wine on Estate
25               property and using winemaking equipment and, upon information and belief, selling wine
26               inventory. (Agreement pg. 2 – “Access” paragraphs)
27

28   1
      As discussed below, attached to the Request for Judicial Notice as Exhibit “3” and the approved, executed
     agreement can be found on internal Exhibit 1, starting on page 19 of 70.
                                                 5
         NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES        Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                  Desc
                             Main Document    Page 10 of 392


 1            Diverting and concealing as many as 80 tons (160,000 pounds) or more of grape crop
 2             which were delivered to third-party purchasers without the knowledge and consent of
 3             Trustee. (11 U.S.C. § 362(a)(3)). To be clear, Codding took grapes constituting Estate
 4             property, sold such Estate property, pocketed the proceeds, and did not disclose any of
 5             the above to the Trustee. Trustee only learned of this conversion several months later
 6             when a third-party purchaser contacted Trustee directly
 7            Receiving and retaining payments from third-party purchasers of at least $140,000
 8             derived from the sale of the Estate’s Crops without disclosing such payments to Trustee
 9             and without any intent of remitting such funds to the Estate consistent with the Court’s
10             order. (Operate Order, ¶ 5; 11 U.S.C. § 362(a)(3))
11            Without the knowledge and consent of Trustee, personally negotiating grape purchase
12             agreements with third-party purchasers and seeking to collect such monies for the benefit
13             of himself or his related entities to the detriment of the Estate. (Operate Order, ¶ 5; 11
14             U.S.C. § 362(a)(3))
15 Codding’s actions severely damaged the Estate and he abused his position of trust with the Court and

16 Trustee. To date, it remains unknown whether Codding diverted or concealed any more grape sales

17 than have been discovered to date because he continually disclosed that the crop was worth in excess

18 of $700,000 but Trustee has only received gross proceeds of around $240,000 with no expectation of

19 any further payments from known third-party purchasers. Between the funds received by Trustee and

20 the funds Codding admitted to receiving, there remains a discrepancy of $300,000 or more which

21 has never been sufficiently explained to Trustee. Because Codding has refused to provide Trustee

22 with information sufficient for him to make any distributions from the cash collateral grape

23 proceeds, Trustee has no choice but to seek an order compelling Codding to appear and show cause

24 why he has violated the Court’s order and Section 362(a)(3).

25         Furthermore, because Codding has threatened to assert an administrative priority claim or file
26 lawsuits against Trustee for the alleged non-payment of demanded reimbursements, Trustee seeks a

27 determination that Section 502(d) of the Bankruptcy Code automatically disallows any potential

28 claim for reimbursement by Codding unless and until he returns all misappropriated funds to the

                                             6
     NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES          Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                   Desc
                               Main Document    Page 11 of 392


 1 Estate and fully accounts for the disposition of all estate property. Finally, Trustee seeks entry of a

 2 further court order prohibiting him from taking any further actions to damage the Estate, exercise

 3 control over estate property, or file litigation in non-bankruptcy forums.

 4 2.        Factual Background
 5           A.     Pre-Petition
 6           Erich Russell was the former owner and operator of Rabbit Ridge Winery (“Rabbit Ridge”),
 7 which was as of October 2020 located at 1172 San Marcos Road, Paso Robles, CA (“San Marcos

 8 Property”). To finance his business operations, Mr. Russell borrowed substantial sums of money

 9 from Farm Credit West, FLCA (previously defined as “FCW”), and these loans were secured by

10 certain assets including substantially all assets of Rabbit Ridge and three real properties.2

11           Mr. Russell defaulted on the loan obligations and, to stave off foreclosure, filed an individual
12 Chapter 11 case, initiating bankruptcy case number 9:20-bk-10035-DS (“Individual Case”). On June

13 19, 2020, the Individual Case was dismissed for cause.

14           A subsequent foreclosure sale for the Properties was scheduled by FCW for October 29,
15 2020. Prior to the foreclosure date, Mr. Russell and FCW continued to discuss a possible forbearance

16 and an extension of the foreclosure date.

17           On or about October 28, 2020, Mr. Russell signed quitclaim deeds transferring the Properties
18 to Debtor. These quitclaim deeds were recorded on the same date. Additionally, ownership and

19 control of Rabbit Ridge passed to LeRoy Codding (previously defined as “Codding”). The

20 bankruptcy petition was filed the same day.

21           B.     The Bankruptcy Case
22           On October 28, 2020 (“Petition Date”), Northern Holding, LLC, a Minnesota limited liability
23 company (previously defined as “Debtor”) filed a voluntary petition under Chapter 11 of Title 11 of

24

25
     2
     These three real properties are: (1) the San Marcos Property; (2) 2380 Live Oak Road, Paso Robles, CA
26
   (“Live Oak Property”), and (3) real property identified as APN 027-145-022 in Paso Robles, CA (“Texas
27 Road Property”). The Live Oak Property, San Marcos Property and Texas Road Property are collectively
   referred to as “Properties.” The Live Oak Property included approximately 170 acres of vineyards and a
28 manor-style residence. The San Marcos Property includes approximately 150 acres of vineyards and a 45,000
   square foot winery facility. The Texas Road Property consists of approximately 150 acres of vineyards and is
   adjoining to the San Marcos Property.
                                                 7
         NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES          Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55              Desc
                               Main Document    Page 12 of 392


 1 the United States Code. Debtor’s managing member was Codding. A true and correct copy of the

 2 bankruptcy petition is attached to the Request for Judicial Notice (“RJN”) as Exhibit “1.”

 3         On October 29, 2020, as Dk. No. 5, FCW filed a notice of continuation of perfection of
 4 security interest and demand to sequester cash collateral. No motion or stipulation for the use of cash

 5 collateral was ever filed by Debtor. Trustee is informed by FCW that no consent to use cash

 6 collateral was even given to Debtor by FCW.

 7         On November 6, 2020, as Dk. No. 11, FCW filed a motion for relief from the automatic stay
 8 regarding the Properties.

 9         On March 18, 2021, a proof of claim was filed on behalf of the County of San Luis Obispo
10 related to unpaid property taxes. The majority of the claim in excess of $3 million relates to the San

11 Marcos Property.

12         On June 15, 2021, the case was converted to Chapter 7. Richard A. Marshack was appointed
13 as the Chapter 7 trustee.

14         On July 28, 2021, as Dk. No. 159, Trustee filed a notice of assets. The Court set a claims bar
15 date of November 1, 2021 (“Bar Date”). By the Bar Date, only eight proofs of claim had been filed,

16 and only one proof of claim was filed as a partial general unsecured claim – the claim by the

17 Franchise Tax Board in the amount of $10,297.92 (priority claim: $3,529.47). All other claims were

18 filed as secured claims.

19         On August 9, 2021, as Dk. No. 184, Trustee filed a stipulation signed by Codding in his
20 capacity as “Chief Executive Officer of RABBIT RIDGE WINE SALES, INC.” regarding turnover

21 of the Properties and the cancellation of day-of-petition lease agreements entered into between

22 Debtor and Rabbit Ridge (“Turnover Stipulation”). A true and correct copy of the Turnover

23 Stipulation is attached to the RJN as Exhibit “2.”

24         On August 23, 2021, as Dk. No. 196, the Court entered an order approving the Turnover
25 Stipulation (“Turnover Order”). A true and correct copy of the Turnover Order is attached to the

26 RJN as Exhibit “3.”

27         Among other things, the Turnover Order provided that: “Rabbit Ridge shall vacate and turn
28 over possession of the [San Marcos] Property and all keys, gate openers, and all other methods of

                                             8
     NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES         Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                  Desc
                              Main Document    Page 13 of 392


 1 access to the Property to the Trustee on or before midnight on July 31, 2021.” See Turnover Order

 2 [Dk. 196] at 2, ¶ 2. Additionally, the Turnover Order provided that “Rabbit Ridge shall not remove,

 3 destroy, disturb, or tamper with any of the following: furniture, fixtures including trade fixtures,

 4 inventory, agricultural assets such as crops, vines, seeds, and raw and unfinished products, wine

 5 barrels and casks, machinery and equipment (including but not limited to bottling and processing

 6 equipment), materials, and ingredients of any kind.” Id. at ¶ 6.3

 7           On December 20, 2021, as Dk. No. 264, Trustee filed a motion to approve settlement and
 8 partial subordination agreement with FCW, where FCW consented to certain terms for the sale of the

 9 Properties and to resolve issues under 11 U.S.C. § 506(c) regarding preservation of its collateral

10 (“Compromise Motion”).

11           On January 14, 2022, as Dk. No. 276, the Court entered an order granting the Compromise
12 Motion.

13           On January 19, 2022, as Dk. No. 278, Trustee filed a motion seeking authorization to sell the
14 Live Oak Property to Riboli Paso Robles, LLC, for the initial bid price of $9,100,000 (“Live Oak

15 Sale Motion”).

16           On March 4, 2022, as Dk. No. 292, the Court entered an order granting the Live Oak Sale
17 Motion.

18           The Court-approved sale of the Live Oak Property closed on March 15, 2022.
19           C.     Farm Operator Agreement & Drilling Motion
20           Upon Trustee’s appointment, he was presented with a growing problem. Specifically, on the
21 hundreds of acres of Debtor’s farmland, thousands of grape vines were growing without any consent

22 to use cash collateral, no debtor-in-possession financing, and no institutional knowledge at the

23 Trustee’s office regarding how to cultivate, maintain, harvest, and sell agricultural goods, especially

24

25
     3
    On December 15, 2021, a demand letter was sent on behalf of Rabbit Ridge claiming that it “was, and has
26
   been for quite some time, lawfully in possession of the [San Marcos Property]” and falsely claiming that
27 FCW locked Rabbit Ridge out of the San Marcos Property. A true and correct copy of the December 15, 2021
   demand letter is attached to the Mang Declaration as Exhibit “10.” After receipt of the letter, Trustee’s
28 counsel contacted Mr. Lambirth, the attorney sending the letter, and informed Mr. Lambirth that FCW was
   not in control of the property, but the Trustee, enforcing the Turnover Order. Mr. Lambirth appears to have
   immediately withdrawn as counsel for Rabbit Ridge as a result.
                                                 9
         NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES        Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                Desc
                             Main Document    Page 14 of 392


 1 within the Paso Robles area. Without any interest from FCW to fund any collateral preservation

 2 efforts, Trustee negotiated a farm operator agreement (“Farm Operator Agreement”) with Codding

 3 where Codding agreed to advance all cultivation costs in exchange for reimbursement and

 4 compensation upon a successful harvest. The Farm Operator Agreement was negotiated by Trustee

 5 based, in large part, on repeated representations from Codding that he was solvent, could fund

 6 operations, and was willing to work and comply with the terms stated in the Farm Operator

 7 Agreement. Trustee would later come to learn that these representations were false and Codding

 8 probably never had any intent to abide by the terms of the Farm Operator Agreement.

 9         On August 9, 2021, as Dk. No. 186, Trustee filed a motion to approve the Farm Operator
10 Agreement and to authorize operations at the Properties for the limited purpose and scope of

11 completing the Fall 2021 harvest with the assistance of a farm operator (“Operate Motion”). The

12 Operate Motion acknowledged that FCW had a blanket lien on all collateral and proceeds of crop.

13 See Operate Motion [Dk. 186] at 10-11. Because the proceeds of crop constituted FCW’s cash

14 collateral, as discussed in the Operate Motion, it was imperative that all proceeds be deposited

15 directly with Trustee and any expense reimbursements be subject to the oversight of the Court.

16         In connection with the filing of the Operate Motion, Trustee negotiated a stipulation with
17 FCW where FCW consented to the expenditure and use of its cash collateral in order to reimburse

18 operating expenses, which terms were read into the record at the hearing on the Operate Motion and

19 incorporated into the order approving the Operate Motion.

20         On September 7, 2021, as Dk. No. 211, the Court entered an order approving the Operate
21 Motion (“Operate Order”). The Operate Order included, inter alia, the following directives:

22            Trustee is authorized to cancel all currently existing grape sales agreements and to
23             renegotiate all such agreements, including entering into and executing any reasonably
24             prudent subsequent grape sales agreements without further order of the Court;
25            The proceeds of all sales of agricultural products (“Crop”) grown on: (1) 2380 Live Oak
26             Road, Paso Robles, CA; (2) 1172 San Marcos Road, Paso Robles, CA; and (3) APN 027-
27             145-022… shall be paid directly to the Estate and the Trustee is authorized to receive and
28             hold all gross proceeds of the sale of any Crop from the Properties to be disbursed…

                                            10
     NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES           Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                    Desc
                                Main Document    Page 15 of 392


 1 Operate Order, ¶¶ 4-5. A copy of the Operate Order was provided to Codding and he was directed to

 2 cancel all existing grape contracts and rewrite them in favor of payment to the Estate, as required by

 3 the Operate Order. As discussed below, Trustee later discovered that Codding knowingly and

 4 intentionally disobeyed the Operate Order and diverted Estate funds to his own entities until he was

 5 caught red-handed.

 6           D.     Trustee’s Discovery and Investigation of Codding’s Contempt.
 7           Initially, after entry of the Operate Order, Codding failed to provide the Trustee with any
 8 information on outstanding grape purchase contracts. On October 5, 2021, Trustee sent an e-mail to

 9 Codding memorializing a conversation between himself and Codding where Codding admitted to

10 shipping out grapes without Trustee’s authorization and without a signed contract by Trustee for sale

11 of those grapes. A true and correct copy of the email dated October 5, 2021, is attached to the

12 Declaration of Richard A. Marshack (“Marshack Declaration”) as Exhibit “6.”

13           Following the transmission of the October 5, 2021, email from Trustee to Codding, Trustee
14 received five grape purchase contracts from Codding. All five of these purchase contracts failed to

15 disclose Trustee as the seller of the grapes and the correct payee. Codding represented to Trustee that

16 these five contracts were all of the contracts for the purchase of grapes from Estate properties. A true

17 and correct copy of an e-mail dated November 15, 2021, from Codding to Trustee’s counsel stating

18 that there were only five grape purchase contracts4 is attached to the Declaration of Tinho Mang

19 (“Mang Declaration”) as Exhibit “7.” This representation was, once again, false.

20           On or about December 8, 2021, Trustee was contacted by Don Brady, an employee of
21 O’Neill Vineyards and a personal small-time wine producer, regarding his confusion with the correct

22 party to pay for the ten tons of grapes that he purchased. Mr. Brady informed the Trustee that he was

23 being told by Codding and Codding’s CFO Steven Jones that payment should be made to Humanity

24 Wine Company, LLC5 in the amount of $17,000 for the grapes purchased by Mr. Brady. Mr. Brady

25

26   4
     These contracts contain handwritten interlineations from Trustee which were inserted with full knowledge
27 by  Codding such that there is no reasonable possibility that he had any misunderstanding that the grapes sold
   were property of the bankruptcy estate under the sole control and authority of the Trustee. Nonetheless, it
28 appears that Codding may have maintained and concealed contracts from Trustee to receive direct payments,
   at the Estate’s detriment.
   5
     A true and correct copy of the filed Secretary of State statement of information for Humanity Wine
                                                11
         NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES          Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55               Desc
                               Main Document    Page 16 of 392


 1 informed Trustee that the grapes had been harvested from Estate properties and he was aware of the

 2 bankruptcy. Consequently, he was confused by the demands for payment to an entity other than the

 3 Trustee, did not want to get involved with a dispute and violate federal law, and sought guidance

 4 from Trustee regarding the correct payee. Trustee immediately contacted Mr. Brady and directed the

 5 payment of the $17,000 to the Estate, and received a copy of a grape purchase agreement dated

 6 August 27, 2021, which was over one month after entry of the Operate Order. A true and correct

 7 copy of the Brady grape purchase agreement is attached to the Mang Declaration as Exhibit “9.”

 8          After discovery of the diversion of at least ten tons of grapes from the Estate to Codding and
 9 entities controlled by Codding, Trustee mobilized an investigation of Codding and demanded that

10 Codding provide a full accounting of grapes grown, harvested, sold, processed, and wasted from the

11 Fall 2021 harvest. Codding has never provided a full accounting and explanation of the Fall 2021

12 harvest to Trustee. Instead, Trustee and his professionals (including his field agent Lori Ensley) have

13 had to attempt to piece together from other documents the extent of grapes grown, harvested, and

14 sold.

15          On December 17, 2021, Codding sent an e-mail to Trustee explaining that he had diverted
16 the following amounts derived from the sale of Estate property: $30,000 from “Anarchist,” $3,285

17 from “Graveyard,” $44,000 from “Nicora,” $22,297.89 from “Oniell,” $30,877.52 from “Pali,”

18 $7,752 from “Rangeland,” and $2,747.90 from “Sycamore.” A true and correct copy of the e-mail

19 sent by Codding on December 17, 2021, is attached to the Marshack Declaration as Exhibit “11.” In

20 total, Codding admitted to the diversion of approximately $140,000 in proceeds which the Court

21 required to be paid directly to Trustee. Trustee immediately demanded documentation for this

22 diversion, including purchase contracts, checks received, and invoices, but Codding failed to provide

23 any documents after paying lip service to his intent to produce documents.

24          Trustee immediately also drafted and personally negotiated a memorandum of understanding
25 between himself and Codding, and Codding’s related entities, regarding Codding’s diversion of

26 funds and entitlement to reimbursement from all other proceeds received by Trustee. A true and

27

28
     Company, LLC is attached to the RJN as Exhibit “8.”
                                             12
      NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES        Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                Desc
                             Main Document    Page 17 of 392


 1 correct, executed copy of the memorandum of understanding dated December 20, 2021 (“MOU”) is

 2 attached to the Marshack Declaration as Exhibit “12.” Under the MOU, Trustee reserved the right to

 3 allocate the diverted proceeds as a setoff against any claim for reimbursement by Codding, and

 4 Codding agreed that he would not seek reimbursement of any amount over $232,000 (less the setoff

 5 rights of $140,960.31). In other words, under the MOU, Codding and his entities agreed that at most,

 6 the Estate would further reimburse him $91,039.69, if he provided documentation to substantiate at

 7 least $232,000 in farming reimbursements.

 8         The MOU also provided that Codding was required to submit documentation to substantiate
 9 his reimbursements no later than January 5, 2022. Trustee’s counsel did not receive any

10 documentation until January 25, 2022, although Codding claimed that invoices and documentation

11 had been previously sent on December 30, 2021. A true and correct copy of the invoices and

12 attachments received by Trustee’s counsel on January 25, 2022, are collectively attached to the

13 Mang Declaration as Exhibit “13.”

14         On February 1, 2022, Codding agreed to participate in a voluntary examination under oath
15 regarding his diversion of funds.

16         On February 8, 2022, Codding appeared and testified at the continued meeting of creditors
17 under 11 U.S.C. § 341(a) in both his capacity as manager of Debtor and in his individual capacity,

18 and voluntarily answered questions under oath. A true and correct copy of the transcript of the

19 February 8, 2022, meeting of creditors is attached to the Mang Declaration as Exhibit “14.” Among

20 other things, Codding testified that “The trustee didn’t know because [the contracts were] in place

21 before he was involved. I didn’t disclose it because we would have lost the contracts.” See 2/8/2022

22 Transcript at 38:1-4. Codding provided and has never provided any explanation for why he did not

23 comply with the Operate Order and immediately direct the proceeds he or his entities directly

24 received, to Trustee, as required by the Operate Order.

25         On February 11, 2022, Codding appeared at the law offices of Marshack Hays LLP in Irvine
26 and demanded, under false pretenses, that the receptionist release to him a reimbursement check in

27 the amount of $120,000. Because no such reimbursement check existed or was ever authorized by

28 Trustee, Codding left empty-handed but sent a follow-up demand to Trustee via e-mail. A true and

                                            13
     NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES           Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                   Desc
                                Main Document    Page 18 of 392


 1 correct copy of the February 11, 2022, demand email is attached to the Marshack Declaration as

 2 Exhibit “15.”

 3           On February 23, 2022, Trustee’s office received a letter via certified mail demanding
 4 payment of $262,332.00 from Codding. A true and correct copy of the certified mail letter dated

 5 February 17, 2022, is attached to the Marshack Declaration as Exhibit “16.”

 6           On February 25, 2022, Trustee sent a detailed letter to Codding explaining the circumstances
 7 under which Codding’s ever-increasing demands for reimbursement were being rejected, and the

 8 necessity of a court order to authorize Trustee to pay any reimbursements at all, in light of the

 9 knowing and willful diversion of Estate funds by Codding. A true and correct copy of Trustee’s

10 response letter is attached to the Marshack Declaration as Exhibit “17.” In response, Codding

11 unleashed a barrage of written vulgarities, obscenities, and threats to Trustee and Trustee’s counsel,

12 none of which will be reproduced in the record unless such communications come at issue.

13           On March 17, 2022, Trustee received for the first time a copy of a grape purchase agreement
14 which was never cancelled, between Rabbit Ridge Wine Sales, Inc. and John Anthony Vineyards.

15 This agreement was dated April 30, 2021, and had never been previously provided to Trustee despite

16 multiple written requests to Codding from Trustee, Trustee’s field agent, and counsel – and the

17 buyer was the one who provided the contract. A true and correct copy of the previously undisclosed

18 grape purchase contract with John Anthony Vineyards is attached to the Mang Declaration as

19 Exhibit “19.”6 It appeared that this agreement had been negotiated during the pendency of the

20 Chapter 11 case while Codding was operating Debtor as a debtor-in-possession.

21           In addition to threats regarding the personal safety of Trustee, Codding has also threatened
22 legal action against Trustee and the Estate, including filing liens and regulatory complaints against

23 either Trustee or the Estate. The complete breakdown in Trustee’s attempts to resolve this dispute

24 without litigation results in the filing of this motion. Trustee is informed that Codding has engaged

25 counsel to represent him in connection with this dispute, who will be served with a copy of this

26 Motion.

27

28   6
       On March 28, 2022, Trustee received payment on account of the grapes purchased under this contract, after
     the prior payment issued to Rabbit Ridge was cancelled upon Trustee’s demand.
                                                14
         NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES           Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                    Desc
                                Main Document    Page 19 of 392


 1           E.     Known Unpaid Vendors
 2           According to the records pieced together by Trustee, it appears that perhaps around 200 tons
 3 of grapes were grown and harvested in Fall 2021. The exact tonnage of grapes is unknown because

 4 no detailed reports were ever provided to Trustee. In total, Trustee has received weight tags totaling

 5 approximately 128.6895 tons of grapes sold to known purchasers. Trustee has never received any

 6 documentation from Codding regarding the cost of picking or shipping 130 tons of grapes (although

 7 an estimate of $350/ton was provided in connection with the Operate Motion – for 130 tons, this is a

 8 labor cost of $45,500).7 Trustee has been informed, however, that the farm labor for the pre-harvest

 9 work was left substantially unpaid.

10           Specifically, Trustee was informed on March 23, 2022, that the farm labor was provided by
11 Nevarez Farm Labor and on March 27-28, 2022, Trustee received a large number of invoices for

12 Nevarez Farm Labor for work performed prior to June 9, 2021, which was left unpaid in the

13 principal amount of $56,803.97. These invoices, in addition to an explanatory e-mail from Juan

14 Nevarez on March 28, 2022, are collectively attached to the Mang Declaration as Exhibit “20.”

15           Trustee was informed that Miller Drilling Company had been solicited by Codding to
16 provide water well maintenance services during the period of farming operations, and had been left

17 unpaid by Codding in the amount of $6,899.03.

18           On March 16, 2022, Trustee received an invoice and attachments on behalf of Wayne Cooper
19 Ag Services, who rendered (unbeknownst to Trustee) water pump test services on the Live Oak

20 Property and were left unpaid by Codding. A true and correct copy of the e-mail correspondence,

21 invoice, and attached email and text conversations received from Wayne Cooper are collectively

22 attached to the Mang Declaration as Exhibit “18.”

23

24

25   7
    Trustee was also informed after the fact (and without any opportunity to negotiate this provision) that buyers
26 may have paid for the cost of their own shipping and harvesting, which is reflected in a lower purchase price
   per ton for grapes. For example, the contract with John Anthony Vineyards dated April 30, 2021 (i.e. pre-
27 conversion) shows a purchase price of $4,000 per ton for Cabernet Sauvignon grapes, but other subsequent
   contracts show a purchase price of only $3,350 per ton for Cabernet Sauvignon grapes. Compare JAM
28 Agreement,   Mang Declaration Exh. 19 (showing purchase price of Cabernet Sauvignon at $4,000/ton), with
   Daou Agreement, Mang Declaration Exh. 7, pgs.157-165 (showing purchase price of Cabernet Sauvignon at
   $3,350/ton)). This discrepancy has never been explained by Codding.
                                                15
         NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES            Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                  Desc
                                 Main Document    Page 20 of 392


 1 3.         Legal Argument
 2            A.     All proceeds of grape crops grown on Estate property are property
 3                   of the Estate.
 4            As of the filing of a bankruptcy petition, “all legal or equitable interests of the debtor in
 5 property” become property of the bankruptcy estate. 11 U.S.C. § 541(a)(1). Additionally,

 6 “[p]roceeds, product, offspring, rents, or profits of or from property of the estate” also constitute

 7 property of the estate. 11 U.S.C. § 541(a)(6); see In re Hofstee, 1991 Bankr. LEXIS 914 at *12-13

 8 (B.A.P. 9th Cir. January 25, 1991) (milk from collateralized cow herds was also property of the

 9 estate).

10            Under applicable authorities cited above, the grape crops and their proceeds would be
11 considered property of the bankruptcy estate subject to the bankruptcy court’s jurisdiction and,

12 necessarily, the automatic stay.

13            B.     Codding willfully violated the Operate Order.
14            Civil contempt “consists of a party’s disobedience to a specific and definite court order by
15 failure to take all reasonable steps within the party’s power to comply… there is no good faith

16 exception to the requirement of obedience to a court order.” Go-Video v. Motion Picture Association

17 of America (In re Dual-Deck Video Cassette Recorder Antitrust Litigation), 10 F.3d 693, 695 (9th

18 Cir. 1993). Four elements must be established: (1) the party “violated the court order, (2) beyond

19 substantial compliance, (3) not based on a good faith and reasonable interpretation of the order,

20 (4) by clear and convincing evidence.” Labor/Community Strategy Ctr. v. Los Angeles County

21 Metropolitan Transportation Authority, 564 F.3d 1115, 1123 (9th Cir. 2009); see, e.g., Eaconomy,

22 LLC v. Auvoria Prime, LLC, 482 F.Supp.3d 1030, 1032 (E.D. Cal. 2020).

23            Here, all four elements are plainly met. As cited above, the Operate Order required all
24 proceeds of crop to be directed to Trustee (See Operate Order [Dk. 211], ¶ 5 “The proceeds of all

25 sales of agricultural products… shall be paid directly to the Estate”) and the approved farm operator

26 agreement required Codding to cancel all existing grape purchase agreements. Rather than comply

27 with the Operate Order, Codding entered into further contracts without informing Trustee and

28 directed funds to be paid directly to himself or other entities under his control, rather than the Estate.

                                            16
     NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES         Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                Desc
                              Main Document    Page 21 of 392


 1 The first and second elements, therefore, are plainly met. As for the third element, there is no good

 2 faith and reasonable interpretation of the Operate Order under which Codding was authorized to

 3 direct any grape proceeds to be received directly by himself or his related entities. Finally, the signed

 4 and sworn statements from Codding himself admitting to his unauthorized receipt of funds, and the

 5 Don Brady contract dated one month after the Operate Order both show by clear and convincing

 6 evidence that Codding violated the Operate Order. Codding should be directed to appear and show

 7 cause why he willfully and intentionally disobeyed the Operate Order and the automatic stay.

 8         C.      Codding willfully violated the Turnover Order.
 9         Regarding the Turnover Order, all four elements are also plainly met. Codding, on behalf of
10 Rabbit Ridge, signed a stipulation for turnover which was reduced to an order of the Court, Docket

11 No. 196. The Turnover Order provided, among other things, that “Rabbit Ridge shall vacate and turn

12 over possession of the [San Marcos] Property and all keys, gate openers, and all other methods of

13 access to the [San Marcos] Property on or before midnight on July 31, 2021.” Turnover Order [Dk.

14 196] at ¶ 2. Also, the Turnover Order directed Rabbit Ridge not to “remove, destroy, disturb, or

15 tamper with any of the following: furniture, fixtures including trade fixtures, inventory, agricultural

16 assets such as crops, vines, seeds, and raw and unfinished products, wine barrels and casks,

17 machinery and equipment (including but not limited to bottling and processing equipment),

18 materials, and ingredients of any kind.” Id. at ¶ 6.

19         On December 9, 2021, Trustee’s agent Lori Ensley appeared unannounced at the San Marcos
20 Property (all prior visits had been notified to Codding) and, for the first time, found a crew of

21 workers from Rabbit Ridge processing wine using the equipment at the San Marcos Property.

22 Declaration of Lori Ensley (“Ensley Declaration”), ¶ 6. Trustee’s agent verbally demanded that these

23 workers leave the San Marcos Property, as they were not authorized to be there, and secured the San

24 Marcos Property with the assistance of agents from the secured creditor FCW. Id. at ¶ 7. Following

25 the discovery of unauthorized winemaking at the San Marcos Property, it became obvious that

26 Codding had likely continued to access and use the equipment at the San Marcos Property without

27 authorization from Trustee and in express violation of the Turnover Order. See 2/8/2022 Transcript

28 at 47:15-24 (CODDING: “…And there was a limited number of gallons that were processed…”).

                                            17
     NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES         Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                Desc
                              Main Document    Page 22 of 392


 1 Trustee’s agent also discovered a number of wine barrels marked with a 2021 vintage year which

 2 were absolutely unauthorized. It is unknown what quantity of grapes were misappropriated and used

 3 by Codding to make wines at the San Marcos Property. Codding’s direct involvement with the

 4 unauthorized access of the San Marcos Property is further demonstrated by clear and convincing

 5 evidence by the transmission of the December 15, 2021, letter on behalf of Rabbit Ridge falsely

 6 claiming that it was in lawful possession of the San Marcos Property. The Court should direct

 7 Codding and any qualified representative from Rabbit Ridge to appear and show cause why Rabbit

 8 Ridge willfully violated the Turnover Order.

 9         D.      Codding’s misappropriation of funds also violates the automatic
10                 stay.
11         “§ 542 provides, with just a few exceptions, that an entity … in possession of property of the
12 bankruptcy estate ‘shall deliver to the trustee, and account for’ that property.” City of Chicago v.

13 Fulton, 141 S.Ct. 585, 589 (2021). The automatic stay applies to “any act to obtain possession of

14 property of the estate or of property from the estate or to exercise control over property of the

15 estate.” 11 U.S.C. § 362(a)(3). While “mere retention of property does not violate § 362(a)(3)”, the

16 automatic stay “prohibits affirmative acts that would disturb the status quo of estate property…”

17 Fulton, 141 S.Ct. 585, 589-90 (2021); see Stuart v. City of Scottsdale (In re Stuart), 632 B.R. 531,

18 543 (B.A.P. 9th Cir. 2021) (discussing effect of Fulton).

19         Here, Codding did not merely retain or passively receive any funds constituting property of
20 the Estate. Instead, Codding took a series of affirmative acts to exercise control over Estate property

21 outside the scope of his authorized limited-scope farming operations. Codding was never authorized

22 to sell estate property or receive the proceeds from estate property for any reason including to pay

23 himself for services rendered or costs incurred. Instead, he was directed to seek any reimbursement

24 from Trustee pursuant to the terms of the Court’s Order. Rather than comply with the Operate Order,

25 Codding entered into at least a half-dozen undisclosed grape purchase contracts for at least 50 tons

26 (100,000 pounds) of grape crops grown on Estate properties, and willingly received the proceeds of

27 such sales directly into his own bank accounts. This is an egregious violation of the Court’s Order

28

                                            18
     NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES         Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                Desc
                              Main Document    Page 23 of 392


 1 and the automatic stay. The issuance of an order to show cause regarding civil contempt is

 2 appropriate.

 3         E.      A responding party must raise a fair ground of doubt in order to
 4                 avoid liability for civil contempt.
 5         “[C]ivil contempt should not be resorted to where there is a fair ground of doubt as to the
 6 wrongfulness of the defendant’s conduct.” Taggart v. Lorenzen, 139 S.Ct. 1795, 1801-02 (2019)

 7 (citing California Artificial Stone Paving Co. v. Molitor, 113 U.S. 609, 618 (1885) (internal

 8 quotations, brackets, and italics omitted). A “fair ground of doubt” is an “objective” standard.

 9 Taggart, 139 S.Ct. at 1802. “[A] party’s subjective belief that she was complying with an order

10 ordinarily will not insulate her from civil contempt if that belief was objectively unreasonable.” Id.

11         Codding has explained in the past to Trustee that he believed that his direct receipt of funds
12 was necessary and appropriate. Codding explained to Trustee that the undisclosed contracts were

13 preexisting contracts and the purchasers of such grapes would be unwilling to modify the

14 preexisting contracts and therefore be lost. Because the undisclosed contracts were never provided

15 to Trustee, this claim cannot be fairly evaluated by Trustee. However, even if the contracts were

16 unable to be modified (a claim which Trustee is seriously skeptical), Codding has never explained

17 any reason that he could not comply with the Operate Order and immediately disclose the existence

18 of such contracts and direct that all sales proceeds be paid directly to Trustee. Instead, Codding

19 concealed the existence of these contracts, concealed his unauthorized receipt of payments, and

20 adopted a belligerent posture demanding immediate, undocumented reimbursements from Trustee

21 with threats of violence and litigation. Codding has no objectively reasonable fair ground of doubt.

22         F.      Trustee may recover compensatory damages and the Court may
23                 issue appropriate coercive sanctions including compensatory
24                 damages.
25         “Civil penalties must either be compensatory or designed to coerce compliance.” Dyer, 322
26 F.3d at 1192. The extent of compensatory sanctions includes attorneys’ fees and costs for preparing

27 and litigating a contempt motion. See America’s Servicing Co. v. Schwartz-Tallard (In re Schwartz-

28 Tallard), 803 F.3d 1095, 1100-01 (9th Cir. 2015) (en banc). Additionally, “The bankruptcy court’s

                                            19
     NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES         Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                Desc
                              Main Document    Page 24 of 392


 1 civil contempt authority also permits it to order the contemnor as a sanction to coerce compliance

 2 with the court’s orders, so long as compliance with the orders will cure the contempt.” Brace v.

 3 Speier (In re Brace), 2019 Bankr. LEXIS 80 at *22 (B.A.P. 9th Cir. 2019) (unpub.). Additionally,

 4 the bankruptcy court has “inherent power” to sanction “bad faith” or “willful misconduct.” Price v.

 5 Lehtinen (In re Lehtinen), 564 F.3d 1052, 1058-59 (9th Cir. 2009). But the bankruptcy court’s

 6 inherent powers “must be exercised with restraint and discretion.” Id. at 1059 (quoting Chambers v.

 7 NASCO, Inc., 501 U.S. 32, 44 (1991)). To impose sanctions under its inherent authority, the

 8 bankruptcy court “must make an explicit finding of bad faith or willful misconduct.” Id. at 1058.

 9 Again, civil sanctions “must either be compensatory or designed to coerce compliance.” Id. at 1059

10 (quoting Dyer, 322 F.3d at 1192 (9th Cir. 2003)); Brace v. Speier (In re Brace), 2019 Bankr. LEXIS

11 80 at *21 (B.A.P. 9th Cir. 2019).

12         If the Court finds good cause to enter an order to show cause re: civil contempt, Trustee
13 requests that all compensatory damages be considered as a sanction against Codding and his related

14 entities, in the full amount of any funds diverted from the Estate including the $140,960.31 admitted

15 to have been received by Codding, and any other (if any) subsequently-discovered transfers to

16 Codding or other entities derived from the sale of crop from Estate properties. Additionally, Trustee

17 requests imposition of compensatory sanctions in an amount equal to the attorneys’ fees expended to

18 seek to investigate and discover Codding’s violations of Court orders and the automatic stay.

19 Although Trustee has a stipulated agreement with FCW regarding the payment of administrative fees

20 from its cash collateral, it is unfair for FCW and the general unsecured creditor body to be

21 prejudiced by Codding’s unlawful actions.

22         G.      Any claim for reimbursement by Codding must be disallowed under
23                 11 U.S.C. § 502(d) unless and until he has returned all diverted
24                 Estate property.
25         “Notwithstanding subsections (a) and (b) of this section, the court shall disallow any claim of
26 any entity from which property is recoverable under section 542, 543, 550, or 553 of this title or that

27 is a transferee of a transfer avoidable under section 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a)

28 of this title, unless such entity or transferee has paid the amount, or turned over any such property,

                                            20
     NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES         Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                  Desc
                              Main Document    Page 25 of 392


 1 for which such entity or transferee is liable under section 522(i), 542, 543, 550, or 553 of this title.”

 2 11 U.S.C. § 502(d). Section 502(d) specifically applies to disallow claims which could be asserted

 3 by administrative creditors, if such creditor receives a recoverable transfer. See, e.g., MicroAge, Inc.

 4 v. Viewsonic Corp. (In re MicroAge, Inc.), 291 B.R. 503, 514 (B.A.P. 9th Cir. 2002) (“§ 502(d)

 5 should be interpreted in a manner consistent with case law decided under the Bankruptcy Act and

 6 should be applied to administrative claims.”); see also Movitz v. Baker (In re Triple Star Welding,

 7 Inc.), 324 B.R. 778, 794 (B.A.P. 9th Cir. 2005) (“if Baker actually did receive an avoidable

 8 preference then he would be ineligible to be paid anything from the estate unless and until he returns

 9 that preference.”).

10         Codding received post-petition proceeds of property of the Estate which was, in turn,
11 property of the Estate. These transfers are recoverable by Trustee either pursuant to turnover under

12 11 U.S.C. § 542 or the transfer is avoidable under 11 U.S.C. § 549. Because such theft of estate

13 property was in violation of the Court’s orders and the automatic say, no separate motion or

14 adversary proceeding will be filed. Nonetheless, as the BAP held in both MicroAge and Triple Star

15 Welding, supra, the establishment of an avoidable transfer or recoverable Estate property from an

16 administrative claimant constitutes a statutory bar to such claimant from receiving anything

17 whatsoever from the Estate. While Codding may claim that he advanced funds to preserve the value

18 of the Estate and is therefore entitled to an administrative claim under 11 U.S.C. § 503(b)(1)(A), any

19 such claim is automatically disallowed under 11 U.S.C. § 502(d) because he has received and

20 refused to return property of the Estate (i.e. the $140k in grape proceeds).

21         H.      Further Court Orders are appropriate in light of Codding’s
22                 litigation threats.
23         “Under Barton [v. Barbour, 104 U.S. 126 (1886)], plaintiffs must obtain authorization from
24 the bankruptcy court before ‘initiat[ing] an action in another forum’ against certain officers

25 appointed by the bankruptcy court for actions the officers have taken in their official capacities.” In

26 re Yellowstone Mountain Club, LLC, 841 F.3d 1090, 1094 (9th Cir. 2016), quoting Beck v. Fort

27 James Corp. (In re Crown Vantage, Inc.), 421 F.3d 963, 970 (9th Cir. 2005) (brackets in original).

28 Barton issues are jurisdictional. Barton, 104 U.S. at 131. The Barton doctrine applies in bankruptcy

                                            21
     NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES         Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                 Desc
                              Main Document    Page 26 of 392


 1 in favor of the bankruptcy trustee. Crown Vantage, 421 F.3d at 971. Failure to obtain leave of court

 2 consistent with the Barton doctrine renders the other forum without subject matter jurisdiction. See,

 3 e.g., In re Eagan Avenatti, LLP, 2022 Bankr. LEXIS 552 at *6-7 (Bankr. C.D. Cal. March 3, 2022)

 4 (publication forthcoming).

 5         Codding has threatened in writing to file liens, claims, or complaints with nonbankruptcy
 6 authorities in order to enforce his believed right of reimbursement from the Estate. While Trustee’s

 7 investigation of Codding’s right to reimbursement is continuing, and will likely be expanded by any

 8 documents or information obtained in connection with this Motion, if the Court finds good cause to

 9 issue an order to show cause, Trustee believes that an order requiring compliance with the Barton

10 Doctrine is appropriate. In other words, the estate should not be subjected to seeking dismissal of

11 any non-bankruptcy litigation filed by Codding without leave of this Court.

12 4.      Conclusion
13         Codding has, by clear and convincing evidence including his own statements and testimony,
14 violated the Court’s express orders, and he has unlawfully received $140,960.31 constituting

15 bankruptcy estate property and refused to turn over such funds to the Trustee. While Codding may

16 have once had a right to reimbursement (and Trustee preserve the Estate’s rights regarding setoff),

17 Codding has to date failed and refused to produce documentation showing that he has an entitlement

18 to the extent of reimbursements that he claims. Absent such proof, Trustee cannot permit Codding to

19 retain the $140,000 in diverted funds and Codding must return all such funds to be distributed by

20 Trustee according to 11 U.S.C. § 726 and the consent of the secured creditor Farm Credit West,

21 which holds a lien on such proceeds. The Court should issue an order to show cause re: civil

22 contempt and direct Codding to appear and show cause why he should not be held in civil contempt

23 for his violation of the Operate Order, Turnover Order, and automatic stay and be required to fully

24 compensate the Estate for damages caused by his contumacious conduct. The order to show cause

25 should also require Codding to show why the Court should not order him to fully account for the

26 receipt and disbursement of all estate property, to produce all documents necessary to establish the

27 disposition of all estate property and its proceeds, and to turn over to Trustee all estate funds

28

                                            22
     NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES       Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55             Desc
                            Main Document    Page 27 of 392


 1 received. Lastly, the order to show cause should require Codding to prove why any alleged

 2 administrative claim should not be disallowed pursuant to Section 502(d).

 3

 4 Dated: April 1, 2022                      MARSHACK HAYS LLP
 5
                                             By: /s/ D. Edward Hays
 6                                                D. EDWARD HAYS
                                                  TINHO MANG
 7                                                Attorneys for Chapter 7 Trustee,
                                                  RICHARD A. MARSHACK
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                            23
     NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES           Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55               Desc
                                Main Document    Page 28 of 392


 1                               Declaration of Richard A. Marshack
 2         I, RICHARD A. MARSHACK, declare as follows:
 3         1.      I am an individual over 18 years of age and competent to make this Declaration.
 4         2.      If called upon to do so, I could and would competently testify as to the facts set
 5 forth in this Declaration.

 6         3.      I am the duly-appointed and acting Chapter 7 trustee (“Trustee”) for the
 7 bankruptcy estate (“Estate”) of Northern Holding, LLC (“Debtor”).

 8         4.      I have personal knowledge of some of the terms set forth in this Declaration, and
 9 if called upon to do so, I could and would competently testify to these facts, as to other matters I

10 have knowledge based on information and belief.

11         5.      All terms not defined herein are used as they are defined in the Motion.
12         6.      Upon my appointment as the Chapter 7 trustee in this case, I was presented with
13 the problem of hundreds of acres of vineyards and no consent from the lender Farm Credit West

14 (“FCW”) to fund any farming operations. I discussed the issues with the Debtor’s principal

15 LeRoy Codding (“Codding”) and he offered to advance the cost of farming and bringing in the

16 crop to generate money for the Estate and to preserve the value of the real properties, which were

17 to be sold as going concerns. Codding represented to me that he had sufficient funds to pay all

18 ongoing costs of operations and was committed to ensuring the success of the vineyards. At the

19 beginning, Codding was also generally helpful and informative in assisting me with

20 understanding the case and showing the properties to buyers. However, I made it very clear that

21 Rabbit Ridge was not permitted to operate any winemaking business on any property of the

22 Estate, including negotiating the stipulation for turnover which Codding signed on behalf of

23 Rabbit Ridge.

24         7.      I personally negotiated, drafted, and revised the Farm Operator Agreement which
25 was attached to the Operate Motion. Codding told me that there were existing customer

26 relationships and outstanding grape contracts. As part of the Farm Operator Agreement (which

27 Codding signed), the agreement provided that Codding would cancel all contracts, provide me

28 with regular reports, and direct all funds to be paid to me on behalf of the Estate. I would later

                                            24
     NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES         Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                 Desc
                              Main Document    Page 29 of 392


 1 learn that Codding breached most provisions of the Farm Operator Agreement.

 2         8.      I was informed by Codding that the harvest of the grapes would occur in
 3 September to October 2021. During this time, Codding provided me with little to no information

 4 on the status of harvest and I was never given a copy of any grape purchase contract until late

 5 September 2021 – the first contract executed was dated September 27, 2021. On or around

 6 October 5, 2021, Codding told me over the telephone that he had shipped grapes without my

 7 knowledge, consent, or a contract countersigned by me on behalf of the Estate. A true and

 8 correct copy of the e-mail dated October 5, 2021 memorializing our conversation is attached as

 9 Exhibit “6.”

10         9.      From my numerous conversations with him, it was clear to me that Codding knew
11 the rules and requirements under which he was to serve as the Estate’s farm operator. He knew

12 that Richard Marshack, Chapter 7 Trustee, was to be listed as the seller, and he knew that all

13 payments must be delivered to 870 Roosevelt, Irvine, California. Codding presented me with no

14 less than five contracts, and I spent hours over the phone with him negotiating and inserting

15 interlineated handwritten revisions to ensure that the seller was the bankruptcy estate, the

16 payable party was Richard Marshack, Chapter 7 Trustee, and payments were to be made to 870

17 Roosevelt. Once these provisions were inserted into the agreements, I executed the agreements

18 with an electronic pencil and the purchaser would countersign.

19         10.     After October 5, 2021, Codding provided me with some other contracts which
20 were not countersigned by me and which I had to personally interlineate and sign on behalf of

21 the Estate to ensure that payment was received by the Estate. In total, there were five contracts

22 executed for the purchase of grapes that I was involved with. Codding affirmed to me over the

23 telephone and in writing that all five of the contracts (in total) that he provided to me constituted

24 the entire universe of grape purchase contracts for the sale of grapes from Estate property. These

25 five contracts are reproduced in the declaration of my attorney below attached as Exhibit “7.”

26 These representations proved to be false.

27         11.     On or about December 8, 2021, I was informed that Codding had apparently sold
28 grapes constituting property of the Estate to other, previously unknown third parties for which

                                            25
     NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES         Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55               Desc
                              Main Document    Page 30 of 392


 1 there was no contract which provided that the Estate was the seller, funds were to be made

 2 payable to Richard Marshack, Bankruptcy Trustee, and provided that the funds were to be mailed

 3 to 870 Roosevelt, Irvine, California. I was informed that this third party was Don Brady of Brady

 4 Vineyards.

 5         12.      On December 17, 2021, after I confronted Codding about his concealment and
 6 diversion of grapes to Don Brady, Codding sent an e-mail to me with a lengthy explanation of

 7 the extent of his diversion of funds and grapes from the Estate. A true and correct copy of this e-

 8 mail is attached as Exhibit “11.” Specifically, Codding admitted to having sold grapes owned by

 9 Northern Holding, LLC for the benefit of his company Rabbit Ridge, in the following amounts

10 totaling $140,960.31:

11              Anarchist $30,000 (I am informed the corporate name is Cathartes Aura LLC)
12              Graveyard $3,285
13              Nicora $44,000
14              O’Neill $22,297.89
15              Pali $30,877.52
16              Rangeland $7,752
17              Sycamore $2,747.90
18         13.      In response to the written admissions from Codding, I negotiated, drafted, and
19 revised a memorandum of understanding between Codding, his entities, and the Estate regarding

20 the extent and effect of his unauthorized receipt of funds. Codding informed me that he had

21 expended around $400,000 in connection with farming operations but would agree to cap his

22 reimbursement requests to $232,000, with the Estate retaining an offset right for any funds

23 directly received by Codding. As a result, assuming that Codding was entitled to the contractual

24 maximum of $232,000 in reimbursements, the Estate would only need to pay an additional

25 approximate $92,000 in further reimbursements over and above what Codding had directly

26 received. By negotiating the memorandum of understanding, I minimized the Estate’s potential

27 liability and provided conditions for Codding to request and receive reimbursements through

28 establishing a deadline for providing documentation, and preserving the Estate’s possible setoff

                                            26
     NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES         Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                Desc
                              Main Document    Page 31 of 392


 1 rights (but no obligation for a setoff). A true and correct copy of the executed memorandum of

 2 understanding is attached as Exhibit “12.”

 3         14.     Even after my sudden discovery of Codding’s concealment and diversion of funds
 4 from the Estate, Codding continued to insist on receiving unproven reimbursements from the

 5 Estate. In response to these demands, I replied that I needed further information and testimony in

 6 order to make any reimbursement payments. On February 1, 2022, I and my attorneys conducted

 7 a voluntary recorded examination under oath of Codding.

 8         15.     On February 8, 2022, I conducted a meeting of creditors under 11 U.S.C. § 341(a)
 9 where Codding answered questions under oath, including answers to questions in his individual

10 capacity as farm manager and also in his capacity as managing member of Debtor.

11         16.     On February 11, 2022, Codding showed up unannounced at my law office in
12 Irvine and I am informed he demanded that the receptionist surrender to him a check for

13 reimbursements. After leaving without any check, he sent an e-mail to me demanding payment

14 of $120,000 and promising to be back the next business day. A true and correct copy of the

15 February 11, 2022 e-mail is attached as Exhibit “15.” To be clear, I also received several text

16 messages which were threatening and contain obscenities. These will be provided to the Court

17 upon request.

18         17.     On February 23, 2022, my office received a letter via certified mail where
19 Codding again demanded to be paid and claiming to be owed $400,000. A true and correct copy

20 of a certified mail letter dated February 17, 2022 is attached as Exhibit “16.”

21         18.     In response, I drafted and transmitted a letter to Codding detailing the reasons that
22 his request for reimbursement could not be granted. A true and correct copy of the detailed

23 response letter sent to Codding is attached as Exhibit “17.”

24         19.     In addition to the exhibits above, Codding has sent a number of written threats,
25 including threats of litigation, regarding his demands for payment. As a result, I believe that

26 injunctive and declaratory relief may be appropriate, if the Court finds good cause to enter an

27 order to show cause.

28 / / /

                                             27
      NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES         Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                Desc
                              Main Document    Page 32 of 392


 1         20.     I was informed by representatives from Miller Drilling Company that Codding
 2 had requested water well maintenance services on Estate properties during the farming period

 3 and had been left unpaid in the amount of $6,899.03. Codding’s nonpayment of Miller may have

 4 negatively impacted the sale process for the Live Oak Property.

 5         21.     To be clear, I wholly acknowledge that without the assistance of a farm operator
 6 such as Codding, I would not have been able to successfully complete the harvest of nearly 200

 7 tons of grapes and receive around $240,000 in proceeds from the sale of crop. I was not

 8 presented with any other reasonable option by the secured credit Farm Credit West who opined

 9 that the grape harvest was valueless – this proved to be an inaccurate assessment of the facts.

10 Codding’s employment was necessary and appropriate to effectuate the harvest, and his services

11 provided significant value to the Estate. The value included that there were no funds in the Estate

12 to maintain farming operations, and he agreed to advance funds to ensure the success of the

13 harvest, with reimbursement to occur after the harvest was completed and the crops were sold.

14 However, on the other hand, Codding’s diversion and concealment of approximately one-third of

15 the known crop proceeds has caused severe damage to the Estate, especially since he now refuses

16 to provide documentation for his operating expenses to allow me to evaluate his requests for

17 reimbursement. Although I investigated and tried to convince Codding to cooperate with

18 providing the necessary documentation to substantiate his expenses, his threats of litigation and

19 failure to provide documentation has left me with no choice but to seek an order of the Court to

20 preserve the rights of the Estate.

21

22         I declare under penalty of perjury that the foregoing is true and correct. Executed on April 1,
23 2022.

24
                                                         RICHARD A
                                                                 A. MARS
                                                                    MARSHACK
25

26

27

28

                                            28
     NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES           Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55              Desc
                                Main Document    Page 33 of 392


 1                                    Declaration of Tinho Mang
 2         I, TINHO MANG, declare as follows:
 3         1.      I am an individual over 18 years of age and competent to make this Declaration.
 4         2.      If called upon to do so, I could and would competently testify as to the facts set
 5 forth in this Declaration.

 6         3.      I am an associate attorney with Marshack Hays LLP, counsel of record for
 7 Richard A. Marshack, in his capacity as the duly-appointed and acting Chapter 7 trustee

 8 (“Trustee”) for the bankruptcy estate (“Estate”) of Northern Holding, LLC (“Debtor”).

 9         4.      I have personal knowledge of some of the terms set forth in this Declaration, and
10 if called upon to do so, I could and would competently testify to these facts.

11         5.      All terms not defined herein are used as they are defined in the Motion.
12         6.      I have been working closely with the Trustee in the course of his administration
13 and investigations in this case. In support of these efforts, I have personally communicated with

14 Mr. LeRoy Codding (“Codding”) for the period during which he was an unrepresented party in

15 his individual capacity. I am informed that Codding is now represented by the law firm of Goe

16 Forsythe & Hodges LLP.

17         7.      On November 15, 2021, I sent an e-mail to Codding requesting confirmation that
18 all five of the grape purchase contracts attached to such e-mail were all of the outstanding grape

19 purchase contracts for grapes. Codding replied with copy of the five contracts, representing that

20 “This looks to be complete.” A true and correct copy of this November 15, 2021 e-mail is

21 attached as Exhibit “7.”

22         8.      On December 8, 2021, I was contacted by Don Brady, who informed me that he
23 was an employee of O’Neill Vineyards and also processes wines for himself. Mr. Brady told me

24 over the phone that he and his employer had received a truck full of grapes in the approximate

25 amount of 20 tons, and that he was confused by the existence of the bankruptcy case. Mr. Brady

26 told me that he simply wanted to ensure that payment for the grapes reached the correct party,

27 and provided me with a copy of a grape purchase agreement dated August 27, 2021 signed by

28 himself and Codding. A true and correct copy of the Brady/Codding grape purchase contract is

                                            29
     NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES         Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                 Desc
                              Main Document    Page 34 of 392


 1 attached as Exhibit “9.”

 2         9.      On December 15, 2021, I received via e-mail a courtesy copy of a demand letter
 3 from a lawyer representing Rabbit Ridge Wine Sales, Inc. A true and correct copy of this

 4 demand letter is attached as Exhibit “10.” Upon receipt of the letter, which contained various

 5 inaccurate factual statements, I contacted the attorney Tim Lambirth and discussed the various

 6 inaccuracies with him over telephone including that a turnover stipulation and order had been

 7 previously entered by the Court. After this conversation I understand that Mr. Lambirth

 8 withdrew from further representation.

 9         10.     According to the Memorandum of Understanding executed by Codding on behalf
10 of himself and his related entities (and Steven Jones and his related entities), Codding had a

11 deadline of January 5, 2022 to provide documentation and invoices to the Trustee for

12 reimbursement. I never received any such documentation or invoices until January 25, 2022.

13 Although Codding claims that he first sent such documentation in December 2021, no one has

14 any record of receiving such documentation. Collectively, all invoices and documentation

15 attached to Codding’s January 25, 2022 e-mail to me is attached as Exhibit “13.”

16         11.     On February 1, 2022, Codding agreed at the request of the Trustee to appear and
17 testify under oath regarding his farm operations. I and the Trustee together conducted the

18 examination.

19         12.     On February 8, 2022, Codding appeared at the continued meeting of creditors and
20 again agreed to testify in his individual capacity as farm manager and on behalf of the Debtor. At

21 this meeting, counsel for Farm Credit West (“FCW”) was also present and asked questions. A

22 true and correct copy of the transcript for February 8, 2022 is attached as Exhibit “14.”

23         13.     I along with the Trustee was informed on or around March 21, 2022 that a farm
24 labor provider, Nevarez Farm Labor, was left unpaid by Codding for work performed on Estate

25 properties. I spoke with a representative of Nevarez Farm Labor over the telephone and was

26 informed that the outstanding invoices for Nevarez Farm Labor are in excess of $70,000.

27         14.     On March 16, 2022, I received an e-mail from representatives of Wayne Cooper
28 Ag Services who informed me separately over the telephone that they had been asked by

                                            30
     NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES        Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                 Desc
                             Main Document    Page 35 of 392


 1 Codding to perform water pump test services at the Live Oak Property and, after performing

 2 such services, had been left unpaid and ignored by Codding. A true and correct copy of the e-

 3 mail and attachments is collectively attached as Exhibit “18.”

 4         15.     On March 17, 2022, I received an e-mail from representatives of John Anthony
 5 Vineyards attaching two previously-undisclosed grape purchase contracts dated April 30, 2021.

 6 No reason has ever been provided that these contracts were left undisclosed to the Trustee. It is

 7 notable that the pre-conversion negotiated rate for one ton of grapes was $4,000 but the post-

 8 conversion negotiated rate for one ton of grapes of the same type was approximately $3,350. A

 9 true and correct copy of the two purchase contracts from John Anthony is attached as Exhibit

10 “19.”

11         16.     On March 27-28, 2022, I received e-mail correspondences from Nevarez Farm
12 Labor showing an unpaid principal balance of $56,803.97 for farm labor performed at Estate

13 properties prior to June 15, 2021. A true and correct copy of the explanatory e-mail

14 correspondence from Juan Nevarez and all of the pre-correction invoices received are

15 collectively attached as Exhibit “20.”

16

17         I declare under penalty of perjury that the foregoing is true and correct. Executed on April 1,
18 2022.

19
                                                         TINHO MANG
                                                                ANG
20

21

22

23

24

25

26

27

28

                                            31
     NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document    Page 36 of 392
Case 8:20-bk-13014-ES           Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55               Desc
                                Main Document    Page 37 of 392


 1                                   REQUEST FOR JUDICIAL NOTICE
 2           Richard A. Marshack, the duly-appointed and acting chapter 7 trustee (“Trustee”) of the
 3 bankruptcy estate (“Estate”) of Northern Holding, LLC (“Debtor”), hereby requests pursuant to

 4 Federal Rule of Evidence 201, that this Court take judicial notice of the following documents to be

 5 considered in connection with Trustee’s application for issuance of an order to show cause re: civil

 6 contempt pursuant to Local Bankruptcy Rule 9020-1:

 7      EXHIBIT              JUDICIALLY NOTICED DOCUMENTS
 8      1.                  Petition filed by Debtor on October 28, 2020, Dk. No. 1, Case No. 8:20-bk-
                            13014-MW.
 9

10      2.                  Stipulation for Turnover of Real Property Located at 1172 San Marcos Road,
                            Paso Robles, CA filed on August 9, 2021, as Dk. No. 184.
11
        3                   Order Approving Stipulation for Turnover of Real Property Located at 1172
12                          San Marcos Road, Paso Robles, CA, filed August 23, 2021, as Dk. No. 196.
13
        4                   Chapter 7 Trustee’s Motion to Approve Farm Operator Agreement and for
14                          Order to Operate Debtor’s Business for the Limited Purpose of Completing
                            Fall 2021 Harvest of Current Crop of Fruit, filed August 9, 2021, as Dk. No.
15                          186.
16      5                   Order Granting Chapter 7 Trustee’s Motion to Approve Farm Operator
17                          Agreement and for Order to Operate Debtor’s Business for the Limited
                            Purpose of Completing Fall 2021 Harvest of Current Crop of Fruit, filed
18                          September 7, 2021, as Dk. No. 211.

19      8                   California Secretary of State – October 26, 2021 Statement of Information for
                            Humanity Wine Company, LLC
20

21
             Additionally, pursuant to Local Bankruptcy Rule 9020-1(a), a proposed order to show cause
22
     is being lodged concurrently with this Motion. A true and correct copy of the proposed order to show
23
     cause is attached as Exhibit “21.”
24

25
     Dated: April 1, 2022                        MARSHACK HAYS LLP
26

27                                               By: /s/ D. Edward Hays
                                                      D. EDWARD HAYS
28                                                    TINHO MANG
                                                      Attorneys for Chapter 7 Trustee,
                                                      RICHARD A. MARSHACK
                                             33
      NOTICE OF MOTION AND MOTION FOR ISSUANCE OF ORDER TO SHOW CAUSE RE CIVIL CONTEMPT
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document    Page 38 of 392




                                                      EXHIBIT 1

                                                                    PAGE 34
     Case 8:20-bk-13014-ES                        Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                                Desc
                                                  Main Document    Page 39 of 392
               Case 8:20-bk-13014-MW                    Doc 1 Filed 10/28/20 Entered 10/28/20 20:01:03                                     Desc
                                                        Main Document    Page 1 of 13

Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Northern Holdings, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  143 1/2 S. Olive Street                                         13217 Jamboree Road, #429
                                  Orange, CA 92866                                                Tustin, CA 92782
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Orange                                                          Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  1172 San Marcos Road Paso Robles, CA 93446
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1




                                                                                                                                        EXHIBIT 1
                                                                                                                                         PAGE 35
     Case 8:20-bk-13014-ES                              Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                                Desc
                                                        Main Document    Page 40 of 392
                 Case 8:20-bk-13014-MW                       Doc 1 Filed 10/28/20 Entered 10/28/20 20:01:03                                     Desc
                                                             Main Document    Page 2 of 13
Debtor    Northern Holdings, LLC                                                                       Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2




                                                                                                                                              EXHIBIT 1
                                                                                                                                               PAGE 36
     Case 8:20-bk-13014-ES                           Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                                     Desc
                                                     Main Document    Page 41 of 392
                Case 8:20-bk-13014-MW                    Doc 1 Filed 10/28/20 Entered 10/28/20 20:01:03                                        Desc
                                                         Main Document    Page 3 of 13
Debtor   Northern Holdings, LLC                                                                    Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3




                                                                                                                                           EXHIBIT 1
                                                                                                                                            PAGE 37
    Case 8:20-bk-13014-ES                        Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                                     Desc
                                                 Main Document    Page 42 of 392
                 Case 8:20-bk-13014-MW                  Doc 1 Filed 10/28/20 Entered 10/28/20 20:01:03                                       Desc
                                                        Main Document    Page 4 of 13
Debtor    Northern Holdings, LLC                                                                   Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 28, 2020
                                                  MM / DD / YYYY


                             X                                                                            Leroy Codding
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Member




18. Signature of attorney    X /s/ Matthew D, Resnik                                                       Date October 28, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Matthew D. Resnik
                                 Printed name

                                 RESNIK HAYES MORADI, LLP.
                                 Firm name

                                 17609 Ventura Blvd.
                                 Ste 314
                                 Encino, CA 91316
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (818) 285-0100                Email address      matt@rhmfirm.com

                                 (SBN 182562) CA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4




                                                                                                                                         EXHIBIT 1
                                                                                                                                          PAGE 38
         Case 8:20-bk-13014-ES                                Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                                          Desc
                                                              Main Document    Page 43 of 392
                    Case 8:20-bk-13014-MW                            Doc 1 Filed 10/28/20 Entered 10/28/20 20:01:03                                              Desc
                                                                     Main Document    Page 5 of 13

 Fill in this information to identify the case:
 Debtor name Northern Holdings, LLC
 United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                                          Check if this is an
                                                CALIFORNIA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Bank of America                                                                                                                                                          $21,533.55
 PO Box 15019
 Wilmington, DE
 19850
 Capital One                                                                                                                                                                $3,039.97
 P.O. Box 60599
 City Of Industry, CA
 91716
 Electro-Steam                                                                                                                                                              $5,382.00
 Generator Corp.
 50 Indel Avenue
 Rancocas, NJ 08073
 Erich Russell                                                                                                                                                        $6,400,000.00
 2380 Live Oak Road
 Paso Robles, CA
 93446
 PG&E                                                                                                                                                                     $27,346.20
 P.O. Box 99700
 Sacramento, CA
 95899-7300
 Sunbelt Rentals                                                                                                                                                          $12,894.68
 P.O. Box 409211
 Atlanta, GA 30384
 West Coast Wine                                                                                                                                                          $13,630.00
 Partners
 134 Church Street
 Sonoma, CA 95476




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy




                                                                                                                                                         EXHIBIT 1
                                                                                                                                                          PAGE 39
     Case 8:20-bk-13014-ES                                Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                                    Desc
                                                          Main Document    Page 44 of 392
             Case 8:20-bk-13014-MW                             Doc 1 Filed 10/28/20 Entered 10/28/20 20:01:03                                           Desc
                                                               Main Document    Page 6 of 13
                                                               United States Bankruptcy Court
                                                                     Central District of California
 In re      Northern Holdings, LLC                                                                                    Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Leroy Codding                                                                                                                   100%



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Managing Member of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date October 28, 2020                                                       Signature
                                                                                            Leroy Codding

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy




                                                                                                                                               EXHIBIT 1
                                                                                                                                                PAGE 40
   Case 8:20-bk-13014-ES                          Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                                            Desc
                                                  Main Document    Page 45 of 392
          Case 8:20-bk-13014-MW                       Doc 1 Filed 10/28/20 Entered 10/28/20 20:01:03                                                   Desc
                                                      Main Document    Page 7 of 13


                                 STATEMENT OF RELATED CASES
                              INFORMATION REQUIRED BY LBR 1015-2
               UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1. A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
   against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
   copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
   corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
   and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
   assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
   included in Schedule A/B that was filed with any such prior proceeding(s).)
None

2. (If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
   Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
   debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
   debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
   complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
   and court to whom assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list
   any real property included in Schedule A/B that was filed with any such prior proceeding(s).)
None

3. (If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
   previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
   of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
   of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
   or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
   such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
   still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
   A/B that was filed with any such prior proceeding(s).)
None

4. (If petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
   been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
   proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
   pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
   that was filed with any such prior proceeding(s).)
None


I declare, under penalty of perjury, that the foregoing is true and correct.
Executed at                      Orange                            , California.
                                                                                                     Leroy Codding
Date:            October 28, 2020                                                                    Signature of Debtor 1



                                                                                                      Signature of Debtor 2




                  This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

October 2018                                                              Page 1              F 1015-2.1.STMT.RELATED.CASES


                                                                                                                                                  EXHIBIT 1
                                                                                                                                                   PAGE 41
Case 8:20-bk-13014-ESDoc 304 Filed 04/01/22 Entered 04/01/22 17:45:55 Desc
                     Main Document    Page 46 of 392
Case 8:20-bk-13014-MW Doc 1 Filed 10/28/20 Entered 10/28/20 20:01:03 Desc
                      Main Document    Page 8 of 13


                        UNANIMOUS WRITTEN CONSENT OF

                           THE MANAGING MEMBERS

                          NORTHERN HOLDINGS, LLC.

                          DATED: October 28, 2020


Pursuant to §307(b) of      the California Corporations Code and the
operating agreement of      the LLC, the undersigned, being the
Managing Member of the      LLC, and in lieu of a meeting, hereby
unanimously adopts the      following recitals and resolutions:

WHEREAS, the Managing Member has determined that the LLC needs
to take advantage of the benefits of Chapter 11 of the
Bankruptcy Code to reorganize the debt structure of the LLC;
and,

THEREFORE IT IS RESOLVED, that the LLC is authorized to file a
Voluntary Petition under Chapter 11 of the Bankruptcy Code and
attempt to reorganize thereunder; and,

IT IS FURTHER RESOLVED, that, Leroy Codding, Managing Member, is
hereby authorized and instructed to take whatever actions he
deems appropriate to file the Chapter 11 petition and see the
case to complete reorganization.


Managing Member



_____________________________
Leroy Codding




                                                               EXHIBIT 1
                                                                PAGE 42
Case 8:20-bk-13014-ES                          Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                                             Desc
                                               Main Document    Page 47 of 392
       Case 8:20-bk-13014-MW                        Doc 1 Filed 10/28/20 Entered 10/28/20 20:01:03                                                   Desc
                                                    Main Document    Page 9 of 13


 Attorney or Party Name, Address, Telephone & FAX Nos., and State Bar No. &         FOR COURT USE ONLY
 Email Address
 Matthew D. Resnik
 17609 Ventura Blvd.
 Ste 314
 Encino, CA 91316
 (818) 285-0100 Fax: (818) 855-7013
 California State Bar Number: (SBN 182562) CA
 matt@rhmfirm.com




      Attorney for: Debtor
                                                 UNITED STATES BANKRUPTCY COURT
                                                  CENTRAL DISTRICT OF CALIFORNIA

 In re:                                                                        CASE NO.:
          Northern Holdings, LLC                                               ADVERSARY NO.:
                                                                    Debtor(s), CHAPTER: 11

                                                                   Plaintiff(s),
                                                                                     CORPORATE OWNERSHIP STATEMENT
                                                                                        PURSUANT TO FRBP 1007(a)(1)
                                                                                          and 7007.1, and LBR 1007-4

                                                                                                                    [No hearing]
                                                               Defendant(s).

 Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor in
 a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent
 corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10% or more
 of any class of the corporation’s equity interest, or state that there are no entities to report. This Corporate Ownership
 Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
 statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
 inaccurate.

 I,    Leroy Codding                                                           , the undersigned in the above-captioned case, hereby declare
                  (Print Name of Attorney or Declarant)
 under penalty of perjury under the laws of the United States of America that the following is true and correct:




 ___________________________________________________________________________
                 This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
 December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT




                                                                                                                                                EXHIBIT 1
                                                                                                                                                 PAGE 43
Case 8:20-bk-13014-ES                            Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                                             Desc
                                                 Main Document    Page 48 of 392
           Case 8:20-bk-13014-MW                     Doc 1 Filed 10/28/20 Entered 10/28/20 20:01:03                                                    Desc
                                                     Main Document   Page 10 of 13


 [Check the appropriate boxes and, if applicable, provide the required information.]
 1.          I have personal knowledge of the matters set forth in this Statement because:
                I am the president or other officer or an authorized agent of the Debtor corporation
                I am a party to an adversary proceeding
                I am a party to a contested matter
                I am the attorney for the Debtor corporation
 2.a.           The following entities, other than the debtor or a governmental unit, directly or indirectly own 10% or more of any
                class of the corporation’s(s’) equity interests:
                [For additional names, attach an addendum to this form.]
      b.        There are no entities that directly or indirectly own 10% or more of any class of the corporation’s equity interest.

 October 28, 2020                                                                           By:
 Date                                                                                              Signature of Debtor, or attorney for Debtor

                                                                                            Name:        Leroy Codding, Managing Member
                                                                                                         Printed name of Debtor, or attorney for
                                                                                                         Debtor




 ___________________________________________________________________________
                   This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
 December 2012                                                                                                  F 1007-4.CORP.OWNERSHIP.STMT




                                                                                                                                                  EXHIBIT 1
                                                                                                                                                   PAGE 44
   Case 8:20-bk-13014-ES                         Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                                            Desc
                                                 Main Document    Page 49 of 392
         Case 8:20-bk-13014-MW                      Doc 1 Filed 10/28/20 Entered 10/28/20 20:01:03                                                    Desc
                                                    Main Document   Page 11 of 13
Attorney or Party Name, Address, Telephone & FAX Nos.,                            FOR COURT USE ONLY
State Bar No. & Email Address
Matthew D. Resnik
17609 Ventura Blvd.
Ste 314
Encino, CA 91316
(818) 285-0100 Fax: (818) 855-7013
California State Bar Number: (SBN 182562) CA
matt@rhmfirm.com




     Debtor(s) appearing without an attorney
     Attorney for Debtor

                                                   UNITED STATES BANKRUPTCY COURT
                                                    CENTRAL DISTRICT OF CALIFORNIA

In re:
                                                                                  CASE NO.:
            Northern Holdings, LLC
                                                                                  CHAPTER: 11




                                                                                                     VERIFICATION OF MASTER
                                                                                                    MAILING LIST OF CREDITORS

                                                                                                                   [LBR 1007-1(a)]

                                                              Debtor(s).

Pursuant to LBR 1007-1(a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of 2 sheet(s) is complete, correct, and
consistent with the Debtor's schedules and I/we assume all responsibility for errors and omissions.

Date: October 28, 2020
                                                                                         Signature of Debtor 1

Date:
                                                                                         Signature of Debtor 2 (joint debtor) ) (if applicable)

Date: October 28, 2020
                                                                                         Signature of Attorney for Debtor (if applicable)




                  This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
December 2015                                                                                      F 1007-1.MAILING.LIST.VERIFICATION



                                                                                                                                                  EXHIBIT 1
                                                                                                                                                   PAGE 45
    Case 8:20-bk-13014-ES Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                          Main Document    Page 50 of 392
     Case 8:20-bk-13014-MW Doc 1 Filed 10/28/20 Entered 10/28/20 20:01:03    Desc
                           Main Document     Page 12 of 13


}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                            Northern Holdings, LLC
                            13217 Jamboree Road, #429
                            Tustin, CA 92782


                            Matthew D. Resnik
                            RESNIK HAYES MORADI, LLP.
                            17609 Ventura Blvd.
                            Ste 314
                            Encino, CA 91316


                            Bank of America
                            PO Box 15019
                            Wilmington, DE 19850


                            California Dept of Tax and Fee Admi
                            Special Ops, MIC 29
                            PO Box 942879
                            Sacramento, CA 94279-0005


                            Capital One
                            P.O. Box 60599
                            City Of Industry, CA 91716


                            Electro-Steam Generator Corp.
                            50 Indel Avenue
                            Rancocas, NJ 08073


                            Erich Russell
                            2380 Live Oak Road
                            Paso Robles, CA 93446


                            Farm Credit West
                            3755 Atherton Rd
                            11707 Fair Oaks Blvd
                            Rocklin, CA 95765




                                                                     EXHIBIT 1
                                                                      PAGE 46
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document    Page 51 of 392

Case 8:20-bk-13014-MW   Doc 1 Filed 10/28/20 Entered 10/28/20 20:01:03     Desc
                        Main Document   Page 13 of 13



                    Franchise Tax Board
                    Attn: Bankruptcy Unit
                    P.O. Box 2952
                    Sacramento, CA 95812-2952


                    Internal Revenue Service
                    P.O. Box 7346
                    Philadelphia, PA 19101-7346


                    Mortgage Lender Services as Agent
                    Farm Credit West, FLCA, as Trustee
                    11707 Fair Oaks Blvd
                    Fair Oaks, CA 95628


                    PG&E
                    P.O. Box 99700
                    Sacramento, CA 95899-7300


                    San Luis Obispo Tax Collector
                    1055 Monterey St Room D290
                    San Luis Obispo, CA 93408


                    Sunbelt Rentals
                    P.O. Box 409211
                    Atlanta, GA 30384


                    West Coast Wine Partners
                    134 Church Street
                    Sonoma, CA 95476




                                                                   EXHIBIT 1
                                                                    PAGE 47
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document    Page 52 of 392




                                                      EXHIBIT 2

                                                                    PAGE 48
Case 8:20-bk-13014-ES           Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                        Desc
                                Main Document    Page 53 of 392



  D. EDWARD HAYS, #162507
  ehays@marshackhays.com
  DAVID A. WOOD, #272406
  dwood@marshackhays.com
  TINHO MANG, #322146
  tmang@marshackhays.com
  MARSHACK HAYS LLP
  870 Roosevelt Avenue
  Irvine, CA 92620
  Telephone: (949) 333-7777
  Facsimile: (949) 333-7778

  Attorneys for Chapter 7 Trustee,
  RICHARD A. MARSHACK

                                UNITED STATES BANKRUPTCY COURT
                  CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION


   In re                                                 Case No. 8:20-bk-13014-MW
   NORTHERN HOLDING, LLC,                                Chapter 7

                      Debtor.                            STIPULATION FOR TURNOVER OF
                                                         REAL PROPERTY LOCATED AT
                                                         1172 SAN MARCOS ROAD, PASO
                                                         ROBLES, CA
                                                         [NO HEARING REQUIRED]

  TO THE HONORABLE MARK S. WALLACE, UNITED STATES BANKRUPTCY JUDGE, THE
  OFFICE OF THE UNITED STATES TRUSTEE, AND ALL INTERESTED PARTIES:

           This stipulation is entered into between Richard A. Marshack, in his capacity as Chapter 7
  Trustee (“Trustee”) of the Bankruptcy Estate (“Estate”) of Northern Holding, LLC (“Debtor”), on
  one hand, and Rabbit Ridge Wine Sales, Inc. (“Rabbit Ridge”), on the other hand, with regard to
  turnover of real property commonly known as 1172 San Marcos Road, Paso Robles, CA, APN Nos.
  026-104-001, 027-145-022 (“Property”). Collectively, Trustee and Rabbit Ridge shall be referred to
  as the “Parties.”

                                                 Recitals
           A.     On October 28, 2020, Debtor filed a voluntary petition for bankruptcy under Chapter
  11 of Title 11 of the United States Code.




                                                                                            EXHIBIT 2
                                                                                             PAGE 49
Case 8:20-bk-13014-ES           Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                           Desc
                                Main Document    Page 54 of 392



         B.       Rabbit Ridge asserts that it entered into a lease/rental agreement between Debtor and
  Rabbit Ridge regarding the Property, which is dated October 27, 2020 (“San Marcos Lease”).
         C.       The San Marcos Lease states that Rabbit Ridge agreed to pay $15,000 per month to
  Debtor and the term of the San Marcos Lease expired on January 1, 2022. Additionally, paragraph
  30 of the San Marcos Lease states that “Tennant will pay 20% custom crush revenue to NHC on top
  of basis rate – billed in arrears monthly.”

         D.       No cash payments have been made to Debtor by Rabbit Ridge on account of the San
  Marcos Lease.
         E.       On June 15, 2021, as Dk. No. 116, the Court entered an order converting the case to
  Chapter 7. Richard A. Marshack is the duly-appointed and acting Chapter 7 trustee.
         F.       The Trustee requires possession and control of the Property to administer for the
  benefit of the Estate.
         G.       The Trustee has requested, and Rabbit Ridge agrees to turnover of the Property to the

  Trustee upon the terms stated below and Rabbit Ridge agrees, to the extent that the San Marcos
  Lease may be valid, that the San Marcos Lease is terminated in its entirety.
         The Parties agree and STIPULATE as follows:
         1.       Rabbit Ridge agrees that the San Marcos Lease, to the extent that it is valid, shall be
  voluntarily and mutually terminated and any and all interests of Rabbit Ridge in the San Marcos
  Lease shall be terminated, including but not limited to any leasehold or possessory interest in the

  Property and any right to use the production facilities at the Property. The termination of the San
  Marcos Lease shall be effective upon mutual execution of this stipulation.
         2.       Rabbit Ridge agrees that it will vacate and turn over possession of the Property and
  all keys, gate openers, and all other methods of access to the Property to the Trustee on or before
  midnight on July 31, 2021 (“Turnover Deadline”).
         3.       To the extent that any such rights exist, it is the intent of this Stipulation to extinguish
  any occupancy, possessory, and rights of use of Rabbit Ridge at the Property.




                                                                                                 EXHIBIT 2
                                                                                                  PAGE 50
Case 8:20-bk-13014-ES            Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                      Desc
                                 Main Document    Page 55 of 392



         4.        In the event Rabbit Ridge does not vacate and turn over possession of the Property by
  the Turnover Deadline, and upon Trustee’s request, the Clerk may issue a writ of assistance
  authorizing the United States Marshals Service to remove and lock Rabbit Ridge out of the Property.
         5.        Trustee may seek all necessary and appropriate court orders to enforce the terms and
  purpose of this Stipulation.
         6.        In the course of vacating the Property and turnover to the Trustee, Rabbit Ridge shall

  not remove, destroy, disturb, or tamper with any of the following: furniture, fixtures including trade
  fixtures, inventory, agricultural assets such as crops, vines, seeds, and raw and unfinished products,
  wine barrels and casks, machinery and equipment (including but not limited to bottling and
  processing equipment), materials, and ingredients of any kind.
         7.        This stipulation may be executed in one or more counterparts and facsimile or
  electronic signatures may be used in filing this document with the Court.
   Dated: July __, 2021
                                                   By:______________________________
                                                       RICHARD A. MARSHACK
                                                       Chapter 7 Trustee for NORTHERN HOLDING
                                                       LLC

   Dated: July ___, 2021                           By:______________________________
                                                       LEROY CODDING
                                                       Chief Executive Officer of RABBIT RIDGE
                                                       WINE SALES, INC.
   Presented by:                                   MARSHACK HAYS LLP
               27 2021
   Dated: July ___,                                     /s/ D. Edward Hays
                                                   By:______________________________
                                                       D. EDWARD HAYS
                                                       TINHO MANG
                                                       Attorneys for RICHARD A. MARSHACK




                                                                                             EXHIBIT 2
                                                                                              PAGE 51
        Case 8:20-bk-13014-ES                       Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                         Desc
                                                    Main Document    Page 56 of 392
                                        oPROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled: STIPULATION FOR TURNOVER OF REAL PROPERTY
LOCATED AT 1172 SAN MARCOS ROAD, PASO ROBLES, CA will be served or was served (a) on the judge in chambers
in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On August
9, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On August 9, 2021, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

 DEBTOR                                                     INTERESTED PARTY
 NORTHERN HOLDING, LLC                                      LEE CODDING
 ATTN: OFFICER, A MANAGING OR                               13217 JAMBOREE RD #429
 GENERAL AGENT, OR TO ANY OTHER                             TUSTIN, CA 92782
 AGENT AUTHORIZED BY APPOINTMENT
 OR LAW TO RECEIVE SERVICE
 13217 JAMBOREE RD #429
 TUSTIN, CA 92782

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on August 9, 2021, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

VIA PERSONAL DELIVERY: PRESIDING JUDGE’S COPY
HONORABLE MARK S. WALLACE
UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
RONALD REAGAN FEDERAL BUILDING AND COURTHOUSE
411 WEST FOURTH STREET, SUITE 6135 / COURTROOM 6C
SANTA ANA, CA 92701-4593

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
 August 9, 2021                 Layla Buchanan                                                   /s/ Layla Buchanan
 Date                           Printed Name                                                     Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE


                                                                                                                                 EXHIBIT 2
                                                                                                                                  PAGE 52
            Case 8:20-bk-13014-ES                   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                         Desc
                                                    Main Document    Page 57 of 392
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:
     ATTORNEY FOR U.S. TRUSTEE (SA): Nancy S Goldenberg nancy.goldenberg@usdoj.gov
     ATTORNEY FOR CREDITOR FARM CREDIT WEST, FLCA: Michael J Gomez mgomez@frandzel.com,
       dmoore@frandzel.com
     ATTORNEY FOR TRUSTEE RICHARD A MARSHACK (TR): D Edward Hays ehays@marshackhays.com,
       ehays@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com; cmendoza@marshackhays.com;
       cmendoza@ecf.courtdrive.com
     ATTORNEY FOR TRUSTEE RICHARD A MARSHACK (TR): Tinho Mang tmang@marshackhays.com,
       tmang@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com; cmendoza@ecf.courtdrive.com
     TRUSTEE RICHARD A MARSHACK (TR): Richard A Marshack (TR) pkraus@marshackhays.com,
       rmarshack@iq7technology.com; ecf.alert+Marshack@titlexi.com
     ATTORNEY FOR INTERESTED PARTY BANK DIRECT CAPITAL FINANCE: Elissa Miller
       emiller@sulmeyerlaw.com, emillersk@ecf.inforuptcy.com; ccaldwell@sulmeyerlaw.com
     ATTORNEY FOR DEBTOR NORTHERN HOLDING LLC: Roksana D. Moradi-Brovia roksana@rhmfirm.com,
       matt@rhmfirm.com; janita@rhmfirm.com; susie@rhmfirm.com; max@rhmfirm.com; priscilla@rhmfirm.com;
       pardis@rhmfirm.com; russ@rhmfirm.com; rebeca@rhmfirm.com; david@rhmfirm.com; sloan@rhmfirm.com
     ATTORNEY FOR CREDITOR ADLER BELMONT GROUP, INC.: Paul F Ready tamara@farmerandready.com
     ATTORNEY FOR DEBTOR NORTHERN HOLDING LLC: Matthew D. Resnik matt@rhmfirm.com,
       roksana@rhmfirm.com; janita@rhmfirm.com; susie@rhmfirm.com; max@rhmfirm.com; priscilla@rhmfirm.com;
       pardis@rhmfirm.com; russ@rhmfirm.com; rebeca@rhmfirm.com; david@rhmfirm.com; sloan@rhmfirm.com
     UNITED STATES TRUSTEE (SA): United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
     ATTORNEY FOR CREDITOR FARM CREDIT WEST, FLCA: Reed S Waddell rwaddell@frandzel.com,
       sking@frandzel.com
     ATTORNEY FOR CREDITOR FARM CREDIT WEST, FLCA: Gerrick Warrington gwarrington@frandzel.com,
       sking@frandzel.com
     INTERESTED PARTY COURTESY NEF: David Wood dwood@marshackhays.com, dwood@ecf.courtdrive.com;
       lbuchananmh@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com

   2. SERVED BY UNITED STATES MAIL: CONTINUED:
 SECURED CREDITOR / POC        SECURED CREDITOR / POC ADDRESS                                               SECURED CREDITOR
 ADDRESS                       ERICH RUSSELL                                                                FARM CREDIT WEST
 ELRICH RUSSELL                2380 LIVE OAK ROAD                                                           3755 ATHERTON RD
 C/O KARI L. LEY, ATTORNEY AT  PASO ROBLES, CA 93446-9693                                                   11707 FAIR OAKS BLVD
 LAW                                                                                                        ROCKLIN, CA 95765
 264 CLOVIS AVENUE, SUITE 208
 CLOVIS, CA 93612

 SECURED CREDITOR / POC                            SECURED CREDITOR / POC ADDRESS                           SECURED CREDITOR / POC
 ADDRESS                                           FARM CREDIT WEST, FLCA                                   ADDRESS
 FARM CREDIT WEST, FLCA                            ATTN: KEVIN E. RALPH                                     JAMES W. HAMILTON ACTTC
 C/O MICHAEL J. GOMEZ                              3755 ATHERTON DRIVE                                      SAN LUIS OBISPO TAX COLLECTOR
 FRANDZEL ROBINS BLOOM &                           ROCKLIN CA 95765-3701                                    1055 MONTEREY STREET
 CSATO, L.C.                                                                                                SUITE D-290
 1000 WILSHIRE BOULEVARD,                                                                                   SAN LUIS OBISPO CA 93408-1003
 19TH FLOOR
 LOS ANGELES, CA 90017-2457




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE



                                                                                                                                 EXHIBIT 2
                                                                                                                                  PAGE 53
            Case 8:20-bk-13014-ES                   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                         Desc
                                                    Main Document    Page 58 of 392
 SECURED CREDITOR                                  CREDITOR                                                 CREDITOR / POC ADDRESS
 MORTGAGE LENDER SERVICES                          ATTORNEY GENERAL                                         ADLER BELMONT GROUP, INC.
 AS AGENT                                          UNITED STATES DEPARTMENT OF                              C/O PAUL F. READY
 FARM CREDIT WEST, FLCA, AS                        JUSTICE                                                  FARMER & READY
 TRUSTEE                                           BEN FRANKLIN STATION                                     1254 MARSH STREET
 11707 FAIR OAKS BLVD                              P.O. BOX 683                                             SAN LUIS OBISPO CA 93401
 FAIR OAKS, CA 95628-2816                          WASHINGTON, DC 20044

 CREDITOR                                          CREDITOR                                                 CREDITOR
 BANK OF AMERICA                                   CALIFORNIA DEPT OF TAX AND FEE                           CAPITAL ONE
 PO BOX 15019                                      ADMI                                                     P.O. BOX 60599
 WILMINGTON, DE 19850-5019                         SPECIAL OPS, MIC 29                                      CITY OF INDUSTRY, CA 91716-0599
                                                   PO BOX 942879
                                                   SACRAMENTO, CA 94279-0005

 CREDITOR                                          CREDITOR                                                 CREDITOR / POC ADDRESS
 CIVIL PROCESS CLERK                               ELECTRO-STEAM GENERATOR CORP.                            FRANCHISE TAX BOARD
 UNITED STATES ATTORNEY'S                          50 INDEL AVENUE                                          BANKRUPTCY SECTION MS A340
 OFFICE                                            RANCOCAS, NJ 08073                                       PO BOX 2952
 FEDERAL BUILDING, ROOM 7516                                                                                SACRAMENTO CA 95812-2952
 300 NORTH LOS ANGELES
 STREET
 LOS ANGELES, CA 90012

 CREDITOR                                          CREDITOR / POC ADDRESS                                   CREDITOR
 HILCO REAL ESTATE, LLC                            INTERNAL REVENUE SERVICE                                 PG&E
 5 REVERE DRIVE, SUITE 320                         P.O. BOX 7346                                            P.O. BOX 99700
 NORTHBROOK, IL 60062                              PHILADELPHIA, PA 19101-7346                              SACRAMENTO, CA 95899-7300

 CREDITOR                                          CREDITOR                                                 CREDITOR
 RABBIT RIDGE WINE SALES, INC.                     SUNBELT RENTALS                                          THOMAS K RACKERBY
 179 NIBLICK RD, #406                              P.O. BOX 409211                                          C/O TOM PROUNTZOS
 PASO ROBLES, CA 93446-9693                        ATLANTA, GA 30384-9211                                   GOODMAN NEUMAN HAMILTON
                                                                                                            LLP
                                                                                                            ONE POST STREET, SUITE 2100
                                                                                                            SAN FRANCISCO, CA 94104

 CREDITOR
 WEST COAST WINE PARTNERS
 134 CHURCH STREET
 SONOMA, CA 95476-6612




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE



                                                                                                                                 EXHIBIT 2
                                                                                                                                  PAGE 54
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document    Page 59 of 392




                                                      EXHIBIT 3

                                                                    PAGE 55
Case 8:20-bk-13014-ES               Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                          Desc
                                    Main Document    Page 60 of 392
 Case 8:20-bk-13014-MW             Doc 196 Filed 08/23/21 Entered 08/23/21 10:55:49                    Desc
                                    Main Document Page 1 of 2


  1 D. EDWARD HAYS, #162507
    ehays@marshackhays.com
  2 DAVID A. WOOD, #272406
    dwood@marshackhays.com                                                  FILED & ENTERED
  3 TINHO MANG, #322146
    tmang@marshackhays.com
  4 MARSHACK HAYS LLP                                                             AUG 23 2021
    870 Roosevelt Avenue
  5 Irvine, CA 92620                                                         CLERK U.S. BANKRUPTCY COURT
    Telephone: (949) 333-7777                                                Central District of California
                                                                             BY jle        DEPUTY CLERK
  6 Facsimile: (949) 333-7778

  7 Attorneys for Chapter 7 Trustee,
    RICHARD A. MARSHACK                                              CHANGES MADE BY COURT
  8

  9                                 UNITED STATES BANKRUPTCY COURT
 10                    CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
 11

 12 In re                                                       Case No. 8:20-bk-13014-MW
 13 NORTHERN HOLDING, LLC,                                      Chapter 7
 14                    Debtor.                                  ORDER APPROVING STIPULATION
                                                                FOR TURNOVER OF REAL PROPERTY
 15                                                             LOCATED AT
                                                                1172 SAN MARCOS ROAD, PASO
 16                                                             ROBLES, CA
 17                                                             [NO HEARING REQUIRED]
 18             The court having reviewed and considered the Stipulation for Turnover of Real Property
 19 Located at 1172 San Marcos Road, Paso Robles, CA, APN Nos. 026-104-001, 027-145-022 (the

 20 “Stipulation”, Docket No. 184),1 and good cause appearing,

 21             IT IS HEREBY ORDERED that the Stipulation is approved as follows:
 22             1.     The San Marcos Lease, to the extent that it is valid, is voluntarily and mutually
 23 terminated and any and all interests of Rabbit Ridge in the San Marcos Lease is terminated,

 24 including but not limited to any leasehold, occupancy, or possessory interest in the property and

 25 facilities located at 1172 San Marcos Road, Paso Robles, CA, APN Nos. 026-104-001 and 027-145-

 26 022 (“Property”), and any right to use the production facilities at the Property.
 27

 28
      1
          All terms not defined herein are used as they are defined in the Stipulation.

                                                           1
      4816-7517-2594v.1-1015.146



                                                                                                       EXHIBIT 3
                                                                                                        PAGE 56
Case 8:20-bk-13014-ES             Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                       Desc
                                  Main Document    Page 61 of 392
  Case 8:20-bk-13014-MW              Doc 196 Filed 08/23/21 Entered 08/23/21 10:55:49             Desc
                                      Main Document Page 2 of 2


    1          2.      Rabbit Ridge shall vacate and turn over possession of the Property and all keys, gate
    2 openers, and all other methods of access to the Property to the Trustee on or before midnight on July
    3 31, 2021 (“Turnover Deadline”).
    4          3.      To the extent that any such rights exist, any occupancy, possessory, and rights of use
    5 of Rabbit Ridge at the Property are extinguished.
    6          4.      In the event Rabbit Ridge does not vacate and turn over possession of the Property by
    7 the Turnover Deadline, and upon Trustee’s request, the Clerk may issue a writ of assistance
    8 authorizing the United States Marshals Service to remove and lock Rabbit Ridge out of the Property.

    9          5.      Trustee may seek all necessary and appropriate court orders to enforce the terms and
   10 purpose of this Order.
   11          6.      In the course of vacating the Property and turnover to the Trustee, Rabbit Ridge shall
   12 not remove, destroy, disturb, or tamper with any of the following: furniture, fixtures including trade

   13 fixtures, inventory, agricultural assets such as crops, vines, seeds, and raw and unfinished products,

   14 wine barrels and casks, machinery and equipment (including but not limited to bottling and

   15 processing equipment), materials, and ingredients of any kind.

   16          IT IS SO ORDERED.
   17                                                    ###
   18

   19
   20
   21

   22
   23
          Date: August 23, 2021
   24
   25

   26
   27
   28


                                                          2
        4816-7517-2594v.1-1015.146



                                                                                               EXHIBIT 3
                                                                                                PAGE 57
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document    Page 62 of 392




                                                      EXHIBIT 4

                                                                    PAGE 58
Case 8:20-bk-13014-ES                 Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                Desc
                                      Main Document    Page 63 of 392



   1 D. EDWARD HAYS, #162507
     ehays@marshackhays.com
   2 DAVID A. WOOD, #272406
     dwood@marshackhays.com
   3 TINHO MANG, #322146
     tmang@marshackhays.com
   4 MARSHACK HAYS LLP
     870 Roosevelt
   5 Irvine, CA 92620
     Telephone: (949) 333-7777
   6 Facsimile: (949) 333-7778

   7 Attorneys for Chapter 7 Trustee,
     RICHARD A. MARSHACK
   8

   9                                   UNITED STATES BANKRUPTCY COURT
  10                    CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
  11    In re                                                Case No. 8:20-bk-13014-MW
  12    NORTHERN HOLDING, LLC,                               Chapter 7
  13                        Debtor.                          CHAPTER 7 TRUSTEE’S MOTION TO
                                                             APPROVE FARM OPERATOR
  14                                                         AGREEMENT AND FOR ORDER TO
                                                             OPERATE DEBTOR’S BUSINESS FOR
  15                                                         THE LIMITED PURPOSE OF
                                                             COMPLETING FALL 2021 HARVEST OF
  16                                                         CURRENT CROP OF FRUIT;
                                                             MEMORANDUM OF POINTS AND
  17                                                         AUTHORITIES; DECLARATIONS OF
                                                             RICHARD A. MARSHACK AND LEROY
  18                                                         CODDING IN SUPPORT
  19                                                         Date: August 30, 2021
                                                             Time: 2:00 p.m.
  20                                                         Ctrm: 6C
                                                             Address: 411 W. Fourth Street, Santa Ana,
  21                                                         CA 92701
  22 TO THE HONORABLE MARK S. WALLACE, UNITED STATES BANKRUPTCY JUDGE, THE

  23 OFFICE OF THE UNITED STATES TRUSTEE, AND ALL INTERESTED PARTIES:
  24            RICHARD A. MARSHACK, in his capacity as Chapter 7 Trustee (“Trustee”) of the
  25 Bankruptcy Estate (“Estate”) of Northern Holding, LLC (“Debtor”), brings this motion to approve a

  26 farm operator agreement and for an order authorizing the Trustee to operate the Debtor’s business

  27 for the limited period of time and for the sole purpose of completing the harvest of the current crop

  28 of fruit growing on Debtor’s land. In support thereof, the Trustee respectfully represents as follows:

                                                  1
                   MOTION FOR ORDER AUTHORIZING LIMITED OPERATION OF DEBTOR’S BUSINESS
       4824-2330-5952,v.1



                                                                                            EXHIBIT 4
                                                                                             PAGE 59
Case 8:20-bk-13014-ES             Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                       Desc
                                  Main Document    Page 64 of 392



 1 1.         Summary of Argument
 2            Debtor is the title owner of approximately 450 acres of land suitable for vineyards across two
 3 separate parcels of real property, located at 1172 San Marcos Road, Paso Robles, CA (“San Marcos
 4 Property”), which includes a turnkey winery production facility, real property located at APN 027-

 5 145-022 in Paso Robles, CA (“Texas Road Property”) and 2380 Live Oak Road, Paso Robles, CA

 6 (“Live Oak Property”) (collectively, “Properties”). Around 135 acres are currently planted with

 7 crops that are anticipated to be ready for harvest in late September or early October of this year, with

 8 an estimated yield of 253.5 tons. Based on the Trustee’s personal visual inspection of the Properties,

 9 it would be an enormous waste if all of these crops were allowed to wither and die – the current crop

10 should be brought to fruition and sold for the benefit of the Estate. To accomplish this goal, the
11 Trustee personally drafted and negotiated an agreement with LeRoy Codding (“Mr. Codding” or
12 “Operator”) where the Debtor’s principal and person in charge of farm operations would personally

13 advance all operational costs for tending, maintaining, cultivating, and harvesting existing crops,

14 with all proceeds to be delivered to the Trustee. Thereafter, Operator would be allowed to be

15 reimbursed all reasonable expenses of harvest from the proceeds of the sale. The crops are currently

16 being tended and require regular care and supervision under a person with knowledge and expertise
17 regarding the cultivation of the types of crops on the land. Thus, continuity is crucial for this year’s

18 harvest.
19            The Trustee respectfully requests that the Court approve the farm management agreement
20 with Mr. Codding (“Agreement”) and enter an order pursuant to 11 U.S.C. § 721 to allow him to
21 permit operations on the Properties for the sole and limited purpose of completing the fall 2021

22 harvest of crop, selling the crop, and holding the proceeds pending further order of the Court

23 (recognizing that all such proceeds would be subject to the lien asserted by Farm Credit West,
24 FCLA).

25 2.         Procedural Background
26            Erich Russell was the former owner and operator of Rabbit Ridge Winery (“Rabbit Ridge”),
27 which was as of October 2020 located at 1172 San Marcos Road, Paso Robles, CA (previously

28 defined as “San Marcos Property”). To finance his business operations, Mr. Russell borrowed

                                                2
                 MOTION FOR ORDER AUTHORIZING LIMITED OPERATION OF DEBTOR’S BUSINESS
     4824-2330-5952,v.1



                                                                                               EXHIBIT 4
                                                                                                PAGE 60
Case 8:20-bk-13014-ES              Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                       Desc
                                   Main Document    Page 65 of 392



 1 substantial sums of money from Farm Credit West, FLCA (“FCW”), which were secured certain

 2 assets including substantially all assets of Rabbit Ridge and Properties.

 3            Prior to a foreclosure of the Properties by FCW, Mr. Russell filed an individual Chapter 11
 4 case, initiating bankruptcy case number 9:20-bk-10035-DS (“Individual Case”). On June 19, 2020,

 5 the Individual Case was dismissed for cause.

 6            A subsequent foreclosure sale for the Properties was scheduled by FCW for October 29,
 7 2020. Prior to the foreclosure date, Mr. Russell and FCW continued to discuss a possible forbearance

 8 and an extension of the foreclosure date.

 9            On or about October 28, 2020, Mr. Russell signed quitclaim deeds transferring the Properties
10 to Debtor. These quitclaim deeds were recorded on the same date. Additionally, ownership and
11 control of Rabbit Ridge passed to LeRoy Codding, who operated as a de facto chief restructuring
12 officer.

13            On October 28, 2020, Debtor filed a voluntary petition for bankruptcy under Chapter 11 of
14 Title 11 of the United States Code, initiating the above-captioned bankruptcy proceeding.

15            On October 29, 2020, as Dk. No. 5, FCW filed a notice of continuation of perfection of
16 security interest and demand to sequester cash collateral. No motion or stipulation to use cash
17 collateral has ever been filed in this case. To the best of the Trustee’s knowledge, FCW has not

18 agreed to the use of its cash collateral for any purpose, although the Trustee has been in extensive
19 negotiations with FCW regarding his proposed course of administration of the case.

20            On November 5, 2020, Debtor filed its registration as a limited liability company in
21 California, file no. 202031410753. Prior to this date, Debtor was not a registered limited liability

22 company in California. Northern Holding, LLC was registered as of April 30, 2012 with the

23 Minnesota Secretary of State, file number 486524600029. A true and correct copy of the LLC filing
24 statement for the Debtor as a Minnesota LLC is attached to the request for judicial notice (“RJN”) as

             5
25 Exhibit “__.”

26            On November 6, 2020, as Dk. No. 11, FCW filed a motion for relief from the automatic stay
27 regarding the Properties (“Stay Relief Motion”). The hearing on the Stay Relief Motion has been

28 trailed and is currently set for August 2, 2021, with interim partial relief granted by the Court.

                                                3
                 MOTION FOR ORDER AUTHORIZING LIMITED OPERATION OF DEBTOR’S BUSINESS
     4824-2330-5952,v.1



                                                                                                EXHIBIT 4
                                                                                                 PAGE 61
Case 8:20-bk-13014-ES              Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                      Desc
                                   Main Document    Page 66 of 392



 1            On February 16, 2021, as Dk. No. 60, the Office of the United States Trustee (“OUST”) filed
 2 a motion to dismiss or convert the case for cause pursuant to 11 U.S.C. § 1112(b).

 3            On March 31, 2021, as Dk. No. 104, Debtor filed a monthly operating report for the month of
 4 February (“February MOR”). This was the last monthly operating report ever filed by Debtor. The

 5 February MOR showed that in that month, Debtor was entitled to receive rental and operating

 6 income – but the Trustee is informed that no rental and operating income was ever received by

 7 Debtor based on what was alleged to be offsetting debts arising from oral consulting agreements.

 8 The Trustee has never been provided with any copy of any consulting agreement and disputes the

 9 validity of such agreements, if they even exist.

10            On June 15, 2021, as Dk. No. 116, the Court entered an order converting the case to Chapter
11 7. Richard A. Marshack (previously defined as “Trustee”) was appointed as the Chapter 7 trustee.
12            Upon the Trustee’s appointment, he was informed that Debtor’s insurance premium finance
13 company and insurance broker had not been paid in full and that the Debtor’s insurance policies

14 were at risk of cancellation.

15            The Trustee has requested that the Debtor immediately produce a report pursuant to FRBP
16 1019 regarding post-petition debts. On June 25, 2021, as Dk. No. 126, the FRBP 1019 report was
17 filed by Debtor.

18            In the course of the Chapter 11 case, Debtor as a debtor-in-possession sought to market and
19 sell the Properties. No sale motion was ever filed. The Trustee is investigating whether a sale of the

20 Properties is feasible at this point and whether and to what extent to pursue marketing and sale
21 efforts for the Properties. There are currently parties expressing interest in the Properties including

22 the Riboli family (owners of the San Antonio Winery) who are conducting extensive due diligence at

23 the Live Oak Property.
24            A.          Farm Management Agreement and Proposed Operations
25            On July 27, 2021, the Trustee personally visited and toured the Properties with Mr. Codding.
26 The Trustee personally discussed options with Mr. Codding regarding the continued maintenance of

27

28

                                                4
                 MOTION FOR ORDER AUTHORIZING LIMITED OPERATION OF DEBTOR’S BUSINESS
     4824-2330-5952,v.1



                                                                                                EXHIBIT 4
                                                                                                 PAGE 62
Case 8:20-bk-13014-ES              Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                        Desc
                                   Main Document    Page 67 of 392



 1 the Properties and the crops growing on the Properties.1 The Trustee concluded in his business

 2 judgment that while Mr. Codding may not have understood all of the best practices in connection

 3 with a Chapter 11 bankruptcy case but now believes that Mr. Codding will work in earnest for the
 4 benefit of the Estate. The Trustee believes that Mr. Codding is the best situated person to supervise

 5 the Fall 2021 harvest of the currently-growing crop, because he has the most institutional knowledge

 6 of the current crop. A true and correct copy of the crop estimated yields as of August 5, 2021

 7 prepared by Mr. Codding is attached to the Declaration of LeRoy Codding (“Codding Declaration”)

 8 as Exhibit “3.”

 9            Furthermore, pursuant to the farm management agreement (previously defined as
10 “Agreement”) personally drafted, edited, and negotiated by the Trustee, Mr. Codding agreed to pay
11 for all operating expenses up front at no expense to the Estate. Thus, all of the financial risk in
12 continued operations will be borne by Mr. Codding. A true and correct, executed copy of the

13 Agreement is attached to the Declaration of Richard A. Marshack (“Marshack Declaration”) as

14 Exhibit “1.”

15            If Operator fails to procure and maintain adequate insurance, or fails in any other way to
16 properly maintain and cultivate the crops, the Trustee will terminate the Agreement and remove
17 Operator.

18            Also on July 27, 2021, Mr. Codding signed (on behalf of Rabbit Ridge) a stipulation for
19 turnover of the San Marcos Property acknowledging the Trustee’s sole right of possession and

20 control. A separate copy of the turnover stipulation will be filed by the Trustee.
21            As stated in the Agreement, Operator projects that gross revenue from the sale of the current
22 crop is $723,000 and projects that expenses will be $400,000. The Agreement provides that Operator

23 will be entitled to 5% of the net profit (discussed as the difference between the gross revenue and
24 only the direct expenses incurred to complete the harvest such as utilities, labor, and supplies).

25 Operator will not be compensated other than through a percentage of the net proceeds – Operator

26 shall not collect any salary.

27

28   1
      Pictures of the crop currently growing on the Properties which were taken by Mr. Codding and a
     diagram of the crop locations are collectively attached to the Codding Declaration as Exhibit “2.”
                                                5
                 MOTION FOR ORDER AUTHORIZING LIMITED OPERATION OF DEBTOR’S BUSINESS
     4824-2330-5952,v.1



                                                                                                EXHIBIT 4
                                                                                                 PAGE 63
Case 8:20-bk-13014-ES                   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                       Desc
                                        Main Document    Page 68 of 392



 1 3.         Legal Argument
 2            “The court may authorize the trustee to operate the business of the debtor for a limited
 3 period, if such operation is in the best interest of the estate and consistent with the orderly liquidation
 4 of the estate.” 11 U.S.C. § 721.

 5            A.          There is good cause for the Court to allow continued operation
 6                        of the Debtor’s business.
 7            Under Section 721, the bankruptcy court may authorize the debtor’s business to be operated
 8 in a Chapter 7 case “where the interim operation of the debtor’s business is in the best interest of the

 9 estate and consistent with the orderly liquidation of the estate.” COLLIER ON BANKRUPTCY ¶ 721.02

10 (16th ed. 2020) (citing In re Brints Cotton Mktg., Inc., 737 F.2d 1338, 1342 n.7 (5th Cir. 1984)); see,
11 e.g., In re Quarter Moon Livestock Co. Inc., 116 B.R. 775, 782 (Bankr. D. Idaho 1990) (trustee’s
12 request to operate cattle ranch business until autumn to “roundup and sell the cattle herd” granted);

13 see also Nakhuda v. Mansdorf (In re Nakhuda), 2015 Bankr. LEXIS 649 at *5-7 (B.A.P. 9th Cir.

14 2015). Additionally, “if the sudden termination of the debtor’s business would cause great hardship

15 to the general public or innocent third parties, authorization of the chapter 7 trustee to operate the

16 debtor’s business at a loss might be appropriate.” COLLIER ON BANKRUPTCY ¶ 721.02 (16th ed.
17 2020).

18            The Office of the United States Trustee has set forth the following five factors which a
19 trustee must consider when determining whether continued operation is in the best interest of the

20 Estate:
21            “1.         Whether operating the business will result in an operating loss;
22            2.          The tax consequences of operating the business;
23            3.          The costs necessary to bring the business within compliance of local laws to the extent
24            local laws do not conflict with the Bankruptcy Code;
25            4.          Potential liabilities and claims against the estate and the trustee which may arise from
26            the operation of the business; and
27            5.          The length of time the business will be operated.”
28 United States Dep’t of Justice, Handbook for Chapter 7 Trustees page 4-30 (eff. October 1, 2012).

                                                  6
                   MOTION FOR ORDER AUTHORIZING LIMITED OPERATION OF DEBTOR’S BUSINESS
     4824-2330-5952,v.1



                                                                                                     EXHIBIT 4
                                                                                                      PAGE 64
Case 8:20-bk-13014-ES                 Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                        Desc
                                      Main Document    Page 69 of 392



 1              Each of these factors will be addressed in turn. After analysis of all options and the relative
 2 benefit and liabilities to the Estate, there is good cause for the Court to authorize the Trustee to

 3 operate the Debtor’s business for a limited time and as set forth in this motion.
 4                    i.       There is no anticipated operating loss for the operation of the
 5                             Debtor’s business.
 6              The Trustee in this case is relying heavily on the projections of Operator regarding the
 7 estimated revenues and expenses for completing the harvest. Operator is best-situated as the prior

 8 management of the Debtor and the farmland to project the anticipated revenue, expense, and profit to

 9 complete the growing process and harvest the current crop. A true and correct copy of the projected

10 operating budget through October 2021 is attached to the Declaration of LeRoy Codding (“Codding
11 Declaration”) as Exhibit “2.”
12              The operating budget is reproduced below in full:
13       Cost item                                              Amount               Running total
14       Farm Labor                                             $123,500             $123,500
15          -    $12,000/month for tending vineyards
16          -    $350/ton labor contractor to harvest
17       Workers’ compensation insurance                        $6,000               $129,500
18       Power & Water Utilities                                $22,000              $151,500
19       Well service & maintenance                             $20,000              $171,500
20       Nutrients                                              $8,000               $179,500
21       Licensing                                              $1,200               $180,700
22       Equipment maintenance                                  $10,000              $190,700
23       Previously expended cultivation costs2                 $284,000             $474,700
24

25
                All of the expenses in the operating budget will be borne solely by Operator. Also, pursuant
26
     to the Agreement, Operator has agreed to cap his reimbursements for expenses at $400,000. Thus,
27

28   2
       To be clear, the Trustee has not approved of payment of, or the amount of, costs expended prior to
     the Agreement. This is an open issue.
                                                 7
                  MOTION FOR ORDER AUTHORIZING LIMITED OPERATION OF DEBTOR’S BUSINESS
     4824-2330-5952,v.1



                                                                                                     EXHIBIT 4
                                                                                                      PAGE 65
Case 8:20-bk-13014-ES              Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                      Desc
                                   Main Document    Page 70 of 392



 1 based on Operator’s own projections, he may be personally absorbing a substantial loss in order to

 2 complete the harvest and generate anticipated gross proceeds of $811,700. Thus, there is an

 3 anticipated net benefit of $411,700 over reimbursed expenses to the Estate. Operator shall only be
 4 reimbursed any expense if and when the crop is sold and only from crop proceeds.

 5                  ii.      There are no additional anticipated tax consequences for
 6                           operating the business which would render operations
 7                           prohibitive.
 8            Debtor merely owns real properties. As such, there are property taxes which are accruing on
 9 the Properties and must be paid from the Estate. Also, when selling the crop, the Trustee is informed

10 that there are no sales taxes or duties on the sale of the crop. Therefore, there are no tax
11 consequences associated with and flowing from the Trustee’s proposed operation of the farming
12 business.

13                 iii.      No known regulatory issues exist which would result in
14                           extraordinary costs to comply with local laws – ordinary
15                           operating expenses will include regulatory fees.
16            Operator has informed the Trustee that the only regulatory requirements for farming the land
17 are to obtain a grower’s license and a pest control application license from local or state authorities.

18 The Trustee is informed that these licenses have already been obtained by Operator and will be
19 maintained by Operator for the duration of the engagement.

20                 iv.       Potential and reasonably anticipated liabilities and claims
21                           against the Estate and Trustee which may arise from the
22                           limited operation of the business do not exceed operating
23                           income.
24            As an operating business with farm laborers, there will be an inherent risk of workers’
25 compensation issues and injuries. The business of farming this particular type of crop is not

26 particularly dangerous and Operator has committed to obtaining satisfactory insurance which will

27 insure and cover any incidence of foreseeable injury. Included in Operator’s budget is worker’s

28 compensation insurance which will provide coverage for the laborers.

                                                8
                 MOTION FOR ORDER AUTHORIZING LIMITED OPERATION OF DEBTOR’S BUSINESS
     4824-2330-5952,v.1



                                                                                                  EXHIBIT 4
                                                                                                   PAGE 66
Case 8:20-bk-13014-ES               Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                       Desc
                                    Main Document    Page 71 of 392



 1                  v.          The proposed length of operation for farming operations on
 2                              the Properties is limited to an approximate three-month period
 3                              to complete the Fall 2021 harvest.
 4            The Trustee does not request authorization to operate for an extended period of time.
 5 Authorization to operate is only requested through the end of the Fall 2021 harvest, which is

 6 anticipated to be completed by end of October 2021. The requested relief is appropriate and

 7 consistent with the Trustee’s statutory duty to maximize the value of the Estate. See, e.g., In re

 8 Quarter Moon Livestock Co., 116 B.R. 775, 782 (Bankr. D. Idaho 1990) (trustee authorized to

 9 operate “until fall to roundup and sell the cattle herd, and to maintain the livestock until that time.”).

10 Because proceeds of the crops will be used to substantially pay down the debt owed to FCW,
11 completing this year’s harvest is necessary and appropriate in the Trustee’s business judgment.
12            B.          The Trustee’s Operation of the Properties is Consistent with
13                        their Orderly Liquidation.
14            Because the Properties are marketed to buyers in the winery industry, the proof of concept
15 that grapes can actually be successfully grown on the Properties is crucial to the Trustee’s marketing

16 efforts, especially with regard to the Live Oak Property. In fact, vines are currently being grown on
17 each of the three Properties and must be maintained on a regular basis to prevent the vines from

18 withering and dying, and the crops being ruined by neglect. Operator’s maintenance of the current
19 vines will facilitate the sale to any interest buyer, because the soil will be maintained and will not be

20 subject to simply eroding away with the wind. In addition to Operator’s maintenance of the crops, he
21 has been extremely cooperative with the Trustee’s administration and has been instrumental in

22 facilitating the due diligence of various buyers on the Properties. The Trustee considers Operator’s

23 expertise and availability to be crucial to his successful administration of Estate assets. Finally,
24 constant maintenance of the crops will reduce the fire risk to the Properties because the vines will

25 not be dry, dead and flammable.

26

27

28

                                                9
                 MOTION FOR ORDER AUTHORIZING LIMITED OPERATION OF DEBTOR’S BUSINESS
     4824-2330-5952,v.1



                                                                                                 EXHIBIT 4
                                                                                                  PAGE 67
Case 8:20-bk-13014-ES                Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                       Desc
                                     Main Document    Page 72 of 392



 1            C.          All income, which constitutes FCW’s cash collateral, will be
 2                        segregated and shall not be used absent consent or further
 3                        court order.
 4            “The trustee may not use, sell, or lease cash collateral… unless – (A) each entity that has an
 5 interest in such cash collateral consents; or (B) the court, after notice and a hearing, authorizes such

 6 use, sale, or lease in accordance with the provisions of this section.” 11 U.S.C. § 363(c); see United

 7 States Dep’t of Agriculture v. Hopper (In re Colusa Regional Medical Center), 604 B.R. 839, 859-61

 8 (B.A.P. 9th Cir. 2019) (discussing implied consent to use of cash collateral). After-acquired assets

 9 and proceeds traceable to collateral may also be subject to a secured creditor’s duly perfected lien.

10 See Cal. Comm. Code § 9204; see also, e.g., Qmect, Inc. v. Burlingame Capital Partners II, L.P.,
11 373 B.R. 682, 686-87 (N.D. Cal. 2007). “[T]he key consideration in deciding whether to allow the
12 use of cash collateral is whether the secured creditor’s interest is adequately protected.” Security

13 Leasing Partners, LP v. ProAlert, LLC (In re ProAlert, LLC), 314 B.R. 436, 444 (B.A.P. 9th Cir.

14 2004).

15            In this case, FCW has not expressly consented to the use of its collateral or cash collateral to
16 pay for any operating expenses whatsoever. Before the crop is finally harvested and the benefit to
17 FCW is determined, the Court may not have all of the facts it needs to determine whether any

18 expenses can be charged against FCW’s collateral (including the proceeds of crop, which are cash
19 collateral). Provided that Mr. Codding’s projections are correct and there is a substantial amount of

20 proceeds resulting from the harvest and sale of the current crop, the proceeds will not be disbursed
21 unless either: (1) FCW consents, or (2) the Court enters an order specifically authorizing any

22 disbursements over FCW’s objection. Pursuant to the Agreement, all gross proceeds must be paid

23 directly to the Trustee without deduction.
24            Here, the value of FCW’s collateral will be greatly diminished in value if the Properties are
25 completely abandoned and all of the crops are allowed to wither and die. It is not subject to

26 reasonable dispute that dead, dry plants are at the greatest risk of fire, and that dead plants will result

27 in great waste and removal costs to any eventual purchaser of the Properties. Furthermore, as shown

28 in the pictures and projections from Operator, there is currently over two hundred tons of grapes

                                               10
                 MOTION FOR ORDER AUTHORIZING LIMITED OPERATION OF DEBTOR’S BUSINESS
     4824-2330-5952,v.1



                                                                                                  EXHIBIT 4
                                                                                                   PAGE 68
Case 8:20-bk-13014-ES                   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                      Desc
                                        Main Document    Page 73 of 392



 1 growing on the Properties which would be completely wasted if they were not being maintained. The

 2 Debtor has no money to fund operations and unless the Court enters an order authorizing operations

 3 pursuant to 11 U.S.C. § 721, with reimbursement of actual, reasonable expenses, FCW’s collateral
 4 will drastically decrease in value. Thus, the Court should enter an order authorizing the use of cash

 5 collateral solely to pay and reimburse expenses from the proceeds of crop.

 6 4.         Conclusion
 7            Based upon the foregoing, the Trustee respectfully submits that good cause exists for
 8 granting the Motion and respectfully requests that the Court enter an order as follows:

 9            1.          Approving the farm operator agreement attached to the Marshack Declaration as
10 Exhibit “1” and authorizing the Trustee to operate the Debtor’s business for the limited purpose of
11 completing the Fall 2021 harvest pursuant to 11 U.S.C. § 721;
12            2.          Authorizing the Trustee to operate the Properties to the extent necessary to complete
13 the fall 2021 harvest, with such authorization to terminate at the earliest of: (a) the completion of the

14 fall 2021 harvest October 31, 2021;

15            3.          Authorizing the Trustee to cancel all currently existing grape sales agreements and to
16 renegotiate all such agreements;
17            4.          Directing the proceeds of all sales of crop to be paid directly to the Estate and
18 authorizing the Trustee to receive and hold all gross proceeds of the sale of any crop from the
19 Properties pending further order of the Court;

20            5.          Authorizing the Trustee to, upon receipt of proceeds from the sale of crop, use cash
21 collateral to pay and reimburse actual and reasonable expenses incurred for harvesting and selling

22 the grapes, and including any utility payments and insurance costs for the three Properties; and

23 For such other and further relief as the Court deems just and proper.
24                  9 2021
      DATED: August __,                               MARSHACK HAYS LLP
25                                                           /s/ Tinho Mang
                                                      By:
26                                                       D. EDWARD HAYS
                                                         TINHO MANG
27                                                       Attorneys for Chapter 7 Trustee
28                                                       RICHARD A. MARSHACK

                                                 11
                   MOTION FOR ORDER AUTHORIZING LIMITED OPERATION OF DEBTOR’S BUSINESS
     4824-2330-5952,v.1



                                                                                                       EXHIBIT 4
                                                                                                        PAGE 69
Case 8:20-bk-13014-ES                  Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                       Desc
                                       Main Document    Page 74 of 392



 1                                     Declaration of Richard A. Marshack
 2            I, RICHARD A. MARSHACK, declare and state as follows:
 3            1.          I am the Chapter 7 trustee (“Trustee”) for the bankruptcy estate (“Estate”) of
 4 Northern Holding, LLC (“Debtor”).

 5            2.          I am an individual over 18 years of age and competent to make this declaration.
 6 Except as set forth as matters of judicial notice, I have personal knowledge of the matters set forth in

 7 this Declaration, and if called upon to do so I could and would competently testify to these facts.

 8            3.          All terms not defined herein are used as they are defined in the Motion.
 9            4.          I conducted the meeting of creditors pursuant to 11 U.S.C. § 341(a) on July 13, 2021.
10 At this meeting, Lee Codding appeared as the representative for the Debtor and testified on behalf of
11 the Debtor.
12            5.          Because the Properties and the crops growing there require daily maintenance, Mr.
13 Codding has been supervising the tending of the crops without prior expectation of reimbursement

14 and I am informed that he also has advanced over $280,000 in costs to date without any revenues. I

15 have been coordinating my marketing efforts in part through Mr. Codding, who has been

16 instrumental in answering questions from the interested buyer parties and showing the Properties to
17 the buyers, along with my brokers. Based on my conversations with Mr. Codding, I believe that he is

18 motivated to see the fall 2021 harvest completed and he has committed to advancing all expenses to
19 complete the harvest. I personally drafted, revised, and negotiated the farm operator agreement with

20 Mr. Codding and he signed the operator agreement in my presence. A true and correct copy of the
21 farm operator agreement is attached as Exhibit “1.”

22            6.          On July 27, 2021, I personally toured the Properties along with my proposed farm
23 operator Lee Codding (who acted as my tour guide and provided me with all information related to
24 crop cultivation and production). Mr. Codding had deep knowledge and expertise regarding the

25 Properties and the crops growing on the Properties. I believe that his familiarity with the crops on the

26 Properties is essential to a successful harvest this year. No other party or secured or unsecured

27 creditor has proposed an alternative to retaining prior management to complete the harvest.

28 Additionally, the Riboli parties are not interested in taking over current farming operations, which I

                                                 12
                   MOTION FOR ORDER AUTHORIZING LIMITED OPERATION OF DEBTOR’S BUSINESS
     4824-2330-5952,v.1



                                                                                                     EXHIBIT 4
                                                                                                      PAGE 70
Case 8:20-bk-13014-ES                  Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                       Desc
                                       Main Document    Page 75 of 392



 1 am informed are substantially different from the method by which the Riboli parties would grow

 2 crop. I am informed that the harvest will begin in September and will end in October. The Estate has

 3 no reasonable alternative to hiring Mr. Codding if we are to complete the harvest this year.
 4            7.          When I toured the Properties, a significant amount of the vines appeared to be
 5 healthy, but a substantial portion also appeared somewhat less healthy, which I am informed was due

 6 to a lack of funds available to properly maintain the crops. In my business judgment, it is extremely

 7 important that the crops be adequately maintained.

 8            8.          Mr. Codding informed me that he expects and projects the crops to result in gross
 9 revenues of around $800,000 by the end of harvest, and agreed to be reimbursed expenses. Thus,

10 according to Mr. Codding, the harvest of crop is anticipated to generate proceeds of at least double
11 the expenses. Because Mr. Codding as the operator has agreed to advance all costs of farming and to
12 procure and maintain adequate insurance, the Estate will not be bearing the financial risk of the

13 farming operations.

14            9.          Provided that the harvest generates substantial revenues in excess of expenditures, I
15 believe that it is necessary and appropriate for the harvest to be completed in order to pay down the

16 secured debt owed to Farm Credit West.
17

18            I declare under penalty of perjury that the foregoing is true and correct. Executed on
19 August___, 2021.

20
                                                                RICHARD A. MARSHACK
21

22

23
24

25

26

27

28

                                                 13
                   MOTION FOR ORDER AUTHORIZING LIMITED OPERATION OF DEBTOR’S BUSINESS
     4824-2330-5952,v.1



                                                                                                     EXHIBIT 4
                                                                                                      PAGE 71
Case 8:20-bk-13014-ES                  Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                       Desc
                                       Main Document    Page 76 of 392



 1                                         Declaration of Leroy Codding
 2             I, LEROY “LEE” CODDING, declare and state as follows:
 3             1.         I am the managing member of Northern Holding, LLC (“Debtor”).
 4             2.         I am an individual over 18 years of age and competent to make this declaration.
 5 Except as set forth as matters of judicial notice, I have personal knowledge of the matters set forth in

 6 this Declaration, and if called upon to do so I could and would competently testify to these facts.

 7             3.         All terms not defined herein are used as they are defined in the Motion.
 8             4.         I am the Trustee’s chosen operator for to complete the cultivation and harvest of
 9 crops at the Debtor’s properties, including the Live Oak Property, the San Marcos Property, and the

10 Texas Road Property. There are crops growing on all three properties, but the majority of the crops
11 are currently being grown at Live Oak.
12             5.         Below is a table showing all my estimated expenses for the successful completion of
13 the harvest. Prior to entering into the Agreement and termination of the lease between Debtor and

14 Rabbit Ridge, I expended an additional $284,000 for costs of cultivation and crop maintenance.

15    Cost item                                                 Amount               Running total
16    Farm Labor                                                $123,500             $123,500
17         -    $12,000/month for tending vineyards
18         -    $350/ton labor contractor to harvest
19    Workers’ compensation insurance                           $6,000               $129,500
20    Power & Water Utilities                                   $22,000              $151,500
21    Well service & maintenance                                $20,000              $171,500
22    Nutrients                                                 $8,000               $179,500
23    Licensing                                                 $1,200               $180,700
24    Equipment maintenance                                     $10,000              $190,700
25

26 / / /

27 / / /

28

                                                   14
                    MOTION FOR ORDER AUTHORIZING LIMITED OPERATION OF DEBTOR’S BUSINESS
     4824-2330-5952,v.1



                                                                                                     EXHIBIT 4
                                                                                                      PAGE 72
Case 8:20-bk-13014-ES                  Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                         Desc
                                       Main Document    Page 77 of 392



 1            6.          A true and correct copy of pictures that I took of the currently growing crop as of
 2 August 2021, and a diagram of the growing areas that I personally prepared is attached as Exhibit

 3 “2.”
 4            7.          A true and correct copy of my crop yield estimates as of August 5, 2021 is attached as
 5 Exhibit “3.”

 6            8.          I have over 28 years of experience in the wine business. I graduated in 1993 from Cal
 7 Poly with a degree in agricultural business and a concentration in wine marketing. I grew up in a

 8 farming family and have been involved in farming for nearly my entire life. I am well-qualified to

 9 supervise the cultivation and harvest of the crop currently growing on the Properties. The estimates

10 that I have provided to the Trustee are based on my 28 years’ expertise and education in the wine
11 production industry, and I believe that they are accurate to a high degree. A true and correct copy of
12 my resume is attached as Exhibit “4.”

13            9.          I personally discussed and negotiated with the Trustee regarding the farm
14 management agreement which is attached to Mr. Marshack’s declaration as Exhibit “1.” I am

15 committed to completing the Fall 2021 harvest and advancing all costs, provided that I am

16 reimbursed pursuant to the terms of the Agreement. If I am permitted to receive reimbursement of
17 reasonable expenses incurred, I have agreed that the total amount of reimbursed expenses will be

18 limited to $400,000, which includes the $190,700 in projected future expenses. I have also agreed to
19 compensation to me pursuant to the Agreement of 5% of the net revenue. I understand that all

20 proceeds from the sale of crop must be directed to and turned over to the Trustee.
21            10.         I have been intimately involved in the daily farming operations of the Debtor since
22 the bankruptcy filing, including that I have rented housing in the local area so I can be more

23 accessible to the Properties and supervise them daily. I am deeply committed to seeing that the
24 harvest is completed and I fully support the Trustee’s marketing efforts and I will continue to do so,

25 including providing information to interested purchasers upon request. I also provided a tour of the

26 Properties to the Trustee on July 27, 2021 and have been personally involved with negotiating with

27 Erich Russell and his family to secure a voluntary turnover of the Live Oak Property.

28

                                                  15
                   MOTION FOR ORDER AUTHORIZING LIMITED OPERATION OF DEBTOR’S BUSINESS
     4824-2330-5952,v.1



                                                                                                      EXHIBIT 4
                                                                                                       PAGE 73
Case 8:20-bk-13014-ES                  Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                        Desc
                                       Main Document    Page 78 of 392



 1            11.         I have obtained a grower’s license and a pest control application license and will
 2 maintain such licensing. I will procure and maintain adequate workers’ compensation insurance.

 3            12.         In October 2020, I on behalf of Rabbit Ridge Wine Sales, Inc. executed a document
 4 entitled “Scope of Work: Russell/Rabbit Ridge: Founder Roles” where Mr. Erich Russell and Mrs.

 5 Joanne Russell were contracted by Rabbit Ridge for consulting services in exchange for a consulting

 6 fee of $15,000 per month in cash and “12,000 value of residential lease on Russell Live Oak Villa.”

 7 The only parties to that agreement were Rabbit Ridge, Erich Russell, and Joanne Russell. To be

 8 clear, none of the proceeds that will be received from the harvest and sale of the grapes discussed in

 9 the motion and budget will be used to fund any obligation or reimburse any expense owed to Mr.

10 Erich Russell or Mrs. Joanne Russell.
11
12            I declare under penalty of perjury that the foregoing is true and correct. Executed on August
13 ___,
    9 2021.

14
                                                                LEROY CODDING
15

16
17

18
19

20
21

22

23
24

25

26

27

28

                                                16
                 MOTION FOR ORDER AUTHORIZING LIMITED OPERATION OF DEBTOR’S BUSINESS
     4824-2330-5952,v.1



                                                                                                     EXHIBIT 4
                                                                                                      PAGE 74
Case 8:20-bk-13014-ES               Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                      Desc
                                    Main Document    Page 79 of 392



   1                                          REQUEST FOR JUDICIAL NOTICE
   2
                RICHARD A. MARSHACK, in his capacity as Chapter 7 Trustee (“Trustee”) of the
   3
       Bankruptcy Estate (“Estate”) of Northern Holding, LLC (“Debtor”), through his attorneys, Marshack
   4
       Hays LLP, hereby requests pursuant to Federal Rule of Evidence 201, that this Court take judicial
   5
       notice of the following documents to be considered in connection with Trustee’s motion to approve a
   6
       farm operator agreement and for an order authorizing the Trustee to operate the Debtor’s business
   7
       for the limited period of time and for the sole purpose of completing the harvest of the current crop
   8
       of fruit growing on Debtor’s land:
   9
                                 JUDICIALLY NOTICED DOCUMENT
  10
               5              A true and correct copy of LLC filing statement for Debtor as a Minnesota
  11
                              LLC – Minnesota Secretary of State file number 486524600029.
  12

  13
  14
        DATED: August 9, 2021                        MARSHACK HAYS LLP
  15
                                                           /s/ Tinho Mang
  16                                                 By:
                                                        D. EDWARD HAYS
  17
                                                        TINHO MANG
  18                                                    Attorneys for Chapter 7 Trustee
                                                        RICHARD A. MARSHACK
  19
  20

  21

  22
  23

  24
  25

  26

  27

  28

                                                   17
                   MOTION FOR ORDER AUTHORIZING LIMITED OPERATION OF DEBTOR’S BUSINESS
       4837-0183-4931, v. 1




                                                                                               EXHIBIT 4
                                                                                                PAGE 75
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document    Page 80 of 392




                                                      EXHIBIT 1

                                                                   EXHIBIT 4
                                                                    PAGE 76
Case 8:20-bk-13014-ES       Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55             Desc
                            Main Document    Page 81 of 392
                         Farm Operator Agreement 2021

                                     July 26, 2021


 Richard Marshack, Bankruptcy Trustee and Leroy Codding) agree to the following terms
 whereby the estate retains Codding to manage certain operations relating to Northern
 Holding, LLC assets now in possession of Richard A. Marshack, Chapter 7 Trustee
 (“Trustee”) for Northern Holding, LLC (“Debtor”). The parties to this agreement are the
 Trustee, on the one hand, solely in his capacity as the Chapter 7 trustee, and Leroy
 Codding (“Operator or Codding”), on the other hand.
 Term: August 1, 2021 to October 10, 2021. Term may be extended only by mutual
 agreement by the parties for no more than 30 days.

 Scope of Retention:
 Codding is retained by Trustee for the following purposes:

 1. To maintain the crops including watering, fertilizing and otherwise caring for the crop
 as a good and prudent operator trying to cost efficiently maximize production of grapes.
 2. Take all steps which are reasonable to maintain and increase the value of the soil
 and the crops.
 3. Keep all irrigation systems working and fully functional.
 4. Harvest (pick) grapes when timing is appropriate to receive maximum value but no
 later than termination of this agreement.
 5. Maintain good and proper practices including taking prudent care of the
 orchard/soil/vines including pest control and irrigation and maintain perimeter fencing.
 6. Cancel any and all existing purchase contracts for the grapes and present new
 contracts to Trustee for execution. New contracts shall be at fair market value and the
 seller shall be “Richard Marshack, Bankruptcy Trustee”.
 7. All revenue shall be made payable solely to “Richard Marshack, Bankruptcy Trustee”.
 8. Codding shall be permitted to subcontract the labor from employees of Rabbit Ridge
 Wine Sales Inc. Codding to provide proof of workers compensation insurance and other
 required insurances and compliance with tax withholdings obligations.
 9. At harvest Codding, if permitted by law and in accordance with the law, may retain
 outside labor contractor to pick the crop.
 10. Codding to advance all costs and expenses necessary to carry out the terms of this
 contract and will be reimbursed reasonable expenses from the proceeds of the crop.
 Codding to provide Trustee a weekly list of expenses.
 11. Codding estimates that gross revenue will be $723,000 and estimates the
 expenses to be approximately $400,000. Codding to receive compensation of 5% of
 the net profit.
 12. Codding to comply with all state and federal and municipal laws including labor
 laws, taxation laws, permits and licensing laws.




                                                                                 EXHIBIT 4
                                                                                  PAGE 77
Case 8:20-bk-13014-ES       Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55               Desc
                            Main Document    Page 82 of 392
 Access
 Trustee grants Operator limited access (as described below) to and use of Debtor’s
 vineyards and other assets set forth in Exhibit “A” solely for the purpose of growing,
 tending, and harvesting grapes and carrying out the obligations set forth above.

 Operator agrees and understands they are not to remove or work with any casks or
 bottles or cases of wines or any other personal property. Further Operator shall not use
 any equipment or inventory.

 Trustee allows Operator reasonable access to and use of Debtor’s vineyards located at
 1172 San Marcos Rd., 2380 Live Oak Rd., and Texas Road (APN No. 027-0145-022) in
 Paso Robles, California, solely to the extent carry out the above obligations on the
 permitted land. No access shall be allowed to Operator for any other reason and no
 access shall be allowed to Operator to any other asset or aspect of the real properties
 except with express written permission of the Trustee.

 Access does not equate to possession. Trustee has possession and authority over of all
 assets of the Debtor, including real estate, improvements and equipment. Access may
 be revoked upon written notice from the Trustee. Operator will bear cost outlay for all
 farming expenses including labor, cultural costs etc. Operator shall maintain satisfactory
 and adequate insurance at all times for operations and provide proof of insurance to the
 Trustee, at Operator’s own expense. Operator shall procure and maintain at his own
 cost all insurance contracts which are customary for the type and extent of work
 contemplated in this agreement.

 Miscellaneous Terms

 Operator shall cancel all existing grape sales agreements including any grape sale
 agreements between Rabbit Ridge Corporation and third-party purchasers and shall
 reissue such agreements for the benefit of the Estate, payable to the Trustee. In other
 words, all gross proceeds from the sale of crops grown on the Properties shall be paid
 directly to the Trustee. All crop sale agreements are subject to review and
 recommendation by Kevin Otus, and approval of the Bankruptcy Court, if necessary.
 The Parties acknowledge that all crops and their proceeds may be subject to the lien
 rights of Farm Credit West, FCLA.

 Trustee may terminate this agreement or assignment of the rights created under this
 agreement at any time and for any reason and without any notice.

 This agreement does not establish or constitute any ongoing obligation between the
 parties beyond the successful completion of 2021 harvest.

 This agreement is subject to approval of the United States Bankruptcy Court. In the
 event of any inconsistency between an order of the Court and this agreement, the
 Court’s order shall control.




                                                                                  EXHIBIT 4
                                                                                   PAGE 78
Case 8:20-bk-13014-ES          Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55 Desc
                               Main Document       Page 83 of 392
 The written terms of this agreement constitute the entire agreement between the
 parties. All prior oral statements, discussions, and written communications have been
 incorporated into this agreement and there is no agreement other than what is stated
 herein. If a term is missing or needs to be modified or there is a material issue that is
 prudent to add or delete, then either party may petition the court by motion and the court
 may supplement this agreement for good cause shown and if beneficial to the
 bankruptcy estate. All parties agree that if there is a dispute it can be raised with the
 court and addressed by motion under rules established by the court to insure fairness.



 Dated: July __, 2021                        _______________________
                                             Richard Marshack,
                                             In his capacity as the Chapter 7
                                             Trustee
                                             of Northern Holdings, LLC.
                                             c/o MARSHACK HAYS LLP

                                             870 Roosevelt
                                             Irvine, CA 92620




 Dated: July __, 2021                        _____________________
                                             Leroy “Lee” Codding
                                             179 Niblick Rd. Box 406
                                             Paso Robles CA 93446




                                                                             EXHIBIT 4
                                                                              PAGE 79
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document    Page 84 of 392




                                                      EXHIBIT 2

                                                                   EXHIBIT 4
                                                                    PAGE 80
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document    Page 85 of 392




                                                                     EXHIBIT 4
                                                                      PAGE 81
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document    Page 86 of 392




                                                                     EXHIBIT 4
                                                                      PAGE 82
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document    Page 87 of 392




                                                                     EXHIBIT 4
                                                                      PAGE 83
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document    Page 88 of 392




                                                                     EXHIBIT 4
                                                                      PAGE 84
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document    Page 89 of 392




                                                                     EXHIBIT 4
                                                                      PAGE 85
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document    Page 90 of 392




                                                                     EXHIBIT 4
                                                                      PAGE 86
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document    Page 91 of 392




                                                                     EXHIBIT 4
                                                                      PAGE 87
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document    Page 92 of 392




                                                                     EXHIBIT 4
                                                                      PAGE 88
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document    Page 93 of 392




                                                                     EXHIBIT 4
                                                                      PAGE 89
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document    Page 94 of 392




                                                                     EXHIBIT 4
                                                                      PAGE 90
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document    Page 95 of 392




                                                                     EXHIBIT 4
                                                                      PAGE 91
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document    Page 96 of 392




                                                                     EXHIBIT 4
                                                                      PAGE 92
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document    Page 97 of 392




                                                                     EXHIBIT 4
                                                                      PAGE 93
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document    Page 98 of 392




                                                                     EXHIBIT 4
                                                                      PAGE 94
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document    Page 99 of 392




                                                                     EXHIBIT 4
                                                                      PAGE 95
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 100 of 392




                                                                     EXHIBIT 4
                                                                      PAGE 96
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 101 of 392




                                                                     EXHIBIT 4
                                                                      PAGE 97
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 102 of 392




                                                                     EXHIBIT 4
                                                                      PAGE 98
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 103 of 392




                                                                     EXHIBIT 4
                                                                      PAGE 99
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 104 of 392




                                                                     EXHIBIT 4
                                                                     PAGE 100
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 105 of 392




                                                                     EXHIBIT 4
                                                                     PAGE 101
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 106 of 392




                                                                     EXHIBIT 4
                                                                     PAGE 102
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 107 of 392




                                                                     EXHIBIT 4
                                                                     PAGE 103
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 108 of 392




                                                                     EXHIBIT 4
                                                                     PAGE 104
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 109 of 392




                                                                     EXHIBIT 4
                                                                     PAGE 105
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 110 of 392




                                                                     EXHIBIT 4
                                                                     PAGE 106
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 111 of 392




                                                                     EXHIBIT 4
                                                                     PAGE 107
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 112 of 392




                                                                     EXHIBIT 4
                                                                     PAGE 108
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 113 of 392




                                                                     EXHIBIT 4
                                                                     PAGE 109
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 114 of 392




                                                                     EXHIBIT 4
                                                                     PAGE 110
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 115 of 392




                                                                     EXHIBIT 4
                                                                     PAGE 111
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 116 of 392




                                                                     EXHIBIT 4
                                                                     PAGE 112
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 117 of 392




                                                                   EXHIBIT 4
                                                                   PAGE 113
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 118 of 392




                                                                   EXHIBIT 4
                                                                   PAGE 114
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 119 of 392




                                                                   EXHIBIT 4
                                                                   PAGE 115
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 120 of 392




                                                                   EXHIBIT 4
                                                                   PAGE 116
                                Case 8:20-bk-13014-ES        Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                    Desc
                                                             Main Document   Page 121 of 392



          1


         Tempranillo
                          2
                       Syrah


                                                                                             Viognier
                                                                                             4
                                      Petit                                                                      5
                                                                                                                                  Viognier
                                      Sirah     Mourvèdre                                             Viognier               7
                       22                                                                                 Mourvèdre
                                                                                                         6
                                                                                                            8
                                                               Syrah                                                       Viognier
                                                                          3                                 Petit Verdot
                                                                                                                      Roussane
                       Petit
                       Verdot                                                                                             9
                        21                Grenache




                                                              23                               Grenache
                                                                                    Petit
                                                                                    Verdot
 20

Petite                                                             Cabernet
Sirah                                                              Franc           25         Cabernet
              Syrah                           Petit Verdot
                                                                                  Cabernet    Sauvignon10
                                                                                                                 Aglianico
                                                                                  Franc
                                                                                                       26          27            Nero
                                                                   24
                                                                                                                                 d’Avola

          19                                                             Chardonnay
                  Cab                                   15                                                       Grenache
                  Franc
                  18                 17
                                                                                        14                                       Garnacha
                            Cabernet Sauvignon
                                                                   Petit Verdot          Chardonnay

                                16                                                                              Cabernet
                                                                                                                Sauvignon
                                                                                                                       11
                               Cabernet Sauvignon                                                  13
                                                                                             Cabernet
                                                                                             Sauvignon               Cabernet Sauvignon
                                                                                                                              12



                                                                                                                                             EXHIBIT 4
                                                                                                                                             PAGE 117
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55    Desc
                        Main Document   Page 122 of 392




                    Petite Sirah

                           Cabernet Sauvignon




                               Zinfandel


    Primitivo
                              Zinfandel




                                                                Zinfandel




                                           Zinfandel




                                                                    EXHIBIT 4
                                                                    PAGE 118
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 123 of 392




                                                      EXHIBIT 3

                                                                   EXHIBIT 4
                                                                   PAGE 119
                Case 8:20-bk-13014-ES                        Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                        Desc
                                                             Main Document   Page 124 of 392
                                                     NHC Crop Estimates 2021
                                2021                                            Updated 8-5 LC
Blocks              Yield              Price/ Ton


Texas Road          Tons (Estimated) Anticipated             Extended Gross                          Tons               Tons
                                                                                                 “committed” 7/30   “committed”8/5

Cabernet                          25                $2,800            $70,000                           0                12
Petite Sirah                      15                $2,200            $33,000                           all               all
Zinfandel                         18                $2,000            $36,000                           0                 0


San Marcos
Zinfandel                         40                $2,200            $88,000                           0                 0
Primitivo                         19                $1,800            $34,200                           0                20
                                                                     $261,200


Live Oak
Chardonnay                         5                $3,500            $17,500                           5                 5
Cabernet (new)                     0                $5,000                $0                           n/a               n/a
Rousanne                           5                $3,500            $17,500                           3                 3
Viognier                         4.5                $3,500            $15,750                           3                 3
Syrah (producing)                 38                $5,000           $190,000                          20                20
Cabernet Franc                     5                $5,000            $25,000                           3                 5
Mourvèdre                          3                $5,000            $15,000                           3                 3
Petite Verdot                      6                $5,000            $30,000                           5                 5
Tempranillo                        2                $5,000            $10,000                                             2
Petit Sirah                        3                $4,000            $12,000                           3                 3
Cabernet                          65                $3,350           $217,750                          50                60
Sauvignon
(producing)
Total Yield                    253.5                                 $550,500


Revenue                                                              $811,700




                                                                                                            1




                                                                                                                                            EXHIBIT 4
                                                                                                                                            PAGE 120
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 125 of 392




                                                      EXHIBIT 4

                                                                   EXHIBIT 4
                                                                   PAGE 121
Case 8:20-bk-13014-ES                Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                              Desc
                                     Main Document   Page 126 of 392




    Lee Codding
    Orange, Calif                                                            e lecoddingiv@icloud.com     m 952/220-8216


    Objective: To provide cross-functional leadership and collaboration for management teams of
    dynamic wine business ventures with a focus on asset optimization and brand development to build
    value, return on investment and successfully realized vision for ownership.


    Founder/ Managing Partner/ Chief Strategist/ GM, Fluid Advisors, LLC 2012-present

        •     Managing partner of Fluid Wine Advisors; strategic and finance innovation for the wine trade.

        •     Client-based finance, facility planning, finance and marketing for clients such as Loring, Sanger Wines, Alma
              Rosa Vineyard, Metro Wine Marketing, REPAMI S.A. de C.V. and WarRoom Ventures among others. 

        •     Fractional General Manager- interim project basis:

                 o      Restructuring production, vineyard cap-ex plan and budgets.

                 o      Revision and implementation of channel plan and staffing plan for Wholesale, Export and DTC.

                 o      Concept and execution of strategic plans for sustainable profitability.

                 o      Perform CFO duties and manage assignment to network of outsourced third party specialists.

        •     Development of business plans, third party funding (equity and debt) and capital expenditure budgets.

        •     Built international portfolio with partners, including marketing and pricing plans for EU, ZA and South America. 


    General Manager/ Senior Vice President, World Class Wines, Inc. 2007-2012

        •     Lead senior multi-disciplinary management team for business strategy, sales, finance and operations.

        •     Managed portfolio team to optimize sales (up 30% in 3 years) and best on record GP.

        •     Ran supplier relations including Eurpoevin, Winebow, CIV, Cristalino, small wineries and DI (Spain, Italy, France).

        •     Responsible for direct reports running departments of sales, portfolio, operations, administration.

        •     Spearheaded positioning for sale of business and guided M&A process/ cross-functional integration team.


    Vice President/ Director of Marketing & Sales, Talbott Vineyards 2001-2007

        •     Ran national and international sales for distributor network in USA and export markets.

        •     Responsible for production planning, vineyard P&L, costing, forecasting and financial returns.

        •     Served on cross-functional executive management team of Robert Talbott, Inc. 

        •     Responsible for all aspects of marketing and PR agency relationship management.

        •     Managed direct-to-consumer sales team, marketing plan and implementation.

        •     Winery trade channel sales grew 300% during this period.


    Director, Trade Development, Wine.com 1999-2001

        •     Responsible for department running portfolio management for all suppliers both import and domestic.

        •     Developed structure, hired, and ran department of 24 in entrepreneurial environment. 


    Regional Manager, Frederick Wildman and Sons, Ltd. 1998-1999

        •     Responsible for distributor management relationships in 3 western states. 

        •     Primary responsibility for programming, pricing, inventory and management.


    Field Market Manager, E&J Gallo Winery 1997-1998

        •     Ran field sales territory in San Francisco Bay Area with Wine Warehouse sales team. 

        •     Helped integrate distinct sales efforts and cultures.


    Wine Sales Consultant, Wine Warehouse 1994-1997

        •     Ran sales territory in San Francisco on/off trade including key accounts.

        •     Developed sales, service and fine wine knowledge via formal training and personal interest.


    Interests: Attending and contributing at children’s sports and activities, PTO executive committee, Women’s LAX Board,
    Cub Scout executive committee, various charitable fundraising efforts, alpine skiing, fine wine and spirits appreciation,
    fishing, boating, travel, hiking, gardening, writing, food, cooking, music.

    Education: California Polytechnic State University, San Luis Obispo

    BS; Agricultural Business, Marketing/ Minor; Speech Communication/ Honors Graduate

    Harvard Business School Extension - Business Analytics Program (WIP)




                                                                                                                     EXHIBIT 4
                                                                                                                     PAGE 122
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 127 of 392




                                                      EXHIBIT 5

                                                                   EXHIBIT 4
                                                                   PAGE 123
Case 8:20-bk-13014-ES         Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                       Desc
                              Main Document   Page 128 of 392




              Office of the Minnesota Secretary of State
                      Certificate of Organization



       I, Mark Ritchie, Secretary of State of Minnesota, do certify that: The following
   business entity has duly complied with the relevant provisions of Minnesota Statutes listed
   below, and is formed or authorized to do business in Minnesota on and after this date with
   all the powers, rights and privileges, and subject to the limitations, duties and restrictions,
   set forth in that chapter.
   The business entity is now legally registered under the laws of Minnesota.


   Name:                                   Northern Holding LLC


   File Number:                            486524600029


   Minnesota Statutes, Chapter:            322B


   This certificate has been issued on:    04/30/2012




                                            Mark Ritchie
                                            Secretary of State
                                            State of Minnesota




                                                                                            EXHIBIT 4
                                                                                            PAGE 124
       Case 8:20-bk-13014-ES          Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                     Desc
                                      Main Document   Page 129 of 392
Office of the Minnesota Secretary of State
       Minnesota Limited Liability Company/Articles of Organization
                                              Minnesota Statutes 322B

The individual(s) listed below who is (are each) 18 years of age or older,
hereby adopt(s) the following Articles of Organization:



ARTICLE 1 - LIMITED LIABILITY COMPANY NAME:
                          Northern Holding LLC


ARTICLE 2 - REGISTERED OFFICE and AGENT:
                          Name                     Address:
                          Leroy E Codding
                                                   5309 Wooddale Ave Edina MN 55424 USA


ARTICLE 3 - DURATION: PERPETUAL

ARTICLE 4 - ORGANIZERS:
                          Name:                   Address:
                          Leroy E Codding         5309 Wooddale Ave Edina MN 55424 USA




If you submit an attachment, it will be incorporated into this document. If the attachment conflicts with the
information specifically set forth in this document, this document supersedes the data referenced in the
attachment.
By typing my name, I, the undersigned, certify that I am signing this document as the person whose signature is
required, or as agent of the person(s) whose signature would be required who has authorized me to sign this document
on his/her behalf, or in both capacities. I further certify that I have completed all required fields, and that the
information in this document is true and correct and in compliance with the applicable chapter of Minnesota Statutes. I
understand that by signing this document I am subject to the penalties of perjury as set forth in Section 609.48 as if I
had signed this document under oath.
SIGNED BY: Leroy E. Codding

MAILING ADDRESS: None Provided
EMAIL FOR OFFICIAL NOTICES:
                          lecoddingiv@gmail.com




                                                                                                 EXHIBIT 4
                                                                                                 PAGE 125
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 130 of 392




              Work Item 486524600029
         Original File Number 486524600029

             STATE OF MINNESOTA
      OFFICE OF THE SECRETARY OF STATE
                      FILED
               04/30/2012 11:59 PM




                    Mark Ritchie
                  Secretary of State




                                                                   EXHIBIT 4
                                                                   PAGE 126
        Case 8:20-bk-13014-ES                      Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                          Desc
                                                   Main Document   Page 131 of 392
                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled: CHAPTER 7 TRUSTEE’S MOTION TO APPROVE FARM
OPERATOR AGREEMENT AND FOR ORDER TO OPERATE DEBTOR’S BUSINESS FOR THE LIMITED PURPOSE
OF COMPLETING FALL 2021 HARVEST OF CURRENT CROP OF FRUIT; MEMORANDUM OF POINTS AND
AUTHORITIES; DECLARATIONS OF RICHARD A. MARSHACK AND LEROY CODDING IN SUPPORT; REQUEST
FOR JUDICIAL NOTICE
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On August
9, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On August 9, 2021, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

 DEBTOR                                                     INTERESTED PARTY                                U.S. TRUSTEE
 NORTHERN HOLDING, LLC                                      LEE CODDING                                     UNITED STATES TRUSTEE (SA)
 ATTN: OFFICER, A MANAGING OR                               13217 JAMBOREE RD #429                          411 W FOURTH ST., SUITE 7160
 GENERAL AGENT, OR TO ANY OTHER                             TUSTIN, CA 92782                                SANTA ANA, CA 92701-4593
 AGENT AUTHORIZED BY APPOINTMENT
 OR LAW TO RECEIVE SERVICE
 13217 JAMBOREE RD #429
 TUSTIN, CA 92782

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on August 9, 2021, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

VIA PERSONAL DELIVERY: PRESIDING JUDGE’S COPY
HONORABLE MARK S. WALLACE
UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
RONALD REAGAN FEDERAL BUILDING AND COURTHOUSE
411 WEST FOURTH STREET, SUITE 6135 / COURTROOM 6C
SANTA ANA, CA 92701-4593

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
 August 9, 2021                 Layla Buchanan                                                   /s/ Layla Buchanan
 Date                           Printed Name                                                     Signature
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE


                                                                                                                                 EXHIBIT 4
                                                                                                                                 PAGE 127
        Case 8:20-bk-13014-ES                      Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                          Desc
                                                   Main Document   Page 132 of 392
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:
     ATTORNEY FOR U.S. TRUSTEE (SA): Nancy S Goldenberg nancy.goldenberg@usdoj.gov
     ATTORNEY FOR CREDITOR FARM CREDIT WEST, FLCA: Michael J Gomez mgomez@frandzel.com,
       dmoore@frandzel.com
     ATTORNEY FOR TRUSTEE RICHARD A MARSHACK (TR): D Edward Hays ehays@marshackhays.com,
       ehays@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com; cmendoza@marshackhays.com;
       cmendoza@ecf.courtdrive.com
     ATTORNEY FOR TRUSTEE RICHARD A MARSHACK (TR): Tinho Mang tmang@marshackhays.com,
       tmang@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com; cmendoza@ecf.courtdrive.com
     TRUSTEE RICHARD A MARSHACK (TR): Richard A Marshack (TR) pkraus@marshackhays.com,
       rmarshack@iq7technology.com; ecf.alert+Marshack@titlexi.com
     ATTORNEY FOR INTERESTED PARTY BANK DIRECT CAPITAL FINANCE: Elissa Miller
       emiller@sulmeyerlaw.com, emillersk@ecf.inforuptcy.com; ccaldwell@sulmeyerlaw.com
     ATTORNEY FOR DEBTOR NORTHERN HOLDING LLC: Roksana D. Moradi-Brovia roksana@rhmfirm.com,
       matt@rhmfirm.com; janita@rhmfirm.com; susie@rhmfirm.com; max@rhmfirm.com; priscilla@rhmfirm.com;
       pardis@rhmfirm.com; russ@rhmfirm.com; rebeca@rhmfirm.com; david@rhmfirm.com; sloan@rhmfirm.com
     ATTORNEY FOR CREDITOR ADLER BELMONT GROUP, INC.: Paul F Ready tamara@farmerandready.com
     ATTORNEY FOR DEBTOR NORTHERN HOLDING LLC: Matthew D. Resnik matt@rhmfirm.com,
       roksana@rhmfirm.com; janita@rhmfirm.com; susie@rhmfirm.com; max@rhmfirm.com; priscilla@rhmfirm.com;
       pardis@rhmfirm.com; russ@rhmfirm.com; rebeca@rhmfirm.com; david@rhmfirm.com; sloan@rhmfirm.com
     UNITED STATES TRUSTEE (SA): United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
     ATTORNEY FOR CREDITOR FARM CREDIT WEST, FLCA: Reed S Waddell rwaddell@frandzel.com,
       sking@frandzel.com
     ATTORNEY FOR CREDITOR FARM CREDIT WEST, FLCA: Gerrick Warrington gwarrington@frandzel.com,
       sking@frandzel.com
     INTERESTED PARTY COURTESY NEF: David Wood dwood@marshackhays.com, dwood@ecf.courtdrive.com;
       lbuchananmh@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE



                                                                                                                                 EXHIBIT 4
                                                                                                                                 PAGE 128
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 133 of 392




                                                      EXHIBIT 5

                                                                   PAGE 129
Case 8:20-bk-13014-ES                Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                        Desc
                                     Main Document   Page 134 of 392
 Case 8:20-bk-13014-MW               Doc 211 Filed 09/07/21 Entered 09/07/21 09:33:00                 Desc
                                      Main Document Page 1 of 5


   1 D. EDWARD HAYS, #162507
     ehays@marshackhays.com
   2 DAVID A. WOOD, #272406
     dwood@marshackhays.com                                                FILED & ENTERED
   3 TINHO MANG, #322146
     tmang@marshackhays.com
   4 MARSHACK HAYS LLP                                                           SEP 07 2021
     870 Roosevelt
   5 Irvine, CA 92620                                                       CLERK U.S. BANKRUPTCY COURT
     Telephone: (949) 333-7777                                              Central District of California
                                                                            BY jle        DEPUTY CLERK
   6 Facsimile: (949) 333-7778

   7 Attorneys for Chapter 7 Trustee,
     RICHARD A. MARSHACK
   8

   9                                 UNITED STATES BANKRUPTCY COURT
  10                   CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
  11

  12       In re                                             Case No. 8:20-bk-13014-MW

  13       NORTHERN HOLDING, LLC,                            Chapter 7

  14                                                         ORDER GRANTING CHAPTER 7
                                                             TRUSTEE’S MOTION TO APPROVE
  15                       Debtor.                           FARM OPERATOR AGREEMENT
                                                             AND FOR ORDER TO OPERATE
  16                                                         DEBTOR’S BUSINESS FOR THE
                                                             LIMITED PURPOSE OF
  17                                                         COMPLETING FALL 2021 HARVEST
                                                             OF CURRENT CROP OF FRUIT
  18
                                                                 ▪  EXHIBIT ATTACHED
  19                                                                (SIGNATURE PAGE)
                                                             Hearing:
  20                                                         Date: August 30, 2021
                                                             Time: 2:00 p.m.
  21                                                         Place: Courtroom 6C1
                                                                    411 W. Fourth Street
  22                                                                Santa Ana, CA 92701

  23               On August 30, 2021, at 2:00 p.m., the unopposed motion (the “Motion”) for entry of an
  24 order approving motion to approve a farm operator agreement and for an order authorizing the
  25 Trustee to operate the Debtor’s business for the limited period of time and for the sole purpose

  26 of completing the harvest of the current crop of fruit growing on Debtor’s land, filed by
  27
  28   1
        Effective as of July 19, 2021, in-person hearing appearances are allowed before Judge
       Wallace. Otherwise, telephonic appearances are permitted pursuant to the Court’s procedures.
                                                       1



                                                                                                     EXHIBIT 5
                                                                                                     PAGE 130
Case 8:20-bk-13014-ES         Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                          Desc
                              Main Document   Page 135 of 392
    Case 8:20-bk-13014-MW         Doc 211 Filed 09/07/21 Entered 09/07/21 09:33:00                  Desc
                                   Main Document Page 2 of 5


     1 Richard A. Marshack, in his capacity as Chapter 7 Trustee (“Trustee”) of the Bankruptcy

     2 Estate (“Estate”) of Northern Holding, LLC (“Debtor”), on August 9, 2021, as Dk. No. 186,
     3 was heard before the Honorable Mark S. Wallace, United States Bankruptcy Judge. No
     4 opposition to the Motion was filed. At the hearing, Tinho Mang appeared on behalf of the

     5 Trustee. Reed S. Waddell appeared on behalf of Farm Credit West, FCLA (“FCW”), and the
     6 stipulated terms for the use of cash collateral were read into the record and confirmed by

     7 FCW. For the reasons set forth in the Motion, and stated on the record, the Court enters its
     8 order as follows:

     9         IT IS ORDERED that:
    10         1.      The Motion is granted;
    11         2.      The farm operator agreement attached to the Motion as Exhibit “1” is approved;
    12         3.      The Trustee is authorized to operate the Debtor’s business through Leroy
    13 Codding for the limited purpose of completing the Fall 2021 harvest pursuant to 11 U.S.C. §

    14 721 to the extent necessary to complete the fall 2021 harvest, with such authorization to

    15 terminate at the earliest of: (a) the completion of the fall 2021 harvest; or (b) October 31, 2021;

    16         4.      Trustee is authorized to cancel all currently existing grape sales agreements and
    17 to renegotiate all such agreements, including entering into and executing any reasonably

    18 prudent subsequent grape sales agreements without further order of the Court;

    19         5.      The proceeds of all sales of agricultural products (“Crop”) grown on: (1) 2380
    20 Live Oak Road, Paso Robles, CA; (2) 1172 San Marcos Road, Paso Robles, CA; and (3) APN
    21 027-145-022 (collectively, the “Properties”) shall be paid directly to the Estate and the Trustee

    22 is authorized to receive and hold all gross proceeds of the sale of any Crop from the Properties
    23 to be disbursed as stated below without further order of the Court;

    24         6.      As FCW has consented to such use, Trustee is authorized to, upon receipt of
    25 proceeds from the sale of Crop, use cash collateral to pay and reimburse actual and reasonable

    26 expenses incurred for harvesting and selling the crops. As stated on the record, the following
    27 stipulated provisions are approved:
    28 //


                                                        2



                                                                                              EXHIBIT 5
                                                                                              PAGE 131
Case 8:20-bk-13014-ES       Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                           Desc
                            Main Document   Page 136 of 392
    Case 8:20-bk-13014-MW          Doc 211 Filed 09/07/21 Entered 09/07/21 09:33:00               Desc
                                    Main Document Page 3 of 5


     1               a. All Crops constitute the collateral of FCW and all proceeds of the sale of
     2                   Crops constitutes FCW’s cash collateral;
     3               b. Pursuant to the consent of FCW, the Trustee may pay and use FCW’s cash
     4                   collateral for the following line items ONLY:
     5                    i. Reasonable reimbursement of farming expenses incurred and actually
     6                       paid by the Trustee’s operator but in no event shall expense
     7                       reimbursements exceed $400,000;
     8                   ii. All professional expenses of the Trustee reasonably related to the
     9                       farming operations of the Debtor, including attorneys’ fees, the
    10                       Trustee’s compensation pursuant to 11 U.S.C. § 326, and the proposed
    11                       5% compensation for the Operator, which amounts shall be segregated
    12                       by the Trustee and held pending final approval of compensation;
    13                  iii. 50% of all net proceeds over and above the reimbursements listed in
    14                       paragraphs 6(b)(i)-(ii) may be held by the Trustee as a reserve for the
    15                       Estate to pay any other unsecured creditor;
    16                  iv. The remaining 50% of net proceeds shall be immediately remitted to
    17                       FCW without further court order.
    18                                               ###
    19
    20
    21

    22
    23
         Date: September 7, 2021
    24
    25

    26
    27
    28


                                                      3



                                                                                            EXHIBIT 5
                                                                                            PAGE 132
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55          Desc
                        Main Document   Page 137 of 392
     Case 8:20-bk-13014-MW   Doc 211 Filed 09/07/21 Entered 09/07/21 09:33:00   Desc
                              Main Document Page 4 of 5




                                                                         EXHIBIT 5
                                                                         PAGE 133
Case 8:20-bk-13014-ES         Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55          Desc
                              Main Document   Page 138 of 392
    Case 8:20-bk-13014-MW         Doc 211 Filed 09/07/21 Entered 09/07/21 09:33:00   Desc
                                   Main Document Page 5 of 5


     1    SIGNATURE PAGE TO ORDER GRANTING CHAPTER 7 TRUSTEE’S MOTION TO
            APPROVE FARM OPERATOR AGREEMENT AND FOR ORDER TO OPERATE
     2    DEBTOR’S BUSINESS FOR THE LIMITED PURPOSE OF COMPLETING FALL 2021
                         HARVEST OF CURRENT CROP OF FRUIT
     3
         Approved as to Form:
     4

     5
       FRANDZEL ROBINS BLOOM &
     6 CSATO, L.C.

     7
         [See attached signature page]
     8
       ______________________________
     9
       REED S. WADDELL, Counsel for
    10 FARM CREDIT WEST, FLCA
    11

    12

    13

    14

    15

    16

    17

    18

    19
    20
    21

    22
    23

    24
    25

    26
    27
    28


                                                  4



                                                                                EXHIBIT 5
                                                                                PAGE 134
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 139 of 392




                                                      EXHIBIT 6

                                                                   PAGE 135
Case 8:20-bk-13014-ES         Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                    Desc
                              Main Document   Page 140 of 392




 From: Richard Marshack <RMarshack@MarshackHays.com>
 Sent: Tuesday, October 5, 2021 1:36 PM
 To: Lee Codding <lecoddingiv@icloud.com>
 Cc: Pam Kraus <pkraus@marshackhays.com>; Kevin Otus <kotus@thinkonyx.com>; Tinho Mang
 <tmang@marshackhays.com>; Lori Ensley <ljensley@aol.com>; Richard Marshack
 <RMarshack@MarshackHays.com>
 Subject: Northern

 Dear Lee

 This is to notify you that you are in breach of the Farm Management Agreement. Today for the first
 time you told me that you have shipped out our grapes without my approval and without contracts
 signed by me. This is not only a breach of contract but a breach of a court order.

 You are hereby instructed to not ship anymore grapes or products or otherwise transfer any assets
 of Northern unless and until you get my written approval.

 You were asked for and accepted a position of trust by the Federal Court and you are not living up to
 the agreement that was approved by the Federal Court. This is really serious. I told you over a
 month ago to get contracts in order. I will be deciding whether to terminate the agreement. I have
 a unilateral right to do so.

 Richard Marshack

 Richard Marshack
 MARSHACK HAYS LLP
 870 Roosevelt
 Irvine, CA 92620
 Telephone: (949) 333-7777

 (Sent from my iPad)




                                                                                         EXHIBIT 6
                                                                                         PAGE 136
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 141 of 392




                                                      EXHIBIT 7

                                                                   PAGE 137
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 142 of 392




                                                                   PAGE 138
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 143 of 392




                                                                   PAGE 139
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 144 of 392




                                                                   PAGE 140
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 145 of 392




                                                                   PAGE 141
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 146 of 392




                                                                   PAGE 142
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 147 of 392




                                                                   PAGE 143
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 148 of 392




                                                                   PAGE 144
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 149 of 392




                                                                   PAGE 145
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 150 of 392




                                                                   PAGE 146
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 151 of 392




                                                                   PAGE 147
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 152 of 392




                                                                   PAGE 148
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 153 of 392




                                                                   PAGE 149
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 154 of 392




                                                                   PAGE 150
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 155 of 392




                                                                   PAGE 151
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 156 of 392




                                                                   PAGE 152
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 157 of 392




                                                                   PAGE 153
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 158 of 392




                                                                   PAGE 154
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 159 of 392




                                                                   PAGE 155
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 160 of 392




                                                                   PAGE 156
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 161 of 392




                                                                   PAGE 157
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 162 of 392




                                                                   PAGE 158
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 163 of 392




                                                                   PAGE 159
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 164 of 392




                                                                   PAGE 160
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 165 of 392




                                                                   PAGE 161
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 166 of 392




                                                                   PAGE 162
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 167 of 392




                                                                   PAGE 163
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 168 of 392




                                                                   PAGE 164
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 169 of 392




                                                                   PAGE 165
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 170 of 392




                                                                   PAGE 166
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 171 of 392




                                                                   PAGE 167
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 172 of 392




                                                                   PAGE 168
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 173 of 392




                                                                   PAGE 169
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 174 of 392




                                                      EXHIBIT 8

                                                                   PAGE 170
      Case 8:20-bk-13014-ES                                    Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                                                  Desc
                                                               Main Document   Page 175 of 392
                            Secretary of State                                                      LLC-12                                        21-F60185
                            Statement of Information
                            (Limited Liability Company)                                                                                            FILED
                                                                                                                                   In the office of the Secretary of State
 IMPORTANT — Read instructions before completing this form.                                                                               of the State of California

 Filing Fee – $20.00
                                                                                                                                                  OCT 26, 2021
 Copy Fees – First page $1.00; each attachment page $0.50;
             Certification Fee - $5.00 plus copy fees
                                                                                                                                   This Space For Office Use Only
 1. Limited Liability Company Name (Enter the exact name of the LLC. If you registered in California using an alternate name, see instructions.)
  HUMANITY WINE COMPANY LLC
 2. 12-Digit Secretary of State File Number                                           3. State, Foreign Country or Place of Organization (only if formed outside of California)
                             201829110297                                               CALIFORNIA
 4. Business Addresses
 a. Street Address of Principal Office - Do not list a P.O. Box                                      City (no abbreviations)                                       State    Zip Code
 2814 Cottage Lane                                                                                   Paso Robles                                                   CA       93446
 b. Mailing Address of LLC, if different than item 4a                                                City (no abbreviations)                                       State    Zip Code
 179 Niblick Road, Suite 326                                                                         Paso Robles                                                   CA       93446
 c. Street Address of California Office, if Item 4a is not in California - Do not list a P.O. Box    City (no abbreviations)                                       State    Zip Code
 2814 Cottage Lane                                                                                   Paso Robles                                                    CA       93446
                                             If no managers have been appointed or elected, provide the name and address of each member. At least one name and address
                                             must be listed. If the manager/member is an individual, complete Items 5a and 5c (leave Item 5b blank). If the manager/member is
 5. Manager(s) or Member(s)                  an entity, complete Items 5b and 5c (leave Item 5a blank). Note: The LLC cannot serve as its own manager or member. If the LLC
                                             has additional managers/members, enter the name(s) and addresses on Form LLC-12A (see instructions).
 a. First Name, if an individual - Do not complete Item 5b                                           Middle Name                      Last Name                                         Suffix
  Steven                                                                                                                             Jones
 b. Entity Name - Do not complete Item 5a


 c. Address                                                                                          City (no abbreviations)                                       State    Zip Code
  2814 Cottage Lane                                                                                  Paso Robles                                                   CA      93446
 6. Service of Process (Must provide either Individual OR Corporation.)
      INDIVIDUAL – Complete Items 6a and 6b only. Must include agent’s full name and California street address.
 a. California Agent's First Name (if agent is not a corporation)                                    Middle Name                      Last Name                                         Suffix
 Steven                                                                                                                              Jones
 b. Street Address (if agent is not a corporation) - Do not enter a P.O. Box                         City (no abbreviations)                                       State    Zip Code
 2814 Cottage Lane                                                                                   Paso Robles                                                    CA        93446
      CORPORATION – Complete Item 6c only. Only include the name of the registered agent Corporation.
 c. California Registered Corporate Agent’s Name (if agent is a corporation) – Do not complete Item 6a or 6b



 7. Type of Business
 a. Describe the type of business or services of the Limited Liability Company
 Wine Business Marketing
 8. Chief Executive Officer, if elected or appointed
 a. First Name                                                                                       Middle Name                      Last Name                                         Suffix


 b. Address                                                                                          City (no abbreviations)                                       State    Zip Code


 9. The Information contained herein, including any attachments, is true and correct.

   10/26/2021                    Steven Jones                                                                          Managing Member
  _____________________            ____________________________________________________________                        _________________________     __________________________________
  Date                               Type or Print Name of Person Completing the Form                                   Title                          Signature
Return Address (Optional) (For communication from the Secretary of State related to this document, or if purchasing a copy of the filed document enter the name of a
person or company and the mailing address. This information will become public when filed. SEE INSTRUCTIONS BEFORE COMPLETING.)

Name:                                                                                                             
Company:

Address:
City/State/Zip:                                                                                                   

 LLC-12 (REV 01/2017)
                                                                                            Page 1 of 2                                            2017 California Secretary of State
                                                                                                                                                      www.sos.ca.gov/business/be



                                                                                                                                                                 EXHIBIT 8
                                                                                                                                                                 PAGE 171
        Case 8:20-bk-13014-ES                  Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                          Desc
                                               Main Document   Page 176 of 392

                   Attachment to                                                                          21-F60185
                                                              LLC-12A
                   Statement of Information
                                                             Attachment
                   (Limited Liability Company)

A. Limited Liability Company Name
HUMANITY WINE COMPANY LLC




                                                                                                  This Space For Office Use Only
B.   12-Digit Secretary of State File Number                C.   State or Place of Organization (only if formed outside of California)

                     201829110297                                                            CALIFORNIA


D. List of Additional Manager(s) or Member(s) - If the manager/member is an individual, enter the individual’s name and address.                If the
   manager/member is an entity, enter the entity’s name and address. Note: The LLC cannot serve as its own manager or member.

     First Name                                                    Middle Name               Last Name                                         Suffix
Kelly                                                                                        Jones
     Entity Name


     Address                                                       City (no abbreviations)                                  State        Zip Code
2814 Cottage Lane                                                  Paso Robles                                                CA       93446
     First Name                                                    Middle Name               Last Name                                         Suffix


     Entity Name


     Address                                                       City (no abbreviations)                                  State        Zip Code


     First Name                                                    Middle Name               Last Name                                         Suffix


     Entity Name


     Address                                                       City (no abbreviations)                                  State        Zip Code


     First Name                                                    Middle Name               Last Name                                         Suffix


     Entity Name


     Address                                                       City (no abbreviations)                                  State        Zip Code


     First Name                                                    Middle Name               Last Name                                         Suffix


     Entity Name


     Address                                                       City (no abbreviations)                                  State        Zip Code


     First Name                                                    Middle Name               Last Name                                         Suffix


     Entity Name


     Address                                                       City (no abbreviations)                                  State        Zip Code


     First Name                                                    Middle Name               Last Name                                         Suffix


     Entity Name


     Address                                                       City (no abbreviations)                                  State        Zip Code




LLC-12A -   Attachment (EST 07/2016)                          Page 2 of 2                                           2016 California Secretary of State
                                                                                                                       www.sos.ca.gov/business/be


                                                                                                                          EXHIBIT 8
                                                                                                                          PAGE 172
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 177 of 392




                                                      EXHIBIT 9

                                                                   PAGE 173
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 178 of 392




                                                                   EXHIBIT 9
                                                                   PAGE 174
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 179 of 392




                                                                   EXHIBIT 9
                                                                   PAGE 175
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 180 of 392




                                                                   EXHIBIT 9
                                                                   PAGE 176
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 181 of 392




                                                                   EXHIBIT 9
                                                                   PAGE 177
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 182 of 392




                                                      EXHIBIT 10

                                                                   PAGE 178
Case 8:20-bk-13014-ES        Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                    Desc
                             Main Document   Page 183 of 392

                            Timothy A. Lambirth
                                      Attorney At Law
                           25350 Magic Mountain Pkwy-3rd Floor
                                   Valencia, CA 91355
                                   Phone 661 481-2225
                                    Fax 661 481-2001
                                  tal@lambirthlaw.com

                                      December 15, 2021


 Via Email, Fax and U.S. Priority Mail
 Michael J. Gomez, Esq.                                Reed Waddell, Esq.
 Frandzel Robins Bloom & Csato, LC                     Frandzel Robins Bloom & Csato, LC
 516 West Shaw, Ste. 200                               1000 Wilshire Blvd., 19th Floor
 Fresno, CA 93704                                      Los Angeles, CA 90017
 Fax: (559) 221-2660                                   Fax: (323) 651-2577
 MGomez@frandzel.com                                   FWaddell@frandzel.com

        Re:     In re Northern Holding, LLC
                US Bankruptcy Case Number: 8-20-bk-13014-MW

 Dear Mr. Gomez and Mr. Waddell:

        Please be advised that I represent Rabbit Ridge Wine Sales, Inc. (“RRWSI”). It has
 been brought to my attention that your client, Farm Credit and its agents have locked
 RRWSI out of the winery facility located at 1172 San Marcos Road, Paso Robles, CA
 93446 (“Premises”).

         RRWSI was, and has been for quite some time, lawfully in possession of the
 Premises. Thousands of cases of its wine, and wine under its custody and control, is now
 beyond its control due to your client wrongfully locking them out of the Premises and
 thereafter continuing to deny them reasonable access.

          Your client’s conduct is unlawful for several reasons, including but not limited to,
 its failure to provide my clients with due process, by providing them notice and an
 opportunity to respond. Your client failed to provide any notice whatsoever, not even a
 three-day notice, a five-day notice, ten-day notice or thirty-day notice!

         Your client is also liable to my clients for damages caused by them committing
 conversion, trespass to chattels, interference with prospective economic advantage and
 forcible detainer.

        Demand is hereby made upon your client that it immediately make arrangements
 with RRWSI to afford them access to the Premises, and further that RRWSI be permitted
 to remove its personal property from that facility.




                                                                                     EXHIBIT 10
                                                                                      PAGE 179
Case 8:20-bk-13014-ES       Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                   Desc
                            Main Document   Page 184 of 392




 Michael J. Gomez, Esq.
 Reed Waddell, Esq.
 December 15, 2021
 Page 2 of 2


        My clients are incurring damages on a daily basis as a result of lost sales and other
 business opportunities. Thus, your client’s immediate attention to this problem, which they
 have created, is required.

         Should this matter not be resolved immediately, my clients will be considering all
 legal options available to it, including filing a motion in the Northern Holding bankruptcy
 or seeking relief in the Superior Court.

        Please call me to discuss as soon as possible at 661 644-5525, as time is of the
 essence.


                                       Very truly yours,


                                       Timothy A. Lambirth


 cc: Marshack Hays, LLP (via email and fax)
 Counsel for Trustee, Richard A. Marshack
 ehays@marshackhays.com
 dwood@marshackhays.com
 tmang@marshackhays.com




                                                                                  EXHIBIT 10
                                                                                   PAGE 180
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 185 of 392




                                          EXHIBIT 11

                                                                   PAGE 181
      Case 8:20-bk-13014-ES          Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                        Desc
                                     Main Document   Page 186 of 392


Subject:            FW: True-Up Grape Revenue


Begin forwarded message:

       From: Lee Codding <lecoddingiv@icloud.com>
       Date: December 17, 2021 at 1:03:41 PM PST
       To: Richard Marshack <RMarshack@marshackhays.com>, Lori Ensley <LJENSLEY@aol.com>, Pam Kraus
       <pkraus@marshackhays.com>
       Subject: True‐Up Grape Revenue



       All,

       True‐up details below. First some data points. Please give this a thorough read. Thanks in advance.

       Harvest is intense and time sensitive. All the grape sales negotiations had to be pursued well in advance
       of the farm agreement. As well in advance of court approval of the agreement. Otherwise we wouldn’t
       have had any customers. I had to proceed with the best practical basis to get everything we could sold.

       We had a handful of grape customers that either due to legacy issues, urgency, customary payment
       remittance practices or discomfort/unwillingness to go along with the BK entity paperwork needed to be
       handled on a practical basis.

       This was done with good reason: to maximize value. The intent was always and still is to reconcile
       everything against cost recovery in a true‐up. That’s the reason I had already set the anticipated cost
       recovery submission at $232,000 instead of the $400,000 allowed in the farming agreement. As we’ve
       discussed is time for that true‐up now.

       There’s what’s correct according to the letter of the law and there’s what’s right. They aren’t always the
       same thing. In this case dealing with customers on a reality basis and preserving the income for the
       estate was the right thing to do. If official procedure had been adhered to we would have lost these
       customers and this fruit revenue for the estate. The fruit doesn’t wait.

       Please find a recap below. Documentation to Lori will follow under separate covers.
       Anarchist $30,000
       Graveyard $3,285
       Nicora $44,000 less
       Oniell $22,297.89
       Pali $30,877.52
       Rangeland $7,752
       Sycamore $2,747.90


       To reiterate, in preparation for this true up I had long ago set the cost recovery submission at $232,000
       instead of the $400,000 allowed in the farming agreement. In excess of this $400,000 limit was spent in
       farming operations.


                                                           1

                                                                                                EXHIBIT 11
                                                                                                 PAGE 182
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 187 of 392
                   Let’s get this put to bed.

                   Best regards,
                   Lee


                   Lee Codding
                   952/220‐8216 / lecoddingiv@icloud.com




                                                           2

                                                                  EXHIBIT 11
                                                                   PAGE 183
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 188 of 392




                                          EXHIBIT 12

                                                                   PAGE 184
Case 8:20-bk-13014-ES         Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                   Desc
                              Main Document   Page 189 of 392


Memorandum of Understanding between Lee Codding and Related Entities as more specifically defined

                       number 8:20-bk-13014-MW. Dated December 20, 2021.

Recitals:

    1.

       order to be entered on September 7, 2021, as Docket No. 211 approving the Farm Agreement.
    2. Pursuant to the Farm Agreement, all proceeds of assets that are permitted to be liquidated
       (grapes) were to be paid directly to the Trustee. Further certain expenses as outlined in the
       Farm Agreement would be advanced by Mr. Codding and after receipt of an accounting and
       approval of the accounting by the Trustee, the Bankruptcy Estate would reimburse Mr. Codding
       from proceeds of the assets sold.
    3. Mr. Codding and/or Fluid Wine Fund I LLC, Rabbit Ridge Wine Sales, Inc., and Humanity Wine

    4. This Farm Agreement is without prejudice to other rights and remedies Trustee or the
       Bankruptcy Estate may have.

Agreement

    1. Mr. Codding and Related Entities agree that the total amount of funds due to him and Related
       Entities, under the Farm Agreement or any transactions or agreements do not collectively
       exceed $232,000.
    2. Mr. Codding and Related Entities agree that the Trustee, on behalf of the Bankruptcy Estate of
       Northern Holding LLC, may offset or deduct from any money owed to Mr. Codding or to Related
       Entities the sum of no less than $140,960.31.
    3. Mr. Codding and the Related Entities represent and warrant that all funds that they have
       received that are or once were proceeds from assets of the Bankruptcy Estate, or that are or
       were assets of the Debtor, or that are proceeds from sales of grapes that were grown on the
       real estate owned by the Debtor (Northern Holding LLC), have been fully disclosed and are fully
       outlined in that certain e mail dated December 17, 2021 and attached hereto as exhibit A.
    4. To the extent Mr. Codding or Related Entities seeks reimbursement, backup documentation
       including paid invoices and cleared checks to support the requested reimbursements no later
       than January 5, 2022. All parties agree that any invoices or requests for reimbursement
       submitted after January 5, 2022 will not and do not have to be paid.

Agreed

_______________
Richard Marshack
Bankruptcy Trustee

________________
Lee Codding
Individually




                                                                                       EXHIBIT 12
                                                                                        PAGE 185
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 190 of 392




                            _________________
                            Rabbit Ridge Wine Sales Inc
                            By: Steve Jones
                           CFO

                            ________________________
                            Rabbit Ridge Wine Sales Inc
                            By: Lee Codding
                              CEO

                            ______________________
                            Fluid Wine Fund I LLC
                            By: Steve Jones


                            _____________________
                            Fluid Wine Fund I LLC
                            By: Lee Codding
                                 Managing
                                 Partner
                            _____________________
                            Humanity Wine Company LLC
                            By: Steve Jones
                               Managing
                               Member
                            _____________________
                            Humanity Wine Company LLC
                            By: Lee Codding




                                                                  EXHIBIT 12
                                                                   PAGE 186
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 191 of 392




                                          EXHIBIT 13

                                                                   PAGE 187
Case 8:20-bk-13014-ES            Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                          Desc
                                 Main Document   Page 192 of 392




                      LEROY CODDING




     INVOICE                     Attention: Richard Marshack, US Trustee
                                 Northern Holding Chapter 7 Estate
                                 Via email
                                 Date: 12/30/2021
     13217 Jamboree Rd. St 429
     Tustin CA 92782
                                 Project Title: Northern Holding Grapes farmed by agreement w/ L. Codding
                                 Project Description: Wine Grapes from 2021 Harvest
                                 Invoice Number: 1257.3
                                 Terms: Due Upon Receipt/ Progress Payments Accepted as Collections Occur

                                 Please note - partial remittance as funds are collected from crop revenue by check
                                 or cashiers check to:

                                 Leroy Codding 13217 Jamboree Rd. Ste. 429 Tustin, CA 92782

                                 Progress payments requested as collections occur. Thank you!

                                 Description                                                         Extend


                                 Vineyard Direct Labor Cost Recovery (non BK                               $242,855
                                 owned entity)

                                 Vineyard Nutrient, Equip Maintenance Cost                                $47,649.39
                                 Recovery

                                 Vineyard Analysis Cost Recovery                                           $4,215.60

                                 Power- wells                                                               $56,363

                                 Vineyard Labor - outside entity                                     Pending

                                 Other                                                               Pending

                                 Insurance - property and estate forced property                            $10,983
                                 coverage

                                 Due                                                 Subtotal        $‎ 372,066.28

                                 Progress payments to date                                           $‎         0.00

                                 Due 12/30/2021                                      Total USD       $‎ 372,066.28




                                                                                                                       1




                                                                                                          EXHIBIT 13
                                                                                                           PAGE 188
Case 8:20-bk-13014-ES               Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                        Desc
                                    Main Document   Page 193 of 392




    Payroll Advanced by Farming Entity for Northern Crop
    Payroll summary by employee report

    From Jan 01, 2021 to Dec 01, 2021 for all employees from all locations
    Name                                          Hours - total              Hours - Vinyard Hourly
    Cardenas, David H                             1401.5                     416.5
    HERNANDEZ, JESUS T                            2260                       604
    Hernandez, Jose R                             535                        135
    HERNANDEZ, JUAN                               3278                       1452.5
    Mendiola, Gustavo Hernandez                   2473.5                     646.5
    SANFORD-1, MICHAEL J                          1906.74
    Total                                         11854.74                   3254.5




                                                               1




                                                                                                      EXHIBIT 13
                                                                                                       PAGE 189
          Case 8:20-bk-13014-ES     Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                                    Main Document   Page 194 of 392




rn Crop


              Hours - Regular     Hours - Sal   Gross pay - total
                                                              $ 20,321.75
              99                                              $ 33,025.50
                                                                $ 7,757.50
              105.5                                           $ 52,397.50
              99                                              $ 42,486.50
                                  1906.74                     $ 68,750.00
              303.5               1906.74       $ 224,738.75




                                                     2




                                                                              EXHIBIT 13
                                                                               PAGE 190
Case 8:20-bk-13014-ES        Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                Desc
                             Main Document   Page 195 of 392




    Gross pay - PAID TIME OFF-Hourly            Gross pay - Vinyard Hourly
                                       $ 522.00                           $ 6,039.25
                                       $ 480.00                           $ 8,903.50
                                                                          $ 1,957.50
                                                                        $ 23,240.00
                                       $ 136.00                         $ 11,107.50

    $ 1,138.00                                    $ 51,247.75




                                                      3




                                                                                       EXHIBIT 13
                                                                                        PAGE 191
Case 8:20-bk-13014-ES    Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55              Desc
                         Main Document   Page 196 of 392




    Gross pay - TIPS    Gross pay - Regular           Gross pay - Sal

                                         $ 1,287.00

                                         $ 1,637.50
                                         $ 1,683.00
                                                                   $ 68,750.00
    0                   $ 4,607.50                    $68,750.00




                                              4




                                                                                 EXHIBIT 13
                                                                                  PAGE 192
Case 8:20-bk-13014-ES     Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                          Main Document   Page 197 of 392




    Gross pay - Holiday    Adjusted gross        Other pay - total
                                     $ 20,321.75
                                     $ 33,025.50
                                      $ 7,757.50
                                     $ 52,397.50
                                     $ 42,486.50
                                     $ 68,750.00
    0                      $ 224,738.75          0




                                              5




                                                                     EXHIBIT 13
                                                                      PAGE 193
Case 8:20-bk-13014-ES        Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                  Desc
                             Main Document   Page 198 of 392




    Employee taxes - total           Employee taxes - SS         Employee taxes - Med
                        -$ 1,935.83                  -$ 1,259.95                   -$ 294.67
                        -$ 4,583.30                  -$ 2,047.58                   -$ 478.87
                           -$ 842.70                   -$ 480.97                   -$ 112.48
                        -$ 7,492.47                  -$ 3,248.65                   -$ 759.76
                        -$ 4,744.76                  -$ 2,634.16                   -$ 616.05
                       -$ 13,906.48                  -$ 4,262.50                   -$ 996.88
    -$ 33,505.54                     -$ 13,933.81                -$ 3,258.71




                                                   6




                                                                                         EXHIBIT 13
                                                                                          PAGE 194
Case 8:20-bk-13014-ES         Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                        Desc
                              Main Document   Page 199 of 392




    Employee taxes - CA PIT          Employee taxes - CA SDI          Employee taxes - FIT
                           -$ 137.35                       -$ 243.86
                           -$ 963.78                       -$ 396.31                      -$ 696.76
                           -$ 156.16                         -$ 93.09
                           -$ 252.08                       -$ 628.77                    -$ 2,603.21
                            -$ 19.57                       -$ 509.85                      -$ 965.13
                         -$ 1,751.86                       -$ 825.00                    -$ 6,070.24
    -$ 3,280.80                      -$ 2,696.88                      -$ 10,335.34




                                                    7




                                                                                          EXHIBIT 13
                                                                                           PAGE 195
Case 8:20-bk-13014-ES         Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55    Desc
                              Main Document   Page 200 of 392




    Net pay           Employer taxes & contributions - total
         $ 18,385.92                                           $ 1,708.62
         $ 28,442.20                                           $ 2,680.45
           $ 6,914.80                                            $ 747.45
         $ 44,905.03                                           $ 4,162.41
         $ 37,741.74                                           $ 3,404.21
         $ 54,843.52                                           $ 5,413.38
    $ 191,233.21      $ 18,116.52




                                                    8




                                                                            EXHIBIT 13
                                                                             PAGE 196
Case 8:20-bk-13014-ES        Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                        Desc
                             Main Document   Page 201 of 392




    Employer taxes - total          Employer taxes - FUTA             Employer taxes - SS
                         $ 1,708.62                         $ 42.00                    $ 1,259.95
                         $ 2,680.45                         $ 42.00                    $ 2,047.58
                           $ 747.45                         $ 42.00                       $ 480.97
                         $ 4,162.41                         $ 42.00                    $ 3,248.65
                         $ 3,404.21                         $ 42.00                    $ 2,634.16
                         $ 5,413.38                         $ 42.00                    $ 4,262.50
    $ 18,116.52                     $ 252.00                          $ 13,933.81




                                                   9




                                                                                              EXHIBIT 13
                                                                                               PAGE 197
Case 8:20-bk-13014-ES        Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                           Desc
                             Main Document   Page 202 of 392




    Employer taxes - Med        Employer taxes - CA ETT            Employer taxes - CA SUI
                       $ 294.67                           $ 7.00                             $ 105.00
                       $ 478.87                           $ 7.00                             $ 105.00
                       $ 112.48                           $ 7.00                             $ 105.00
                       $ 759.76                           $ 7.00                             $ 105.00
                       $ 616.05                           $ 7.00                             $ 105.00
                       $ 996.88                           $ 7.00                             $ 105.00
    $ 3,258.71                  $ 42.00                            $ 630.00




                                                 10




                                                                                             EXHIBIT 13
                                                                                              PAGE 198
Case 8:20-bk-13014-ES         Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                              Main Document   Page 203 of 392




    Total payroll cost
                    $ 22,030.37
                    $ 35,705.95
                     $ 8,504.95
                    $ 56,559.91
                    $ 45,890.71
                    $ 74,163.38
    $ 242,855.27




                                            11




                                                                        EXHIBIT 13
                                                                         PAGE 199
             2:18PM Mon Dec 13                                                             aao                                                            rrli   LTE   ! 9olot].
               Done                                                  20210317-statements-1 563-             (1 ).   pdf                                q@o
                                 03t/@                   BUTTONWILLOW WAREHOUSE CO PASO ROBLES CA
                 !*-j
                                                                                                                                                       @:..?1)
                                                                                                                                                        ---\
                                 03/05                   Amazon.com'9B6CF3FJ3 Amzn.comDill WA                                                              90.06
                                 03/05                   BUTTONWILLOW WAREHOUSE CO PASO ROBLES CA
                                 03t/05                  76. TEMPLETON MARKET TEMPLETON CA
                                                                                                                                                       @ry238.58
                 t      q        03/08                   BUTTONWILLOW WAREHOUSE CO PASO ROBLES CA                                                       ft.ott
                                                                                                                                                        \-=--.
                                 03/08                   BUTTONWILLOW WAREHOUSE CO PASO ROBLES CA                                                      (rps{ss,
                                                                                                                                                                                                           Case 8:20-bk-13014-ES




                                 03/08                   CHEVRON 0212458 PASO ROBLES CA                                                                    70.00
                                 03v09                   EUTTONWILLOW WAREHOUSE CO PASO ROBLES CA
                                 03u09                   TRACTOR SUPPLY CO #1609 PASO ROBLES CA                                                            80.78
                                 03/10                   SAN PASO TRUCK STOP PASO ROELES CA                                                                44.00
                                 03|/10                  SAN JOAOUIN TRACTOR CO BAKERSFIELD CA                                                            165.09
                                 03t12                   SAN PASO TRUCK STOP PASO ROBLES CA                                                               125.00
                                                                                                                                                                                   Main Document




                                 o3t12                   CAROUEST OF TEMPLETON TEMPLETON CA                                                              1,831.25
                                                           STEVEN JONES
                                                           TRANSACTTONS TH|S CYCLE (CARD sssl) $16699.57


                                 03t12                   TEMPLETON AUTO PARTS & SE 805.4342177 CA                                                          60.00
                                                           STEVEN JONES
                                                           TRANSACTTONS TH|S CYCLE (CARD 09s9) 560.00

                                                                                                                                                   $   lv,tlsg
                                                                                       20i11 Totale Year-toDato
                                                                                                                                                                                                   Page 204 of 392




                                                                       Total lees charged in 20121                             s99.00
                                                                                                                                                   F.t*5+
                                                                       Totaf interest charged in2021                            s0.00
                                                                       Year-lodate totials do not reflect any fee or interesl refunG
                                                                                         you may have reoeived.




                                 INTEREST CHARGES
                                                                                                                                                                                   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55




                                 Your Annual Percentage Rate (APR) is lhe annual inlerest rate on your a@ounl.

                                                                                                                           Balance




 PAGE 200
EXHIBIT 13
                                                                                                                                                                                                           Desc




                                 Barance   rype                                  rj#;l"                                   Subjecl To    lnterest
                                                                                                                                                                            i
             2:18PM MonD   13                                                                ●●●                                                            00B,LTE   9%「

               Done                                                   20210917‐ statements‐ 1563‑.pdf                                                   徽     ①        白




              一
              ．
                    降           08′ 20                  SAN PASO TRUCK STOP PASO ROBLES CA                                                                  108.46




               一一
                                08′   20                MATHESON TR卜 GAS 766 PASO ROBLES CA                                                                 103.20




                一一
                 一・
                                08′ 19                  SAN PASO TRUCK STOP PASO ROBLES CA                                                                   76.18
                                08′   19                SAN PASO TRUCK STOP PASO ROBLES CA                                                                   51.25




                  十一一二
                                                           STEVEN JONES
                                                          TRANSACTIONS THiS CYCLE(CARD 5551)騨                 9。   09
                                                                                                                                                                                                        Case 8:20-bk-13014-ES




                                                                                        2021 To協 Is Y"『 ‐
                                                                                                        to・ Date

                                                                      Totalfees charged in 2021                                S138.00
                                                                      Totalinterest charged in 2021                          Sl,297.51

                                                                      Year‐ to‐ date tot』   s do notrenect any儀 or      interest re負   nds
                                                                                                                                       】
                                                                                            you may have re∞
                                                                                                              "ed.
                                                                                                                                                                                Main Document




                                INTEREST CHARGES
                                You『   AnnuaI Percentage R試 o(APR)is he annualinterestrate on your a∝ ount.
                                                                                  AnnuaI                                   Baiance
                                Balance Type                                   percenttge                                 Subl∝ tTO          interest
                                                                                 R試 o(APR)                              interest Rate        C脳『ges
                                PURCHASES
                                                                                                                                                                                                Page 205 of 392




                                  Pu『 chases                                  20.49。/。 (V)(d)                             S23,586.46         S410.48
                                CASH ADVANCES
                                  Cash Aい げ
                                          ances                               24.99。/。 (v)(d)                                 ‐0‐              ‐0‐
                                BALANCE TRANSFERS
                                  Balance Transter                            20,49%(V)(d)                                    ‐0‐              ‐0‐

                                                                                                                                          31 Daysin B‖ :ing Period
                                                                                                                                                                                Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55




                                (V)=Vattable Rate
                                (d)=Daily Balance Method(inCiuding new transactions)
                                (a)=AveFage Daily Balance Method(ittluding new transacttons)
                                Piease see inforrnation About Your A∝ ount叡 駅瀬on forthe catculatbn of Balance SubieCtto interest Ratee Annual Renewal Notice.




 PAGE 201
EXHIBIT 13
                                How to Avoid interest on Purchases,and dherimportantinfomatbne as applkttble.
                                                                                                                                                                                                        Desc
             2:19 PM Mon Dec13                                                               ●● ●                                              。
                                                                                                                                               Oo LTE 1 9%三〕

               Done                                                  20210817‐ statements‐ 1563.pdf                                       徽          ①          白
                                 07′ 16                SAN PASO TRUCK      STOP PASO ROBLES          CA                                         59.61
                                 07′ 15                SAN PASO TRUCK      STOP PASO ROBLES          CA                                         ∞         ,04




                                 07′ 郵                 76‐ GOLDEN H:LL     76 PASO ROBLES CA                                                    95.00
                                 07′ 26                SAN PASO TRUCK      STOP PASO ROBttS          CA                                         50。        57
                                 07お 0                 SAN PASO TRUCK      STOP PASO ROBttS          CA                                         72.73
                                 07′ 29                SAN PASO TRUCK      STOP PASO ROBttS          CA                                         97.02
                                                                                                                                                                                            Case 8:20-bk-13014-ES




                                 08′ 03                AMZN Mktp us・ 2P7YPOBMl Attlzn.∞ 前 ill WA                                                  17.69
                                 03′ 04                8U百 ONW:LttOW WAREHOUSE CO PASO ROBLES CA
                                                                                                                                              ω
                                 08′   06              SAN PASO TRUCK STOP PASO ROBLES CA                                                       92.28
                                 08ア 10                SAN PASO TRUCK STOP PASO ROBLES CA                                                         54.84



                                 08′ 12                HEWttT HDWE.INC.TEMPLビ「 ON CA                                                           172,08
                                 08'13                 SAN PASO TRUCK STOP PASO ROBLES CA                                                        51.68
                                                                                                                                                                    Main Document




                                 08′ 13                SAN PASO TRUCK STOP PASO ROBLES CA                                                       87,08
                                                         STEVEN JONES
                                                         TRANSACT10NS THiS CYCLE(CARD 5弱 1)S1385.62

                                 07′ 29                GLS US 300 322 5555 800‐ 322‐ 5555 CA                                                   374.68
                                 08κ )1                PP・ HUMAN「 剛  ]NEOO PASO ROBLES CA                                                     2,413.58
                                                          STEVEN JONES
                                                          TRANSACT10NS THIS CYCLE(CARD 0959)S2788.26                                  浄
                                                                                                                                          聟♀
                                                                                                                                           づ
                                                                                                                                                                                    Page 206 of 392




                                                                                       節     21 To協 皓 Y∞ r‐toBD由                      牛
                                                                     Totalfees charged in 2021                               S99.∞                   響          事
                                                                     Totalinterest charged in 2021                          S887.OG
                                                                     Year‐ to・ date tottls do not ref:o領
                                                                                                      any tt orinterest Ю他駅為
                                                                                         you may have『 ece閣 。
                                                                                                                                                                    Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55




                                 INTEREST CHARGES
                                 Your Annual percentte R試 o(APR)is the annualinterest ttte on your a∝ ount




 PAGE 202
EXHIBIT 13
                                                                                                                                                                                            Desc




                                                                                   A̲̲.̀^a                         0全   広    .̲̀
             2:19PM MonD∝   13                                                                           .BBI LTE 1 9友 三 ・

              Done                                      20210717‐ s能 〕
                                                                     tements‐ 1563‐ .pdf            徽             ①     白
              ‐                           HEWttT HDWE,INC,TEMPLETON CA                                    182.66
               =   酵             OV16
                                 06′ 18   76‐GOLDEN HILL 76 PASO ROBLES CA                                  61̲79
                                 06J18    GOLDEN HiLL COUNTRY STOR PASO ROBLES CA                           75。   00
                                 06′ 21   SAN PASO TRUCK STOP PASO ROBttS CA                                52.89
                                 06)21    SAN PASO TRUCK STOP PASO ROBttS CA                                49。   23
                                 06′ 23   FARM SUPPLY COMPANY PR PASO ROBLES CA                             55。   28
                                                                                                                                                     Case 8:20-bk-13014-ES




                                 06′ 24   IN・ ABALONECOAST ANALYT1805‐ 5951080 CA
                                 06′ 24   COASTAL TRACTOR,PASO R SALINAS CA
                                 06′ 25   COASTAL TRACTOR‐ PASO R SALINAS CA
                                 0g26     76・ GOLDEN HILL 76 PASO ROBLES CA
                                                                                                        Φ77.38
                                 06′ 29   WiLSON O&V SUPPLY,LC YAKIMA WA                            ω
                                 0g29     COASTAL TRACTOR‐ PASO R SALINAS CA                                91.43
                                                                                                                             Main Document




                                 06′ 30   CAL・ COAST MACHINERYINC PASO ROBLES CA                          1弱 .04
                                 0餡 0     SES PiONEER MART PASO ROBLES CA                                   59,52
                                 07′ 01   MATHESON TR卜 GAS 766 PASO ROBLES CA                                19
                                                                                                            弱。
                                 07′ 02   SAN PASO TRUCK STOP PASO ROBLES CA                             124.36
                                 07′ 02   SAN PASO TRUCK STOP PASO ROBLES CA                                69.26
                                 07′ 02   MARK・ S TIRE SERVICE PASO ROBLES CA                            291.31
                                 07′ ∞    HEWiイT HDWE・ INC.TEMPLETON CA                                 . 43.07
                                 07′ 09   76‐ TEMPLETON MARKET TEMPLビ「 ON CA                                94.88
                                                                                                                                             Page 207 of 392




                                 07′ 13   IN・ BUCHER VASLIN NORTHAM 707‐ 8232883 CA                      798.76
                                 07′ 13   AMZN Mktp us・ 2EOJ84TYl Amzn.∞ mん ‖IWA                            29。   49
                                 07′ 13   76‐ GOLDEN HiLL 76 PASO ROBLES CA                                 74.25
                                 07′ 13   SAN PASO TRUCK STOP PASO ROBLES CA                                      .76
                                            STEVEN JONES
                                            TRANSACTiONS THiS CYCLE(CARD 5551)S4371.55      le■ っ
                                                                                           F― η
                                                                                                                             Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55




                                 07′ 08   Amazon.∞ m Am2n.COrnん ‖IwA                                      ‐
                                                                                                          76.11
                                 0留 22    SCHWARTZ SCHWARTZ AND AS 5168676603 NY                         500.00


                                 06)23    AMZN Mttp us・ 210905PL2 Amzn。 ∞ 前 ‖IwA                            38.05




 PAGE 203
EXHIBIT 13
                                                                                                                                                     Desc




                                 06′ 26                                   i‖
                                          Ama20n.∞ me213GV4K30 Amzn.∞ mん wA                                 76.11
             2:20 PM Mon Dec13                                               ●●●                        00o LTE       9%￨=三 ・

               Done                                      20210617‐ statements‐ 1563‐ .pdf          q        ①          白
                  肇              05″ 17     Amazon.com・ 2L4EH8DK2 Amzn.∞ mん ‖WA                          63.80



                                 0'25       IN・   PASO ROBLES BEARING&PASO ROBLES CA                     45。     35
                                 05′ 27     BUTTONWiLたOW WAREHOUSE C0 661‐ ∞ 5‐ 6500 CA                7,300.00
                                 05′   27   SAN PASO TRUCK STOP PASO ROBLES CA
                                 05′   23   SAN PASO TRUCK STOP PASO ROBLES CA                          125.00
                                                                                                                                                        Case 8:20-bk-13014-ES




                                 06'01      HEWttT HDWE,INC.80}434‐ 1430 CA
                                 0留01       COASTAL TRACTORう PASO R SALINAS CA
                                 06′02      CAL COAST IRRIGAT10N 805‐ 2382800 CA
                                 06′   03   SAN PASO TRUCK STOP PASO ROBLES CA                            19。 21

                                 0留04       SAN PASO ttUCK STOP PASO ROBLES CA                           57.85
                                 0留03       SAN PASO TRUCK STOP PASO ROBLES CA                          125.00
                                 06′   07   RITE AID 05832 PASO ROBLES CA                                46.∞
                                                                                                                                Main Document




                                 0g07       SAN PASO TRUCK STOP PASO ROBLES CA                           70,03
                                 0げ09       76‐ GOLDEN HLL 76 PASO ROBLES CA                             70.34
                                 0留08       HEWttT HDWE.INC.TEMPttON CA                  ・

                                 0留 15      SAN PASO TRUCK STOP PASO ROBLES CA
                                                                                                       ◆57.03
                                 06″ 15     SAN PASO TRUCK STOP PASO ROBLES CA
                                              STEVEN JONES                                    とこ煮巨耳嘔    34.09
                                              TRANSACT10NS THIS CYCLE(CARD弱 51)S9372.92
                                                                                              牌   「
                                                                                                                                                Page 208 of 392




                                 05'17      AMZN Mktp us・ 2RlJ15NQl Amzn.com′ bi‖        WA              41.22
                                 05'17      AMZN Mttp us・ 2L69969XO角 ■m.∞mん ‖IwA                        119.58
                                 0貶 7       YANAGISUSHHNC PASO ROBLES CA                                 82.91
                                 05′ 28     AMZN Mttp uS・ 2X7AZ9F01 Amzn.∞ 前 ‖IWA                        24.47
                                 05′ 27     AMZN Mttp uS・ 2R08C6HUO脆 n.co前      WA  i‖
                                                                                                         31.00
                                 05′ 知      AMZN Mttp us・ 2R09H5D00   Amzn.● o前 wA  i‖
                                                                                                         59.80
                                 Og01       Pttmeヽndeo・ 2ROFP4SX2 888‐ 802・ 3080    WA                     5,99
                                                                                                                                Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55




                                 0g01       GLS US 800 3225弱 5800‐ 322‐ 5555 CA                         424。 96
                                 0留02       AMZN Mttp uS・ 2ROB18R20 A阿 亀
                                                                       Zn.∞ 前 ‖ IWA                      38.05
                                 06'05      Pttme Video・ 2X8E76MC1 888‐ 802‐ 3080   WA                   17.99




 PAGE 204
EXHIBIT 13
                                                                                                                                                        Desc




                                 0留07       PAYPAと・ INWC 402‐ 935‐ 7733 CA                              372.24
             2:20 PM Mon Dec13                                          ●●●                                  18Bt LTE 1 9%⊂ ヨ・


                 Done                                 20210517‐ statements‐ 1563‑(1).pdf                 α       ①       白




              一
                                 05′ 06     C&N TRACTORS PASO ROBLES CA                                      ‐
                                                                                                             弱 .63
                     ド




              ・二
                     ー
                                 04′ 20     AMZN Mktp uS・ 3EOBW5P43 Amzn.∞ 前 ‖IWA                             58.92




              ＾ヽ
               一一一
                                 04′ 20     AMZN Mktp us=Js∞ D5Ji3 Amzn.conVb‖ IWA                            30。 31

                                 04/22      SAN PASO TRUCK STOP PASO ROBLES CA                                73.74
                                 04′ 23     SAN PASO TRUCK STOP PASO ROBLES CA                                50.85
                                 04′ 26     FARM SUPPLY COMPANY PR PASO ROBLES CA
                                                                                                                                                         Case 8:20-bk-13014-ES




                                 04′ 26     AMZN Mttp USesBlQ13ME3 Amznoco前 ‖IWA                              96。   93
                                 04′ 26     HEWiイT HDWE,INC.TEMPLETON CA
                                                                                                             ⑫
                                 04′ 26     SAN JOAQUIN TRACTOR CO BAKERSFIELD CA                             44.69
                                 04r28      HEWFT HDWE,INCoTEMPLビ「 ON CA                                      23.14
                                 04′ 28     C&N TRACTORS PASO ROBLES CA                                      φ
                                 04′ 28     SAN PASO TRUCK STOP PASO ROBttS CA                                85.08
                                                                                                                                 Main Document




                                 04′ 23     SAN PASO TRUCK STOP PASO ROBttS CA                                55,00
                                 04′ 30     HEWiTT HDWE.INC.TEMPLETON CA                                     122.55
                                 05′ 03     C&N TRACTORS PASO ROBLES CA                                      730.53
                                 05′ 04     HEWttT HDWE=INC.TEMPLETON CA                                     123.89
                                 05′   05   BU百ONWILLOW WAREHOUSE CO PASO ROBLES CA                      Φ
                                 05′ 04     SAN PASO TRUCK STOP PASO ROBLES CA                                50,99
                                 05′   06   HEWiVT HDWE,INC.TEMPLビ「 ON CA                                     45.05
                                 05′ 05     SAN PASO TRUCK STOP PASO ROBLES CA                                68.03
                                                                                                                                                 Page 209 of 392




                                 05′ 06     C&N‐ ACTORS PASO ROBLES CA                                        37。   95
                                 05′   07   SAN PASO TRUCK STOP PASO ROBLES CA                                44.38
                                 05107      SAN PASO TRUCK STOP PASO ROBLES CA                                94.09
                                 05′   10   BU百 ONW:LttOW WAREHOUSE CO PASO ROBLES CA
                                 05′ 10     SES PIONEER MART PASO ROBLES CA                                   50。   17
                                 0Sr12      HEWrl‐
                                                 「HDWE,INC.TEMPttON CA                                       120,03
                                 05′ 12     BU可 ONWILOW WAREHOUSE CO PASO ROBLES CA
                                                                                                                                 Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55




                                 0留 12      C a N TRACTORS PASO ROBLES CA                                     25̀68
                                 05'12
                                                                                           ふttlら ら
                                            C&N TRACTORS PASO ROBLES CA                                      171.60
                                 05′ 14
                                                                                             体




 PAGE 205
EXHIBIT 13
                                            SAN PASO TRUCK STOP PASO ROBLES CA
                                                                                                                                                         Desc




                                                                                                             48.97
                                                                                                     一
             2:20PM MonD∝   13                                                                                     .B,i LTE    9%EI・

              Done                                      20210417‐ s能と
                                                                    tements‐ 1563‐ (1).pdf                 徽         ①          白
              ・   =発
                                 03′ 13     SES PiONEER MART PASO ROBLES CA                                         70.65
                                 03′ 19     SAN PASO TRUCK STOP PASO ROBLES CA                                      85。   13
                                 03′ 22     COASTAL TRACTOR‐ PASO R SALINAS CA                                 /
                                 0盟         SES PIONEER MART PASO ROBLES CA                                         39.99
                                 03′   26   CAL‐ COAST MACHINERYINC PASO ROBLES CA
                                                                                                           Φ
                                                                                                                                                               Case 8:20-bk-13014-ES




                                 0留 29      HEWITT HDWE・ INC.TEMPLETON CA                                           30。   99


                                 03′ 29     SAN PASO TRUCK STOP PASO ROBLES CA                                      70。   72
                                 03た ,1     CAL‐ COAST MACHINERYINC PASO ROBLES CA                                  26.08
                                 0餡 1       SAN PASO TRUCK STOP PASO ROBLES CA                                      61.79
                                 04′ 02     B阿 ONWILと OW WAREHOUSE CO PASO ROBLES CA
                                 04′ 02     SES PIONEER MART PASO ROBLES CA                                         75.00
                                 04′ 02     HEWITT HDWEPINC.TEMPLETON CA                                            36.44
                                                                                                                                       Main Document




                                 04′02      FARM SUPPLY COMPANY PR PASO ROBLES CA                                  240.51
                                 04′ 05     Bに デ 丁ONWiLOW WAREHOuSE CO PASO ROBLES CA
                                              「
                                 04′ 06     HEWiTT HDWE,INC.TEMP口 ON CA
                                 04′ 05     COASTAL TRACTOR‐ PASO R SALINAS CA                                      79.24
                                 04′ 07     FARM SUPPLY COMPANY PR PASO ROBLES CA                                   80。   38
                                 04′ 06     SES PIONEER MART PASO ROBLES CA                                         71.87
                                 04′ 07     BttONWiLLOW WAREHOUSE CO PASO ROBLES CA                                 36.06
                                                                                                                                                       Page 210 of 392




                                 04′ 07     HEWiTT HDWE,INCoTEMPLETON CA                                            80,83
                                     )(〕
                                 04′ 〔      SAN JOAQUIN TRACTOR CO ttAKERSFIELD CA                                 100.21
                                 04′08      HEWITT HDWE,INC.TEMPLgrON CA                     耳 rrr 2Bヶ 堪            32.51
                                 04′ 09     LOWES,02730'PASO ROBLES CA                                              65.21
                                                                                             舟 一   こ
                                 04′ 09     SAN PASO TRUCK STOP PASO ROBLES CA                                      80。   35
                                 04′ 12     SAN PASO TRUCK STOP PASO ROBLES CA                                      31.87
                                 04′ 15     76‐   GOLDEN HiLL 76 PASO ROBLES CA                                     94.64
                                                                                                                                       Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55




                                              STEVEN JONES
                                              TRANSACTIONS THIS CYCLE(CARD 5551)S12823.50

                                 03′ 24     CKE・ STREET   SIDE ALE HOUSE PASO ROBttS CA




 PAGE 206
EXHIBIT 13
                                                                                                                   130。 76
                                                                                                                                                               Desc
Case 8:20-bk-13014-ES          Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                             Desc
                               Main Document   Page 211 of 392




    Ⅲ pe:AI:範 nttctions amlddOts Stttu8:A‖ 3的m8●3 amidd償 :Deiivo呼                                 method:Any
                  amldd。 監Na▼ 膊 :BakorlMnoと Gttpe Anaけ siS,in儀
      Date       守 pe         Nα         Pay    Ca的 。呼      Mmo                                       ToeaB
                                                                          IN口BAKER
                                                                          WINE&
                                                                          GRAPASO
                                                                          ROBLES
                                                                          CA―                o

                                   Bよer Wne                               騨          ・61
                                   &Gttpe                                 017‐ LEROY
   11032乾 1         Expense        Ana〕 ガ   8=〕 時       .   Gmpo3         00DDiNG                         30.00


                                                                          :N・ BAKER
                                                                          WiNE a
                                                                          GRAP馬 0
                                                                          ROBLES
                                                                          CA X)0(X・
                                   Baker Wne                                             ‐
                                                                                             61

                                   a Grape                                017・
                                                                          ―   LEROY
   10唸 7J2021       Exp̲           Anatts,に mpes                          CODDiN6                         30.∞


                                                                          IN nBAKER
                                                                          WiNE a
                                                                          GRAPASO
                                                                          ROBLES
                                                                          CAX》 O《X‐
                                   Baker W隠                                       00(・   61
                                   &Grepe                                      LEROY
                                                                          ―

                                                                          017‐
   1020′ 2021       欧   p船′
                          e        Amり d3.lnC.              ∝ pes         00DDiNG                       lSO.∞
                                                                          ,N・ BAKER
                                                                          WNEa
                                                                          GRAPASO
                                                                          ROBLES
                                                                          CA)Oは      ・

                                   BakG『 Wne                              )OOO00(‐       61
                                   a∞ pe                                  017・LEROY
   10′ 07′   2021   Expense        A:laり g監 ら
                                            ,inC.           Gttpes        00DDBNG                       150,ω
                                                                          :N BAKER
                                                                          WiNE&
                                                                          GRAPASO
                                                                          ROBLES
                                                                          CA― ‐
                                   Bakg W籠                                螂              61
                                   &6『 ape                                017‐ LEROY
   00閣′知 21         Exptte         A:喜al戸 3.:確 .            ∽   pes       CODDiNG                         90。     ∞



                                                                          IN・ BAKER
                                                                          WiNE a
                                                                          GRAPASO
                                                                          R08LES
                                                                          CA― ・
                                   Baker Wne                              翔 OOく X‐ 61
                                   a tte                                  017‐  LEROY
   0920′ 2021       Expen30        AgiattS=随 ∽ ,os                        000DING                       240.ω


                                   Baker ttne                             IN・ BAК ER
                                   &∝ pe                                  WNE&
   08′ 10′ 2021     Expen3●        Ana四 3,hC̀ mpes                        ORAPEAN                         3照 3.∞


                                   Bよ g Wne                               !N・ BAKER
                                   &∞ pe                                  WNE&
   08′   122021     Exp̲           Anawst騰          .       Cttapes       GRAPEAN                         SOm
                                   Bよer Wne                               tN° anXER
                                   a Gttpe                                WiNE a
   07姥 1′ 2021      Dぃ onse        Ana〕yss,障        .       G『 Bpes       GRAPEAN                        25m
                                   Baker町 備                               ,N々 BAKER
                                   a cmpe                                 WiNE&
   07′ 14′2021      Expe闇          A旧 りd8,随         .       6『 Bpes       GRAPE AN                      103.∞
                                   B鶯    町 ne                             BN Ⅲ
                                                                             BAKER
                                   &Gttpe                                 WiNE&
   0留0留 2021        Expen韓         Anaい18=1確 Gttpes .                     GRAPE AN                      112.00




                                                                      1




                                                                                                                      EXHIBIT 13
                                                                                                                       PAGE 207
Case 8:20-bk-13014-ES          Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                       Desc
                               Main Document   Page 212 of 392




                                  Btt W膊                               N・ BAKER
                                                                       〕
                                  a ttpe                               Ⅶ NEa
   0的 留2021         Ex脚備          Anavab,1随          .   mpes          GRAPEAN        1∝ m
                                  Btt W的                               ,N・ BAKER
                                  &飩 pe                                WINE&
   0的 留2021         Exttse        舶     呻    ,inC・       GFap          GRAPE AN       128m
                                  Bよer ttne                            IN・   BAKER
                                  a Gmp。                               W,NE a
   Om留 2021         欧   ptte      舶 り頓射inc. mpe8                       GRAPEAN        1∞ .∞
                                  Bよer W膊                              IN BAKER
                                  aQは pe                               WlNE&
   Om92021          Expense       Anatts,inc 硫 ,08                     GRAPEAN        1∞ .∞
                                  Baker W贈                             IN EAKER
                                  &硫 pe                                W〕 NE   a
   04′   1柁021      Expense       Ana〕 yd3]〕 na          的 pes         6麟 PE AN       1■ .∞
                                  BよoW膊                                ,N BAKER
                                  &QЩ 湾                                WiNE&
   08′ 1'l約 21      Ex脚 30        Ana   ぼ89 inC.         硫             GRAPEAN        1∞ .∞
                                  Baker陥                     "s        IN ttER
                                  &硫 pe                                W〕 NE   a
                    Expense       Anaws,〕 nc.            G『 Bpes       CRAPE          240m
   "1                             Bょer w膊                              IN・ BAKER
                                  &G『 B,o                              WINE&
   1盟4′2020         Expe陣         Anattst hC. ∝ pes                    GRAPEAN        304.∞

                                  Bよo『 Wne                             IN・ BAKER
                                  &Grape                               WNE&
   1盟 4′ 2020       Exp蛉 ′
                         o        Anab潤 89 hC.           Gmpes         GRAPEAN        1弱 .ω
                                  Baker W膊                             IN口 BAKER
                                  &Gttpe                               硼 NE&
   12′ 10′   2020   Expense       肺 岬  S,に・ mpe3                       GRAPEAN           1.00

                                  BよOf Wne                             IN EBttR
                                  a mpe                                WiNE a
   11′   102020     Expe陣         岬         a=lnC・       G贈 騨          GRAPEAN        4働 .tO
                                  Bよo『 W備                              IN・ BAKER
                                  &GTap。                               WlNE a
   lt′   11脚20      Expense       舟 耐 膚 8=1に         ,   G『 Bp弱        GRAPEAN        lm∞
                                  Bよef Wne                             IN・ BAKER
                                  a∞ pe                                W〕 NE&
   1lЮ ttЮЮ         Exttse        角 勁 口 S.1隠         .   Gttp08        GRAPEAN        217.50
                                                                                     4215.∞




                                                                   2




                                                                                                EXHIBIT 13
                                                                                                 PAGE 208
Case 8:20-bk-13014-ES             Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55          Desc
                                  Main Document   Page 213 of 392




    ゥ p● :ABI hnttcuona amiddtt stttus:ABB 3強 tusea smidd償 ;E川 ]崎呼 mothod:Any
                              amiddOti Namo:PCaE
         D■●        ウ       No.        Pay      Cat●80呼       ‖mo           To回
                        "                                   PCANDE
                                                            旺 B
                                                            ONLiNE JUN
                                                            21
                                                            鯉 鯉       弱
                                                            2821
                                                            RttB'T
                                              に
                                              ,dndes        RIDGE
   0破 0胞 021     Expense             PCaE     Exp"備         WiNE SttE        899,76

                                                            PGANDE
                                                            WEB
                                                            ONL〕 NE   JUN
                                                            21
                                                            88062∽ 906
                                                            0321
                                                            RABBIT
                                              Uttdes        RBDGE
   0的 鞄    021   Exptte                       欧 ,m30        WINE SALE       1測01.匈
                                    'G&E                    PCANDE
                                                            旺 B
                                                            ONLiNE JUN
                                                            21
                                                            300磁00306
                                                            0321
                                                            RABBIT
                                              uttdes        RID6E
   0的 伽     21   Exp弱 。             PG&E      Expm働         WiNE SALE        84107
                                              υudes         PC&Eに Z・
   05′   1確021   Expe"o             PCaE      Exp馘 30       PAV                 7働
                                                            PCANDE
                                                            WEB
                                                            ONLINE
                                                            MAY 21
                                                            8鵠0020005
                                                            0321
                                                            RABB阿
                                              UttU03        RIDGE
   0的 鞄 021      Expmo              PGaE      欧 pen備        WINE SALE       4β 7200
                                                            PCANDE
                                                            旺 B
                                                            ONLiNE
                                                            MAY 21
                                                            339862570S
                                                            0321
                                                            RABBIT
                                              uuttdes       RIDGE
   OVO婉 021      Expen80            P6&E      欧 pen節        WNE SttE         332S
                                                            PCANDE
                                                            WEB
                                                            ONLINE
                                                            APR 21
                                                            828節49804
                                                            2721
                                                            RABBIT
                                              Uttdes        RIDGE
   0420ね 021     Expen30            PCaE      Ex,―          WNE SALE         717.77
                                                            PGANDE
                                                            WEB
                                                            ONLINE
                                                            APR 21
                                                            82194鶴 104
                                                            1921
                                                            RABЫ T
                                              UtBIdes       RIDGE
   04′ 2Ю 琥
          2021   Expe膊 o            ,G&E      Expen備        WNE SALE         673コ 6




                                                        1




                                                                                      EXHIBIT 13
                                                                                       PAGE 209
Case 8:20-bk-13014-ES           Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55          Desc
                                Main Document   Page 214 of 392




                                                          PCANDE
                                                          WEB
                                                          ONLINE
                                                          APR 21
                                                          8173169504
                                                          1321
                                                          RABBIT
                                          UWUes           RBDGE
   04′ 11確021     弾                PG&E   欧 p"働           WINE SttC     a646。 ∞
                                                          PいNDE
                                                          WEB
                                                          ONL!NE
                                                          MAR 2t
                                                          翻 589■ 003
                                                          鋭 1
                                                          RABBr
                                          U田 J∝           RIDGE
   0401胞 021      Expe閥            PCaE   Exttse          WaNE SALE     2,S66.30
                                                          PCANDE
                                                          W田
                                                          ONLlNE
                                                          MAR 21
                                                          朗 Sa010o3
                                                          3021
                                                               T
                                                          RAB□ 〕
                                          U田 的3           RI雌
   04′01′ 節 21              e     PG&E    Ex,―            WNE SALE        3お .G2
                  ―
                                                          PCANDE
                                                          旺 B
                                                          ONLINE
                                                          MAR 21
                                                          73893割 03
                                                          1221
                                                          RABBIT
                                          UttU03          RIDGE
   03′   lg知 21   E〕   p̲
                       〔          PCaE    中      90       WNE SALE      3出 6.00
                                                          pGANDE
                                                          WEB
                                                          ONLiNE
                                                          MR21
                                                          7787030103
                                                          0盟 1
                                                          RABttT
                                          Uttdes          R'D6E
   m閉        21   Exp̲            PC&E    ExpЫ se         WiNE SALE     3.8コ 6.28
                                                          PCANDE
                                                          WEB
                                                          ONLINE FEB
                                                          21
                                                          77■ 1802302
                                                          2621
                                                          RABBIT
                                          U田 臨            RIDGE
   中         21   b〔   p―         PG&E    b〔   pmse       WNE SALE       358.18
                                                          PCANDE
                                                          WEB
                                                          ONWNE F田
                                                          21
                                                          7出 800602
                                                          1笠 1
                                                          闘      Br
                                          Utttd03         RIDGE
   02ザ 1留2021     中               PG&E    Exp̲            WNE SALE      3欝 .00




                                                      2




                                                                                    EXHIBIT 13
                                                                                     PAGE 210
Case 8:20-bk-13014-ES      Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55           Desc
                           Main Document   Page 215 of 392




                                                     PGANDE
                                                     旺 B
                                                     ONLiNE JAN
                                                     21
                                                     7466974節 1
                                                     2521
                                                     RADBIT
                                     U四 臨            RIDGE
   01閣D021       欧 pe硝 o      PGaE   蜘       働       WiNE SALE         231.t4
                                                     PGANDE
                                                     WEB
                                                     ONLiNE JAN
                                                     21
                                                     716∞ 71201
                                                     2521
                                                     RABBIT
                                     U田 臨            RBDGE
   01ね 0曜 021    Expen拗       PCaE   的 9LSe          WNE SALE        3,340,16
                                                     PGANDE
                                                     旺 B
                                                     ONL〕 NE   JAN
                                                     21
                                                     73207● 2001
                                                     0021
                                                     RADBBT
                                     U田 臨            RIDGE
   01′ 112021    Exp   e      PG&E   E〕   ,mse       WINE SALE       3測 剛7.20
                                                     PCANDE
                                                     WtB
                                                     ONLiNE
                                                     DEC 20
                                                     7214230612
                                                     2820
                                                     RABBIT
                                     Uttdes          R:D6E
   1ぬ ′2020      Expette      PCaE   E〕   ,mse
                                          〔          WNE SALE          220,21
                                                     PGANDE
                                                     WEB
                                                     ONttNE
                                                     DEC 20
                                                     721421■ 612
                                                     2020
                                                     RABB,T
                                     Ut‖ 臨           RIDGE
   1閉 ′2020      Expense      PGaE   Expmse          WiNE SALE       3置 Bl.05
                                                     PGANDE
                                                     WEB
                                                     ONL,NE
                                                     DEC 20
                                                     706711■■12
                                                     0920
                                                     RABBr
                                     U四 日o3          RIDGE
   12P10′ 2020   Expe陣        PCaE   Expense         WINE SALE       5沼 ω .∞

                                                     旺    B
                                                     ONLENE
                                                     DEC 20
                                                     7058286212
                                                     0磁0
                                                     RABB〕 T
                                     Uttd            RIDGE
   12,10′2020    Exp―         PCaE   Expm餡           WiNE SALE       3お 04.14




                                                 3




                                                                                EXHIBIT 13
                                                                                 PAGE 211
Case 8:20-bk-13014-ES           Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                  Desc
                                Main Document   Page 216 of 392




                                                              IPGANDE
                                                              IWEB
                                                               ONLINE
                                                              NOV 2Ю
                                                              6957062011
                                                              2720
                                                              RABBIT
                                          I Uti‖   tね s       RIDGE
    11′ 30′   2020   Expettse      PG&E   I Expen艶            WINE SALE         8,198491
                                                                           1   弱 .362.671




                                                          4




                                                                                            EXHIBIT 13
                                                                                             PAGE 212
Case 8:20-bk-13014-ES                       Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                       Desc
                                            Main Document   Page 217 of 392




                                                       Sm80S                              mthod:Any
                                  amiddOt,Nagno:Zる nith insugance Company
                           中                                                                     Toed
                                                                            ZEN〕 TH
                                                                            INSURANCE
                                                                            AGT PYMN
                                                Zttih       輸   o「 Bl       T
                                                !n3碩rJ∞     Lhuttty         )0000(8節 2
   Oe′ 17協 021       B〔   p―                     COmttrリ    ln獣 阿 noe       Rueso日    E『 ldt       679お 6
                                                                            盗 NITH
                                                                            ,NSURANCE
                                                                            AGT PYMIЦ
                                                約 nh        Go田 』           T
                                                in鶴 廂 n∝    LlauHty         騨       032
   07Ю 盟 021         E〕   p̲
                          〔                     COmpa呼      imn∝            RIBtteB ttdl         1,715。 30
                                                                            BUSINESS
                                                                            TO
                                                                            BL)SINESS
                                                                            ACH Z凸 耐h
                                                                            insttnoe E‐
                                                                            CHECК
                                                                            060321
                                                                             1900う271009
                                                Ztth        Cettd           0・ 06 Rablt
                                                lttrm∞      Lね 覺            呻        陥
   0的    4′   2021   Exp̲                       CO呻     呼   instranoo       鋭                    2.786m
                                                Zenlh       Gened           PQワ FNITH
                                                :n3‑∞       Lむ 朗町           BNSURANCE
   04′0貶 021         E〕   pense
                          〔                     Com剛        BnstrBtte       COMP                 1お 笠 ,70
                                                Zenin       Gened           hvol∞ 諄
                                                            Lhulty          DP13400660
   0‑2021            Che傲            2041       COm剛
                                                '中          Insttnoe        S001                 1=393.∞
                                                                            町 h―
                                                                            罰 h
                                                                            ―      的
                                                                            lγ l引 日:E・
                                                豹 ml        Gene劇           CHECK C0
                                                :由 ―    ∞   Llautty         z。 耐ul
   1lm92磁o           Expme                      Compa呼      ittuBnoo        eChedc               2鯉 嗣
                                                                                               10,983.15




                                                                        1




                                                                                                             EXHIBIT 13
                                                                                                              PAGE 213
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 218 of 392




                                          EXHIBIT 14

                                                                   PAGE 214
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 219 of 392
                                                                             1



   1                       UNITED STATES BANKRUPTCY COURT

   2                       CENTRAL DISTRICT OF CALIFORNIA

   3                                    -oOo-

   4    In Re:                             )   Case No. 8:20-Bk-13014-MW
                                           )   Chapter 7
   5    NORTHERN HOLDING, LLC              )
                                           )   Santa Ana, California
   6                        Debtor.        )   Tuesday, February 8, 2022
        _____________________________      )   2:00 PM
   7
                                               341(A) MEETING OF CREDITORS
   8
                             TRANSCRIPT OF PROCEEDINGS
   9                          BEFORE RICHARD MARSHACK
                                 CHAPTER 7 TRUSTEE
  10
       APPEARANCES (All present by video or telephone):
  11   For the Chapter 7 Trustee: TINHO MANG, ESQ.
                                   Marshack Hays LLP
  12                               870 Roosevelt
                                   Irvine, CA 92620
  13                               (949)333-7777

  14   For Farm Credit West,           MICHAEL J. GOMEZ, ESQ.
       FLCA:                           FRANDZEL ROBINS BLOOM & CSATO,
  15                                   L.C.
                                       1000 Wilshire Boulevard
  16                                   19th Floor
                                       Los Angeles, CA 90017
  17                                   (323)852-1000

  18   Also Present:                   Leroy Codding
                                       Northern Holding, LLC
  19

  20

  21   Transcriber:                    MICHAEL DRAKE
                                       eScribers, LLC
  22                                   7227 N. 16th Street
                                       Suite #207
  23                                   Phoenix, AZ 85020
                                       (973)406-2250
  24
       Proceedings recorded by electronic sound recording;
  25   transcript provided by transcription service.




                                                                  EXHIBIT 14
                                                                   PAGE 215
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55        Desc
                        Main Document   Page 220 of 392
                                                                                  2

                                  Northern Holding, LLC

   1       SANTA ANA, CALIFORNIA, TUESDAY, FEBRUARY 8, 2022, 2:08 PM

   2                                        -oOo-

   3        (Call to order of the Court.)

   4               MR. MARSHACK:    Today's date is February 8th, 2022.          It

   5   is now 2 -- we're in the 2 o'clock hour, 2:08.           And this is

   6   the -- hopefully the final 341(a) examination in Northern

   7   Holdings.

   8               Mr. Codding, good afternoon.         Nice to see you.

   9               MR. CODDING:    Mr. Marshack, good afternoon.       Good to

  10   see you too.

  11               MR. MARSHACK:    Speak up a little bit more.

  12               MR. CODDING:    Oh, sorry.       Nice to see you too.

  13               MR. MARSHACK:    Thank you.       I don't think anyone has

  14   ever said that to me before.

  15               MR. MANG:   Mr. Marshack, I think debtor's counsel,

  16   Russ Stong, was expected to join.            I don't know how long you

  17   want to wait for debtor's counsel before you proceed.

  18               MR. CODDING:    And I was told that last week.       I'm

  19   perfectly fine proceeding.       And he can joint when he joins.

  20   It's -- we've got a quorum certainly.           So --

  21               MR. MARSHACK:    Okay.    Let me see if I have this -- how

  22   do you spell his last name?

  23               MR. MANG:   S-T-O-N-G.

  24               MR. CODDING:    Yeah.    Like strong without the R.

  25               MR. MARSHACK:    Do you want to take a minute and try to




                                                                     EXHIBIT 14
                                                                      PAGE 216
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 221 of 392
                                                                             3

                                  Northern Holding, LLC

   1   contact him?     Let me see if I have his number.     All right.

   2   Well, let me swear you in.

   3               MR. CODDING:    Okay.

   4               THE COURT:   Mr. Codding, we're here on -- we're here

   5   at the 341(a) for Northern Holdings.       It's also in large part a

   6   follow-up to our conversation we had last week.

   7               To be clear, for the record, Mr. Codding previously

   8   made a request for money.       Mr. Codding is serving as my farm --

   9   he's enter into a farm management agreement with the bankruptcy

  10   estate, Northern.

  11               MR. CODDING:    Right.

  12               THE COURT:   He has made a request for a distribution

  13   of funds.    I need -- part of the reason for him appearing

  14   today, frankly, is so that we can answer some final questions

  15   on that so I could evaluate what my answers are with regard to

  16   that.

  17               And so today's 341(a) is a -- hopefully a final

  18   341(a).   And it also is -- let me see.      And it also is our

  19   chance just to clean up a couple questions that we may have

  20   lingering from last week.

  21               So last week we did oral statement.     We asked him

  22   questions.    He consented to the process.     And he gave us his --

  23   gave us information under oath to help us make an answer, come

  24   to an answer.

  25               So today we have a little bit of a follow-up on that.




                                                                  EXHIBIT 14
                                                                   PAGE 217
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 222 of 392
                                                                                4

                                  Northern Holding, LLC

   1   And so with that being part of the agenda, Mr. Codding, are you

   2   okay proceeding with that being part of the agenda --

   3               MR. CODDING:    Yes.

   4               MR. MARSHACK:    -- in addition to the 341(a)?

   5               MR. CODDING:    Yes.

   6               MR. MARSHACK:    Okay.   And do you want to take a minute

   7   out to try to find counsel or -- I gather you haven't had much

   8   contact with your counsel for the duration of this case; is

   9   that accurate?

  10               MR. CODDING:    Well, quite a bit before the conversion.

  11   But yes, after the 7, not a whole lot.

  12               MR. MARSHACK:    Okay.   It's completely up to you.     If

  13   you would like to spend a few minutes and go talk to people --

  14   spend a few minutes to try to find him, that's fine.

  15   Otherwise, we could just get going.

  16               MR. CODDING:    I think let's get going.   We've got a

  17   quorum.   And this is all on the record.      So, you know, if

  18   there's anything that has to get revisited, we could do that if

  19   it needs to be.

  20               MR. MARSHACK:    Mr. Codding, what is your position with

  21   Northern?

  22               MR. CODDING:    Well, the retired managing director.

  23        (Witness sworn.)

  24               MR. MARSHACK:    And are you in Paso Robles these days,

  25   today?




                                                                  EXHIBIT 14
                                                                   PAGE 218
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55        Desc
                        Main Document   Page 223 of 392
                                                                                  5

                                  Northern Holding, LLC

  1                MR. CODDING:    Yes.    At the moment I am.

  2                MR. MARSHACK:    Good.    Please proceed, Mr. Mang.

  3                MR. MANG:   Good afternoon, Mr. Codding, Mr. Marshack.

  4    Thank you very much.       My name is Tinho Mang.      I am counsel of

  5    record for Mr. Marshack.       I'm with the law firm of Marshack

  6    Hays LLP.    And I'll be asking a couple of questions of Mr.

  7    Codding today just for the record.

  8                MR. CODDING:    Okay.    Hi, Mr. Mang.

  9                MR. MANG:   Hello.      Good afternoon.

 10                MR. CODDING:    Good afternoon.     Is my audio okay now?

 11                MR. MANG:   Your audio is okay.      Is my audio fine for

 12    you too?    Can you hear me clearly?

 13                MR. CODDING:    Yeah, you're great.       Yeah, you're great.

 14                MR. MANG:   Great.      Okay.   So Mr. Marshack just asked

 15    you what your position was.         You said retired managing member.

 16    Is there anybody else who held an office or position with

 17    Northern Holding, of the debtor?

 18                MR. CODDING:    No, no.

 19                MR. MANG:   What about Mr. Steven Jones?

 20                MR. CODDING:    No.     he never had a position with

 21    Northern Holding, nor did he have ownership interest in the

 22    LLC.   And I said retired kind of as a tongue-in-cheek in a way

 23    because, of course, the estate is run by the trustee.           So it's

 24    not my deal anymore.

 25                MR. MANG:   Of course.      How about a Bill Tolar?    Did




                                                                      EXHIBIT 14
                                                                       PAGE 219
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 224 of 392
                                                                                6

                                Northern Holding, LLC

  1     Mr. --

  2              MR. CODDING:     No.

  3              MR. MANG:     -- Tolar have any position?

  4              MR. CODDING:     No.

  5              MR. MANG:     Were there ever any other managing members

  6     of Northern Holding?

  7              MR. CODDING:     No, it's --

  8              MR. MANG:     How long have you been the managing member

  9     or were you the managing member of the debtor?

 10              MR. CODDING:     Until the conversion, I was the managing

 11     member since its inception in 2012.       I think it was February.

 12              MR. MANG:     And what kind of business was the debtor?

 13              MR. CODDING:     It was -- or is a holding company.       So

 14     it was formed for the purposes of owning at the time membership

 15     interest in a distribution and import company.       And then it

 16     owned a piece of an import company.       And then it didn't do much

 17     after that was -- was -- position was liquidated.       And Northern

 18     was just dormant for a few years there until the acquisition of

 19     the Russell assets.

 20              MR. MANG:     Okay.    And when was the acquisition of the

 21     Russell assets?

 22              MR. CODDING:     October 2020.

 23              MR. MANG:     Can you just briefly describe what those

 24     assets were?

 25              MR. CODDING:     Real estate in three parcels.     I don't




                                                                  EXHIBIT 14
                                                                   PAGE 220
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55    Desc
                        Main Document   Page 225 of 392
                                                                                 7

                                   Northern Holding, LLC

  1     have the APNs handy, but we all know what I'm talking:       Live

  2     Oak Road, San Marcos and Texas Road.

  3                 MR. MANG:   And what about buildings, equipment, other

  4     assets?

  5                 MR. CODDING:    Yeah.   Equipment --

  6                 MR. MANG:   Any financial assets?

  7                 MR. CODDING:    No financial assets.   But equipment,

  8     improvements, yeah, tractors and all the usual stuff you run a

  9     vineyard with.

 10                 MR. MANG:   Okay.

 11                 MR. CODDING:    And -- and, yes, the improvements as

 12     well, like wells, buildings, that kind of stuff.

 13                 MR. MANG:   Okay.   And what -- what is your personal

 14     experience with running vineyards or wineries that led you to

 15     acquire these assets?

 16                 MR. CODDING:    I've been either an executive member or

 17     general manager for different wineries.       The largest and most

 18     applicable to this was Talbott Vineyards before it was bought

 19     by Gallo.    There we farmed 1,400 acres and produced -- well,

 20     under my tenure, we went from producing 15,000 cases a year to

 21     producing 105,000 cases a year of wines in the price range from

 22     twelve dollars a bottle up to a hundred dollars a bottle.          And

 23     I was in charge of the teams that ran production and

 24     operations, sales and marketing, the whole deal.       And I had

 25     done that as well for a couple other wineries, one of which




                                                                  EXHIBIT 14
                                                                   PAGE 221
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55    Desc
                        Main Document   Page 226 of 392
                                                                               8

                                Northern Holding, LLC

  1    didn't have its own owned acreage.        So that was more of a

  2    managing the contract, sourcing role.       Anyhow, yes, I had done

  3    this over decades.

  4              MR. MANG:     Would you say twenty years, more?

  5              MR. CODDING:     Well, more in --

  6              MR. MANG:     How many years?

  7              MR. CODDING:     -- the wine business.     More in the wine

  8    business and operations, vineyard operations for about twenty

  9    years, yeah, off and on.        There was a time where I was doing

 10    import in between Talbott and the Santa Cruz winery I ran.          But

 11    yes, for the better part of twenty years.

 12              MR. MANG:     Okay.    So is it fair to say that you are

 13    very well experienced in running a vineyard and a winery and

 14    you'd be generally familiar with the common practices for

 15    running a vineyard and winery?

 16              MR. CODDING:     I would.    I would.   Without getting too

 17    far afield, I mentioned that this experience is outside common

 18    practices.    But yeah, generally, yes, I would be very familiar.

 19    And like I said, at Talbott, we had, I don't know, what is

 20    1,400 divided by 100 -- we had, like, ten times the acreage

 21    under vine.      So I've done this before, except there we had

 22    proper research.      But anyway, yeah.

 23              MR. MANG:     Okay.    And have you filed for bankruptcy

 24    before?

 25              MR. CODDING:     I have not.




                                                                  EXHIBIT 14
                                                                   PAGE 222
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 227 of 392
                                                                             9

                                Northern Holding, LLC

  1              MR. MANG:    Did you file a Chapter 13 bankruptcy case

  2    in 2016 in the Central District of California?

  3              MR. CODDING:    Not to my knowledge, no.

  4              MR. MANG:    Okay.    It doesn't ring any bells,

  5    bankruptcy case, debtor's name is Leroy Codding, IV?

  6              MR. CODDING:    I don't believe that was ever filed, no.

  7              MR. MANG:    Case Number 8:16-bk-10964-ES?

  8              MR. CODDING:    As I said, I don't believe it was ever

  9    filed.

 10              MR. MANG:    So I suppose it would surprise you to know

 11    that that case was dismissed shortly after it was filed?

 12              MR. CODDING:    It surprises me to learn that it's been

 13    filed.   The fact that nothing ever happened with it is not a

 14    surprise because I never pursued it.

 15              MR. MANG:    Okay.    Prior to the bankruptcy filing for

 16    Northern Holding, had you had any prior experience with the

 17    bankruptcy process?

 18              MR. CODDING:    No.

 19              MR. MANG:    You filed this case with counsel though; is

 20    that correct?

 21              MR. CODDING:    Correct, yes.    They had experience.

 22              MR. MANG:    Okay.    And you were aware that on October

 23    29th, 2020, Farm Credit West, the secured creditor, filed a

 24    demand for sequestration of cash collateral?

 25              MR. CODDING:    Well, maybe we need to get Russ on here.




                                                                    EXHIBIT 14
                                                                     PAGE 223
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55    Desc
                        Main Document   Page 228 of 392
                                                                                 10

                                Northern Holding, LLC

  1     No, I'm not aware of the distinction.      And I don't know what

  2     you're talking about.

  3              MR. MANG:     Okay.   So you are not aware that such a

  4     demand was filed, or you did not understand what that -- what I

  5     just said?

  6              MR. CODDING:     I -- I'm not aware that such a demand

  7     was filed.

  8              MR. MANG:     Okay.

  9              MR. CODDING:     But -- but the Northern assets all went

 10     into the BK process.     And it didn't have cash at the time

 11     because it hadn't been -- it had been a dormant company.           But

 12     then it just started collecting cash, which it did on rents and

 13     stuff like that.    Those all went into the -- the -- what are

 14     they called, the collateral accounts.

 15              MR. MANG:     Okay.   How much cash and rents went into

 16     those collateral accounts?

 17              MR. CODDING:     It's all in the MORs.    I don't remember

 18     off the top of my head.

 19              MR. MANG:     Was money ever spent out of those

 20     collateral accounts?

 21              MR. CODDING:     Money was spent in a structure that was

 22     sanction and approved.     And it was related to the operation of

 23     the entity.

 24              MR. MANG:     So the answer is yes, money was spent?

 25              MR. CODDING:     Well, there's the general account.




                                                                  EXHIBIT 14
                                                                   PAGE 224
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 229 of 392
                                                                            11

                                Northern Holding, LLC

  1    Money got spent out of there.      I don't think from the

  2    collateral accounts, no.       The general account, yes.

  3              MR. MANG:    Okay.    So money was spent out of the

  4    general account and not out of the collateral accounts is what

  5    you're saying?

  6              MR. CODDING:     That's -- to my recollection, yes.

  7              MR. MANG:    And you said that the expenditures were

  8    sanctioned and approved.       Who sanctioned and approved those

  9    expenditures?

 10              MR. CODDING:     The court and counsel, to my knowledge.

 11              MR. MANG:    Did you ever -- counsel -- which counsel?

 12              MR. CODDING:     My own counsel.

 13              MR. MANG:    Did Farm Credit ever consent to the

 14    expenditure of any money out of this estate?

 15              MR. CODDING:     I don't know.

 16              MR. MANG:    So to your knowledge, they never consented

 17    to the expenditure of any funds?

 18              MR. CODDING:     The answer is I don't know whether they

 19    did or didn't.     What I -- what I recollect from those days is

 20    that it was okay to spend on certain -- certain expenditures

 21    out of the general account were sanctioned by the powers that

 22    be.   So that was my understanding.

 23              MR. MANG:    And of the money in the general account,

 24    that all came from rents and proceeds of the business

 25    operations?




                                                                  EXHIBIT 14
                                                                   PAGE 225
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 230 of 392
                                                                            12

                                Northern Holding, LLC

  1              MR. CODDING:     Right.

  2              MR. MANG:     Okay.   Did you ever get an order approving

  3     the use of cash collateral from the Court?

  4              MR. CODDING:     I don't recall.   Everything that was

  5     done, as far as I'm concerned and as far as I was aware, was

  6     done properly and with the proper authorities, the proper

  7     ratifications, whatever you call them.      So I think we're -- I

  8     think we're done with that line of questioning.

  9              MR. MANG:     I was looking back at that purchase

 10     agreement in October 2020 between Northern and the Russells.

 11     And it says the cash amount of 163,050 dollars shall be left in

 12     company to cover short-term operating expenses.       Now, where is

 13     that money?

 14              MR. CODDING:     That was not to be part of Northern.

 15     That was to be part of the Rabbit Ridge, Inc. operating

 16     company, which is not part of Northern.

 17              MR. MANG:     So that was money that was left with Rabbit

 18     Ridge Wine Sales, Inc.?

 19              MR. CODDING:     Right, because it was bearing the

 20     expenses of operations.     It was the one that was going to be

 21     paying rents and so on and so forth for what it was doing.

 22     Northern is just a holding company.

 23              MR. MANG:     And in exchange for leaving that 163,000 in

 24     Rabbit Ridge, Northern Holding received a promissory note for

 25     the same amount with interest at 5.5 percent; is that right?




                                                                  EXHIBIT 14
                                                                   PAGE 226
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55    Desc
                        Main Document   Page 231 of 392
                                                                             13

                                 Northern Holding, LLC

  1               MR. CODDING:    I'd have to look back, but that

  2     sounds -- sounds right, yeah.

  3               MR. MANG:    Okay.   And were there ever any payments

  4     made from Rabbit Ridge to Northern on account of this

  5     promissory note?

  6               MR. CODDING:    There were quite a number of payments

  7     made from Rabbit Ridge to Northern.       We can do a full recap of

  8     those, if you wish, but I don't have that in front of me.

  9               MR. MANG:    Well, to the best of your recollection, by

 10     the time the trustee was appointed, how much of that 163,000

 11     promissory note had been paid back?

 12               MR. CODDING:    I don't recall.    I'd have to look back

 13     at the records.

 14               MR. MANG:    Okay.   If you could, you know, try and

 15     figure that number, that would be very helpful to us.

 16               MR. CODDING:    Yeah.   I'd be happy to do that and any

 17     other follow-up questions as well.       Not to worry.

 18               MR. MANG:    All right.     And I'm going to move on to

 19     talking about the continuation of what we discussed last

 20     week --

 21               MR. CODDING:    Sure.

 22               MR. MANG:    -- at the (indiscernible).

 23               MR. CODDING:    Yes, sir.

 24               MR. MANG:    Just to, you know, have a foundation, you

 25     were hired by the trustee to operate the farming operations for




                                                                  EXHIBIT 14
                                                                   PAGE 227
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 232 of 392
                                                                             14

                                Northern Holding, LLC

  1     2021 fall, correct?

  2              MR. CODDING:     The growing season, yes.    And that was

  3     outside of my former scope as the manager of Northern.

  4              MR. MANG:     Yes.   And was that in your individual

  5     capacity or in some other capacity?

  6              MR. CODDING:     It was in my individual capacity, but I

  7     have the authority to hire third-party entities as I saw fit

  8     and necessary to conduct that business.

  9              MR. MANG:     And you're aware that the Bankruptcy Court

 10     specifically approved the operations pursuant to the consent of

 11     the secured creditor Farm Credit West, yes?

 12              MR. CODDING:     That's my understanding.    I believe that

 13     happened -- the court approval was quite a bit later.       We were

 14     well into the farming season by the time the wheels turned and

 15     things got officially stamped.     But yeah, it was something

 16     signed between the trustee and me back in July, July I think,

 17     late July.

 18              MR. MANG:     And the agreement signed between you and

 19     the trustee specifically provides that only the trustee is

 20     authorized to enter into purchase agreements for grapes; is

 21     that correct?

 22              MR. CODDING:     That's what I recall, yes.

 23              MR. MANG:     And despite this, were there ever any

 24     agreements that were entered into for the purchase and sale of

 25     grapes that the trustee did not sign off?




                                                                  EXHIBIT 14
                                                                   PAGE 228
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 233 of 392
                                                                             15

                                   Northern Holding, LLC

  1                 MR. CODDING:    There were agreements that were already

  2     in place.    And in order to not run the risk of losing that

  3     business, I let those agreements remain in place and put a

  4     proposal or an accounting together to deduct the revenue

  5     associated with those agreements from the farm cost recovery,

  6     which is why it went from 400,000 cap down to 2- -- whatever it

  7     was, 260-.    I can't remember exactly.     But yes, I did that to

  8     preserve value for the estate because -- for a variety of

  9     reasons.     And we've gone through this many, many times over the

 10     last few months.    For a variety of reasons, those producers

 11     would have either not -- or been spooked off or not been able

 12     to uphold their end of the agreement.

 13          We walk into a situation in mid-stream where the question

 14     was do we farm at all.       What I inherited was not a clean

 15     handoff by any means.       And the decision was made to go ahead

 16     and farm but to sell the fruit in order to gain value.         I

 17     voluntarily gave farm credit (indiscernible) a UCC filing that

 18     cropped in March with the hope and understanding that there'd

 19     be some kind of cost recovery.       And that's what was

 20     memorialized with the agreement with the trustee.          So --

 21                 MR. MANG:   So the --

 22                 MR. CODDING:    Everything that was done was done in

 23     order to preserve value and with the correct outcome in mind,

 24     although it might not all have been perfect according to how

 25     we'd like it if we scripted it from day 1.




                                                                    EXHIBIT 14
                                                                     PAGE 229
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 234 of 392
                                                                             16

                                   Northern Holding, LLC

  1                 MR. MANG:   So the answer is yes, there were agreements

  2     that the trustee never signed for the purchase and sale of

  3     grapes?

  4                 MR. CODDING:    Yes.

  5                 MR. MANG:   Okay.

  6                 MR. CODDING:    Those occurred -- those were place,

  7     however, before the -- in many cases before the conversion and

  8     before the farming agreement.       It's in our legacy --

  9                 MR. MARSHACK:    But isn't it true that we had an

 10     agreement that I would counter -- I would sign -- every

 11     agreement we amended -- or at a minimum I would countersign

 12     every purchase and sale agreement for grapes leaving the

 13     property?

 14                 MR. CODDING:    Well, what happened was by the time we

 15     came to the party together, there were some agreements that

 16     were in place.    And I went back to start to convert those.       We

 17     also had a number of weeks where you and I, between our -- your

 18     office and me, were going back and forth trying to get the

 19     process set up to -- to effectively get these agreements

 20     memorialized like you needed them to be or you wanted them to

 21     be.   And not all of them made it through that process.

 22                 MR. MARSHACK:    Well, but --

 23                 MR. CODDING:    Not (indiscernible) --

 24                 MR. MARSHACK:    Wasn't that a requirement of the farm

 25     management agreement?




                                                                    EXHIBIT 14
                                                                     PAGE 230
Case 8:20-bk-13014-ES    Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                         Main Document   Page 235 of 392
                                                                             17

                                  Northern Holding, LLC

  1                MR. CODDING:    There's what's practical and there's

  2     what's black and white.      And we weren't living in black and

  3     white.   So --

  4                MR. MARSHACK:    Was it -- was it impractical -- I do

  5     agree with you.     Sometimes people strike agreements that are

  6     impractical.     I'm not agreeing that we did, but I do agree that

  7     sometimes people do strike agreements that are impractical.

  8     Having said that, was it impractical for all the payments that

  9     you received to be transmitted to me so that I could put it

 10     into the -- so I could put it into the bankruptcy estate's bank

 11     account?

 12                MR. CODDING:    Yes.

 13                MR. MARSHACK:    What was impractical?

 14                MR. CODDING:    Well, the funds that came in were

 15     reinvested in farming.      So the impracticality was those funds

 16     were due to me anyway.      And they were going to get subjected

 17     out of cost recovery later.       And they got plowed back in

 18     literally into the fields so we can bring the rest of the crop

 19     in and produce income for the estate.

 20                MR. MARSHACK:    Okay.   So in signing the farm

 21     management agreement, you did so with the understanding that

 22     you would be financing it until the crops came in.

 23                MR. CODDING:    Yes.

 24                MR. MARSHACK:    So did you at the time of signing the

 25     agreement have an ability or -- did you have an ability or did




                                                                   EXHIBIT 14
                                                                    PAGE 231
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55    Desc
                        Main Document   Page 236 of 392
                                                                             18

                                  Northern Holding, LLC

  1     you know of an ability to be able to finance or advance all

  2     funds necessary to fulfill the farm management agreement?

  3                MR. CODDING:    I believed I had that ability.    What

  4     happened was the farming got a lot more extensive than I had

  5     envisioned or that I had experienced before on either of

  6     estates.   So in -- case in point, we signed an agreement in

  7     July that capped the cost recovery at 400,000 dollars.       I spent

  8     over a half a million dollars on this operation.       I would not

  9     have signed that agreement had I known how things were going to

 10     go.

 11                MR. MARSHACK:    Now, who was your --

 12                MR. CODDING:    And I would have had --

 13                MR. MARSHACK:    Who was the -- who was the broker on

 14     these transactions?    Who was the grape broker that we hired?

 15                MR. CODDING:    Oh, with the fruit?    In many cases, Bill

 16     Tolar.

 17                MR. MARSHACK:    Now, did Bill Tolar --

 18                MR. CODDING:    I don't think he was on every single one

 19     but --

 20                MR. MARSHACK:    Did Bill Tolar -- was he involved in

 21     all the contracts that I executed?

 22                MR. CODDING:    I believe maybe not -- I'd have to look

 23     back.    I think most of them, but yeah, not -- not --

 24                MR. MARSHACK:    Okay.   And was he --

 25                MR. CODDING:    -- I don't think every single one.




                                                                  EXHIBIT 14
                                                                   PAGE 232
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55    Desc
                        Main Document   Page 237 of 392
                                                                                19

                                  Northern Holding, LLC

  1                MR. MARSHACK:    Was he involved in all the contracts

  2     that -- where you received the money directly instead of taking

  3     it through the estate?

  4                MR. CODDING:    There may have been two or three that he

  5     wasn't.    But most of them, yeah.      And those were the -- most of

  6     the business was new customers that I developed in some cases

  7     with him, some cases not.        But most of the fruit had not been

  8     sold in previous vintages, or at least not that I know of or we

  9     knew of.

 10                MR. MARSHACK:    So when people would buy -- in the --

 11     in the transactions that didn't go through my account, would

 12     they pay in cash?

 13                MR. CODDING:    No.    No.   You have all the records.   I

 14     submitted meticulous records on all of those payments that

 15     there's --

 16                MR. MARSHACK:    And did all the -- if the checks

 17     weren't paid -- we produced a lot of -- we produced grapes this

 18     year.   And most of our grapes --

 19                MR. CODDING:    Right.

 20                MR. MARSHACK:    -- got sold pursuant to contract that

 21     was countersigned by me and you and the buyer.

 22                MR. CODDING:    Right.

 23                MR. MARSHACK:    Right?

 24                MR. CODDING:    Right.

 25                MR. MARSHACK:    And those checks were made payable to




                                                                   EXHIBIT 14
                                                                    PAGE 233
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55    Desc
                        Main Document   Page 238 of 392
                                                                             20

                                  Northern Holding, LLC

  1     Northern Limited, right, Northern Holding Limited, right?

  2                MR. CODDING:    I don't know.    I've never seen one of

  3     them.   But they -- I think they were payable to the U.S.

  4     Trustee on behalf of or something like that.

  5                MR. MARSHACK:    You're right.

  6                MR. CODDING:    There's some language --

  7                MR. MARSHACK:    They're made payable to Richard

  8     Marshack, bankruptcy trustee of Northern Holding.

  9                MR. CODDING:    Okay.

 10                MR. MARSHACK:    Okay.

 11                MR. CODDING:    And --

 12                MR. MARSHACK:    But the checks that you received --

 13     well, did you always receive -- did you always receive checks

 14     for the grape sales where the money didn't go through my

 15     account?

 16                MR. CODDING:    Did I always receive -- those went to

 17     Rabbit Ridge Wine Sales which was the traditional seller of

 18     fruit from that estate --

 19                MR. MARSHACK:    So every one of those --

 20                MR. CODDING:    -- (indiscernible) farming it.

 21                MR. MARSHACK:    So buyers of the fruit that came from

 22     our farm either wrote it to Richard Marshack, bankruptcy

 23     trustee of Northern or they wrote it to Rabbit Ridge, what?

 24                MR. CODDING:    Yeah.    Rabbit Ridge Wine Sales, Inc.

 25                MR. MARSHACK:    Okay.   Did -- were there -- did any of




                                                                  EXHIBIT 14
                                                                   PAGE 234
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55    Desc
                        Main Document   Page 239 of 392
                                                                              21

                                   Northern Holding, LLC

  1     your buyers make a check payable to any other entity than those

  2     two that I just described?

  3                 MR. CODDING:    No.

  4                 MR. MARSHACK:    Did they ever pay cash?

  5                 MR. CODDING:    No.

  6                 MR. MARSHACK:    Did they ever barter, like, here --

  7                 MR. CODDING:    No.

  8                 MR. MARSHACK:    -- I'll give you a truck in exchange

  9     for grapes?

 10                 MR. CODDING:    No.

 11                 MR. MARSHACK:    Okay.    So the whole scope of the

 12     universe, the whole scope of the universe is Rabbit Ridge

 13     Winery deposits and my deposits?

 14                 MR. CODDING:    Right.    And I did a meticulous

 15     accounting that I provided to Lori (ph.) sometime around the

 16     1st of December on all the -- all those deposits.        And that's

 17     why that amount was backed out of the 400,000 even though I

 18     spent over 500,000 on this.       That's why the -- that amount was

 19     backed out of the cost recovery request on the 400- cap.

 20                 MR. MARSHACK:    So you will agree that I found out

 21     about the direct payments to Rabbit Ridge from you, correct?

 22                 MR. CODDING:    I reported that information to you in

 23     December.

 24                 MR. MARSHACK:    Right.   But did you -- but prior to

 25     December, we found out about -- isn't it correct that we found




                                                                   EXHIBIT 14
                                                                    PAGE 235
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 240 of 392
                                                                            22

                                  Northern Holding, LLC

  1     out about that -- that there were contracts and payments being

  2     made where I had no -- that there were contracts and payments

  3     that were made that I had no knowledge of and that were not

  4     paid payable to me by someone other than you, correct?

  5                MR. CODDING:    Correct.

  6                MR. MARSHACK:    Okay.    So you didn't come to me or

  7     Tinho or Lori or Pam or anybody on my team and say, hey, we got

  8     contracts other than the ones you've signed and they're going

  9     to be made payable to Rabbit Ridge?       You never told us about

 10     that prior to payment, right?

 11                MR. CODDING:    Until payments started coming in, I did

 12     not tell you about that.      When payments were coming in, yes,

 13     you were informed and everything was accounted for.

 14                MR. MARSHACK:    What do you mean when payments were

 15     coming in?

 16                MR. CODDING:    As the estate started to collect

 17     payments for the fruit that was done under the official

 18     contracts, then I submitted a full accounting of the other as

 19     well as --

 20                MR. MARSHACK:    Right.

 21                MR. CODDING:    -- an adjustment to the cost recovery

 22     request.

 23                MR. MARSHACK:    Right.    But your payments on yours were

 24     all made prior to me starting to receive payments on the

 25     official contracts, right?




                                                                  EXHIBIT 14
                                                                   PAGE 236
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 241 of 392
                                                                            23

                                  Northern Holding, LLC

  1                MR. CODDING:    There might have been some overlap, but

  2    that's pretty much accurate.

  3                MR. MARSHACK:    Now, was the prices you're selling

  4    your -- was the price that you were selling your fruit for the

  5    same price as I was selling the fruit for under the contracts?

  6                MR. CODDING:    It was not all the same fruit

  7    necessarily.     But yeah, it was all in the same range of

  8    acceptable market-based pricing.       So there were not -- the one

  9    big exception was the one we did where there was more fruit at

 10    Texas, San Marcos, than anticipated.       So for the WarRoom Group,

 11    we did a lower price for them.       But that was when you and I

 12    worked together and everything else --

 13                MR. MARSHACK:    It was a lower -- why did they get a

 14    lower price?

 15                MR. CODDING:    Because we had the fruit unsold.    There

 16    was more fruit out there than we realized.         And it was getting

 17    late in the growing season, or at least late for that block.

 18    So we needed to have -- basically sell it or it goes to -- goes

 19    to waste.

 20                MR. MARSHACK:    What do you -- what do you think the

 21    total proceeds of all of our fruit sales have been for the --

 22    for the fruit that we picked in 2021?

 23                MR. CODDING:    Somewhere around 490-, 500,000.

 24                MR. MARSHACK:    And how do you get to those numbers?

 25                MR. CODDING:    Well, I'm just pulling that off the top




                                                                   EXHIBIT 14
                                                                    PAGE 237
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 242 of 392
                                                                            24

                                Northern Holding, LLC

  1     of my head.     But from all the -- all the estimates and forecast

  2     I was -- I was doing.

  3              MR. MARSHACK:     And have you received any monies for

  4     fruit -- for the sale of fruit or the sale of any assets of

  5     Northern other than the 140,000?

  6              MR. CODDING:     No.

  7              MR. MARSHACK:     Okay.   And Tinho, aren't our -- aren't

  8     our contracts totaling about 260-?

  9              MR. MANG:     Our expected collection based on what I've

 10     been receiving -- I think we've projected out we've received

 11     between 220- to 270,000.

 12              MR. MARSHACK:     So we're projected to -- how much --

 13     how much are we to be paid -- after we contacted all the

 14     vendors, what are the -- what are the numbers that they've

 15     advised us that they owe us based on weight tags?

 16              MR. MANG:     For the ones that have provided weight

 17     tags, I have estimates for them.      But I do not have weight tags

 18     for everybody, so I cannot answer that question.

 19              MR. MARSHACK:     Okay.   What is your -- what is your --

 20     what is your estimate that we're going to be paid total on the

 21     contracts that I executed?

 22              MR. MANG:     The estimate for the contracts that Mr.

 23     Marshack executed that I have is between 220- to 270,000.

 24              MR. MARSHACK:     So if we round down to 260-, being

 25     generous, 260- plus 140- is 400-.




                                                                  EXHIBIT 14
                                                                   PAGE 238
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55      Desc
                        Main Document   Page 243 of 392
                                                                               25

                                  Northern Holding, LLC

  1                So Mr. Codding, your sales, according to you, were

  2    140-.   And my sales I'm estimating at 260-.        It could be as

  3    high as 270-; it could be as low as 220-.          If my numbers are

  4    right, we're at 400- or we're less than 400-.         What happened --

  5                MR. CODDING:    Well, that's a shape.

  6                MR. MARSHACK:    What happened to the other 100,000.

  7                MR. CODDING:    There wasn't another 100,000 if that's

  8    not what's getting paid.        But I think you're missing some

  9    numbers somewhere.      So I'd be happy to confer with Mr. Mang and

 10    see where we can --

 11                MR. MARSHACK:    Mr. Mang --

 12                MR. CODDING:    -- (indiscernible).

 13                MR. MARSHACK:    -- why don't you send -- why don't you

 14    send that spreadsheet to him and see where the problem is?

 15    This would be a great time to have this discussion.

 16                MR. CODDING:    Yeah.

 17                MR. MANG:   Sure.    Right now or --

 18                MR. MARSHACK:    Yeah, right now.

 19                MR. MANG:   Oh, right now?

 20                MR. MARSHACK:    Right now.

 21                MR. MANG:   All right.

 22                MR. MARSHACK:    Especially since I have Mr. Gomez on

 23    the line.    And he's thinking that, you know -- I don't always

 24    know what he's thinking.        But I'm going to speculate that he's

 25    thinking this is my collateral and I want to know how much




                                                                   EXHIBIT 14
                                                                    PAGE 239
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55    Desc
                        Main Document   Page 244 of 392
                                                                              26

                                  Northern Holding, LLC

  1     I'm -- how much my bank is owed.        And I want to know where this

  2     is currently residing.      So I'm just --

  3                MR. MANG:   Just give me a second to split this up.       I

  4     have a bunch of other things in here.

  5                MR. CODDING:    We would have been -- you know, if you

  6     knew the P&Ls on the farming, we would have been better off not

  7     farming.   But I think the property would have been devalued

  8     based on letting it go fallow.       So, you know, I wanted a better

  9     outcome, but I think it was worth the effort although it's --

 10                MR. MARSHACK:    I think -- I appreciate your effort.         I

 11     really, really --

 12                MR. CODDING:    Thank you.

 13                MR. MARSHACK:    -- do appreciate your effort.    I kind

 14     of was having my expectations set at the 600,000-dollar level

 15     where we -- where they originally -- where -- I was originally

 16     told we would be in the 600,000-dollar range.

 17                MR. CODDING:    Right.

 18                MR. MARSHACK:    And --

 19                MR. CODDING:    Yeah.    That's what I was hopeful for

 20     too.   I mean --

 21                MR. MARSHACK:    While he's looking for this --

 22                MR. CODDING:    -- getting half a ton --

 23                MR. MARSHACK:    -- why didn't it happen?

 24                MR. CODDING:    Water.    Getting half a ton an acre at

 25     Live Oak is unheard of -- or not unheard of for me because of




                                                                  EXHIBIT 14
                                                                   PAGE 240
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 245 of 392
                                                                               27

                                Northern Holding, LLC

  1     other farms I've had before.       But two and a half tons, three

  2     tons of acres, normal yield for a low-yielding hillside

  3     difficult-to-farm arduous vineyard, I wouldn't say this to

  4     anybody else who might want to buy it, but that -- half of that

  5     should be ripped out.     I mean, there's no value in farming

  6     there the way he set it up and the site that they picked.          I

  7     guess in a good rain year maybe, like, maybe this year they'll

  8     do better.    But it was just abysmal.    The Cabernet Sauvignon

  9     and all blocks did okay.     But everything else --

 10              MR. MARSHACK:     So wait, wait.    Are you saying Live Oak

 11     is not set up properly for good production?       Should the rows

 12     have been one direction and not another or -- explain.

 13              MR. CODDING:     Well, the trellising on the

 14     (indiscernible) should be different.      That should be -- there's

 15     different types of trellising.       And I'm going to -- not to bore

 16     you, but I'll draw out what I'm talking about here.       There's --

 17     you know when you see a normal vineyard and it's the cordon

 18     that looks like that where --

 19              MR. MARSHACK:     Uh-huh.

 20              MR. CODDING:     -- the vine goes up and the arms go out

 21     and then --

 22              MR. MARSHACK:     Yeah.

 23              MR. CODDING:     -- shoots like this and there's wires up

 24     here and they grow fruit.     What they did at Live Oak was called

 25     a TB which is this.    It's three vines up three different poles




                                                                  EXHIBIT 14
                                                                   PAGE 241
Case 8:20-bk-13014-ES    Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55     Desc
                         Main Document   Page 246 of 392
                                                                               28

                                 Northern Holding, LLC

  1    that go to one point.      And then you have to go back through and

  2    trim.    And the fruit zone is in here instead of in here.        So

  3    there's a whole bunch of water loss and evaporative losses from

  4    this leaf canopy here.      And the wind beats the heck out of it

  5    because it's not supported by wires.

  6         There's one vineyard in the United States that does this.

  7    The rest of them are in Cote-Rotie in their own region in

  8    France.    The one vineyard that does this Live Oak.      And I think

  9    we learned why this year.

 10               MR. MARSHACK:    What do you call that?    Vining --

 11               MR. CODDING:    TB.

 12               MR. MARSHACK:    No.    What do you call that whole thing?

 13               MR. CODDING:    Oh, trellising.

 14               MR. MARSHACK:    Trellising.

 15               MR. CODDING:    Yeah.   And the Cabernet there is on the

 16    old system, like, the first picture I drew where the vines are

 17    spread out and they protect each other and there's shade and

 18    everything.      The other issue there is --

 19               MR. MARSHACK:    What would it cost to retrellis the

 20    property, Live Oak?

 21               MR. CODDING:    You probably want to retrellis thirty

 22    acres.    And that would cost -- to do it with living vines in

 23    there is about 20,000 an acre if somebody wanted to do that.            I

 24    haven't shared that with anybody besides the inner circle here

 25    because I didn't -- I mean, somebody that's thinking about




                                                                   EXHIBIT 14
                                                                    PAGE 242
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55    Desc
                        Main Document   Page 247 of 392
                                                                              29

                                Northern Holding, LLC

  1     buying it may or may not want to hear that.          But --

  2              MR. MARSHACK:     Okay.    So do you have the thing -- you

  3     have the email from Mr. Mang?

  4              MR. CODDING:     No.    I'm going to have to get off -- I

  5     don't know if I can go off.       Can you guys still see me or hear

  6     me?

  7              MR. MARSHACK:     Well, why don't you try it on your

  8     phone then?     Why don't you --

  9              MR. CODDING:     Am I there still?

 10              MR. MARSHACK:     No.     Come back live.

 11              MR. MANG:     We can -- we can hear you.

 12              MR. MARSHACK:     Come back live.

 13              MR. MANG:     But we can't see you.

 14              MR. CODDING:     I'm going to send it --

 15              MR. MARSHACK:     Come back live.

 16              MR. CODDING:     Okay.

 17              MR. MANG:     I also copied it to Mr. Gomez in case he

 18     wants to follow along.

 19              MR. CODDING:     Okay.

 20              MR. MARSHACK:     Lee, let me --

 21              MR. CODDING:     Yes.

 22              MR. MARSHACK:     Put on your video.     Can you work --

 23              MR. CODDING:     okay.

 24              MR. MARSHACK:     Can you work from your phone?        Can you

 25     look at the document on your phone?




                                                                      EXHIBIT 14
                                                                       PAGE 243
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55     Desc
                        Main Document   Page 248 of 392
                                                                                30

                                  Northern Holding, LLC

  1                MR. CODDING:    Yeah.   Just let me send it to my phone.

  2                MR. MARSHACK:    I'll be right back.   I'm getting some

  3    water.

  4                MR. CODDING:    All right.   Bear with me.

  5                MR. MANG:   No problem.

  6                MR. CODDING:    All right.   There we go.    Okay.   Thanks

  7    for the copy.

  8                So, Mr. Mang -- is it okay if I call you Tinho?         It

  9    feels weird calling -- it feels so formal.

 10                MR. MANG:   Do whatever you want.

 11                MR. CODDING:    All right.   You can call me Lee in this.

 12                I see -- it looks like you've got actuals.       See, I

 13    think there's a discrepancy with Dow.       And I think that's

 14    probably the biggest part of this deal.       But what -- I believe

 15    we already addressed.       They waived off some fruit that went to

 16    Down.     Corbett --

 17                MR. MANG:   Right.   We never gotten the weight tags

 18    from Dow.    If you could --

 19                MR. CODDING:    Okay.

 20                MR. MANG:   -- see if they ever sent it to you.      And

 21    then --

 22                MR. CODDING:    They -- yeah.

 23                MR. MANG:   -- we'll follow up on our end.

 24                MR. CODDING:    I'm going to go see her tomorrow and get

 25    those.




                                                                   EXHIBIT 14
                                                                    PAGE 244
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55    Desc
                        Main Document   Page 249 of 392
                                                                             31

                                Northern Holding, LLC

  1              MR. MANG:    Yeah.   And we do need the weight tags for

  2    everybody because we need to provide a report to the secured

  3    creditor as well because --

  4              MR. CODDING:     Sure.

  5              MR. MANG:    -- we sold their collateral --

  6              MR. CODDING:     Yeah.

  7              MR. MANG:    -- pursuant to agreement.

  8              MR. CODDING:     Sure.

  9              MR. MANG:    And we need to provide a full record to

 10    them and the United States Trustee.

 11              MR. CODDING:     Yeah.   Not a problem.   Anyway, I think

 12    that's the biggest hole in this.      There's -- whether they're

 13    deferring part of their payment or what, that's way too low.

 14    Riboli is fine.     Corbett is -- they still owe or did they pay?

 15              MR. MANG:    If you look at the notes column, it says

 16    1,800 that's unexpected, 39,762.      If that comes in, they're

 17    only under by a little tiny bit.

 18              MR. CODDING:     Okay.   But they're overdue by quite a

 19    bit at this point.

 20              MR. MANG:    That's true.

 21              MR. CODDING:     Okay.   Riboli, Corbett, WarRoom.    We

 22    talked about WarRoom last week.       Do you want me to go see them?

 23    Are you going to talk to them or -- they shouldn't have done

 24    that deduction.     That's why they paid 1,200 to begin with.        You

 25    can't get a discount twice.




                                                                  EXHIBIT 14
                                                                   PAGE 245
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55      Desc
                        Main Document   Page 250 of 392
                                                                               32

                                   Northern Holding, LLC

  1                 MR. MANG:   Right.   Well, I think when we last talked

  2     about this, Mr. Marshack had stepped away.          But basically,

  3     there was a recommendation that they had self-credited

  4     $19,533.60 for, quote, excess raisining.         And --

  5                 MR. MARSHACK:    Excess -- oh, raisining, okay.

  6                 MR. MANG:   Raisining.    And in Mr. Codding's

  7     experience, that was probably overstated.          Plus they had

  8     already gotten the very favorable price for the amount

  9     received.    So --

 10                 MR. CODDING:    Not only that, but they --

 11                 MR. MANG:   -- economic calculation.

 12                 MR. CODDING:    Yeah.   They came out and inspected the

 13     fruit.    And we walked -- it was blocks together.        They knew

 14     exactly what they were getting.       And yes, you can pull some

 15     raisins out to a certain degree, but you can't -- it's not

 16     going to be perfect.       And that's what happens late in the

 17     season.   It was excess unsold fruit.      They paid 1,200 bucks a

 18     ton instead of 17- or 1,800.        I just feel like they ought to

 19     have --

 20                 MR. MARSHACK:    What was the --

 21                 MR. CODDING:    -- just ponied up.

 22                 MR. MARSHACK:    What was the total purchase -- total

 23     agreed-upon purchase price for the tonnage that they received?

 24                 MR. CODDING:    1,700 a ton for everything that was in

 25     those -- or sorry, 1,200 a ton for everything that was in the




                                                                     EXHIBIT 14
                                                                      PAGE 246
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55      Desc
                        Main Document   Page 251 of 392
                                                                                33

                                  Northern Holding, LLC

  1     block.   And I don't have -- I guess, Tinho, you have a weight

  2     here of 54.26.

  3                MR. MANG:    Yeah.   That was their weight tag weight.

  4                MR. CODDING:    Okay, got it.

  5                MR. MANG:    So it was -- we'll plan that out --

  6                MR. CODDING:    Great.

  7                MR. MANG:    -- and get the number.

  8                MR. CODDING:    All right.    Right.   So there you go.     So

  9     yeah, 65,000- (audio interference).

 10                MR. MANG:    (Indiscernible) grape, aren't they?

 11                MR. CODDING:    They are.

 12                MR. MANG:    (Indiscernible) --

 13                MR. CODDING:    They are.

 14                MR. MANG:    -- (indiscernible).

 15                MR. CODDING:    And they -- they deducted -- good grief,

 16     forty percent.

 17                MR. MANG:    No, that's thirty percent.

 18                MR. CODDING:    Okay.    Got it.   Yeah.   I just think

 19     that's not right.      I mean, and I'm not saying, you know, go sue

 20     them.    I mean, that's kind of ridiculous over that amount of

 21     money.    But with your permission or, you know --

 22                MR. MANG:    It's up to the trustee.

 23                MR. CODDING:    -- he'll talk to him if he wants.         Yeah,

 24     okay.

 25                MR. MANG:    It's up to the trustee --




                                                                    EXHIBIT 14
                                                                     PAGE 247
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 252 of 392
                                                                             34

                                Northern Holding, LLC

  1              MR. CODDING:     All right.

  2              MR. MANG:     -- what to do with that.    He's got all the

  3     info he needs.

  4              MR. CODDING:     Okay.

  5              MR. MANG:     And if he needs more --

  6              MR. CODDING:     Well --

  7              MR. MANG:     -- we'll --

  8              MR. CODDING:     I stand by.      Okay.

  9              MR. MARSHACK:     I'm going to be --

 10              MR. CODDING:     So with that --

 11              MR. MARSHACK:     I'm going to be taking a brief recess

 12     from this meeting for nine minutes because I have another

 13     meeting, but let's keep going.       So all the funds that you

 14     received for -- that went to you were deposited in Rabbit

 15     Ridge, Rabbit -- wait, Rabbit Ridge Wine Sales account?

 16              MR. CODDING:     Right.    There were those two accounts

 17     that I sent for all the pertinent periods to Lori with an

 18     accounting and cross referencing and all of that.       She's been

 19     through it all.    Tinho, I believe you have that --

 20              MR. MANG:     Okay.

 21              MR. CODDING:     -- in your --

 22              MR. MARSHACK:     So let me ask you a question.

 23              MR. CODDING:     -- files.

 24              MR. MARSHACK:     Let me ask you a question.

 25              MR. CODDING:     Yes.     Yeah.




                                                                  EXHIBIT 14
                                                                   PAGE 248
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 253 of 392
                                                                              35

                                  Northern Holding, LLC

  1                MR. MARSHACK:    Have you paid to us all money, cash,

  2     checks, and anything of value that you have received from

  3     grapes that were grown on the Northern Holding property in

  4     2021?

  5                MR. CODDING:    Every drop of fruit that was sold has

  6     been accounted for, yes.

  7                MR. MARSHACK:    But have you forwarded all the money

  8     that you received -- have you -- if you received it, have --

  9     oh, I see what you're saying.       Have you disclosed all the

 10     money -- now I understand.        Have you disclosed all the money

 11     that you received for fruit that was picked -- that was picked

 12     from Northern Holdings property in 2021?

 13                MR. CODDING:    Yes.    All the fruit has been accounted

 14     for.    All the funds have been accounted for.     And the funds

 15     that were paid to my entity were backed out of the cost

 16     recovery request.

 17                MR. MARSHACK:    Okay.    So I will let Tinho go ahead and

 18     proceed.    Again, I'll be off -- I'll be off in seven minutes.

 19     But if you'll proceed.

 20                MR. CODDING:    Okay.

 21                MR. MARSHACK:    And you have the power to conclude or

 22     continue as you see fit.       Please make -- if I'm not back,

 23     please make sure you offer Mr. Gomez an opportunity to examine,

 24     okay?

 25                MR. MANG:   Okay.




                                                                  EXHIBIT 14
                                                                   PAGE 249
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55    Desc
                        Main Document   Page 254 of 392
                                                                             36

                                  Northern Holding, LLC

  1                MR. CODDING:    Thank you, Richard.

  2                MR. MARSHACK:    You're welcome.    I'll listen for a few

  3     minutes.

  4                MR. MANG:   Mr. Codding, I'm not trying to be

  5     repetitive, but I just need to have this be a full and complete

  6     record of what was disclosed in email and what --

  7                MR. CODDING:    Okay.

  8                MR. MANG:   -- we discussed last week.     So I'm just

  9     going to run through these again --

 10                MR. CODDING:    Okay.

 11                MR. MANG:   -- point by point just for the purposes of

 12     this meeting, okay?

 13                MR. CODDING:    Yes.

 14                MR. MANG:   Okay.   So Nicora Wines, you stated that

 15     Rabbit Ridge received 44,000 dollars as a prepayment for

 16     grapes; is that correct?

 17                MR. CODDING:    Right.    And we shorted them when

 18     delivery time came because the crop was short.       So we spread

 19     out the shortage -- spread out the pain accordingly.       So I paid

 20     him back myself the overage.        But that's -- that's been

 21     addressed.

 22                MR. MANG:   Okay.   So for Nicora, was there a grape

 23     purchase agreement that was entered into without the knowledge

 24     and consent of the trustee?

 25                MR. CODDING:    Well, it was before the trustee was




                                                                  EXHIBIT 14
                                                                   PAGE 250
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 255 of 392
                                                                            37

                                 Northern Holding, LLC

  1     around, so no.    I mean, yes and no I guess.     It's a timing

  2     issue.

  3               MR. MANG:    So this grape purchase agreement existed

  4     prior to the trustee's appointment?      Is that what you're

  5     saying?

  6               MR. CODDING:    Right.   Prior to the conversion, right.

  7     And prior to the conversion, I was going to collect fruit

  8     revenue and submit back to the bank at some later to be

  9     determined formula.

 10               MR. MANG:    Did you ever provide a copy of this

 11     purchase agreement to the trustee?

 12               MR. CODDING:    I don't believe so.    I think I just

 13     provided an accounting of the fruit that came off those blocks

 14     and the funds that came off those blocks.

 15               MR. MANG:    Did you ship grapes to Nicora Wines from

 16     the fall 2021 harvest?

 17               MR. CODDING:    2021, yes.

 18               MR. MANG:    And did you inform the trustee prior to

 19     shipping those grapes to Nicora Wines?

 20               MR. CODDING:    No.   I informed the trustee after.

 21               MR. MANG:    For Rangeland, you said that Rabbit Ridge

 22     received 7,752 dollars for the purchase of grapes coming from

 23     the estate properties.     Same question.   Did you enter into a

 24     grape purchase agreement with Rangeland without knowledge and

 25     consent of the trustee?




                                                                  EXHIBIT 14
                                                                   PAGE 251
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 256 of 392
                                                                               38

                                  Northern Holding, LLC

  1                MR. CODDING:    No.    Look, he -- let's just stop with

  2     the legalese.    This is getting ridiculous.      The trustee didn't

  3     know because it was in place before he was involved.          I didn't

  4     disclose it because we would have lost the contracts.          And I

  5     was trying to preserve (indiscernible) the estate.        These

  6     grapes were shipped.      The money was collected.    I accounted for

  7     the money and subtracted it out of my cost recovery request.

  8     So that's -- for all those guys in that category, we can just

  9     say that's what happened.        And it wasn't -- Richard didn't do

 10     anything wrong.    He wasn't -- the trustee's office wasn't, you

 11     know, not paying attention.        They were just -- come into the

 12     picture too late for that to be part of that -- part of the

 13     official deal.

 14                So that's for -- I'm going to just pull up your

 15     spreadsheet here and tell you so we don't miss anything.

 16     Nicora, Rangeland.

 17                MR. MANG:   And I'd like to get the actual numbers

 18     received by Rabbit Ridge for each of these -- from each of

 19     these entities as part of the record.

 20                MR. CODDING:    Okay.    Do you have that handy?    Because

 21     I don't.

 22                MR. MANG:   Yes.   I will --

 23                MR. CODDING:    Okay.

 24                MR. MANG:   I'll just say blanket questions.       You have

 25     the --




                                                                  EXHIBIT 14
                                                                   PAGE 252
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55    Desc
                        Main Document   Page 257 of 392
                                                                             39

                                Northern Holding, LLC

  1              MR. CODDING:    Okay.

  2              MR. MANG:    -- blanket response.

  3              MR. CODDING:    Right.   You've got my --

  4              MR. MANG:    And will confirm the numbers.

  5              MR. CODDING:    You've got my bank statements, so you

  6    know everything that's there.      Yeah.

  7              MR. MANG:    Okay.

  8              MR. CODDING:    Okay.

  9              MR. MANG:    Cathartes Aura, LLC, also known as

 10    Anarchist --

 11              MR. CODDING:    Right.

 12              MR. MANG:    -- received 30,000 (indiscernible).

 13              MR. CODDING:    Right.

 14              MR. MANG:    And exact same situation.

 15              MR. CODDING:    Right.

 16              MR. MANG:    Correct?

 17              MR. CODDING:    Right.

 18              MR. MANG:    O'Neill Vineyards or O'Neill Wineries

 19    received -- or paid to Rabbit Ridge $22,297.89, correct?

 20              MR. CODDING:    That looks wrong, but I'm going to

 21    reconfirm.   I think that's somehow doubled up.       But I'll dig in

 22    and confirm.

 23              MR. MANG:    Okay.

 24              MR. CODDING:    But yes, some amount was received.        Yes.

 25              MR. MANG:    That was from the email that you sent us.




                                                                  EXHIBIT 14
                                                                   PAGE 253
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55     Desc
                        Main Document   Page 258 of 392
                                                                                40

                                  Northern Holding, LLC

  1                MR. CODDING:    Oh, okay.

  2                MR. MANG:    And totaling it --

  3                MR. CODDING:    All right.

  4                MR. MANG:    Totaling it all up, it goes to 140-.

  5                MR. CODDING:    Okay.

  6                MR. MANG:    So if there's any adjustment to that --

  7                MR. CODDING:    Perfect.     Okay, no worries.

  8                MR. MANG:    -- just let us know.

  9                MR. CODDING:    I'm sorry.     Yes, we're good.   I

 10     apologize.

 11                MR. MANG:    You know, it's okay for you to check and

 12     let me know if I'm mistaken because we want it to be accurate.

 13                MR. CODDING:    Oh, that's okay.

 14                MR. MANG:    If it doesn't sound right to you --

 15                MR. CODDING:    No.   If it's -- if it's in my recap

 16     email, it's good.      I'm just looking at your spreadsheet.       So

 17     I'm sorry.

 18                MR. MANG:    Okay.

 19                MR. CODDING:    Yeah.

 20                MR. MANG:    Sycamore paid $2,747.90.     Same situation,

 21     correct?

 22                MR. CODDING:    Yeah.

 23                MR. MANG:    Okay.    Graveyard paid $3,285.00.    Same

 24     situation?

 25                MR. CODDING:    Right.




                                                                     EXHIBIT 14
                                                                      PAGE 254
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 259 of 392
                                                                             41

                                Northern Holding, LLC

  1              MR. MANG:     Pali --

  2              MR. CODDING:     Pali is not in here?

  3              MR. MANG:     Pali is just not in --

  4              MR. CODDING:     Oh, there it is.    Okay.   Sorry.

  5              MR. MANG:     Yeah, it's on the bottom.

  6              MR. CODDING:     Yeah, all right.    Good.

  7              MR. MANG:     It's just not formatted the same.       So Pali

  8     paid $30,877.52.    Is that correct?

  9              MR. CODDING:     Right.

 10              MR. MANG:     And then it's the exact same situation as

 11     we discussed before?

 12              MR. CODDING:     Correct.

 13              MR. MANG:     Was the money received by Rabbit Ridge

 14     thereafter spent by Rabbit Ridge?

 15              MR. CODDING:     Yes.

 16              MR. MANG:     Is there any money left?

 17              MR. CODDING:     No, not anymore.    Ever since we got cut

 18     off from inventory, the revenue stream has sort of dried up for

 19     that entity.     But it was -- those funds were invested in (audio

 20     interference).

 21              MR. MANG:     Okay.    And was there ever a contract

 22     between you and Humanity Wine, LLC for the purchase of grapes

 23     from the properties?

 24              MR. CODDING:     No.    We had at one point the idea that

 25     they would take some excess fruit.      And there wasn't excess




                                                                  EXHIBIT 14
                                                                   PAGE 255
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 260 of 392
                                                                             42

                                 Northern Holding, LLC

  1    fruit from the blocks that they interested in.        So that never,

  2    never came to pass.

  3               MR. MANG:   And is -- who controls Humanity Wine, LLC?

  4               MR. CODDING:    That is Steven Jones' entity.     And so

  5    that's one of the ones where it's his and I have nothing to do

  6    with it.   That's his entity (audio interference).

  7               MR. MANG:   Okay.    Do you have any ownership interest

  8    in Humanity Wine?

  9               MR. CODDING:    I have no ownership interest or

 10    involvement in Humanity Wine.      I don't know -- I'm not a

 11    managing anything in it.       I'm not a consultant to it.   I've got

 12    no relation to it.

 13               MR. MANG:   Did you ever tell Don Brady to pay 17,000

 14    dollars to Humanity Wine?

 15               MR. CODDING:    I don't think so.   I remember telling

 16    him -- I don't think so.

 17               MR. MANG:   Just for a little context, do you know who

 18    Don Brady is?

 19               MR. CODDING:    Yes.   He's the winemaker at O'Neill and

 20    the proprietor of Brady Vineyard.

 21               MR. MANG:   And did you ship ten tons of grapes to Mr.

 22    Brady?

 23               MR. CODDING:    That sounds right, yes.

 24               MR. MANG:   And then later there was a dispute that

 25    arose by Mr. Brady when he had some confusion about who he was




                                                                  EXHIBIT 14
                                                                   PAGE 256
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55    Desc
                        Main Document   Page 261 of 392
                                                                                 43

                                  Northern Holding, LLC

  1     to pay; is that right?

  2                MR. CODDING:    Yes.   And we got that cleared up.      And

  3     he was -- I told him to pay Richard's office when the question

  4     came up.

  5                MR. MANG:   Okay.   And you've provided to the trustee's

  6     office a number of documents and receipts and invoices.         As we

  7     discussed last week, have you provided -- or did you -- did you

  8     provide records of expenditures after about August 2021?

  9                MR. CODDING:    Not -- well, I provided records of

 10     expenditures that added up to in excess of what I might redo

 11     under this agreement, less 140,000.      So there's plenty more if

 12     we wanted to take more time to go through this.         But it's kind

 13     of a moot point because there's no hope of recovering that.

 14     I'm just trying to get -- I'm trying to get an incremental

 15     progress payment on what was spent by me over the last fourteen

 16     months.

 17                MR. MANG:   Understood.    So the invoices and receipts

 18     that you provided, they sort of go up to a certain date.           And

 19     then you decided that it was not economical for you to provide

 20     any more invoices.     And those were provided?

 21                MR. CODDING:    Right.   Well, it -- yeah.    They don't

 22     matter.    I mean, they're not going to get the money back.         It's

 23     not economical.    And it's, frankly, embarrassing how much I

 24     spent to bring in as little fruit as we got.       But bygones.      So

 25     right now I'm just trying to get a small token progress payment




                                                                   EXHIBIT 14
                                                                    PAGE 257
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 262 of 392
                                                                                44

                                   Northern Holding, LLC

  1     on this.

  2                 MR. MANG:   When was the first time you told the

  3     trustee that Rabbit Ridge has received direct payments without

  4     his knowledge?

  5                 MR. CODDING:    I want to say that was beginning of

  6     December.    Actually, I can probably find out when it was.        We

  7     had a phone conversation.       I think you were on it.   Actually, I

  8     believe it was a Zoom.        I bet we can figure this out right now,

  9     if you don't mind me --

 10                 MR. MANG:   No.    I strive for accuracy here.

 11                 MR. CODDING:    Well, I'm not finding our phone date,

 12     but it was sometime -- sometime -- I think it was the first

 13     week of December.

 14                 MR. MANG:   Just let me know if you find it or if you

 15     give up.

 16                 MR. CODDING:    Okay.   For now I give up, but I'll do

 17     some more digging.      So sometime the last week of November,

 18     first week of December.

 19                 MR. MANG:   All right.    And around the time that you

 20     told the trustee that Rabbit Ridge had directly received funds,

 21     had all the funds already been paid and spent?

 22                 MR. CODDING:    Yes.    Everything that came in was

 23     reinvested in the farming effort to try to bring the rest of

 24     the crop in.     And a full accounting was provided within the few

 25     days of that conversation, along with bank statements, full




                                                                     EXHIBIT 14
                                                                      PAGE 258
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 263 of 392
                                                                             45

                                 Northern Holding, LLC

  1     transparency, open kimono.

  2               MR. MANG:    All right.    We go to -- what is this?     The

  3     farm operator agreement provides that you agree to provide

  4     proof of worker's compensation insurance and other required

  5     insurances --

  6               MR. CODDING:    Uh-huh.

  7               MR. MANG:    -- and compliance with tax withholding

  8     obligations.     Have you provided that --

  9               MR. CODDING:    Uh-huh.

 10               MR. MANG:    -- to the trustee?

 11               MR. CODDING:    Yes.

 12               MR. MANG:    And that's in the form of the payroll

 13     summary that you provided to us, correct?

 14               MR. CODDING:    Payroll summary and then the bills and

 15     payments for the worker's comp.       I think prior -- that was in

 16     the -- in the submission for cost recovery request

 17     reimbursement.    But on a fairly regular basis, prior to that, I

 18     had been sending -- I'm talking, like, July, August, September,

 19     sending in the workman's comp proof of coverage to the trustee

 20     office.

 21               MR. MANG:    Okay.    And paragraph 10 of the agreement

 22     provided that you agreed to "provide trustee a weekly listed

 23     expenses."   Was that ever done?

 24               MR. CODDING:    No.

 25               MR. MANG:    Okay.     Paragraph 6 of the agreement




                                                                  EXHIBIT 14
                                                                   PAGE 259
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 264 of 392
                                                                             46

                                   Northern Holding, LLC

  1     provided that you agreed to "cancel any and all existing

  2     purchase contracts for the grapes and present new contracts to

  3     trustee for execution.       New contracts shall be at fair market

  4     value.   And the seller shall be Richard Marshack, bankruptcy

  5     trustee."    Is that correct?

  6                 MR. CODDING:    That's what I recall, yes.

  7                 MR. MANG:   And as we've discussed, not all the

  8     purchase contracts were canceled.       And you've explained why,

  9     correct?

 10                 MR. CODDING:    Correct.

 11                 MR. MANG:   Okay.   The agreement also provided that

 12     operator agrees and understands they are not to remove or work

 13     with any casks or bottles or cases of wines or any other

 14     personal property; further, operator shall not use any

 15     equipment or inventory.       Is that correct?

 16                 MR. CODDING:    Not under the farming agreement.    That's

 17     correct.    That was not part of the farming agreement.

 18                 MR. MANG:   I'm going to send you a copy of the farming

 19     agreement that I just read off of.

 20                 MR. CODDING:    Okay.   It was -- I think it was okay for

 21     the crew to use equipment, wasn't it?

 22                 MR. MANG:   I just read you the paragraph off of page 2

 23     of the farming agreement.       So I just --

 24                 MR. CODDING:    Okay.

 25                 MR. MANG:   -- sent you a copy.      Take a look.




                                                                    EXHIBIT 14
                                                                     PAGE 260
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55    Desc
                        Main Document   Page 265 of 392
                                                                              47

                                  Northern Holding, LLC

  1               MR. CODDING:      It was not -- it was not my impression

  2     that we were unable to use tractors and that kind of thing

  3     because how else would we do it.      Was I supposed to lease those

  4     as well and spend another 100,000?

  5               MR. MANG:      You see also on page 2, going down a little

  6     bit, no access shall be allowed to operate for any other

  7     reason.   And no access shall be allowed to operate or to any

  8     other asset or aspect of the real properties except with

  9     express written permission of the trustee.        Do you see that?

 10               MR. CODDING:      Right.

 11               MR. MANG:      Did you ever ask the trustee in writing for

 12     permission to turn over the wines or to otherwise use any

 13     winery equipment?

 14               MR. CODDING:      Not in writing, no.

 15               MR. MANG:      Did the trustee ever authorize you to use

 16     any winery equipment or to process any wines?

 17               MR. CODDING:      We had a verbal agreement.    And there

 18     was a limited number of gallons that were processed.         And

 19     everybody is aware of this.      I've talked about this since

 20     before we did it until after it was done.         If you don't do

 21     that, the license goes dormant.      And then whoever buys that

 22     place doesn't have access to a functioning winery.        You also

 23     lose the wastewater treatment permits if you don't do

 24     fermentation.    So --

 25               MR. MANG:      The license does not belong to the debtor,




                                                                   EXHIBIT 14
                                                                    PAGE 261
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55    Desc
                        Main Document   Page 266 of 392
                                                                             48

                                   Northern Holding, LLC

  1     Northern Holding; is that correct?

  2                 MR. CODDING:    That's correct.   But a functioning

  3     license as the property is an enhancement to the value of the

  4     property.

  5                 MR. MANG:   All right.

  6                 MR. CODDING:    So when stuff was being done, it was not

  7     at the behest of Northern.       But it was occurring during the

  8     duration of this farming contract.        I'm baffled at the

  9     equipment thing though.

 10                 MR. MANG:   It's right there in the agreement.

 11                 After the trustee was appointed, did you ever enter

 12     into any contracts on behalf of the debtor?

 13                 MR. CODDING:    I don't believe so, no.   No, because

 14     Richard took over basically in place of Northern -- or took

 15     over Northern in place of me really.

 16                 MR. MANG:   Well, for example, what about the contract,

 17     just this -- just for example, between Northern Holding and

 18     Corbett Vineyards, LLC, which was signed on September 24, 2021

 19     without the knowledge and consent of the trustee?        And then

 20     an --

 21                 MR. CODDING:    What --

 22                 MR. MANG:   And then an addendum had to be made where

 23     the trustee was inserted as a party after --

 24                 MR. CODDING:    That was --

 25                 MR. MANG:   -- it had originally been signed.




                                                                  EXHIBIT 14
                                                                   PAGE 262
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55    Desc
                        Main Document   Page 267 of 392
                                                                             49

                                Northern Holding, LLC

  1              MR. CODDING:    That was the process.    We'd agree to

  2    something.   Richard would okay it.     I'd get the paper.    Then

  3    your office and me would get the addendum on there.        In that

  4    one, I think he interlineated pretty -- pretty excessively.

  5    But yeah, that's the process.      I mean, that was all under the

  6    purview of our agreement.

  7              MR. MANG:    So just to recap the process, you're saying

  8    the process was that you would enter into an agreement, then

  9    tell Richard, and then he would sign an addendum?

 10              MR. CODDING:    Well, no.   I would tell him I'm working

 11    on this agreement.     And you have to give the producer

 12    something.   The customer needs something in their hands to say

 13    what happened, you know, here's what we're doing.       And then

 14    Richard and I would interlineate or do whatever is necessary

 15    because the customers want to use their own -- their own form

 16    in some cases, in the case of Center of Effort being one of

 17    them.   And yeah, then we would do the addendum, and that's

 18    that.

 19              So when you ask, you know, enter into a contract on

 20    behalf of Northern, no.     This was all part of the process that

 21    was outlined by the farming agreement.

 22              MR. MANG:    Okay.    So when the signature line says by

 23    Lee Codding, managing member, that's not on behalf of Northern?

 24              MR. CODDING:    No.   That's then handed off to Richard's

 25    office so he can ratify the contract.      We went through this,




                                                                  EXHIBIT 14
                                                                   PAGE 263
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 268 of 392
                                                                            50

                                   Northern Holding, LLC

  1     and it took us weeks to get this system down.       And in fact,

  2     some of the legacy buyers that had contracts in place weren't

  3     included in that process.       The exception process that I had to

  4     create ad hoc on the fly to preserve value for the estate was

  5     done because we were fiddling around for weeks trying to get

  6     this process that you're describing done.

  7                 Do you have Center of Effort contract that's signed by

  8     Richard and me?

  9                 MR. MANG:   Yes.

 10                 MR. CODDING:    So there -- on every single one of them,

 11     there's a place for me to sign.       And on every single one of

 12     them, there's a place for him to sign.       And there's an

 13     addendum.    And there's instructions about how payment should

 14     get made.

 15                 MR. MANG:   By every single one, do you mean the

 16     contracts that Richard signed, all of them had a signature

 17     block for it?

 18                 MR. CODDING:    The official -- yes, everything that we

 19     did with the trustee's office, there's an addendum and a

 20     signature by him.

 21                 MR. MANG:   Because as we discussed, there were a

 22     couple of contracts that the trustee did not sign.       So is there

 23     a signature block for the trustee on any of the contracts that

 24     he didn't sign?    I know it may sound like a dumb question

 25     but --




                                                                  EXHIBIT 14
                                                                   PAGE 264
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55    Desc
                        Main Document   Page 269 of 392
                                                                              51

                                 Northern Holding, LLC

  1               MR. CODDING:    Everything that we did he signed off on.

  2    If I sent something into your office and somebody didn't get it

  3    filed with his signature on it, then I'm not -- I'm not in your

  4    office.    I don't know what you see.     But each one of those was

  5    executed according to the process we painstakingly put together

  6    to be compliant.

  7               MR. MANG:    All right.   I think -- all right.     I'm

  8    probably done with my questions.

  9               Mr. Gomez, are you there?

 10               MR. GOMEZ:   I am.   Give me a moment.

 11               MR. MANG:    Okay.   Do you want to take a quick break

 12    and then we can come back in a little bit?        Because I know Mr.

 13    Codding has been going for an hour and a quarter now.

 14               MR. GOMEZ:   Yeah.   I that makes sense.     Do you want to

 15    do two minutes or five?      What's your preference?

 16               MR. MANG:    Let's take a five-minute break, come back

 17    at 3:20.    And then we'll have Mr. Gomez ask his questions of

 18    debtor.

 19               MR. CODDING:    Okay.   Thank you.

 20               MR. MANG:    Okay.   Thank you, everyone.

 21         (Whereupon a recess was taken)

 22               MR. MANG:    All right.   Welcome back.     We thought --

 23               MR. CODDING:    Thank you.

 24               MR. MANG:    -- we had lost you forever.

 25               MR. CODDING:    Audio still okay?




                                                                   EXHIBIT 14
                                                                    PAGE 265
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 270 of 392
                                                                                52

                                  Northern Holding, LLC

  1                MR. MANG:    Yeah, audio is still okay.

  2                MR. CODDING:    Great.    Thank you.

  3                MR. MANG:    All right.    I think we're back on the

  4     record.    So just for sanity of the proceedings, I will now turn

  5     it over to Mr. Gomez for questions on behalf of his client.

  6     And if you could identify yourself before you speak just so we

  7     can transcribe this and have everyone identified, that would be

  8     great.

  9                MR. GOMEZ:    Good afternoon.      This is Michael Gomez on

 10     behalf of secured creditor Farm Credit West, FLCA.

 11                MR. CODDING:    Good afternoon.

 12                MR. GOMEZ:    Good afternoon, Mr. Codding.

 13                So earlier you mentioned Mr. Tolar.        Do you have his

 14     contact information?

 15                MR. CODDING:    I do.

 16                MR. GOMEZ:    All right.    What is it?

 17                MR. CODDING:    Bear with me here.

 18                MR. GOMEZ:    Sure.

 19                MR. CODDING:    Direct line, this is a mobile, is 909 --

 20                UNIDENTIFIED SPEAKER:      Hold on one second.    Do we want

 21     this on the record, or do you want to email it to him?         Do you

 22     know?    What do we think?

 23                MR. MANG:    I think on the record is fine.

 24                UNIDENTIFIED SPEAKER:      Okay.

 25                MR. MANG:    Yeah.    He's not a minor.




                                                                    EXHIBIT 14
                                                                     PAGE 266
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55    Desc
                        Main Document   Page 271 of 392
                                                                                 53

                                 Northern Holding, LLC

  1               UNIDENTIFIED SPEAKER:     Okay.    Okay.

  2               MR. CODDING:    Okay.    So area code 909-855-7235.      And

  3    then there's a different number.       Do you care about the text

  4    number?

  5               MR. GOMEZ:   Did you say text, T-E-X-T?

  6               MR. CODDING:    Right.

  7               MR. GOMEZ:   Yeah, go ahead.       Give me a text messaging

  8    number.

  9               MR. CODDING:    Okay.    805-698-9384.

 10               MR. GOMEZ:   All right.    And is there a mailing address

 11    for him?

 12               MR. CODDING:    Yeah, but I don't have it handy.      But I

 13    can get you that.

 14               MR. GOMEZ:   All right.    And do you have an email

 15    address for him?

 16               MR. CODDING:    I do, but I'll have to go off my screen.

 17    Let me look it up here.      That is Vino Tinto -- it's

 18    V-I-N-O-T-I-N-T-O-C-O-N-S@aol.com.

 19               MR. GOMEZ:   So I have vinotintoconsulting@aol.com and

 20    the word Vino Tinto Consulting is all one word, right?

 21               MR. CODDING:    It's one word except he dropped the

 22    last -- consulting, so it's Vinto Tinto C-O-N-S@aol.com.

 23               MR. GOMEZ:   I'm sorry.    Can you repeat that again?      I

 24    missed what you said.

 25               MR. CODDING:    Sure.    So it's




                                                                   EXHIBIT 14
                                                                    PAGE 267
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55    Desc
                        Main Document   Page 272 of 392
                                                                              54

                                  Northern Holding, LLC

  1     V-I-N-O-T-I-N-T-O-C-O-N-S@aol.com.

  2                MR. GOMEZ:     So no "ulting", just --

  3                MR. CODDING:    Exactly.

  4                MR. GOMEZ:     -- C-O-N-S?

  5                MR. CODDING:    Correct.

  6                MR. GOMEZ:   All right.      When is the last time you

  7     spoke to Mr. Tolar?

  8                MR. CODDING:    Probably yesterday.

  9                MR. GOMEZ:   Okay.   And earlier there was a company

 10     referenced named Humanity Wine.

 11                MR. CODDING:    Uh-huh.

 12                MR. GOMEZ:   And you have no involvement with Humanity

 13     Wine; is that correct?

 14                MR. CODDING:    That's correct.    I also have no

 15     involvement with Vino Tinto Consulting other than they're our

 16     grape broker.

 17                MR. GOMEZ:   Grape broker.     All right.   When you say

 18     "our," you mean for Rabbit Ridge?

 19                MR. CODDING:    Right.    Buying and selling of fruit over

 20     the years.   I've used Bill for other things too in other

 21     capacities before my involvement with that, but he's kind of a

 22     fixture.

 23                MR. GOMEZ:   All right.      And Humanity Wine, you said

 24     that is Mr. Jones, Steve Jones's company?

 25                MR. CODDING:    That's correct.




                                                                   EXHIBIT 14
                                                                    PAGE 268
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 273 of 392
                                                                             55

                                 Northern Holding, LLC

  1               MR. GOMEZ:    Okay.   And Mr. Jones -- does anyone else

  2     have an interest in Humanity Wine that you know of?

  3               MR. CODDING:    Not that I know of, no.

  4               MR. GOMEZ:     All right.   Are there any other officers

  5     of Humanity Wine other than Mr. Jones?

  6               MR. CODDING:    Not that I know of.

  7               MR. GOMEZ:    Okay.   And what is Rabbit Ridge's

  8     involvement with Humanity Wine?

  9               MR. CODDING:    Well, there's -- they have an agreement

 10     to produce wine for them as a client.      So Rabbit Ridge

 11     producing for Humanity as a client.      But I don't believe much

 12     work was yet done on that arrangement.

 13               MR. GOMEZ:     How much work do you believe was done?

 14               MR. CODDING:    Humanity bought some shiners that are in

 15     the winery facility still.

 16               MR. GOMEZ:    What do you mean by shiners for the

 17     record?

 18               MR. CODDING:    Those are bottles of wine that are

 19     finished but unlabeled, ready for labeling and shipment.

 20               MR. GOMEZ:     When were those bottles bottled?

 21               MR. CODDING:    2020.   I don't remember if there's --

 22               MR. GOMEZ:    Is it fair to say --

 23               MR. CODDING:    -- (indiscernible) on that though.

 24               MR. GOMEZ:    Is it fair to say that the wine that was

 25     sold to Humanity was bottled prior to the Northern Holding




                                                                  EXHIBIT 14
                                                                   PAGE 269
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55     Desc
                        Main Document   Page 274 of 392
                                                                                56

                                   Northern Holding, LLC

  1     bankruptcy?

  2                 MR. CODDING:    It is fair.    It was also from vintages

  3     prior to 2021.    And I don't think it was actually bottled.         In

  4     fact, I know it wasn't bottled for Humanity Wine Company.          It

  5     was bottled, but it was in the stock and purchased by Humanity,

  6     but it hasn't gone anywhere.        It's just sitting there.

  7                 MR. GOMEZ:   Okay.     Are any of the wines that were held

  8     by Rabbit Ridge on its own behalf source the grapes from any

  9     third-party sources other than the San Marcos, Texas Road, or

 10     the Live Oak properties?

 11                 MR. CODDING:    Yes.

 12                 MR. GOMEZ:   Okay.     Were all of those growers paid?

 13                 MR. CODDING:    Yes.

 14                 MR. GOMEZ:   And would that be reflected in Rabbit

 15     Ridge's records?

 16                 MR. CODDING:    Yeah.   We'd have to do some digging for

 17     that.   We're talking, again, 2020 harvest and prior.

 18                 MR. GOMEZ:   Okay.     Do you know which other growers

 19     grapes were obtained from?

 20                 MR. CODDING:    This is prior to my involvement, but it

 21     was -- there was a grower down in San Ynez, Santa Barbara

 22     County, that did a sauvignon block and then one in the Lodi

 23     area that did a Carignan.        Those are the only two that I'm

 24     aware of.

 25                 MR. GOMEZ:   And they have been repaid in full.     They




                                                                   EXHIBIT 14
                                                                    PAGE 270
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 275 of 392
                                                                            57

                                Northern Holding, LLC

  1    never demanded any payment for anything they're owed?

  2              MR. CODDING:    Not in the time I've been around.

  3              MR. GOMEZ:    And what did the Lodi grower grow?

  4              MR. CODDING:    Carignan.   It's a French variety, not

  5    too common in California, but C-A-R-I-G-N-A-N.

  6              MR. GOMEZ:    All right.    So if -- now, did Humanity pay

  7    Rabbit Ridge for the bottles that it was purchasing?

  8              MR. CODDING:    Well, when you buy shiners, you're

  9    paying for a case of wine.     So yeah, you pay for the materials,

 10    the cork, the packaging, the juice, everything that's in there.

 11              MR. GOMEZ:    All right.    Is there anything outstanding

 12    owed by Humanity to Rabbit Ridge?

 13              MR. CODDING:    Nothing outstanding is owed, but they

 14    can't get their wine.     So that's a different kind of problem I

 15    guess.   Probably Rabbit Ridge owes them money at this point.

 16              MR. GOMEZ:    All right.    So on the bank records of

 17    Rabbit Ridge, there was some money transferred to Humanity.

 18    Why?   Why was Rabbit Ridge transferring money to Humanity?

 19              MR. CODDING:    That's a separate arrangement that

 20    wasn't related to product that was done on a -- I believe it

 21    was for management consulting by Mr. Jones who's acting as --

 22    or was acting as the CFO for Rabbit Ridge.

 23              MR. GOMEZ:    All right.    So earlier we were going over

 24    a spreadsheet.    Do you have that in front of you?

 25              MR. CODDING:    I can pull it back up on my phone.




                                                                  EXHIBIT 14
                                                                   PAGE 271
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55       Desc
                        Main Document   Page 276 of 392
                                                                                58

                                  Northern Holding, LLC

  1                MR. GOMEZ:   Sure.

  2                MR. CODDING:     Got it.

  3                MR. GOMEZ:   Okay.      Are these all the third parties to

  4     whom Rabbit Ridge or rather you, in your capacity as the farm

  5     manager for the estate, sold grapes to?

  6                MR. CODDING:     Yes.

  7                MR. GOMEZ:   All right.       Is anyone else -- is there

  8     anyone else that you sold grapes to that's not on this list?

  9                MR. CODDING:     No.

 10                MR. GOMEZ:   Okay.      And approximately how many tons of

 11     grapes did Rabbit Ridge harvest -- or did you harvest?           I'm

 12     sorry.

 13                MR. CODDING:     Now, we can look up -- I'm going to have

 14     to do a -- back of the envelope.         I don't have that.    Actually,

 15     you know what, I can look at -- I'm going to go off screen

 16     again.    Sorry.   Can you still hear me?

 17                MR. GOMEZ:   Yes, sir.

 18                MR. CODDING:     All right.    I'm just looking back at my

 19     forecast updates.     Oops.

 20                Okay.   Sorry.     I'm still --

 21                MR. GOMEZ:   I've texted the trustee to mute his line.

 22     We'll see if it goes through.

 23                MR. CODDING:     Just going -- bear with me one more

 24     second.    I'm sorry.   I will get you the official count when I

 25     put the weight takes together, but I'd say about 250 tons.




                                                                      EXHIBIT 14
                                                                       PAGE 272
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55       Desc
                        Main Document   Page 277 of 392
                                                                                59

                                Northern Holding, LLC

  1    Here we go.      All right.    I'm back.

  2              MR. GOMEZ:      All right.        So you harvested about 250

  3    tons?

  4              MR. CODDING:        Yeah, just off the top of my head.

  5              MR. GOMEZ:     Okay.     And how do you sell to Booker or My

  6    Favorite Neighbor?

  7              MR. CODDING:        Well, here on the spreadsheet, it looks

  8    like about just under six.

  9              MR. GOMEZ:     And you believe that's accurate?

 10              MR. CODDING:        Well, yeah.    I mean, we can look -- we

 11    can -- that one came from a weight tag because you -- that's

 12    why it's an oddball number like that.           So yeah, I think that

 13    one is correct.

 14              MR. GOMEZ:     Okay.     And who made --

 15              MR. CODDING:        That was on the -- well, they waived it.

 16    The buyer always waives when it gets to their crush pad.

 17    That's whose weight tag you go off of.

 18              MR. GOMEZ:     All right.     What about Dow?

 19              MR. CODDING:        Dow I'm getting the -- that's the one we

 20    were talking about earlier.        We're inputting the weight tags

 21    together from them.      That's what I'm going to go see her about

 22    tomorrow so we get everything squared away.           They had a

 23    contract for sixty-five tons.        I think they got about that.

 24              MR. GOMEZ:     And they didn't give you any weight tags

 25    when the grapes were delivered?




                                                                     EXHIBIT 14
                                                                      PAGE 273
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 278 of 392
                                                                              60

                                 Northern Holding, LLC

  1               MR. CODDING:    Well, I don't have the complete set.        So

  2     that's why I'm going to go see them tomorrow.

  3               MR. GOMEZ:     All right.    What about Riboli?

  4               MR. CODDING:    Him I can pull up what he's got.

  5     That'll take me a minute to --

  6               MR. GOMEZ:    Sure.

  7               MR. MANG:    If I can just interject real quick on the

  8     Dow contract.    Mr. Codding, you said that you think that Dow --

  9               MR. CODDING:    Sure.

 10               MR. MANG:    -- actually received sixty tons of grapes

 11     or sixty-five tons of grapes?

 12               MR. CODDING:    Do I think they did?

 13               MR. MANG:    Yes.

 14               MR. CODDING:    I think it was close, yeah, which is why

 15     I think they're underpaid.

 16               MR. MANG:    All right.     Thank you.

 17               MR. GOMEZ:    And to be clear, I think you said the

 18     number was sixty-five tons, correct?

 19               MR. CODDING:    Well, you know, I'm just going to off

 20     the top of my head, but I think that's what the contract was

 21     for.   Not to say, I mean, the arrangement got super light, so

 22     it could be that they were shorted by half, you know.         Looking

 23     up -- I've got the Riboli weight tag.       Yeah.   This is the one

 24     where -- and I hate to repeat myself, but there's mentioning --

 25     they had originally intentionally of buying cabernet sauvignon




                                                                    EXHIBIT 14
                                                                     PAGE 274
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55    Desc
                        Main Document   Page 279 of 392
                                                                                 61

                                Northern Holding, LLC

  1     and cabernet franc, and they bought only cabernet franc.           And

  2     they got, according to their tag, 3.145 tons.       And that's, what

  3     they paid off of.

  4              MR. GOMEZ:     So let me restate that to make sure I

  5     heard it correctly.    The number you said was 3.145, so just

  6     over three tons?

  7              MR. CODDING:     Right.   Yeah, which is --

  8              MR. GOMEZ:     And that was --

  9              MR. CODDING:     Go ahead.   I'm sorry.

 10              MR. GOMEZ:     And you said that was only the sauvignon

 11     blank, blanc?

 12              MR. CODDING:     Cabernet franc.   Yeah.   They picked a

 13     block of cabernet franc that they wanted, and that's what came

 14     off that block.    So that's what they got.     And then on their

 15     cabernet sauvignon, they were experiencing a changeover in

 16     their winemaker and vineyard management team at the time.           So

 17     she decided she didn't want or need the cabernet sauvignon,

 18     which, you know, if that were something more obscure that

 19     couldn't easily be sold for the same price, it would have been

 20     more of an issue.    But it wasn't an issue because that was

 21     happy to take it.    So --

 22              MR. GOMEZ:     Okay.   And where did the cabernet

 23     sauvignon blocks that were originally intended for Riboli go?

 24              MR. CODDING:     They had rows marked off.    Those went to

 25     Dow.




                                                                  EXHIBIT 14
                                                                   PAGE 275
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55        Desc
                        Main Document   Page 280 of 392
                                                                                 62

                                  Northern Holding, LLC

  1                MR. GOMEZ:   Okay.      So that's part of the sixty-five

  2    tons?

  3                MR. CODDING:    Right.     We're going to get to the bottom

  4    of that tomorrow in exactly detailed form.            But yeah, that's

  5    part of the sixty-five.

  6                MR. GOMEZ:   All right.      And going back to the

  7    spreadsheet, I see it's says Corbett has 22.09 tons.           Is that

  8    accurate?

  9                MR. CODDING:    Yeah.     That's right.

 10                MR. GOMEZ:   Okay.      And then below that, WarRoom, 54.26

 11    tons.   Is that accurate?

 12                MR. CODDING:    I believe so.

 13                MR. GOMEZ:     Okay.    All right.   Now, we're -- it

 14    says -- let me go back to Corbett where it says the 22.09 tons.

 15    There's two entries for 21,600.          Is that for the entire

 16    twenty-two tons or are there -- are there a different set of

 17    twenty-two tons going for another 21,000 dollars?

 18                MR. CODDING:    That should be -- well, let's see here,

 19    1,800 a ton.     So twenty-two times -- yeah, that's -- it should

 20    be 39,600.     So I guess that was the original estimate if

 21    twenty-four tons shipped.          So it should be nineteen-eight times

 22    two.

 23                MR. GOMEZ:   All right.      So the 22.09 is the total,

 24    correct?

 25                MR. CODDING:    Right.     But both those -- yeah, exactly.




                                                                     EXHIBIT 14
                                                                      PAGE 276
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55      Desc
                        Main Document   Page 281 of 392
                                                                               63

                                  Northern Holding, LLC

  1     It should be nineteen-eight.        There should be two payments of

  2     19,800 based on that.

  3                MR. GOMEZ:   All right.     It says Brady received ten

  4     tons.    Is that accurate?

  5                MR. CODDING:    Yes.

  6                MR. GOMEZ:   Okay.     And O'Neill, O'Neill.    Do you know

  7     how many tons O'Neill received?

  8                MR. CODDING:    I believe twelve.    And they're down

  9     below.    That's where it's 22.297.

 10                MR. GOMEZ:   Okay.     And John Anthony Michael, you

 11     believe that's accurate he received -- it looks like there's

 12     two entries for him.      He received 2.7055 and .325.     So over --

 13                MR. CODDING:    Right.

 14                MR. GOMEZ:     -- three tons; is that right?

 15                MR. CODDING:    Yeah.    Yeah.

 16                MR. GOMEZ:   Okay.      And then going down below on the

 17     spreadsheet down around line 35, we have Nicora.

 18                MR. CODDING:    Right.

 19                MR. GOMEZ:   How much did Nicora receive in terms of

 20     tonnage?

 21                MR. CODDING:    They've got about six tons.

 22                MR. GOMEZ:   What about Rangeland?

 23                MR. CODDING:    Rangeland, I think, got one and a half.

 24                MR. GOMEZ:     And Cathartes, also known as Anarchist?

 25                MR. CODDING:    Yeah.    He got -- let's see.    This is




                                                                    EXHIBIT 14
                                                                     PAGE 277
Case 8:20-bk-13014-ES    Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                         Main Document   Page 282 of 392
                                                                              64

                                   Northern Holding, LLC

  1     by -- I need to look all this up.       I'm just not going to

  2     torture us by doing it while we're sitting here on the phone.

  3     But Anarchist got eight -- I believe -- no, it couldn't be that

  4     much -- eighteen I believe.

  5                 MR. GOMEZ:   All right.    We talked about O'Neill.     What

  6     about Sycamore?

  7                 MR. CODDING:    Sycamore was one bin, so half a ton.

  8                 MR. GOMEZ:   And Graveyard?

  9                 MR. CODDING:    I think one ton.

 10                 MR. GOMEZ:   And Pali?

 11                 MR. CODDING:    Pali was about twenty-four tons.      Again,

 12     I'll look that up for you, but plus or minus.

 13                 MR. GOMEZ:     So when I total it up, I understand that

 14     these are just estimates, I come out to approximately 158 tons,

 15     no more than 158 tons.       So let's just round that up to 160

 16     tons.    I believe you said that 250 tons were harvested.

 17                 MR. CODDING:    Well, that was just spit balling off

 18     of -- and it was just backing off of that.         But let's add this

 19     up again.    Six plus -- I'm at 150 tons, and I'm only at

 20     WarRoom.

 21                 MR. GOMEZ:   I don't think so.     Wow, sorry, you're

 22     right.    Dow.   You said sixty-five tons?

 23                 MR. CODDING:    Yeah.

 24                 MR. GOMEZ:   And you said Riboli had 3.145?

 25                 MR. CODDING:    Yeah.   I get 242.




                                                                   EXHIBIT 14
                                                                    PAGE 278
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 283 of 392
                                                                             65

                                 Northern Holding, LLC

  1               MR. GOMEZ:    I have 226.    So let's just call it --

  2               MR. CODDING:    All right.

  3               MR. GOMEZ:     -- 225 roughly.

  4               MR. CODDING:    All right.

  5               MR. GOMEZ:    I know it's a little lower.     But so we're

  6     short about twenty-five tons.       Any ideas where those are or

  7     what they were used for?

  8               MR. CODDING:    I see what you're getting at, but you're

  9     thinking of it all wrong.      I was spit balling off of the

 10     revenue projections when I threw that number out there before.

 11     I wasn't trying to create a cute situation here.

 12               MR. GOMEZ:    I'm not --

 13               MR. CODDING:    This --

 14               MR. GOMEZ:     -- being cute.

 15               MR. CODDING:    Those projections were -- those

 16     projections were based on expected yields.       And yields were low

 17     due to the water conditions.     So where those twenty-five tons

 18     went was they never existed.     They were stillborn, cluster

 19     weights and that was it.     Probably all of that should have been

 20     Syrah.   It was a good year.

 21               MR. GOMEZ:    All right.     Was Rabbit Ridge processing

 22     any grapes in 2021?

 23               MR. CODDING:    Yes.   As I've stated many times over the

 24     months that we've talked about this, there was a thin pick,

 25     basically waste that had to get removed from a section of




                                                                  EXHIBIT 14
                                                                   PAGE 279
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 284 of 392
                                                                            66

                                Northern Holding, LLC

  1     Mourvedre in order for it to get ripe for the intended customer

  2     to take delivery on it.     So at my expense, we went through and

  3     did a thin pick.    And instead of composting that fruit, we

  4     fermented it.    The purpose of that was to maintain the license

  5     so that a purchaser of the facility could have an operating

  6     winery, you know, ferment, and of course, of a vintage, the

  7     license gets made inactive.     And that means the new operator

  8     has to come in and do an entire reapplication process if

  9     they're able to get it.     That's why I was freaking out about

 10     this wastewater treatment, because if the wastewater treatment

 11     isn't activated, then the winery is not a winery.       It's just a

 12     big storage facility.

 13              MR. GOMEZ:     When did you complete the thin pick?

 14              MR. CODDING:     Early on in the -- in the season, early

 15     October, I believe.

 16              MR. GOMEZ:     All right.   And were any of the harvested

 17     grapes other than the thin pick something -- anything other

 18     than 250 tons used by Rabbit Ridge?

 19              MR. CODDING:     No.   There was no -- we just did a

 20     cursory fermentation to maintain the licensing.       And there's

 21     no -- no 2021 juice, bottled or barreled, at the facility.

 22              MR. GOMEZ:     All right.   The weight tags that were used

 23     for this, have they all been turned into the trustee, the

 24     spreadsheet?

 25              MR. CODDING:     Everything I have I've shared, but we




                                                                  EXHIBIT 14
                                                                   PAGE 280
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 285 of 392
                                                                             67

                                 Northern Holding, LLC

  1    still need to get the complete set of tags from Dow.

  2               MR. GOMEZ:   All right.     And does Rabbit Ridge use

  3    QuickBooks?

  4               MR. CODDING:    It does.

  5               MR. GOMEZ:   And who has possession of the QuickBooks

  6    files?

  7               MR. CODDING:    I have access to them.

  8               MR. GOMEZ:   Are they in the cloud or --

  9               MR. CODDING:    They are.

 10               MR. GOMEZ:     -- is it on --

 11               MR. CODDING:    They're in the cloud.

 12               MR. GOMEZ:   All right.     What about the farming

 13    records?     Where are those records kept?

 14               MR. CODDING:    You mean fertilizer application and that

 15    kind of thing?

 16               MR. GOMEZ:   Everything from payments to workers to

 17    what was harvested.

 18               MR. CODDING:    Well, the contacts set up what was to be

 19    harvested.     And the weight tags confirmed that.     In some cases

 20    producers want invoices.      In those cases, they get sent.    Other

 21    times the -- the producers, I mean the grape buyers pay off the

 22    contracts.     So it just depends on whatever is common practice

 23    with each relationship.      In terms of payments to vendors and

 24    that kind of thing, yeah, that's on the -- in the bank records.

 25    And then the -- what was your other question?        Oh, fertilizer




                                                                  EXHIBIT 14
                                                                   PAGE 281
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55     Desc
                        Main Document   Page 286 of 392
                                                                               68

                                  Northern Holding, LLC

  1     application and that kind of thing, that's kept by the

  2     outsourced firms that do that.         So like Buttonwillow Warehouse,

  3     for example, keeps those records.         That's their obligations as

  4     licensed pest control advisor.         So they do that kind of

  5     recordkeeping.

  6                MR. GOMEZ:     All right.    You said one of the practices

  7     was to send invoices to the buyers of the grapes.         Who sent

  8     those invoices?    Was it you or Mr. Marshack?

  9                MR. CODDING:    It was me.

 10                MR. GOMEZ:     Okay.

 11                MR. CODDING:    Where they wanted them.     You know, they

 12     didn't all want them.      But those that did -- or, like, Center

 13     of Effort asked for it three times, for example.        But yeah, I

 14     sent it.

 15                MR. GOMEZ:     Sorry.    Center of Effort -- which one of

 16     those on the list here is Center of Effort?

 17                MR. CODDING:    That would be Corbett Vineyards, LLC,

 18     parenthesis COE.

 19                MR. GOMEZ:   Okay.      And do you have copies of the

 20     invoices that you submitted?

 21                MR. CODDING:    Yeah.    The trustee's office does as

 22     well.

 23                MR. GOMEZ:     Right.    And where do you keep -- for your

 24     records, where do you keep copies of those invoices?

 25                MR. CODDING:     I just have them in a paper file.




                                                                   EXHIBIT 14
                                                                    PAGE 282
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 287 of 392
                                                                               69

                                  Northern Holding, LLC

  1                MR. GOMEZ:   Paper file.     And where is that paper file

  2    located?

  3                MR. CODDING:    It's in my briefcase.

  4                MR. GOMEZ:     Okay.   Was Rabbit Ridge selling any wines

  5    out of the winery the last months of 2021?

  6                MR. CODDING:    Yes.     Rabbit Ridge was operating as an

  7    independent company, which it is.         And yes, it was conducting

  8    business.    Those efforts ceased at the beginning of December,

  9    however.

 10                MR. GOMEZ:   Were there any tastings being conducted?

 11                MR. CODDING:    No.

 12                MR. GOMEZ:     So it was just bottled wine that was being

 13    sold?

 14                MR. CODDING:    Right.

 15                MR. GOMEZ:   And were those online sales or in-person

 16    sales or both?

 17                MR. CODDING:    Online and (indiscernible) to the trade.

 18    So in other words, ship it out on a truck to another licensee

 19    who then resells it.

 20                MR. GOMEZ:   All right.     And you have those records in

 21    your QuickBooks files?

 22                MR. CODDING:    Yes. And it's no problem to share on

 23    that kind of stuff.      Like I've told you many, many times, we'd

 24    like to get this guarantor status thing put to bed.         If there's

 25    a business left after that, that would be great.         There won't




                                                                   EXHIBIT 14
                                                                    PAGE 283
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 288 of 392
                                                                            70

                                Northern Holding, LLC

  1     be if we don't do something quick because when you say no to

  2     every customer that sends you an order, pretty soon they find

  3     some other wine to buy.

  4              MR. GOMEZ:     If you could send us the QuickBook files,

  5     that would be beneficial.

  6              MR. CODDING:     Okay.

  7              MR. GOMEZ:     All right.    And for that thin pick that

  8     you were discussing earlier, how many grapes were picked as

  9     part of the thin pick?     Is it, you know, a ton or less than

 10     that?

 11              MR. CODDING:     It was about -- it was four bins, I want

 12     to say, because it was picking light, about just under two

 13     tons.

 14              MR. GOMEZ:     All right.    And these would not have been

 15     saleable grapes anyways, correct, you said?

 16              MR. CODDING:     Right.    These were grapes that would

 17     have been -- they're suitable for making rose.       And they

 18     enabled the grapes that were left behind to ripen the rest of

 19     the way to meet the contract requirements for red wine which

 20     was still a stretch.     But anyway, it worked.    So --

 21              MR. GOMEZ:     All right.    Mr. Mang, I don't have any

 22     further questions.

 23              MR. MANG:     All right.    So I think because the trustee

 24     has asked all the questions that the trustee needs to ask and

 25     all the creditors have appeared to have asked all the questions




                                                                   EXHIBIT 14
                                                                    PAGE 284
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55      Desc
                        Main Document   Page 289 of 392
                                                                                  71

                                Northern Holding, LLC

  1     they needed to ask, we can conclude this meeting with

  2     creditors.   And thank you, everyone, for all your time.           Thank

  3     you.

  4              MR. CODDING:     Thank you both.

  5              MR. MANG:     All right.     Let's tell the trustee.      And

  6     everyone have a good rest of your day.

  7              MR. CODDING:     Okay.      Thanks for your time, everybody.

  8     We'll be in touch.    Thanks.     Okay.     Thanks, Tinho.

  9              UNIDENTIFIED SPEAKER:        Oh, Tinho?

 10              MR. MANG:     Yeah.

 11              UNIDENTIFIED SPEAKER:        Did you continue or anything?

 12              MR. MANG:     No, I concluded.

 13              UNIDENTIFIED SPEAKER:        Concluded, cool.       Thank you.

 14              MR. MANG:     Yeah, because Richard told me I could.          So

 15     it's concluded.

 16              UNIDENTIFIED SPEAKER:        Okay.    Let me call him and see

 17     if he can come turn this off.

 18              MR. MANG:     I'll stay on.

 19              UNIDENTIFIED SPEAKER:        Okay.

 20              Hi, we're finished up.         Can you come finish?      I see

 21     you walking up.

 22              MR. MARSHACK:       Hello.

 23              UNIDENTIFIED SPEAKER:        Hi.

 24              MR. MANG:     Hi.    Are you still on your phone?

 25              MR. MARSHACK:       Yeah.




                                                                       EXHIBIT 14
                                                                        PAGE 285
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 290 of 392
                                                                            72

                                Northern Holding, LLC

  1              MR. MANG:     All right.   Call me after.   I don't want

  2     to --

  3              MR. MARSHACK:     Well, let me ask you.     Have we

  4     concluded the 341(a)?

  5              MR. MANG:     Yes.   It's concluded.

  6              MR. MARSHACK:     341(a) examination is concluded.

  7         (Whereupon these proceedings were concluded)

  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25



                                                                  EXHIBIT 14
                                                                   PAGE 286
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 291 of 392
                                                                            73



  1                           C E R T I F I C A T I O N

  2

  3     I, Michael Drake, certify that the foregoing transcript is a

  4     true and accurate record of the proceedings.

  5

  6

  7

  8     ________________________________________

  9     /s/ MICHAEL DRAKE, CER-513, CET-513

 10

 11     eScribers

 12     7227 N. 16th Street, Suite #207

 13     Phoenix, AZ 85020

 14

 15     Date:   February 21, 2022

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25



                                                                  EXHIBIT 14
                                                                   PAGE 287
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 292 of 392




                                          EXHIBIT 15

                                                                   PAGE 288
       Case 8:20-bk-13014-ES            Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55          Desc
                                        Main Document   Page 293 of 392




From: Lee Codding <lecoddingiv@icloud.com>
Sent: Friday, February 11, 2022 10:25 PM
To: Richard Marshack <RMarshack@MarshackHays.com>; Pam Kraus <pkraus@marshackhays.com>
Cc: Tinho Mang <tmang@marshackhays.com>; Kevin Otus <kotus@thinkonyx.com>
Subject: Cost Reimbursement IMG_8136‐preview.pvt

Richard,

Well that was fun. I’ll be back Monday.

Not asking for a full reimbursement. Maybe just a modest progress payment of $120,000.00.

Please see to it that a check is ready this time. Last chance.

Regards,
Lee




                                                                 1

                                                                                            EXHIBIT 15
                                                                                             PAGE 289
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 294 of 392




                                           2

                                                                  EXHIBIT 15
                                                                   PAGE 290
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 295 of 392




                                          EXHIBIT 16

                                                                   PAGE 291
Case 8:20-bk-13014-ES    Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                    Desc
                         Main Document   Page 296 of 392




                        February 17, 2022

                        Richard Marshack
                        Marshack Hayes LLP
                        870 Roosevelt
                        Irvine, CA


                        Dear Richard,
                        This letter is to offer you an opportunity to rectify our farm contract payment
                        arrangement. Your office owe~ me $400,000.00 as contractually allowed less
                        $137,668.00 for a total of $262,332.00. Your office has had my payment request
                        and supporting documentation for months. I have a proposal for you but first some
                        more detail on how we got here.

                        While it may be true that some revenue was received by my licensed entity those
                        numbers were reconciled in December 2021 with full reporting to your office. I have
                        not asked for reimbursement on those payments, only for what remains due under
                        our agreement. There is no reason or excuse to delay payment. To reiterate, you are
                        in breach.

                        Your refusal to remit refund payments to me (these are refunds for expenditures
                        advanced not any remuneration for my 14 months of work on the project you've
                        collected funds on) has put me in a precarious position. So I am still scrambling to
                        get this together.

                        I've requested from your office a full accounting of funds received by your office on
                        my behalf. This accounting has been denied me by your office. I've suggested a
                        payment plan and have received no response. I am willing to accept a reasonable
                        payment plan. The initial payment must available for me to pickup with no further
                        demands from your office no later than Tuesday 22 February 2022. If I don't receive
                        said payment I will have no choice but to file a regulatory complaint. Multiple market
                        enforcement actions on all grape buyers that paid your office on my behalf will be
                        considered as well. That's not something I want to do but I won't have a choice.

                        In summary, rather than both of us spending money on legal resolution I'd like to
                        offer an alternative course of action: a reasonable payment plan. Additionally we
                        have bigger fish to fry with the $15.8 million PSA for 1172 San Marcos and Texas
                        Road.

                        So, let's quit the posturing and do what's right.




                        Lee Codding




                                                                                               EXHIBIT 16
                                                                                                PAGE 292
Case 8:20-bk-13014-ES             Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                                  Main Document   Page 297 of 392




          9514 8065 7661 2048 742216

Ill 11.1111
1
                       1111 1111111                  II
      USPS CERTIFIED MAIL®

PLACE THIS LABEL TO THE LEFr OF THE POSTAGE




                                                                            EXHIBIT 16
                                                                             PAGE 293
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 298 of 392




                                          EXHIBIT 17

                                                                   PAGE 294
  Case 8:20-bk-13014-ES                 Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                  Desc
                                        Main Document   Page 299 of 392
M   A R S H A C K             H   A Y S        LLP
        ATTORNEYS AT LAW | LITIGATION | REORGANIZATION | BANKRUPTCY


Richard A. Marshack
D. Edward Hays
Chad V. Haes
David A. Wood
Judith E. Marshack
Laila Masud
Tinho Mang
Bradford N. Barnhardt

Of Counsel
Kristine A. Thagard
Matthew W. Grimshaw                                                                                     Reference No. 1015-146
                                                                                       Sender: Tinho Mang on behalf of Richard A.
                                                                                                              Marshack, Trustee


                                                         February 25, 2022
                                                                                                        VIA E-MAIL ONLY
        LeRoy E. Codding IV
        lecoddingiv@icloud.com

        Re:      In re Northern Holding, LLC
                 Case No. 8:20-bk-13014-MW
                 Re: Response to your demand for progress payments

        Dear Mr. Codding:

                This letter serves as a formal response to your repeated demands via e-mail,
        certified mail, telephone, and in person at my law firm office for payment, arising from
        the farming operations on properties owned by Northern Holding, LLC and under my
        sole administration in my capacity as Chapter 7 trustee. As previously stated, I am not
        permitted to make any payments out of the ordinary course of business without a specific
        order of the Court. Because of the irregularities in your handling of your employment as
        the farm manager for the bankruptcy estate (“Estate”), I am not permitted to make any
        reimbursement payments to you absent a specific and definite order of the Court.

                 1. You failed to comply with the terms of the farm management agreement
                    and remain in breach of contract.

               As detailed in our prior correspondences, you failed to comply with the terms of
        the farm management agreement which was presented to and approved by the Court.
        Specifically, you agreed to cancel all existing grape purchase contracts and ensure that
        the proceeds of all sales of grapes was received and held in trust, as is the required
        procedure for any bankruptcy case. Instead of complying with the farm management
        agreement, you retained preexisting contracts and directly received (through Rabbit
        Ridge Wine Sales, Inc. or other entities) payments derived from the sale of Estate
        property, which you had no authority or right to control. Despite your protests to the

                                        MARSHACK HAYS                 LLP   | www.marshackhays.com
                                870 Roosevelt | Irvine, CA 92620 | 949.333.7777 | Fax 949.333.7778

                                                                                                              EXHIBIT 17
                                                                                                               PAGE 295
 Case 8:20-bk-13014-ES       Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55            Desc
                             Main Document   Page 300 of 392



February 25, 2022
Page 2


contrary, you have thereafter failed to provide a full accounting of the diverted grapes
and proceeds to me, including failing to provide a copy of the contracts for these diverted
assets, and failing to account for the expenditure of these funds, as all of the expenses you
have provided to me and my office generally pre-date your employment on behalf of the
Chapter 7 bankruptcy estate. As a result, and as more fully explained below, I am not
authorized to provide you with the reimbursements that you continually demand.

       2. As a result of your concealment and diversion of funds, the Estate was
          deprived of substantial rights.

        As the Trustee, I am a fiduciary responsible for the administration of the
bankruptcy estate. While you served in a consulting capacity, the nature of the farm
management agreement and the constraints of the Bankruptcy Code forbade you from
directly making any business decisions unrelated to farming, such as the negotiation and
sale of crops. Instead, your responsibility was to advise me as the Trustee regarding such
decisions. By unilaterally diverting crops and proceeds without my oversight, you
deprived the Estate of the ability to negotiate its own terms. Furthermore, even if your
explanation was true that customers would be lost if the preexisting contracts were
cancelled in accordance with the farm management agreement, you have never provided
any explanation why the proceeds were concealed from me and could not be immediately
redirected to me in accordance with the Bankruptcy Court’s orders. In short, your
diversion and concealment of funds from the Estate is a breach of duties on your part and
may rise to the level of embezzlement. To illustrate, if one of your employees wrote
himself a check out of your company’s general account and explained that it was an
advance against his future paychecks, that may similarly constitute embezzlement. This is
precisely what you did. Additionally, on February 8, 2022, you testified for the first time
(and contrary to your prior representations to me) that you misappropriated crop grown
on the property to process into wines, which I never authorized and in fact expressly
prohibited. Remember: the only reason that we knew about your diversion of funds was
because one of the customers you attempted to sell directly to contacted us because it did
not want to pay any unauthorized party – and only when confronted with this discovery,
you finally confessed to receiving the $140,000 derived from the unauthorized sale of
Estate property.

       3. You have continually failed to provide basic information to assist me in
          determining the extent of your allowable reimbursements.

       Despite months of requesting basic information from you either directly, through
my agents, or my attorneys, you have failed to keep, maintain, or disclose basic records
that would allow me to determine the extent of your benefit to the Estate. For example,
although you apparently personally oversaw the harvest and weighed the hand-picked
                                                                                EXHIBIT 17
                                                                                 PAGE 296
 Case 8:20-bk-13014-ES      Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55            Desc
                            Main Document   Page 301 of 392



February 25, 2022
Page 3


crop on site, you failed to provide any report of the harvest to me and any measurements
of the tonnage picked. You also failed to provide me with any proof of payroll payments
made to any employees or contracted labor, and failed to provide me with any
information regarding the laborers growing, harvesting, and shipping crop. More
specifically, your documentation regarding payroll to your employees fails to
differentiate between work performed on the farming operations and work performed on
any other unauthorized business being conducted by Rabbit Ridge or your related
entities. Any professional and responsible farm manager would have provided me regular
reports on the status of the crop, and especially provided a full report of the timing and
status of the harvest. Your deliberate and intentional concealment of information from me
has crippled my ability to protect the Estate.

       4. The Memorandum of Understanding that you signed provides a hard cap
          on your reimbursements, to the extent that you are entitled to any, net of
          the diverted funds.

       On December 20, 2021, you signed a Memorandum of Understanding
acknowledging and agreeing that “the total amount of funds due” to you and your entities
“do not collectively exceed $232,000.” You further agreed that “any invoices or requests
for reimbursement submitted after January 5, 2022 will not and do not have to be paid.”
The previous documentation you provided to me and my office, which fails to include
almost any itemized expense following your authorized employment period, is seriously
deficient and does not show that you are entitled to receive any reimbursements over and
above the $140,960.31 you diverted from the Estate. Furthermore, under the
Memorandum of Understanding, you would be entitled to receive at most approximately
$92,000 in additional reimbursements after the setoff for the diverted funds – but only if
you provide documentation sufficient to substantiate at least $232,000 in reimbursements.
To be clear, I am not suggesting that your production of documentation for the $232,000
in reimbursements automatically entitles you to receive an additional $92,000 in
reimbursements, as your misconduct has created an issue about what other monies have
been taken and what remedies the Estate possesses. In your letter dated February 17,
2022, you assert that you are owed $400,000. Given the above, especially the
Memorandum of Understanding which you signed, the Estate does not owe you
$400,000.

       5. Absent a specific order of the Court, I am not authorized to make any
          payments or reimbursements.

       Pursuant to Section 363(b) of the Bankruptcy Code, I may only use (i.e. disburse)
property of the estate with an order of the Court. The crop proceeds constitute property of
the Estate which I would need, under these circumstances, either consent by all creditors
                                                                              EXHIBIT 17
                                                                               PAGE 297
 Case 8:20-bk-13014-ES       Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55           Desc
                             Main Document   Page 302 of 392




February 25, 2022
Page 4


or a specific court order authorizing a payment to you. Not only were those proceeds
property of the Estate, they were also cash collateral of Farm Credit West, FCLA
(“FCW”). Section 363(c) further prohibits me from using or expending cash collateral
without consent from the secured creditor or a specific court order. Unless you provide
me with specific and definite documentation showing actual payments and
disbursements made during my authorized farm operation period, I am unable to evaluate
whether I should file a motion requesting authorization from the Court to make the
payments you continually demand.

        To that end, you must provide detailed documentation for all of the expense
reimbursements you claim, including all invoices for vendors, all cancelled checks (front
and back) related to any unpaid invoices, and all bank statements for Rabbit Ridge Wine
Sales, Inc. and all other entities which you used to operate or pay any farming expenses,
for the calendar year of 2021 through today’s date. Your excuse that you lost the login
information for Wells Fargo and therefore cannot retrieve any bank statements defies
logic. Even if you were unable to use the online services, you can go in-person to the
bank branch to request the relevant statements. Second, for any requested reimbursement
for employee payroll, you must provide proof of actual payroll disbursements (i.e.
specific evidence that the laborers were actually paid) and, consistent with the farm
management agreement, proof of compliance with applicable federal and state
withholding obligations. Finally, the vast majority of the receipts you provided to me
show that the expenses incurred pre-date my administration as the Chapter 7 Trustee,
which began on June 15, 2021, and further pre-date my authorized period to farm the
land pursuant to motion filed on August 9, 2021. Any claim for reimbursement pre-dating
June 15, 2021 is a Chapter 11 administrative claim – and the Bankruptcy Code requires
prior court approval before payment of a Chapter 11 administrative claim. Thus, even if
you believed you were entitled to an offset for the $140,000 you unilaterally
misappropriated from the Estate, I have never received any documentation showing that
you are entitled to a reimbursement in that amount, let alone $400,000. I reserve all rights
to exercise appropriate remedies under the Bankruptcy Code in the event that you fail to
prove your reimbursements.

       Finally, you have made representations to my office that I authorized you to
receive a progress payment check. These representations are false. As you have
categorically failed to prove your requested reimbursements, I have never authorized any
payments to you due to your failure of proof. Furthermore, as explained here, the
Bankruptcy Code requires a specific order of the Court before any payments can be
made.


                                                                               EXHIBIT 17
                                                                                PAGE 298
 Case 8:20-bk-13014-ES       Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55             Desc
                             Main Document   Page 303 of 392




February 25, 2022
Page 5


       6. You have no lien rights.

        In your communications to me, you threatened to file a producer’s lien in the
abstract, and subsequently threatened to file a regulatory complaint and “multiple market
enforcement actions.” However, you are not entitled to any such rights whatsoever, as
nothing more than a narrow-scope agent of the Estate. If you choose to unilaterally file a
lien against the Estate, I will file a motion with the Court to void such lien and subject
you to appropriate sanctions. Furthermore, to the extent that you file any action outside of
bankruptcy court, the federal courts have exclusive jurisdiction to determine issues
regarding the administration of the bankruptcy estate, and any action filed outside of
bankruptcy court is subject to immediate dismissal and possible federal sanctions,
including a violation of the automatic stay of 11 U.S.C. § 362(a) and the doctrine first
explained by the U.S. Supreme Court in Barton v. Barbour, 104 U.S. 126 (1886), which
provides that parties “must obtain authorization from the bankruptcy court before
initiating an action in another forum against certain officers appointed by the bankruptcy
court for actions the officers have taken in their official capacities.” In re Yellowstone
Mountain Club, LLC, 841 F.3d 1090, 1094 (9th Cir. 2016).

       Mr. Codding, I placed my trust in you to assist with management of the valuable
assets of the Estate, and relied heavily on your asserted expertise with crop cultivation to
bring in the Fall 2021 harvest. It is increasingly apparent to me that this trust was
unfortunately misplaced. Given the above, your request and demand for payment is
denied.

                                           Sincerely,
                                           Sinceerely,


                                           RICHARD A. MARSHACK
                                           Chapter 7 Trustee




                                                                                EXHIBIT 17
                                                                                 PAGE 299
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 304 of 392




                                          EXHIBIT 18

                                                                   PAGE 300
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 305 of 392




                                                                   PAGE 301
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 306 of 392




                                                                   PAGE 302
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 307 of 392




                                                                   PAGE 303
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 308 of 392




                                                                   PAGE 304
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 309 of 392




                                                                   PAGE 305
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 310 of 392




                                                                   PAGE 306
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 311 of 392




                                                                   PAGE 307
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 312 of 392




                                                                   PAGE 308
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 313 of 392




                                                                   PAGE 309
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 314 of 392




                                                                   PAGE 310
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 315 of 392




                                                                   PAGE 311
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 316 of 392




                                                                   PAGE 312
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 317 of 392




                                                                   PAGE 313
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 318 of 392




                                                                   PAGE 314
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 319 of 392




                                                                   PAGE 315
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 320 of 392




                                                                   PAGE 316
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 321 of 392




                                                                   PAGE 317
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 322 of 392




                                                                   PAGE 318
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 323 of 392




                                                                   PAGE 319
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 324 of 392




                                                                   PAGE 320
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 325 of 392




                                                                   PAGE 321
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 326 of 392




                                                                   PAGE 322
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 327 of 392




                                          EXHIBIT 19

                                                                   PAGE 323
        Case 8:20-bk-13014-ES                 Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55             Desc
                                              Main Document   Page 328 of 392




From: Trycel Alvarez‐Pihl <Trycel@javwine.com>
Sent: Thursday, March 17, 2022 4:01 PM
To: Tinho Mang <tmang@marshackhays.com>; Jeff Kandarian <jeff@javwine.com>; Ljensley <ljensley@aol.com>
Cc: Richard Marshack <RMarshack@MarshackHays.com>; Zephyr Peling <Zephyr@javwine.com>
Subject: RE: John Anthony Wine Payment

This is for Rabbit Ridge 0.33 tons of Syrah and 2.71 tons of CS?

We sent checks in December, however I check and they have not been cashed. Please confirm to whom and where you
would like the payments to go.

Thank you,

Trycel Alvarez‐Pihl
Vice President of Finance
John Anthony Family of Wines
c: 707.479.0928

Trycel@JAVWine.com
JohnAnthonyFamilyofWines.com
JaM Cellars | John Anthony Vineyards | Serial Wines | Weather Wines | Wishlist
P.O. Box 120, Napa CA 94559

CONNECT in | SHARE f | ENJOY >

From: Tinho Mang <tmang@marshackhays.com>
Sent: Thursday, March 17, 2022 3:52 PM
To: Jeff Kandarian <jeff@javwine.com>; Ljensley <ljensley@aol.com>
Cc: Richard Marshack <RMarshack@MarshackHays.com>; Trycel Alvarez‐Pihl <Trycel@javwine.com>; Zephyr Peling
<Zephyr@javwine.com>
Subject: RE: John Anthony Wine Payment

We do not have any contract showing the correct price per ton of grapes, so we cannot generate an invoice. Our farm
operator Lee Codding has also failed to provide a copy of the purchase contract to us. Please provide us with the full
contract (not just the addendum) so we can generate the invoice. Thank you sir.

Tinho

From: Jeff Kandarian <jeff@javwine.com>
Sent: Thursday, March 17, 2022 3:32 PM
                                                                       1

                                                                                                EXHIBIT 19
                                                                                                 PAGE 324
      Case 8:20-bk-13014-ES          Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                     Desc
                                     Main Document   Page 329 of 392
To: Ljensley <ljensley@aol.com>
Cc: Richard Marshack <RMarshack@MarshackHays.com>; Tinho Mang <tmang@marshackhays.com>; Trycel Alvarez‐Pihl
<Trycel@javwine.com>; Zephyr Peling <Zephyr@javwine.com>
Subject: Re: John Anthony Wine Payment

My accounting team informed me they never received an invoice. They are now copied. Please reforward or provide
invoice for the grapes in question.

Cheers,

Jeff Kandarian
Executive Vice President Of Winemaking
John Anthony Family of Wines
c: 541.520.3319

Jeff@JAVWine.com
JohnAnthonyFamilyofWines.com
JaM Cellars | John Anthony Vineyards | Serial Wines | Weather Wines | Wishlist
P.O. Box 120, Napa CA 94559

CONNECT in | SHARE f | ENJOY >
Sent from my iPhone

On Mar 17, 2022, at 9:48 AM, Ljensley <ljensley@aol.com> wrote:


Dear Jeff:

I am the agent for the trustee, Richard Marshack, and we have not yet received payment on the grapes you bought from
Northern Holdings. When can we expext payment? It is overdue.

Thank you,

Lori Ensley
Agent for the Trustee
(909) 239-9875




                                                          2

                                                                                               EXHIBIT 19
                                                                                                PAGE 325
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 330 of 392




                                                                EXHIBIT 19
                                                                 PAGE 326
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 331 of 392




                                                                EXHIBIT 19
                                                                 PAGE 327
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 332 of 392




                                                                EXHIBIT 19
                                                                 PAGE 328
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 333 of 392




                                                                EXHIBIT 19
                                                                 PAGE 329
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 334 of 392




                                                                EXHIBIT 19
                                                                 PAGE 330
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 335 of 392




                                                                EXHIBIT 19
                                                                 PAGE 331
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 336 of 392




                                                                EXHIBIT 19
                                                                 PAGE 332
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 337 of 392




                                                                EXHIBIT 19
                                                                 PAGE 333
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 338 of 392




                                          EXHIBIT 20

                                                                   PAGE 334
      Case 8:20-bk-13014-ES          Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                   Desc
                                     Main Document   Page 339 of 392


Subject:             FW: Northern Holding - Nevarez
Attachments:         Rabbit Ridge Account Summary With Payments.pdf




From: Juan Nevarez <juan@nevarezfarmlabor.com>
Sent: Monday, March 28, 2022 4:47 PM
To: Richard Marshack <RMarshack@MarshackHays.com>; Eufemia Nevarez <eufemia@nevarezfarmlabor.com>
Cc: Tinho Mang <tmang@marshackhays.com>; Accounting <accounting@nevarezfarmlabor.com>; Pam Kraus
<pkraus@marshackhays.com>
Subject: RE: Northern Holding ‐ Nevarez

Hello all good afternoon,

I have reviewed our accounting system and found an error in our Interest rate schedule. As pointed out by Mr. Mang
The interest rate was being reflected as 12% on the monthly total rather than the appropriate 12% per annum. I have
attached the breakdown to hopefully answer all of your questions regarding outstanding balances and type of services
furnished. Please See Below. On another note we don’t know who Mr Jones and Mr Codding intend to sue. We were
invited to join some legal resources they are currently engaging with. We are not interested in joining in with such
actions. We are just interested in forwarding these invoices to the appropriate parties to get the balances paid.

Warm Regards
Juan Nevarez
805‐835‐5986




Labor Analysis Charts




                                                          1

                                                                                              EXHIBIT 20
                                                                                               PAGE 335
     Case 8:20-bk-13014-ES          Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55              Desc
                                    Main Document   Page 340 of 392




From: Richard Marshack <RMarshack@MarshackHays.com>
Sent: Monday, March 28, 2022 6:43 AM
To: Eufemia Nevarez <eufemia@nevarezfarmlabor.com>
Cc: Tinho Mang <tmang@marshackhays.com>; Accounting <accounting@nevarezfarmlabor.com>; Pam Kraus
<pkraus@marshackhays.com>; Juan Nevarez <juan@nevarezfarmlabor.com>
Subject: Re: Northern Holding ‐ Nevarez

Good morning and thank you for your e mail. I am the Bankruptcy Trustee assigned to the case.


                                                         2

                                                                                            EXHIBIT 20
                                                                                             PAGE 336
      Case 8:20-bk-13014-ES            Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                       Desc
                                       Main Document   Page 341 of 392
I will meet with my attorney, Tinho Mang, and figure out how to respond. We feel terrible that you were not paid. Have
you been paid any sums of money?

What work were your employees doing at the winery? Were your employees doing any bottling? What percentage of
the work was picking grapes?

Who was Steve Jones intending to sue?

I do not know if you understand the relationship with Lee Codding and me. I hired his company to do several things
including maintain the vines and pick the grapes. From the sales proceeds he would be reimbursed if and when we
received a timely and full accounting required under the agreement.

I hope to analyze and resolve this soon. It is complicated because Northern is not responsible to pay your company. Our
obligation to reimburse, if any, runs to Rabbit Ridge. We have substantial unresolved accounting issues with them.

Richard Marshack
MARSHACK HAYS LLP
870 Roosevelt
Irvine, CA 92620
Telephone: (949) 333‐7777

(Sent from my iPad)


       On Mar 27, 2022, at 11:26 PM, Eufemia Nevarez <eufemia@nevarezfarmlabor.com> wrote:


       Hello Tinho,

       I apologize for the delay in getting back to you. I was out of the office for a funeral out of town.

       I have attached the invoices and accompanying Grower Labor Reports (GLR) for each invoice. I have also
       attached an account summary and Past Due Balance Letter issued to Rabbit Ridge after 90 days with no
       payments.

       We also have corresponding emails with Steven Jones and Lee Codding. Our accounting department did
       most of the correspondence and I need to locate those emails. Most of the payments made on this
       account came from checks from Northern Holding LLC and a few from Rabbit Ridge Wine Sales. We have
       copies of those checks if you need them. Please let me know if you need anything else from us. The best
       address to send mail is 5880 N River Road Paso Robles, CA 93446.

       This account created a financial burden to our company, and we were forced to tap into our credit lines
       to carry this balance. We delivered our services and held our end of the deal and when our invoices
       were delivered in a timely manner the invoices were ignored. After no payments were received for 90
       days, we let Rabbit Ridge know of our intentions to collect the original invoice amount and notified
       them of our intentions to apply interest to the unpaid balance. Steven Jones accepted the terms and
       requested additional time to pay as he was working on getting funds released to pay our unpaid
       invoices. The last communication we had with Steven was him saying we (NFL) should join him in a
       lawsuit. We have not communicated with him since then and we do not wish to sue anyone at this time
       as all we would like is for this account to be paid in full.

       Eufemia Nevarez

                                                             3

                                                                                                     EXHIBIT 20
                                                                                                      PAGE 337
Case 8:20-bk-13014-ES          Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                        Desc
                               Main Document   Page 342 of 392
 5880 N River Road
 Paso Robles, CA 93446
 805-478-1416


 From: Tinho Mang <tmang@marshackhays.com>
 Sent: Friday, March 25, 2022 3:09 PM
 To: Accounting <accounting@nevarezfarmlabor.com>
 Cc: Richard Marshack <RMarshack@MarshackHays.com>; Pam Kraus <pkraus@marshackhays.com>
 Subject: RE: Northern Holding ‐ Nevarez

 Hi Eufenia,

 I am following up on this email from Wednesday. I need those invoices for the unpaid farm labor which
 you informed me were approximately $70,000. The trustee is copied on this so please reply all when
 responding with the invoices.

 Tinho

 From: Tinho Mang
 Sent: Wednesday, March 23, 2022 2:28 PM
 To: accounting@nevarezfarmlabor.com
 Cc: Richard Marshack <RMarshack@MarshackHays.com>; Pam Kraus <PKraus@marshackhays.com>
 Subject: RE: Northern Holding ‐ Nevarez

 Hi,

 This is Tinho Mang, I got the voicemail about some possible unpaid invoices for Nevarez Farm Labor.
 Please forward these invoices to me as soon as you can and the trustee for Northern Holding (copied
 here) will review for payment.

 Please also provide us with the best address with which to send legal papers to, in case there is a need
 for the trustee to obtain a court order to authorize the payment.

 Tinho
 ________________________________________
 Working remotely.




                                                     4

                                                                                           EXHIBIT 20
                                                                                            PAGE 338
     Case 8:20-bk-13014-ES                    Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                            Desc
                                              Main Document   Page 343 of 392


                                                      Nevarez Farm Labor, Inc.
                                                      Customer Account Inquiry
     Account # 75
     RABBIT RIDGE                                                                                    Starting Date: 01/01/2021
     1172 SAN MARCOS ROAD                                                                            Ending Date: 03/28/2022
     PASO ROBLES, CA 93446
     Phone:

   Date            Invoice # Cust PO #            Inv Total     Amt Paid          Disc    Bal Due        Date       Check #         Age

01/15/2021          2058.00                        6,704.44      6,704.44                     0.00    01/21/2021   2016               6
01/22/2021          2098.00                        6,416.40      6,416.40                     0.00    02/22/2021   1307              31
01/29/2021          2099.00                        5,721.12      5,721.12                     0.00    02/08/2021   1304              10
02/04/2021          2141.00                        5,403.28      5,403.28                     0.00    03/02/2021   1308              26
02/11/2021          2142.00                        6,098.56      6,098.56                     0.00    03/09/2021   1312              26
02/18/2021          2155.00                        5,989.30      5,989.30                     0.00    03/16/2021   1314              26
02/25/2021          2163.00                        6,754.10      6,754.10                     0.00    03/23/2021   1313              26
03/04/2021          2196.00                        8,354.95      8,354.95                     0.00    03/30/2021   1315              26
03/11/2021          2199.00                       13,650.00     13,650.00                     0.00    04/06/2021   1317              26
03/18/2021          2217.00                        7,577.47          0.00                 7,577.47                                  375
03/25/2021          2255.00                       10,712.72     10,712.72                     0.00    05/06/2021   1305              42
04/01/2021          2294.00                        5,286.49      5,286.49                     0.00    04/11/2021   1318              10
05/06/2021          2368.00                        5,500.55      5,500.55                     0.00    05/31/2021   1325              25
05/12/2021          2386.00                        6,183.50          0.00                 6,183.50                                  320
05/13/2021          2387.00                        2,518.06      2,518.06                     0.00    07/26/2021   2157              74
05/18/2021          2422.00                        7,134.96          0.00                 7,134.96                                  314
05/20/2021          2403.00                        3,921.63      3,921.63                     0.00    07/02/2021   2158              43
05/26/2021          2439.00                        9,743.44          0.00                 9,743.44                                  306
05/27/2021          2438.00                        5,042.97          0.00                 5,042.97                                  305
06/03/2021          2470.00                       11,439.50          0.00                11,439.50                                  298
06/09/2021          2471.00                        9,682.13          0.00                 9,682.13                                  292
03/28/2022          3247.00                        6,155.55          0.00                 6,155.55                                    0

       Totals:                                   155,991.12     93,031.60                62,959.52

             0 to 30           31 to 60            61 to 90             Over 90             Invoices Due:                     62,959.52
             6,155.55              0.00                0.00           56,803.97          Unapplied Credit:                         0.00

                                                                                               Net Owed:                      62,959.52
             Number of Invoices Paid: 14
               Average Days to Pay: 28




03/28/2022 16:17          Printed by: JUANN              Report ID: AR145                      Rev: 8.181.2753            Page: 1

                                                                                                             EXHIBIT 20
                                                                                                              PAGE 339
          Case 8:20-bk-13014-ES     Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55       Desc
                                    Main Document   Page 344 of 392

10.27.2021              FIRST NOTICE: Past Due Balance
To: Rabbit Ridge
                       Our records indicate you have an outstanding balance of $56,803.97,
1172 San Marcos Rd     dating 06/09/21. I have attached a copy of the account summary and
Paso Robles, CA        outstanding invoices.
From: Nevarez Farm
Labor                  If you have any questions about these invoices or wish to contest this
                       debt, please contact Eufemia Nevarez at 805-478-1416 or
5880 N. River Rd
Paso Robles, CA        Eufemia@nevarezfarmlabor.com.

CC:
                       Otherwise, please remit the outstanding balance by {11/15/21} to avoid
                       late fees and/or interest accruing on the balance. Due to the balance not
Re: Past Due Balance   being paid in a timely manner, a credit line has been issued under your
                       account and the balance of your account accrues interest. Please pay the
                       outstanding balance of $56,803.97 to avoid the above-mentioned fees.

                       If the past due balance is not paid in full prior to 11/15/21 an interest
                       fee of 12% will be added to the balance and this interest will accrue
                       every month the balance is not paid in full.

                       Thank you for your attention to this matter.




Nevarez Farm Labor
Tel: 805-478-1416          5880 N River Road Paso   accounting@
                           Robles, CA, 93446        nevarezfarmlabor.com




                                                                                  EXHIBIT 20
                                                                                   PAGE 340
     Case 8:20-bk-13014-ES                    Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                            Desc
                                              Main Document   Page 345 of 392


                                                      Nevarez Farm Labor, Inc.
                                                      Customer Account Inquiry
     Account # 75
     RABBIT RIDGE
     1172 SAN MARCOS ROAD
     PASO ROBLES, CA 93446
     Phone:

   Date            Invoice # Cust PO #            Inv Total     Amt Paid          Disc     Bal Due       Date       Check #         Age

01/15/2021          2058.00                        6,704.44      6,704.44                      0.00   01/21/2021   2016               6
01/22/2021          2098.00                        6,416.40      6,416.40                      0.00   02/22/2021   1307              31
01/29/2021          2099.00                        5,721.12      5,721.12                      0.00   02/08/2021   1304              10
02/04/2021          2141.00                        5,403.28      5,403.28                      0.00   03/02/2021   1308              26
02/11/2021          2142.00                        6,098.56      6,098.56                      0.00   03/09/2021   1312              26
02/18/2021          2155.00                        5,989.30      5,989.30                      0.00   03/16/2021   1314              26
02/25/2021          2163.00                        6,754.10      6,754.10                      0.00   03/23/2021   1313              26
03/04/2021          2196.00                        8,354.95      8,354.95                      0.00   03/30/2021   1315              26
03/11/2021          2199.00                       13,650.00     13,650.00                      0.00   04/06/2021   1317              26
03/18/2021          2217.00                        7,577.47          0.00                  7,577.47                                 374
03/25/2021          2255.00                       10,712.72     10,712.72                      0.00   05/06/2021   1305              42
04/01/2021          2294.00                        5,286.49      5,286.49                      0.00   04/11/2021   1318              10
05/06/2021          2368.00                        5,500.55      5,500.55                      0.00   05/31/2021   1325              25
05/12/2021          2386.00                        6,183.50          0.00                  6,183.50                                 319
05/13/2021          2387.00                        2,518.06      2,518.06                      0.00   07/26/2021   2157              74
05/20/2021          2403.00                        3,921.63      3,921.63                      0.00   07/02/2021   2158              43
05/18/2021          2422.00                        7,134.96          0.00                  7,134.96                                 313
05/27/2021          2438.00                        5,042.97          0.00                  5,042.97                                 304
05/26/2021          2439.00                        9,743.44          0.00                  9,743.44                                 305
06/03/2021          2470.00                       11,439.50          0.00                 11,439.50                                 297
06/09/2021          2471.00                        9,682.13          0.00                  9,682.13                                 291
11/16/2021          2927.00                        6,816.48          0.00                  6,816.48                                 131
12/16/2021          2990.00                        7,634.45          0.00                  7,634.45                                 101
01/16/2022          3050.00                        8,550.58          0.00                  8,550.58                                  70
02/16/2022          3108.00                        9,576.66          0.00                  9,576.66                                  39
03/16/2022          3228.00                       10,725.86          0.00                 10,725.86                                  11

       Totals:                                   193,139.60     93,031.60                100,108.00

           0 to 30             31 to 60            61 to 90             Over 90              Invoices Due:                 100,108.00
          10,725.86            9,576.66            8,550.58           71,254.90           Unapplied Credit:                      0.00

                                                                                                Net Owed:                  100,108.00
             Number of Invoices Paid: 14
               Average Days to Pay: 28




03/27/2022 22:28       Printed by: EUFEMIAN              Report ID: AR145                       Rev: 8.181.2753           Page: 1

                                                                                                              EXHIBIT 20
                                                                                                               PAGE 341
         Case 8:20-bk-13014-ES                   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                                  Desc
                                                 Main Document   Page 346 of 392


                                                              Nevarez Farm Labor, Inc.
                                                               5880 North River Road
                                                              Paso Robles, CA 93446
                 Date:    03/18/2021                          Labor Contractor Report                            Worker's Comp Co:       Preferred Employers Inc.
         Farm Labor #:    FLC000172472                                                                                     Policy #:     FLN-169583-1
          Federal ID #:   XX-XXXXXXX
            State ID #:   513-8203-4
            Grower #:     75               Grower Name: RABBIT RIDGE

Acct #    Employee Name                         Crew # Day Description                        Type        Hours          Pieces           Rate           Amount

   5032 ROMERO, LEONEL                         LR       08    PRUNING                         Reg. Hrs     8.50                          17.0000          144.50
   5032 ROMERO, LEONEL                         LR       09    PRUNING                         Reg. Hrs     7.00                          17.0000          119.00
   5032 ROMERO, LEONEL                         LR       13    PRUNING                         Reg. Hrs     8.50                          17.0000          144.50
   5032 ROMERO, LEONEL                         LR       14    PRUNING                         Reg. Hrs     8.50                          17.0000          144.50
  17028 MURILLO, ALESSANDRA                    LR       08    PRUNING                         Reg. Hrs     8.50                          14.5000          123.25
  17028 MURILLO, ALESSANDRA                    LR       09    PRUNING                         Reg. Hrs     7.00                          14.5000          101.50
  17028 MURILLO, ALESSANDRA                    LR       14    PRUNING                         Reg. Hrs     8.50                          14.5000          123.25
  17103 PONCE CHAVEZ, JAVIER                   LR       08    PRUNING                         Reg. Hrs     8.50                          14.5000          123.25
  17103 PONCE CHAVEZ, JAVIER                   LR       09    PRUNING                         Reg. Hrs     7.00                          14.5000          101.50
  17103 PONCE CHAVEZ, JAVIER                   LR       13    PRUNING                         Reg. Hrs     8.50                          14.5000          123.25
  17111 TELLEZ SANTIAGO, ZENAIDA               LR       08    PRUNING                         Reg. Hrs     8.50                          14.5000          123.25
  17111 TELLEZ SANTIAGO, ZENAIDA               LR       09    PRUNING                         Reg. Hrs     7.00                          14.5000          101.50
  17111 TELLEZ SANTIAGO, ZENAIDA               LR       13    PRUNING                         Reg. Hrs     8.50                          14.5000          123.25
  17111 TELLEZ SANTIAGO, ZENAIDA               LR       14    PRUNING                         Reg. Hrs     8.50                          14.5000          123.25
  17115 TELLEZ SANTIAGO, SALVADOR              LR       08    PRUNING                         Reg. Hrs     8.50                          14.5000          123.25
  17115 TELLEZ SANTIAGO, SALVADOR              LR       09    PRUNING                         Reg. Hrs     7.00                          14.5000          101.50
  17115 TELLEZ SANTIAGO, SALVADOR              LR       13    PRUNING                         Reg. Hrs     8.50                          14.5000          123.25
  17115 TELLEZ SANTIAGO, SALVADOR              LR       14    PRUNING                         Reg. Hrs     8.50                          14.5000          123.25
  17364 HERNANDEZ CASTILLOS, BEATRI LR                  09    PRUNING                         Reg. Hrs     7.00                          14.5000          101.50
  17364 HERNANDEZ CASTILLOS, BEATRI LR                  13    PRUNING                         Reg. Hrs     8.50                          14.5000          123.25
  17364 HERNANDEZ CASTILLOS, BEATRI LR                  14    PRUNING                         Reg. Hrs     8.50                          14.5000          123.25
  17387 NARANJO VELAZQUEZ, ESTEBAN LR                   08    PRUNING                         Reg. Hrs     8.50                          14.5000          123.25
  17387 NARANJO VELAZQUEZ, ESTEBAN LR                   09    PRUNING                         Reg. Hrs     7.00                          14.5000          101.50
  17387 NARANJO VELAZQUEZ, ESTEBAN LR                   13    PRUNING                         Reg. Hrs     8.50                          14.5000          123.25
  17387 NARANJO VELAZQUEZ, ESTEBAN LR                   14    PRUNING                         Reg. Hrs     8.50                          14.5000          123.25
  17406 TELLES-SANTIAGO, GONZALO               LR       08    PRUNING                         Reg. Hrs     8.50                          14.5000          123.25
  17406 TELLES-SANTIAGO, GONZALO               LR       09    PRUNING                         Reg. Hrs     7.00                          14.5000          101.50
  17406 TELLES-SANTIAGO, GONZALO               LR       13    PRUNING                         Reg. Hrs     8.50                          14.5000          123.25
  17406 TELLES-SANTIAGO, GONZALO               LR       14    PRUNING                         Reg. Hrs     8.50                          14.5000          123.25
  16632 LEONARDO GALVEZ, JAVIER                AL       08    PRUNING                         Reg. Hrs     8.00                          15.0000          120.00
  16632 LEONARDO GALVEZ, JAVIER                AL       14    PRUNING                         Reg. Hrs     8.50                          15.0000          127.50
  17003 LEONARDO GALVEZ, RAUL                  AL       08    PRUNING                         Reg. Hrs     8.00                          15.0000          120.00
  17003 LEONARDO GALVEZ, RAUL                  AL       13    PRUNING                         Reg. Hrs     8.00                          15.0000          120.00
  17004 ORTIZ GALVEZ, LAURA                    AL       08    PRUNING                         Reg. Hrs     8.00                          15.0000          120.00
  17026 AMADO LEON, PAULINO                    AL       08    PRUNING                         Reg. Hrs     8.00                          15.0000          120.00
  17026 AMADO LEON, PAULINO                    AL       13    PRUNING                         Reg. Hrs     8.00                          15.0000          120.00
  17034 LEONARDO GALVEZ, ADOLFO                AL       08    PRUNING                         Reg. Hrs     8.00                          16.0000          128.00
  17034 LEONARDO GALVEZ, ADOLFO                AL       13    PRUNING                         Reg. Hrs     8.50                          16.0000          136.00
  17034 LEONARDO GALVEZ, ADOLFO                AL       14    PRUNING                         Sick Pay     8.00                          16.0000          128.00
  17042 ALBINO DE JESUS, ARELIANO              AL       08    PRUNING                         Reg. Hrs     8.00                          15.0000          120.00
  17141 ORTIZ GALVEZ, MAXIMILIANO              AL       08    PRUNING                         Reg. Hrs     8.00                          15.0000          120.00
  17373 ROJAS AMADO, MAURILIO                  AL       08    PRUNING                         Reg. Hrs     5.00                          15.0000           75.00
  17373 ROJAS AMADO, MAURILIO                  AL       14    PRUNING                         Reg. Hrs     8.50                          15.0000          127.50
  17401 MARTINEZ MATEO, JAVIER                 AL       08    PRUNING                         Reg. Hrs     8.00                          15.0000          120.00
  17401 MARTINEZ MATEO, JAVIER                 AL       13    PRUNING                         Reg. Hrs     8.00                          15.0000          120.00
  17401 MARTINEZ MATEO, JAVIER                 AL       14    PRUNING                         Reg. Hrs     8.50                          15.0000          127.50
    Total for Crop ID RABLIVE Rabbit Ridge Live oak                                                      369.50                                         5,531.00


               Gross Wages, This Report:                                                                 361.50                                         5,531.00
                                                                                                           8.00 Sick Pay Hours


Employee information for the week ending 03/14/2021:

 Employee Name/Address                   S.S. #/Acct # Hours Pieces     Report       Gross        SDI   FICA Fed Wht           Other      Net Check    Check #
                                                                        Wages        Wages           Medicare St Wht
 ALBINO DE JESUS, ARELIANO               XXX-XX-1872   8.00      0      120.00       247.50      2.97   15.35    0.00             0.00        225.59    174116
 724 23RD STREET UNIT B                   17042                                                          3.59    0.00
 PASO ROBLES, CA 93446
 AMADO LEON, PAULINO                     XXX-XX-9797 16.00       0       240.00      360.00      4.32    22.32        0.00        0.00        328.14    174114
 3025 VINE ST                             17026                                                           5.22        0.00


 03/27/2022 20:56         Printed by: EUFEMIAN                    Report ID: LC101                                Rev: 8.181.2753                  Page: 1

                                                                                                                                  EXHIBIT 20
                                                                                                                                   PAGE 342
          Case 8:20-bk-13014-ES                   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                       Desc
                                                  Main Document   Page 347 of 392


                                                            Nevarez Farm Labor, Inc.
                                                             5880 North River Road
                                                            Paso Robles, CA 93446
                  Date:    03/18/2021                       Labor Contractor Report                         Worker's Comp Co:     Preferred Employers Inc.
          Farm Labor #:    FLC000172472                                                                               Policy #:   FLN-169583-1
           Federal ID #:   XX-XXXXXXX
             State ID #:   513-8203-4
             Grower #:     75             Grower Name: RABBIT RIDGE

 PASO ROBLES, CA 93446
 HERNANDEZ CASTILLOS, BEATRIZ XXX-XX-1472           24.00      0      348.00      348.00    4.18    21.58        0.00      0.00        317.19    174082
 5815 VISTA SERRANO            17364                                                                 5.05        0.00
 PASO ROBLES, CA 93446
 LEONARDO GALVEZ, ADOLFO      XXX-XX-2159           16.50      0      392.00      528.00    6.34    32.74        0.00      0.00        481.26    174115
 1339 STONEY CREEK ROAD        17034                                                                 7.66        0.00
 PASO ROBLES, CA 93446
 LEONARDO GALVEZ, JAVIER      XXX-XX-0654           16.50      0      247.50      375.00    4.50    23.25        0.00      0.00        341.81    174111
 151 FEIN AVE #B               16632                                                                 5.44        0.00
 PASO ROBLES, CA 93446
 LEONARDO GALVEZ, RAUL        XXX-XX-6182           16.00      0      240.00      367.50    4.41    22.78        0.00      0.00        334.98    174112
 515 FEIN AVE #B               17003                                                                 5.33        0.00
 PASO ROBLES, CA 93446
 MARTINEZ MATEO, JAVIER       XXX-XX-8326           24.50      0      367.50      367.50    4.41    22.79        0.00      0.00        334.97    174119
 1213 CORRAL CREEK AVENUE APT# 17401                                                                 5.33        0.00
 PASO ROBLES, CA 93446
 MURILLO, ALESSANDRA          XXX-XX-7549           24.00      0      348.00      348.00    4.17    21.58        0.00      0.00        317.20    174078
 346 12TH ST #B                17028                                                                 5.05        0.00
 SAN MIGUEL, CA 93451
 NARANJO VELAZQUEZ, ESTEBAN XXX-XX-7804             32.50      0      471.25      471.25    5.66    29.22        0.00      0.00        429.53    174083
 1355 MISSION ST               17387                                                                 6.84        0.00
 SAN MIGUEL, CA 93451
 ORTIZ GALVEZ, LAURA          XXX-XX-8773            8.00      0      120.00      120.00    1.44     7.44        0.00      0.00        109.38    174113
 515 FEIN AVE #B               17004                                                                 1.74        0.00
 PASO ROBLES, CA 93446
 ORTIZ GALVEZ, MAXIMILIANO    XXX-XX-3244            8.00      0      120.00      240.00    2.88    14.88        0.00      0.00        218.76    174117
 3520 SPRING STREET APT# 202   17141                                                                 3.48        0.00
 PASO ROBLES, CA 93446
 PONCE CHAVEZ, JAVIER         XXX-XX-5893           24.00      0      348.00      348.00    4.17    21.58        0.00      0.00        317.21    174079
 1530 N STREET                 17103                                                                 5.04        0.00
 SAN MIGUEL, CA 93451
 ROJAS AMADO, MAURILIO        XXX-XX-8585           13.50      0      202.50      330.00    3.96    20.46        0.00      0.00        300.79    174118
 121 OAK STREET                17373                                                                 4.79        0.00
 PASO ROBLES, CA 93446
 ROMERO, LEONEL               XXX-XX-7641           32.50      0      552.50      552.50    6.63    34.25        0.00      0.00        503.61    174077
 PO BOX 750
                               5032                                                                  8.01        0.00
 SAN MIGUEL, CA 93451
 TELLES-SANTIAGO, GONZALO     XXX-XX-4977           32.50      0      471.25      471.25    5.65    29.22        0.00      0.00        429.55    174084
 1220 L STREET                 17406                                                                 6.83        0.00
 SAN MIGUEL, CA 93451
 TELLEZ SANTIAGO, ZENAIDA     XXX-XX-4722           32.50      0      471.25      471.25    5.66    29.22        0.00      0.00        429.54    174080
 3200 SPRING ST APT 25         17111                                                                 6.83        0.00
 PASO ROBLES, CA 93446
 TELLEZ SANTIAGO, SALVADOR    XXX-XX-4735           32.50      0      471.25      471.25    5.66    29.22        0.00      0.00        429.53    174081
 3200 SPRING STREET #24        17115                                                                 6.84        0.00
 PASO ROBLES, CA 93446

Totals:                                            361.50      0   5,531.00    6,417.00    77.01   397.88        0.00      0.00      5,849.04
                                                                                                    93.07        0.00




 03/27/2022 20:56          Printed by: EUFEMIAN                Report ID: LC101                             Rev: 8.181.2753                Page: 2

                                                                                                                           EXHIBIT 20
                                                                                                                            PAGE 343
    Case 8:20-bk-13014-ES          Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55            Desc
                                   Main Document   Page 348 of 392


                                                                      Invoice




     Bill To:                                                      License #:    FLC000172472
     RABBIT RIDGE                                                Federal ID#:    XX-XXXXXXX
     1172 SAN MARCOS ROAD                                          State ID#:    513-8203-4
     PASO ROBLES, CA 93446                                     W/C Company:      Preferred Employers Inc.
                                                                W/C Policy #:    FLN-169583-1

                03/08/2021 to 03/14/2021                              Invoice #: 2217
                                                                   Invoice Date: 03/18/2021
                                                                         Terms: Net On Receipt


Description                                              Quantity Unit            Price           Total

AURELIANO ALBINO D                                          8.00    Hrs           15.00            120.00
PAULINO AMADO LEON                                         16.00    Hrs           15.00            240.00
BEATRIZ HERNANDEZ CASTILLOS                                24.00    Hrs           14.50            348.00
ADOLFO LEONARDO GALVEZ                                     16.50    Hrs           16.00            264.00
ADOLFO LEONARDO GALVEZ                                      8.00    SP            16.00            128.00
JAVIER LEONARDO GALVEZ                                     16.50    Hrs           15.00            247.50
RAUL LEONARDO GALVEZ                                       16.00    Hrs           15.00            240.00
JAVIER MARTINEZ MATEO                                      24.50    Hrs           15.00            367.50
ALESSANDRA MURILLO                                         24.00    Hrs           14.50            348.00
ESTEBAN NARANJO VELAZQUEZ                                  32.50    Hrs           14.50            471.25
LAURA ORTIZ GALVEZ                                          8.00    Hrs           15.00            120.00
MAXIMILIANO ORTIZ GALVEZ                                    8.00    Hrs           15.00            120.00
JAVIER PONCE CHAVEZ                                        24.00    Hrs           14.50            348.00
MAURILIO ROJAS AMADO                                       13.50    Hrs           15.00            202.50
LEONEL ROMERO                                              32.50    Hrs           17.00            552.50
GONZALO TELLES-SANTIAGO                                    32.50    Hrs           14.50            471.25
ZENAIDA TELLEZ SANTIAGO                                    32.50    Hrs           14.50            471.25
SALVADOR TELLEZ SANTIAGO                                   32.50    Hrs           14.50            471.25
Labor Subtotal                                            361.50    Hrs                          5,531.00
                                                            8.00    SP

LABOR FEE                                                   37.00%                               2,046.47


                                                                     Invoice Total:            $7,577.47




Please Send all Payments to 5880 North River Road, Paso Robles, CA 93446



                                                                                      EXHIBIT 20
                                                                                       PAGE 344
    Case 8:20-bk-13014-ES          Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55             Desc
                                   Main Document   Page 349 of 392


                                                                        Invoice                   Page #: 2




     Bill To:                                                      License #:     FLC000172472
     RABBIT RIDGE                                                Federal ID#:     XX-XXXXXXX
     1172 SAN MARCOS ROAD                                          State ID#:     513-8203-4
     PASO ROBLES, CA 93446                                     W/C Company:       Preferred Employers Inc.
                                                                W/C Policy #:     FLN-169583-1

                03/08/2021 to 03/14/2021                            Invoice #: 2217
                                                                 Invoice Date: 03/18/2021
                                                                       Terms: Net On Receipt


Description                                              Quantity Unit            Price           Total

                                                              Totals:
                                                              Other                               7,577.47




Please Send all Payments to 5880 North River Road, Paso Robles, CA 93446



                                                                                     EXHIBIT 20
                                                                                      PAGE 345
         Case 8:20-bk-13014-ES                   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                                  Desc
                                                 Main Document   Page 350 of 392


                                                              Nevarez Farm Labor, Inc.
                                                               5880 North River Road
                                                              Paso Robles, CA 93446
                 Date:    05/12/2021                          Labor Contractor Report                            Worker's Comp Co:       Preferred Employers Inc.
         Farm Labor #:    FLC000172472                                                                                     Policy #:     FLN-169583-1
          Federal ID #:   XX-XXXXXXX
            State ID #:   513-8203-4
            Grower #:     75               Grower Name: RABBIT RIDGE

Acct #    Employee Name                         Crew # Day Description                        Type        Hours          Pieces           Rate           Amount

  16131 DELFINO SANCHEZ, MARCELO            MD    09         Shoot Thinning                   Reg. Hrs     8.50                          17.0000          144.50
  15704 REYES SILVA, ANDRES                 MD    09         Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  16600 MERINO CAVERO, OLEGARIO             MD    09         Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  17461 SANTIAGO GARCIA, ALEJANDRA          MD    09         Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  17462 VILLANUEVA, MOISES DE JESUS MD            09         Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  17460 VILLANUEVA, ARTEMIO DE JESUS MD           09         Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  17127 VILLANUEVA, VENANCIO DE JESU MD           09         Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  16294 MENDOZA PEREZ, TRANQUILINO MD             09         Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  16295 MENDOZA JIMENEZ, ROCIO              MD    09         Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  17458 PACHECO, ANDRES LUCAS               MD    09         Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  17459 GONZALEZ CRECENSIO, RUFINO MD             09         Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  16032 SANTIAGO CRUZ, JUAN                 MD    09         Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
    Total for Crop ID RABBIT RABBIT RIDGE VINEYARD                                                       102.00                                         1,547.00

  17446 LOPEZ GARCIA, HELIODORO                HE       08   Shoot Thinning                   Reg. Hrs     8.50                          17.0000          144.50
  17446 LOPEZ GARCIA, HELIODORO                HE       09   Shoot Thinning                   Reg. Hrs     8.50                          17.0000          144.50
  17447 VASQUEZ OLEA, RICARDO                  HE       08   Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  17453 PENIAFORT HILARIO, SAMUEL              HE       08   Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  17453 PENIAFORT HILARIO, SAMUEL              HE       09   Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  17454 MIGUEL LOPEZ, MODESTA                  HE       08   Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  17454 MIGUEL LOPEZ, MODESTA                  HE       09   Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  17455 PINZON PENIAFORT, ALONSO               HE       08   Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  17455 PINZON PENIAFORT, ALONSO               HE       09   Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  17448 LOPEZ CUELLAR, ISMAEL                  HE       08   Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  17448 LOPEZ CUELLAR, ISMAEL                  HE       09   Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  17451 LOPEZ CUELLAR, MARCELINO               HE       08   Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  17451 LOPEZ CUELLAR, MARCELINO               HE       09   Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  17457 LOPEZ GARCIA, DOMINICA                 HE       08   Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  17457 LOPEZ GARCIA, DOMINICA                 HE       09   Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  17456 LOPEZ GARCIA, ZENAIDA                  HE       08   Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  17456 LOPEZ GARCIA, ZENAIDA                  HE       09   Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  17449 LOPEZ GARCIA, HERMENEGILDO HE                   08   Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  17449 LOPEZ GARCIA, HERMENEGILDO HE                   09   Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  17450 LOPEZ GARCIA, JUVENTINO                HE       08   Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  17450 LOPEZ GARCIA, JUVENTINO                HE       09   Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  17452 GERVACIO GONZALEZ, ANTONIN HE                   08   Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
  17452 GERVACIO GONZALEZ, ANTONIN HE                   09   Shoot Thinning                   Reg. Hrs     8.50                          15.0000          127.50
    Total for Crop ID RABLIVE Rabbit Ridge Live oak                                                      195.50                                         2,966.50


               Gross Wages, This Report:                                                                 297.50                                         4,513.50


Employee information for the week ending 05/09/2021:

 Employee Name/Address                   S.S. #/Acct # Hours Pieces    Report        Gross        SDI   FICA Fed Wht           Other      Net Check    Check #
                                                                       Wages         Wages           Medicare St Wht
 VILLANUEVA, VENANCIO DE JESUS XXX-XX-4286 8.50                  0     127.50        127.50      1.53    7.91    0.00             0.00        116.21    175466
 PO BOX 949                     17127                                                                    1.85    0.00
 SAN MIGUEL, CA 93451
 DELFINO SANCHEZ, MARCELO      XXX-XX-8734 8.50                  0       144.50      144.50      1.73     8.96        0.00        0.00        131.72    175460
 101 RIVER DRIVE SPC#75         16131                                                                     2.09        0.00
 KING CITY, CA 93930
 GERVACIO GONZALEZ, ANTONINO XXX-XX-0242 17.00                   0       255.00      255.00      3.06    15.81        0.00        0.00        232.43    175459
 1209 ALAMO CREEK APT#10        17452                                                                     3.70        0.00
 PASO ROBLES, CA `93446
 GONZALEZ CRECENSIO, RUFINO XXX-XX-2855 8.50                     0       127.50      127.50      1.53     7.91        0.00        0.00        116.21    175470
 1063 L STREET                  17459                                                                     1.85        0.00
 SAN MIGUEL, CA 93451
 LOPEZ GARCIA, DOMINICA        XXX-XX-7870 17.00                 0       255.00      255.00      3.06    15.81        0.00        0.00        232.43    175455
 1208 CORRAL CREEK APT#7        17457                                                                     3.70        0.00
 PASO ROBLES, CA 93446


 03/27/2022 21:35         Printed by: EUFEMIAN                    Report ID: LC101                                Rev: 8.181.2753                  Page: 1

                                                                                                                                  EXHIBIT 20
                                                                                                                                   PAGE 346
          Case 8:20-bk-13014-ES                   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                          Desc
                                                  Main Document   Page 351 of 392


                                                               Nevarez Farm Labor, Inc.
                                                                5880 North River Road
                                                               Paso Robles, CA 93446
                  Date:    05/12/2021                          Labor Contractor Report                         Worker's Comp Co:     Preferred Employers Inc.
          Farm Labor #:    FLC000172472                                                                                  Policy #:   FLN-169583-1
           Federal ID #:   XX-XXXXXXX
             State ID #:   513-8203-4
             Grower #:     75              Grower Name: RABBIT RIDGE

 LOPEZ GARCIA, HELIODORO                  XXX-XX-6792 17.00       0    289.00        289.00    3.47    17.92        0.00      0.00        263.42    175448
 1208 CORRAL CREEK APT#7                   17446                                                        4.19        0.00
 PASO ROBLES, CA 93446
 LOPEZ GARCIA, HERMENEGILDO               XXX-XX-0304 17.00       0    255.00        255.00    3.06    15.81        0.00      0.00        232.43    175457
 1208 CORRAL CREEK APT# 7                  17449                                                        3.70        0.00
 PASO ROBLES, CA 93446
 LOPEZ CUELLAR, ISMAEL                    XXX-XX-5853 17.00       0    255.00        255.00    3.06    15.81        0.00      0.00        232.43    175453
 1209 ALAMO CREEK APT#10                   17448                                                        3.70        0.00
 PASO ROBLES, CA 93446
 LOPEZ GARCIA, JUVENTINO                  XXX-XX-1820 17.00       0    255.00        255.00    3.06    15.81        0.00      0.00        232.43    175458
 1208 CORRAL CREEK APT#7                   17450                                                        3.70        0.00
 PASO ROBLES, CA 93446
 LOPEZ CUELLAR, MARCELINO                 XXX-XX-2089 17.00       0    255.00        255.00    3.06    15.81        0.00      0.00        232.43    175454
 1209 ALAMO CREEK APT#10                   17451                                                        3.70        0.00
 PASO ROBLES, CA 93446
 LOPEZ GARCIA, ZENAIDA                    XXX-XX-8683 17.00       0    255.00        255.00    3.06    15.81        0.00      0.00        232.43    175456
 1208 CORRAL CREEK APT#7                   17456                                                        3.70        0.00
 PASO ROBLES, CA 93446
 MENDOZA JIMENEZ, ROCIO                   XXX-XX-7847   8.50      0    127.50        127.50    1.53     7.91        0.00      0.00        116.21    175468
 322 COLLINS STREET APT#1                  16295                                                        1.85        0.00
 KING CITY, CA 93930
 MERINO CAVERO, OLEGARIO                  XXX-XX-5101   8.50      0    127.50        127.50    1.53     7.91        0.00      0.00        116.21    175462
 207 NORTH THIRD STREET                    16600                                                        1.85        0.00
 KING CITY, CA 93930
 MIGUEL LOPEZ, MODESTA                    XXX-XX-0535 17.00       0    255.00        255.00    3.06    15.81        0.00      0.00        232.43    175451
 1222 CORAL CREEK APT#6                    17454                                                        3.70        0.00
 PASO ROBLES, CA 93446
 PACHECO, ANDRES LUCAS                    XXX-XX-0126   8.50      0    127.50        127.50    1.53     7.91        0.00      0.00        116.21    175469
 1116 L STREET                             17458                                                        1.85        0.00
 PASO ROBLES, CA 93446
 PENIAFORT HILARIO, SAMUEL                XXX-XX-4127 17.00       0    255.00        255.00    3.06    15.81        0.00      0.00        232.43    175450
 1222 CORRAL CREEK APT#7                   17453                                                        3.70        0.00
 PASO ROBLES, CA 93446
 MENDOZA PEREZ, TRANQUILINO               XXX-XX-1127   8.50      0    127.50        127.50    1.53     7.90        0.00      0.00        116.22    175467
 PO BOX 1051
                                          16294                                                         1.85        0.00
 KING CITY, CA 93930
 PINZON PENIAFORT, ALONSO                 XXX-XX-7643 17.00       0    255.00        255.00    3.06    15.81        0.00      0.00        232.43    175452
 1222 CORRAL CREEK APT#7                   17455                                                        3.70        0.00
 PASO ROBLES, CA 93446
 SANTIAGO GARCIA, ALEJANDRA               XXX-XX-9631   8.50      0    127.50        127.50    1.53     7.91        0.00      0.00        116.21    175463
 1077 L STREET                             17461                                                        1.85        0.00
 SAN MIGUEL, CA 93451
 SANTIAGO CRUZ, JUAN                      XXX-XX-5761   8.50      0    127.50        127.50    1.53     7.91        0.00      0.00        116.21    175471
 324 2ND STREET                            16032                                                        1.85        0.00
 KING CITY, CA 93930
 REYES SILVA, ANDRES                      XXX-XX-4321   8.50      0    127.50        127.50    1.53     7.90        0.00      0.00        116.22    175461
 PO BOX 378                                15704                                                        1.85        0.00
 KING CITY, CA 93930
 VASQUEZ OLEA, RICARDO                    XXX-XX-0268   8.50      0    127.50        127.50    1.53     7.91        0.00      0.00        116.21    175449
 727 N TRIGO LANE                          17447                                                        1.85        0.00
 PASO ROBLES, CA 93446
 VILLANUEVA, ARTEMIO DE JESUS             XXX-XX-2328   8.50      0    127.50        127.50    1.53     7.91        0.00      0.00        116.21    175465
 1077 L STREET                             17460                                                        1.85        0.00
 SAN MIGUEL, CA 93451
 VILLANUEVA, MOISES DE JESUS              XXX-XX-0424   8.50      0    127.50        127.50    1.53     7.91        0.00      0.00        116.21    175464
 1077 L STREET                             17462                                                        1.85        0.00
 SAN MIGUEL, CA 93451

Totals:                                              297.50       0   4,513.50   4,513.50     54.16   279.88        0.00      0.00      4,113.98
                                                                                                       65.48        0.00




 03/27/2022 21:35          Printed by: EUFEMIAN                   Report ID: LC101                             Rev: 8.181.2753                Page: 2

                                                                                                                              EXHIBIT 20
                                                                                                                               PAGE 347
    Case 8:20-bk-13014-ES          Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55           Desc
                                   Main Document   Page 352 of 392


                                                                      Invoice




     Bill To:                                                      License #:   FLC000172472
     RABBIT RIDGE                                                Federal ID#:   XX-XXXXXXX
     1172 SAN MARCOS ROAD                                          State ID#:   513-8203-4
     PASO ROBLES, CA 93446                                     W/C Company:     Preferred Employers Inc.
                                                                W/C Policy #:   FLN-169583-1

                05/03/2021 to 05/09/2021                              Invoice #: 2386
                                                                   Invoice Date: 05/12/2021
                                                                         Terms: Net On Receipt


Description                                              Quantity Unit          Price             Total

VENANCIO DE JESUS VILLANUEVA                                8.50    Hrs         15.00              127.50
MARCELO DELFINO SANCHEZ                                     8.50    Hrs         17.00              144.50
ANTONINO GERVACIO GONZALEZ                                 17.00    Hrs         15.00              255.00
RUFINO GONZALEZ CRECENSIO                                   8.50    Hrs         15.00              127.50
DOMINICA LOPEZ GARCIA                                      17.00    Hrs         15.00              255.00
HELIODORO LOPEZ GARCIA                                     17.00    Hrs         17.00              289.00
HERMENEGILDO LOPEZ GARCIA                                  17.00    Hrs         15.00              255.00
ISMAEL LOPEZ CUELLAR                                       17.00    Hrs         15.00              255.00
JUVENTINO LOPEZ GARCIA                                     17.00    Hrs         15.00              255.00
MARCELINO LOPEZ CUELLAR                                    17.00    Hrs         15.00              255.00
ZENAIDA LOPEZ GARCIA                                       17.00    Hrs         15.00              255.00
ROCIO MENDOZA JIMENEZ                                       8.50    Hrs         15.00              127.50
OLEGARIO MERINO CAVERO                                      8.50    Hrs         15.00              127.50
MODESTA MIGUEL LOPEZ                                       17.00    Hrs         15.00              255.00
ANDRES LUCAS PACHECO                                        8.50    Hrs         15.00              127.50
SAMUEL PENIAFORT HILARIO                                   17.00    Hrs         15.00              255.00
TRANQUILINO MENDOZA PEREZ                                   8.50    Hrs         15.00              127.50
ALONSO PINZON PENIAFORT                                    17.00    Hrs         15.00              255.00
ALEJANDRA SANTIAGO GARCIA                                   8.50    Hrs         15.00              127.50
JUAN SANTIAGO CRUZ                                          8.50    Hrs         15.00              127.50
ANDRES REYES SILVA                                          8.50    Hrs         15.00              127.50
RICARDO VASQUEZ OLEA                                        8.50    Hrs         15.00              127.50
ARTEMIO DE JESUS VILLANUEVA                                 8.50    Hrs         15.00              127.50
MOISES DE JESUS VILLANUEVA                                  8.50    Hrs         15.00              127.50
Labor Subtotal                                            297.50    Hrs                          4,513.50




Please Send all Payments to 5880 North River Road, Paso Robles, CA 93446



                                                                                   EXHIBIT 20
                                                                                    PAGE 348
    Case 8:20-bk-13014-ES          Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55             Desc
                                   Main Document   Page 353 of 392


                                                                        Invoice                   Page #: 2




     Bill To:                                                      License #:     FLC000172472
     RABBIT RIDGE                                                Federal ID#:     XX-XXXXXXX
     1172 SAN MARCOS ROAD                                          State ID#:     513-8203-4
     PASO ROBLES, CA 93446                                     W/C Company:       Preferred Employers Inc.
                                                                W/C Policy #:     FLN-169583-1

                05/03/2021 to 05/09/2021                            Invoice #: 2386
                                                                 Invoice Date: 05/12/2021
                                                                       Terms: Net On Receipt


Description                                              Quantity Unit            Price           Total

LABOR FEE                                                   37.00%                               1,670.00


                                                                     Invoice Total:             $6,183.50

                                                              Totals:
                                                              Other                               6,183.50




Please Send all Payments to 5880 North River Road, Paso Robles, CA 93446



                                                                                      EXHIBIT 20
                                                                                       PAGE 349
         Case 8:20-bk-13014-ES                   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                             Desc
                                                 Main Document   Page 354 of 392


                                                          Nevarez Farm Labor, Inc.
                                                           5880 North River Road
                                                          Paso Robles, CA 93446
                 Date:    05/18/2021                      Labor Contractor Report             Worker's Comp Co:     Preferred Employers Inc.
         Farm Labor #:    FLC000172472                                                                  Policy #:   FLN-169583-1
          Federal ID #:   XX-XXXXXXX
            State ID #:   513-8203-4
            Grower #:     75             Grower Name: RABBIT RIDGE

Acct #    Employee Name                      Crew # Day Description             Type       Hours         Pieces      Rate           Amount

  16468   GERVACIO SANTIAGO, SEVERIAN        HE     12   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  16468   GERVACIO SANTIAGO, SEVERIAN        HE     13   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  16468   GERVACIO SANTIAGO, SEVERIAN        HE     14   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17409   MAYA ALEJANDRO, MISAEL             HE     12   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17409   MAYA ALEJANDRO, MISAEL             HE     13   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17409   MAYA ALEJANDRO, MISAEL             HE     14   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17412   SANTIAGO CASTILLO, RAFAELA         HE     12   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17412   SANTIAGO CASTILLO, RAFAELA         HE     13   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17412   SANTIAGO CASTILLO, RAFAELA         HE     14   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17413   MAYA ALEJANDRO, RODOLFO            HE     12   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17413   MAYA ALEJANDRO, RODOLFO            HE     13   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17413   MAYA ALEJANDRO, RODOLFO            HE     14   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17446   LOPEZ GARCIA, HELIODORO            HE     13   Shoot Thinning         Reg. Hrs   4.00                     17.0000              68.00
  17446   LOPEZ GARCIA, HELIODORO            HE     14   Shoot Thinning         Reg. Hrs   4.00                     17.0000              68.00
  17447   VASQUEZ OLEA, RICARDO              HE     14   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17448   LOPEZ CUELLAR, ISMAEL              HE     14   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17448   LOPEZ CUELLAR, ISMAEL              HE     16   Shoot Thinning         Reg. Hrs   8.50                     15.0000             127.50
  17449   LOPEZ GARCIA, HERMENEGILDO         HE     12   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17449   LOPEZ GARCIA, HERMENEGILDO         HE     13   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17449   LOPEZ GARCIA, HERMENEGILDO         HE     14   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17449   LOPEZ GARCIA, HERMENEGILDO         HE     16   Shoot Thinning         Reg. Hrs   8.50                     15.0000             127.50
  17450   LOPEZ GARCIA, JUVENTINO            HE     14   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17450   LOPEZ GARCIA, JUVENTINO            HE     16   Shoot Thinning         Reg. Hrs   8.50                     15.0000             127.50
  17451   LOPEZ CUELLAR, MARCELINO           HE     14   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17451   LOPEZ CUELLAR, MARCELINO           HE     16   Shoot Thinning         Reg. Hrs   8.50                     15.0000             127.50
  17452   GERVACIO GONZALEZ, ANTONIN         HE     14   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17452   GERVACIO GONZALEZ, ANTONIN         HE     16   Shoot Thinning         Reg. Hrs   8.50                     15.0000             127.50
  17453   PENIAFORT HILARIO, SAMUEL          HE     14   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17454   MIGUEL LOPEZ, MODESTA              HE     12   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17454   MIGUEL LOPEZ, MODESTA              HE     13   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17454   MIGUEL LOPEZ, MODESTA              HE     14   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17455   PINZON PENIAFORT, ALONSO           HE     14   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17455   PINZON PENIAFORT, ALONSO           HE     16   Shoot Thinning         Reg. Hrs   8.50                     15.0000             127.50
  17456   LOPEZ GARCIA, ZENAIDA              HE     12   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17456   LOPEZ GARCIA, ZENAIDA              HE     13   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17456   LOPEZ GARCIA, ZENAIDA              HE     14   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17457   LOPEZ GARCIA, DOMINICA             HE     12   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17457   LOPEZ GARCIA, DOMINICA             HE     14   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17482   GERVACIO ORTEGA, HECTOR            HE     12   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17482   GERVACIO ORTEGA, HECTOR            HE     13   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17482   GERVACIO ORTEGA, HECTOR            HE     14   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17483   BONIFACIO SANTIAGO, NIEVE          HE     13   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17483   BONIFACIO SANTIAGO, NIEVE          HE     14   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17484   GONZALEZ SOLANO, FEDERICO          HE     12   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17484   GONZALEZ SOLANO, FEDERICO          HE     13   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17484   GONZALEZ SOLANO, FEDERICO          HE     14   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17485   GERVACIO LOPEZ, SEBASTIAN          HE     12   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17485   GERVACIO LOPEZ, SEBASTIAN          HE     13   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17485   GERVACIO LOPEZ, SEBASTIAN          HE     14   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17486   LOPEZ FLORES, SUSANA               HE     12   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17486   LOPEZ FLORES, SUSANA               HE     13   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17486   LOPEZ FLORES, SUSANA               HE     14   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17487   SANTIAGO PONCE, JOSEFINA           HE     12   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17487   SANTIAGO PONCE, JOSEFINA           HE     13   Shoot Thinning         Reg. Hrs   4.00                     15.0000              60.00
  17488   LOPEZ, LUIS                        HE     16   Shoot Thinning         Reg. Hrs   8.50                     15.0000             127.50
  15704   REYES SILVA, ANDRES                MD     16   Shoot Thinning         Reg. Hrs   8.50                     15.0000             127.50
  16032   SANTIAGO CRUZ, JUAN                MD     16   Shoot Thinning         Reg. Hrs   8.50                     15.0000             127.50
  16131   DELFINO SANCHEZ, MARCELO           MD     16   Shoot Thinning         Reg. Hrs   8.50                     17.0000             144.50
  16294   MENDOZA PEREZ, TRANQUILINO         MD     16   Shoot Thinning         Reg. Hrs   8.50                     15.0000             127.50
  16295   MENDOZA JIMENEZ, ROCIO             MD     16   Shoot Thinning         Reg. Hrs   8.50                     15.0000             127.50
  16401   JIMENEZ LOPEZ, JERONIMO            MD     16   Shoot Thinning         Reg. Hrs   8.50                     15.0000             127.50
  17383   PAULINO DIAZ, ALEJANDRA            MD     16   Shoot Thinning         Reg. Hrs   8.50                     15.0000             127.50

 03/27/2022 21:05         Printed by: EUFEMIAN               Report ID: LC101                     Rev: 8.181.2753             Page: 1

                                                                                                                  EXHIBIT 20
                                                                                                                   PAGE 350
       Case 8:20-bk-13014-ES                    Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                                 Desc
                                                Main Document   Page 355 of 392


                                                              Nevarez Farm Labor, Inc.
                                                               5880 North River Road
                                                              Paso Robles, CA 93446
               Date:    05/18/2021                            Labor Contractor Report                            Worker's Comp Co:     Preferred Employers Inc.
       Farm Labor #:    FLC000172472                                                                                       Policy #:   FLN-169583-1
        Federal ID #:   XX-XXXXXXX
          State ID #:   513-8203-4
          Grower #:     75               Grower Name: RABBIT RIDGE

  17490 LOPEZ ENCARNACION, ELIZABET MD                 16     Shoot Thinning                  Reg. Hrs     8.50                        15.0000          127.50
  17491 CAMPOS MELO, HELADIA                   MD      16     Shoot Thinning                  Reg. Hrs     8.50                        15.0000          127.50
  17492 PEREZ VASQUEZ, RAMIRO                  MD      16     Shoot Thinning                  Reg. Hrs     8.50                        15.0000          127.50
  17382 GUZMAN, MAURILIO DE LA CRUZ MD                 16     Shoot Thinning                  Reg. Hrs     8.50                        15.0000          127.50
    Total for Crop ID RABLIVE Rabbit Ridge Live oak                                                      345.00                                       5,208.00


             Gross Wages, This Report:                                                                   345.00                                       5,208.00


Employee information for the week ending 05/16/2021:

 Employee Name/Address                 S.S. #/Acct # Hours Pieces       Report       Gross        SDI   FICA Fed Wht           Other    Net Check    Check #
                                                                        Wages        Wages           Medicare St Wht
 BONIFACIO SANTIAGO, NIEVE    XXX-XX-4336              8.00       0     120.00       120.00      1.44    7.44    0.00           0.00        109.38    175694
 1012 CORRAL CREEK AVENUE APT# 17483                                                                     1.74    0.00
 PASO ROBLES, CA 93446
 CAMPOS MELO, HELADIA         XXX-XX-0077              8.50       0     127.50       127.50      1.53     7.91        0.00      0.00        116.21    175710
 532 CALLE DE LEON APT#4       17491                                                                      1.85        0.00
 GREENFIELD, CA 93927
 DELFINO SANCHEZ, MARCELO     XXX-XX-8734              8.50       0     144.50       144.50      1.73     8.95        0.00      0.00        131.72    175703
 101 RIVER DRIVE SPC#75        16131                                                                      2.10        0.00
 KING CITY, CA 93930
 GERVACIO GONZALEZ, ANTONINO XXX-XX-0242              12.50       0     187.50       435.00      5.22    26.97        0.00      0.00        396.50    175679
 1209 ALAMO CREEK APT#10       17452                                                                      6.31        0.00
 PASO ROBLES, CA `93446
 GERVACIO ORTEGA, HECTOR      XXX-XX-3288             12.00       0     180.00       180.00      2.16    11.16        0.00      0.00        164.07    175693
 1012 CORRAL CREEK AVENUE APT# 17482                                                                      2.61        0.00
 PASO ROBLES, CA 93446
 GERVACIO LOPEZ, SEBASTIAN    XXX-XX-2387             12.00       0     180.00       180.00      2.16    11.16        0.00      0.00        164.07    175696
 1210 CORRAL CREEK AVENUE APT# 17485                                                                      2.61        0.00
 PASO ROBLES, CA 93446
 GERVACIO SANTIAGO, SEVERIANO XXX-XX-2891             12.00       0     180.00       180.00      2.16    11.16        0.00      0.00        164.07    175668
 1210 CORRAL CREEK AVENUE APT# 16468                                                                      2.61        0.00
 PASO ROBLES, CA 93446
 GONZALEZ SOLANO, FEDERICO    XXX-XX-8463             12.00       0     180.00       180.00      2.16    11.16        0.00      0.00        164.07    175695
 1210 CORRAL CREEK AVENUE APT# 17484                                                                      2.61        0.00
 PASO ROBLES, CA 93446
 GUZMAN, MAURILIO DE LA CRUZ XXX-XX-5874               8.50       0     127.50       127.50      1.53     7.91        0.00      0.00        116.21    176134
 116 CALLE 6 ST                17382                                                                      1.85        0.00
 GREENFIELD, CA 93927
 JIMENEZ LOPEZ, JERONIMO      XXX-XX-0675              8.50       0     127.50       127.50      1.53     7.91        0.00      0.00        116.21    175706
 323 LYNN STREET APT#6         16401                                                                      1.85        0.00
 KING CITY, CA 93930
 LOPEZ GARCIA, DOMINICA       XXX-XX-7870              8.00       0     120.00       375.00      4.50    23.25        0.00      0.00        341.81    175684
 1208 CORRAL CREEK APT#7       17457                                                                      5.44        0.00
 PASO ROBLES, CA 93446
 LOPEZ ENCARNACION, ELIZABETH XXX-XX-6724              8.50       0     127.50       127.50      1.53     7.91        0.00      0.00        116.21    175709
 435 CALABERA STREET           17490                                                                      1.85        0.00
 GREENFIELD, CA 93927
 LOPEZ GARCIA, HELIODORO      XXX-XX-6792              8.00       0     136.00       493.00      5.91    30.56        0.00      0.00        449.38    175673
 1208 CORRAL CREEK APT#7       17446                                                                      7.15        0.00
 PASO ROBLES, CA 93446
 LOPEZ GARCIA, HERMENEGILDO XXX-XX-0304               20.50       0     307.50       435.00      5.22    26.97        0.00      0.00        396.50    175676
 1208 CORRAL CREEK APT# 7      17449                                                                      6.31        0.00
 PASO ROBLES, CA 93446
 LOPEZ CUELLAR, ISMAEL        XXX-XX-5853             12.50       0     187.50       495.00      5.94    30.69        0.00      0.00        451.19    175675
 1209 ALAMO CREEK APT#10       17448                                                                      7.18        0.00
 PASO ROBLES, CA 93446
 LOPEZ GARCIA, JUVENTINO      XXX-XX-1820             12.50       0     187.50       495.00      5.94    30.69        0.00      0.00        451.19    175677
 1208 CORRAL CREEK APT#7       17450                                                                      7.18        0.00
 PASO ROBLES, CA 93446
 LOPEZ CUELLAR, MARCELINO     XXX-XX-2089             12.50       0     187.50       495.00      5.94    30.69        0.00      0.00        451.19    175678
 1209 ALAMO CREEK APT#10       17451                                                                      7.18        0.00


 03/27/2022 21:05       Printed by: EUFEMIAN                      Report ID: LC101                                Rev: 8.181.2753                Page: 2

                                                                                                                                EXHIBIT 20
                                                                                                                                 PAGE 351
          Case 8:20-bk-13014-ES                   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                      Desc
                                                  Main Document   Page 356 of 392


                                                            Nevarez Farm Labor, Inc.
                                                             5880 North River Road
                                                            Paso Robles, CA 93446
                  Date:    05/18/2021                       Labor Contractor Report                        Worker's Comp Co:     Preferred Employers Inc.
          Farm Labor #:    FLC000172472                                                                              Policy #:   FLN-169583-1
           Federal ID #:   XX-XXXXXXX
             State ID #:   513-8203-4
             Grower #:     75             Grower Name: RABBIT RIDGE

 PASO ROBLES, CA 93446
 LOPEZ FLORES, SUSANA         XXX-XX-3312           12.00      0      180.00      180.00   2.16    11.16        0.00      0.00        164.07    175697
 1210 CORRAL CREEK AVENUE APT# 17486                                                                2.61        0.00
 PASO ROBLES, CA 93446
 LOPEZ GARCIA, ZENAIDA        XXX-XX-8683           12.00      0      180.00      435.00   5.22    26.97        0.00      0.00        396.50    175683
 1208 CORRAL CREEK APT#7       17456                                                                6.31        0.00
 PASO ROBLES, CA 93446
 LOPEZ, LUIS                  XXX-XX-7743            8.50      0      127.50      255.00   3.06    15.81        0.00      0.00        232.43    175699
 165 N 3RD STREET              17488                                                                3.70        0.00
 SHANDON, CA 934461
 MAYA ALEJANDRO, MISAEL       XXX-XX-0459           12.00      0      180.00      307.50   3.69    19.07        0.00      0.00        280.28    175670
 828 TOBY WAY                  17409                                                                4.46        0.00
 SHANDON, CA 93461
 MAYA ALEJANDRO, RODOLFO      XXX-XX-1980           12.00      0      180.00      307.50   3.69    19.07        0.00      0.00        280.28    175672
 828 TOBY WAY                  17413                                                                4.46        0.00
 SHANDON, CA 93451
 MENDOZA JIMENEZ, ROCIO       XXX-XX-7847            8.50      0      127.50      127.50   1.53     7.90        0.00      0.00        116.22    175705
 322 COLLINS STREET APT#1      16295                                                                1.85        0.00
 KING CITY, CA 93930
 MIGUEL LOPEZ, MODESTA        XXX-XX-0535           12.00      0      180.00      435.00   5.22    26.97        0.00      0.00        396.50    175681
 1222 CORAL CREEK APT#6        17454                                                                6.31        0.00
 PASO ROBLES, CA 93446
 PAULINO DIAZ, ALEJANDRA      XXX-XX-8521            8.50      0      127.50      127.50   1.53     7.91        0.00      0.00        116.21    175708
 116 CALLE 6                   17383                                                                1.85        0.00
 GREENFIELD, CA 93927
 PENIAFORT HILARIO, SAMUEL    XXX-XX-4127            4.00      0       60.00      495.00   5.94    30.69        0.00      0.00        451.19    175680
 1222 CORRAL CREEK APT#7       17453                                                                7.18        0.00
 PASO ROBLES, CA 93446
 PEREZ VASQUEZ, RAMIRO        XXX-XX-6945            8.50      0      127.50      127.50   1.53     7.91        0.00      0.00        116.21    175711
 411 ELLIS STREET APT#A        17492                                                                1.85        0.00
 KING CITY, CA 93930
 MENDOZA PEREZ, TRANQUILINO XXX-XX-1127              8.50      0      127.50      127.50   1.53     7.91        0.00      0.00        116.21    175704
 PO BOX 1051
                               16294                                                                1.85        0.00
 KING CITY, CA 93930
 PINZON PENIAFORT, ALONSO     XXX-XX-7643           12.50      0      187.50      495.00   5.94    30.69        0.00      0.00        451.19    175682
 1222 CORRAL CREEK APT#7       17455                                                                7.18        0.00
 PASO ROBLES, CA 93446
 SANTIAGO PONCE, JOSEFINA     XXX-XX-2253            8.00      0      120.00      120.00   1.44     7.44        0.00      0.00        109.38    175698
 1208 CORRAL CREEK AVENUE APT# 17487                                                                1.74        0.00
 PASO ROBLES, CA 93446
 SANTIAGO CRUZ, JUAN          XXX-XX-5761            8.50      0      127.50      127.50   1.53     7.90        0.00      0.00        116.22    175702
 324 2ND STREET                16032                                                                1.85        0.00
 KING CITY, CA 93930
 SANTIAGO CASTILLO, RAFAELA   XXX-XX-8852           12.00      0      180.00      307.50   3.69    19.07        0.00      0.00        280.28    175671
 828 TOBY WAY                  17412                                                                4.46        0.00
 SHANDON, CA 93461
 REYES SILVA, ANDRES          XXX-XX-4321            8.50      0      127.50      127.50   1.53     7.91        0.00      0.00        116.21    175701
 PO BOX 378                    15704                                                                1.85        0.00
 KING CITY, CA 93930
 VASQUEZ OLEA, RICARDO        XXX-XX-0268            4.00      0       60.00      307.50   3.69    19.06        0.00      0.00        280.29    175674
 727 N TRIGO LANE              17447                                                                4.46        0.00
 PASO ROBLES, CA 93446

Totals:                                            345.00      0   5,208.00    9,127.50 109.52    565.93        0.00      0.00      8,319.65
                                                                                                  132.40        0.00




 03/27/2022 21:05          Printed by: EUFEMIAN                Report ID: LC101                            Rev: 8.181.2753                Page: 3

                                                                                                                          EXHIBIT 20
                                                                                                                           PAGE 352
    Case 8:20-bk-13014-ES          Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55            Desc
                                   Main Document   Page 357 of 392


                                                                       Invoice




     Bill To:                                                      License #:    FLC000172472
     RABBIT RIDGE                                                Federal ID#:    XX-XXXXXXX
     1172 SAN MARCOS ROAD                                          State ID#:    513-8203-4
     PASO ROBLES, CA 93446                                     W/C Company:      Preferred Employers Inc.
                                                                W/C Policy #:    FLN-169583-1

                05/10/2021 to 05/16/2021                               Invoice #: 2422
                                                                    Invoice Date: 05/18/2021
                                                                          Terms: Net On Receipt


Description                                              Quantity Unit           Price            Total

NIEVE BONIFACIO SANTIAGO                                     8.00    Hrs         15.00            120.00
HELADIA CAMPOS MELO                                          8.50    Hrs         15.00            127.50
MARCELO DELFINO SANCHEZ                                      8.50    Hrs         17.00            144.50
ANTONINO GERVACIO GONZALEZ                                  12.50    Hrs         15.00            187.50
HECTOR GERVACIO ORTEGA                                      12.00    Hrs         15.00            180.00
SEBASTIAN GERVACIO LOPEZ                                    12.00    Hrs         15.00            180.00
SEVERIANO GERVACIO SANTIAGO                                 12.00    Hrs         15.00            180.00
FEDERICO GONZALEZ SOLANO                                    12.00    Hrs         15.00            180.00
MAURILIO DE LA CRUZ GUZMAN                                   8.50    Hrs         15.00            127.50
JERONIMO JIMENEZ LOPEZ                                       8.50    Hrs         15.00            127.50
DOMINICA LOPEZ GARCIA                                        8.00    Hrs         15.00            120.00
ELIZABETH LOPEZ ENCARNACION                                  8.50    Hrs         15.00            127.50
HELIODORO LOPEZ GARCIA                                       8.00    Hrs         17.00            136.00
HERMENEGILDO LOPEZ GARCIA                                   20.50    Hrs         15.00            307.50
ISMAEL LOPEZ CUELLAR                                        12.50    Hrs         15.00            187.50
JUVENTINO LOPEZ GARCIA                                      12.50    Hrs         15.00            187.50
MARCELINO LOPEZ CUELLAR                                     12.50    Hrs         15.00            187.50
SUSANA LOPEZ FLORES                                         12.00    Hrs         15.00            180.00
ZENAIDA LOPEZ GARCIA                                        12.00    Hrs         15.00            180.00
LUIS LOPEZ                                                   8.50    Hrs         15.00            127.50
MISAEL MAYA ALEJANDRO                                       12.00    Hrs         15.00            180.00
RODOLFO MAYA ALEJANDRO                                      12.00    Hrs         15.00            180.00
ROCIO MENDOZA JIMENEZ                                        8.50    Hrs         15.00            127.50
MODESTA MIGUEL LOPEZ                                        12.00    Hrs         15.00            180.00
ALEJANDRA PAULINO DIAZ                                       8.50    Hrs         15.00            127.50
SAMUEL PENIAFORT HILARIO                                     4.00    Hrs         15.00             60.00



Please Send all Payments to 5880 North River Road, Paso Robles, CA 93446



                                                                                    EXHIBIT 20
                                                                                     PAGE 353
    Case 8:20-bk-13014-ES          Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55             Desc
                                   Main Document   Page 358 of 392


                                                                        Invoice                   Page #: 2




     Bill To:                                                      License #:     FLC000172472
     RABBIT RIDGE                                                Federal ID#:     XX-XXXXXXX
     1172 SAN MARCOS ROAD                                          State ID#:     513-8203-4
     PASO ROBLES, CA 93446                                     W/C Company:       Preferred Employers Inc.
                                                                W/C Policy #:     FLN-169583-1

                05/10/2021 to 05/16/2021                              Invoice #: 2422
                                                                   Invoice Date: 05/18/2021
                                                                         Terms: Net On Receipt


Description                                              Quantity Unit            Price           Total

RAMIRO PEREZ VASQUEZ                                        8.50    Hrs           15.00            127.50
TRANQUILINO MENDOZA PEREZ                                   8.50    Hrs           15.00            127.50
ALONSO PINZON PENIAFORT                                    12.50    Hrs           15.00            187.50
JOSEFINA SANTIAGO PONCE                                     8.00    Hrs           15.00            120.00
JUAN SANTIAGO CRUZ                                          8.50    Hrs           15.00            127.50
RAFAELA SANTIAGO CASTILLO                                  12.00    Hrs           15.00            180.00
ANDRES REYES SILVA                                          8.50    Hrs           15.00            127.50
RICARDO VASQUEZ OLEA                                        4.00    Hrs           15.00             60.00
Labor Subtotal                                            345.00    Hrs                          5,208.00

LABOR FEE                                                   37.00%                               1,926.96


                                                                     Invoice Total:             $7,134.96

                                                              Totals:
                                                              Other                               7,134.96




Please Send all Payments to 5880 North River Road, Paso Robles, CA 93446



                                                                                      EXHIBIT 20
                                                                                       PAGE 354
         Case 8:20-bk-13014-ES                     Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                                Desc
                                                   Main Document   Page 359 of 392


                                                               Nevarez Farm Labor, Inc.
                                                                5880 North River Road
                                                               Paso Robles, CA 93446
                 Date:    05/27/2021                           Labor Contractor Report                           Worker's Comp Co:       Preferred Employers Inc.
         Farm Labor #:    FLC000172472                                                                                     Policy #:     FLN-169583-1
          Federal ID #:   XX-XXXXXXX
            State ID #:   513-8203-4
            Grower #:     75               Grower Name: RABBIT RIDGE

Acct #    Employee Name                           Crew # Day Description                      Type        Hours          Pieces           Rate           Amount

  16358 MARTINEZ, ISAIAS                       DOM       17   Training New Plants             Reg. Hrs     8.00                          15.0000          120.00
  16358 MARTINEZ, ISAIAS                       DOM       18   Training New Plants             Reg. Hrs     8.00                          15.0000          120.00
  16358 MARTINEZ, ISAIAS                       DOM       19   Training New Plants             Reg. Hrs     8.00                          15.0000          120.00
  16358 MARTINEZ, ISAIAS                       DOM       20   Training New Plants             Reg. Hrs     8.00                          15.0000          120.00
  16358 MARTINEZ, ISAIAS                       DOM       21   Training New Plants             Reg. Hrs     5.50                          15.0000           82.50
  17099 LEAL GONZALES, TOMASA                  DOM       17   Training New Plants             Reg. Hrs     5.50                          15.0000           82.50
  17099 LEAL GONZALES, TOMASA                  DOM       18   Training New Plants             Reg. Hrs     8.00                          15.0000          120.00
  17099 LEAL GONZALES, TOMASA                  DOM       20   Training New Plants             Reg. Hrs     8.00                          15.0000          120.00
  17099 LEAL GONZALES, TOMASA                  DOM       21   Training New Plants             Reg. Hrs     8.00                          15.0000          120.00
  17099 LEAL GONZALES, TOMASA                  DOM       22   Training New Plants             Reg. Hrs     5.00                          15.0000           75.00
  17100 GONZALES, DOMINGO VAZQUEZ DOM                    17   Training New Plants             Reg. Hrs     7.00                          16.0000          112.00
  17100 GONZALES, DOMINGO VAZQUEZ DOM                    18   Training New Plants             Reg. Hrs     8.00                          16.0000          128.00
  17100 GONZALES, DOMINGO VAZQUEZ DOM                    20   Training New Plants             Reg. Hrs     8.00                          16.0000          128.00
  17100 GONZALES, DOMINGO VAZQUEZ DOM                    21   Training New Plants             Reg. Hrs     8.00                          16.0000          128.00
  17100 GONZALES, DOMINGO VAZQUEZ DOM                    22   Training New Plants             Reg. Hrs     5.00                          16.0000           80.00
  17475 PADILLA MENDIOLA, ROBERTO              DOM       17   Training New Plants             Reg. Hrs     8.00                          15.0000          120.00
  17475 PADILLA MENDIOLA, ROBERTO              DOM       18   Training New Plants             Reg. Hrs     8.00                          15.0000          120.00
  17475 PADILLA MENDIOLA, ROBERTO              DOM       19   Training New Plants             Reg. Hrs     8.00                          15.0000          120.00
  17475 PADILLA MENDIOLA, ROBERTO              DOM       20   Training New Plants             Reg. Hrs     8.00                          15.0000          120.00
  17475 PADILLA MENDIOLA, ROBERTO              DOM       21   Training New Plants             Reg. Hrs     8.00                          15.0000          120.00
  17475 PADILLA MENDIOLA, ROBERTO              DOM       22   Training New Plants             Reg. Hrs     5.00                          15.0000           75.00
  17499 RAMIREZ RAMON, ABEL                    DOM       17   Training New Plants             Reg. Hrs     8.00                          15.0000          120.00
  17499 RAMIREZ RAMON, ABEL                    DOM       18   Training New Plants             Reg. Hrs     8.00                          15.0000          120.00
  17499 RAMIREZ RAMON, ABEL                    DOM       19   Training New Plants             Reg. Hrs     8.00                          15.0000          120.00
  17499 RAMIREZ RAMON, ABEL                    DOM       20   Training New Plants             Reg. Hrs     8.00                          15.0000          120.00
  17499 RAMIREZ RAMON, ABEL                    DOM       21   Training New Plants             Reg. Hrs     8.00                          15.0000          120.00
  17499 RAMIREZ RAMON, ABEL                    DOM       22   Training New Plants             Reg. Hrs     5.00                          15.0000           75.00
  17502 GERVACIO ORTEGA, ERNESTO               DOM       17   Training New Plants             Reg. Hrs     8.00                          15.0000          120.00
  17502 GERVACIO ORTEGA, ERNESTO               DOM       18   Training New Plants             Reg. Hrs     8.00                          15.0000          120.00
  17502 GERVACIO ORTEGA, ERNESTO               DOM       19   Training New Plants             Reg. Hrs     8.00                          15.0000          120.00
  17502 GERVACIO ORTEGA, ERNESTO               DOM       20   Training New Plants             Reg. Hrs     8.00                          15.0000          120.00
  17502 GERVACIO ORTEGA, ERNESTO               DOM       21   Training New Plants             Reg. Hrs     8.00                          15.0000          120.00
  17502 GERVACIO ORTEGA, ERNESTO               DOM       22   Training New Plants             Reg. Hrs     5.00                          15.0000           75.00
    Total for Crop ID RABLIVE Rabbit Ridge Live oak                                                      243.00                                         3,681.00


               Gross Wages, This Report:                                                                 243.00                                         3,681.00


Employee information for the week ending 05/23/2021:

 Employee Name/Address                   S.S. #/Acct # Hours Pieces     Report       Gross        SDI   FICA Fed Wht           Other      Net Check    Check #
                                                                        Wages        Wages           Medicare St Wht
 GERVACIO ORTEGA, ERNESTO                XXX-XX-0994 45.00        0     675.00       675.00      8.10   41.85    0.00             0.00        615.26    176001
 1210 CORRAL CREEK AVE APT#3              17502                                                          9.79    0.00
 PASO ROBLES, CA 93446
 GONZALES, DOMINGO VAZQUEZ               XXX-XX-9679 36.00        0        576.00    576.00      6.91    35.72        0.00        0.00        525.01    175998
 1210 CORRAL CREEK ATP 3                  17100                                                           8.36        0.00
 PASO ROBLES, CA 93446
 LEAL GONZALES, TOMASA                   XXX-XX-6219 34.50        0        517.50    517.50      6.21    32.09        0.00        0.00        471.69    175997
 1210 CORRAL CREEK AVE APT 3              17099                                                           7.51        0.00
 PASO ROBLES, CA 93446
 MARTINEZ, ISAIAS                        XXX-XX-7865 37.50        0        562.50    562.50      6.75    34.88        0.00        0.00        512.71    175996
 125 11TH ST.
                                          16358                                                           8.16        0.00
 SAN MIGUEL, CA 93451
 PADILLA MENDIOLA, ROBERTO               XXX-XX-9895 45.00        0        675.00    675.00      8.10    41.85        0.00        0.00        615.26    175999
 5825 VISTA SERRANO                       17475                                                           9.79        0.00
 PASO ROBLES, CA 93446
 RAMIREZ RAMON, ABEL                     XXX-XX-5509 45.00        0        675.00    675.00      8.10    41.85       19.23        0.00        596.03    176000
 2749 E NORMAN DRIVE                      17499                                                           9.79        0.00
 VISALIA, CA 93292


 03/27/2022 21:08         Printed by: EUFEMIAN                    Report ID: LC101                                Rev: 8.181.2753                  Page: 1

                                                                                                                                  EXHIBIT 20
                                                                                                                                   PAGE 355
          Case 8:20-bk-13014-ES                   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                     Desc
                                                  Main Document   Page 360 of 392


                                                            Nevarez Farm Labor, Inc.
                                                             5880 North River Road
                                                            Paso Robles, CA 93446
                  Date:    05/27/2021                       Labor Contractor Report                       Worker's Comp Co:     Preferred Employers Inc.
          Farm Labor #:    FLC000172472                                                                             Policy #:   FLN-169583-1
           Federal ID #:   XX-XXXXXXX
             State ID #:   513-8203-4
             Grower #:     75             Grower Name: RABBIT RIDGE

Totals:                                            243.00      0   3,681.00   3,681.00   44.17   228.24       19.23      0.00      3,335.96
                                                                                                  53.40        0.00




 03/27/2022 21:08          Printed by: EUFEMIAN                Report ID: LC101                           Rev: 8.181.2753                Page: 2

                                                                                                                         EXHIBIT 20
                                                                                                                          PAGE 356
    Case 8:20-bk-13014-ES          Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55             Desc
                                   Main Document   Page 361 of 392


                                                                        Invoice




     Bill To:                                                      License #:     FLC000172472
     RABBIT RIDGE                                                Federal ID#:     XX-XXXXXXX
     1172 SAN MARCOS ROAD                                          State ID#:     513-8203-4
     PASO ROBLES, CA 93446                                     W/C Company:       Preferred Employers Inc.
                                                                W/C Policy #:     FLN-169583-1

                05/17/2021 to 05/23/2021                              Invoice #: 2438
                                                                   Invoice Date: 05/27/2021
                                                                         Terms: Net On Receipt


Description                                              Quantity Unit            Price           Total

ERNESTO GERVACIO ORTEGA                                    45.00    Hrs           15.00            675.00
DOMINGO VAZQUEZ GONZALES                                   36.00    Hrs           16.00            576.00
TOMASA LEAL GONZALES                                       34.50    Hrs           15.00            517.50
ISAIAS MARTINEZ                                            37.50    Hrs           15.00            562.50
ROBERTO PADILLA MENDIOLA                                   45.00    Hrs           15.00            675.00
ABEL RAMIREZ RAMON                                         45.00    Hrs           15.00            675.00
Labor Subtotal                                            243.00    Hrs                          3,681.00

LABOR FEE                                                   37.00%                               1,361.97


                                                                     Invoice Total:             $5,042.97

                                                              Totals:
                                                              Other                               5,042.97




Please Send all Payments to 5880 North River Road, Paso Robles, CA 93446



                                                                                      EXHIBIT 20
                                                                                       PAGE 357
         Case 8:20-bk-13014-ES                   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                             Desc
                                                 Main Document   Page 362 of 392


                                                          Nevarez Farm Labor, Inc.
                                                           5880 North River Road
                                                          Paso Robles, CA 93446
                 Date:    05/26/2021                      Labor Contractor Report             Worker's Comp Co:     Preferred Employers Inc.
         Farm Labor #:    FLC000172472                                                                  Policy #:   FLN-169583-1
          Federal ID #:   XX-XXXXXXX
            State ID #:   513-8203-4
            Grower #:     75             Grower Name: RABBIT RIDGE

Acct #    Employee Name                      Crew # Day Description             Type       Hours         Pieces      Rate           Amount

  14708   DE LA CRUZ VASQUEZ, MAURILIO       HE     18   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  14708   DE LA CRUZ VASQUEZ, MAURILIO       HE     19   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  14708   DE LA CRUZ VASQUEZ, MAURILIO       HE     20   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  14708   DE LA CRUZ VASQUEZ, MAURILIO       HE     21   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  16468   GERVACIO SANTIAGO, SEVERIAN        HE     17   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  16468   GERVACIO SANTIAGO, SEVERIAN        HE     18   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  16468   GERVACIO SANTIAGO, SEVERIAN        HE     19   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  16468   GERVACIO SANTIAGO, SEVERIAN        HE     20   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  16468   GERVACIO SANTIAGO, SEVERIAN        HE     21   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17404   ROJAS GALVEZ, ELENA                HE     17   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17404   ROJAS GALVEZ, ELENA                HE     18   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17404   ROJAS GALVEZ, ELENA                HE     20   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17404   ROJAS GALVEZ, ELENA                HE     21   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17409   MAYA ALEJANDRO, MISAEL             HE     18   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17409   MAYA ALEJANDRO, MISAEL             HE     19   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17409   MAYA ALEJANDRO, MISAEL             HE     20   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17409   MAYA ALEJANDRO, MISAEL             HE     21   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17412   SANTIAGO CASTILLO, RAFAELA         HE     18   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17412   SANTIAGO CASTILLO, RAFAELA         HE     19   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17412   SANTIAGO CASTILLO, RAFAELA         HE     20   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17412   SANTIAGO CASTILLO, RAFAELA         HE     21   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17413   MAYA ALEJANDRO, RODOLFO            HE     18   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17413   MAYA ALEJANDRO, RODOLFO            HE     19   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17413   MAYA ALEJANDRO, RODOLFO            HE     20   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17413   MAYA ALEJANDRO, RODOLFO            HE     21   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17414   PENIAFORT ALEJO, BENITO            HE     18   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17414   PENIAFORT ALEJO, BENITO            HE     19   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17414   PENIAFORT ALEJO, BENITO            HE     20   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17414   PENIAFORT ALEJO, BENITO            HE     21   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17446   LOPEZ GARCIA, HELIODORO            HE     17   Shoot Thinning         Reg. Hrs   4.00                     17.0000             68.00
  17446   LOPEZ GARCIA, HELIODORO            HE     18   Shoot Thinning         Reg. Hrs   4.00                     17.0000             68.00
  17446   LOPEZ GARCIA, HELIODORO            HE     19   Shoot Thinning         Reg. Hrs   4.00                     17.0000             68.00
  17446   LOPEZ GARCIA, HELIODORO            HE     21   Shoot Thinning         Reg. Hrs   4.00                     17.0000             68.00
  17447   VASQUEZ OLEA, RICARDO              HE     17   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17447   VASQUEZ OLEA, RICARDO              HE     18   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17447   VASQUEZ OLEA, RICARDO              HE     20   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17448   LOPEZ CUELLAR, ISMAEL              HE     17   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17448   LOPEZ CUELLAR, ISMAEL              HE     18   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17448   LOPEZ CUELLAR, ISMAEL              HE     19   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17448   LOPEZ CUELLAR, ISMAEL              HE     20   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17448   LOPEZ CUELLAR, ISMAEL              HE     21   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17449   LOPEZ GARCIA, HERMENEGILDO         HE     17   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17449   LOPEZ GARCIA, HERMENEGILDO         HE     18   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17449   LOPEZ GARCIA, HERMENEGILDO         HE     19   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17449   LOPEZ GARCIA, HERMENEGILDO         HE     20   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17449   LOPEZ GARCIA, HERMENEGILDO         HE     21   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17450   LOPEZ GARCIA, JUVENTINO            HE     17   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17450   LOPEZ GARCIA, JUVENTINO            HE     18   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17450   LOPEZ GARCIA, JUVENTINO            HE     19   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17450   LOPEZ GARCIA, JUVENTINO            HE     20   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17451   LOPEZ CUELLAR, MARCELINO           HE     17   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17451   LOPEZ CUELLAR, MARCELINO           HE     18   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17451   LOPEZ CUELLAR, MARCELINO           HE     19   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17451   LOPEZ CUELLAR, MARCELINO           HE     20   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17451   LOPEZ CUELLAR, MARCELINO           HE     21   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17452   GERVACIO GONZALEZ, ANTONIN         HE     17   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17452   GERVACIO GONZALEZ, ANTONIN         HE     18   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17452   GERVACIO GONZALEZ, ANTONIN         HE     19   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17452   GERVACIO GONZALEZ, ANTONIN         HE     20   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17452   GERVACIO GONZALEZ, ANTONIN         HE     21   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17453   PENIAFORT HILARIO, SAMUEL          HE     17   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00
  17453   PENIAFORT HILARIO, SAMUEL          HE     18   Shoot Thinning         Reg. Hrs   4.00                     15.0000             60.00

 03/27/2022 21:10         Printed by: EUFEMIAN               Report ID: LC101                     Rev: 8.181.2753             Page: 1

                                                                                                                  EXHIBIT 20
                                                                                                                   PAGE 358
       Case 8:20-bk-13014-ES                    Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                  Desc
                                                Main Document   Page 363 of 392


                                                           Nevarez Farm Labor, Inc.
                                                            5880 North River Road
                                                           Paso Robles, CA 93446
               Date:    05/26/2021                         Labor Contractor Report                Worker's Comp Co:     Preferred Employers Inc.
       Farm Labor #:    FLC000172472                                                                        Policy #:   FLN-169583-1
        Federal ID #:   XX-XXXXXXX
          State ID #:   513-8203-4
          Grower #:     75               Grower Name: RABBIT RIDGE

  17453 PENIAFORT HILARIO, SAMUEL              HE     19   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17453 PENIAFORT HILARIO, SAMUEL              HE     20   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17453 PENIAFORT HILARIO, SAMUEL              HE     21   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17454 MIGUEL LOPEZ, MODESTA                  HE     17   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17454 MIGUEL LOPEZ, MODESTA                  HE     18   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17454 MIGUEL LOPEZ, MODESTA                  HE     19   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17454 MIGUEL LOPEZ, MODESTA                  HE     20   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17454 MIGUEL LOPEZ, MODESTA                  HE     21   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17455 PINZON PENIAFORT, ALONSO               HE     17   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17455 PINZON PENIAFORT, ALONSO               HE     18   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17455 PINZON PENIAFORT, ALONSO               HE     19   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17455 PINZON PENIAFORT, ALONSO               HE     20   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17455 PINZON PENIAFORT, ALONSO               HE     21   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17456 LOPEZ GARCIA, ZENAIDA                  HE     17   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17456 LOPEZ GARCIA, ZENAIDA                  HE     18   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17456 LOPEZ GARCIA, ZENAIDA                  HE     19   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17456 LOPEZ GARCIA, ZENAIDA                  HE     20   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17456 LOPEZ GARCIA, ZENAIDA                  HE     21   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17457 LOPEZ GARCIA, DOMINICA                 HE     17   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17457 LOPEZ GARCIA, DOMINICA                 HE     19   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17457 LOPEZ GARCIA, DOMINICA                 HE     20   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17457 LOPEZ GARCIA, DOMINICA                 HE     21   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17474 IGNACIO SANTIAGO, PABLO                HE     17   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17474 IGNACIO SANTIAGO, PABLO                HE     18   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17474 IGNACIO SANTIAGO, PABLO                HE     20   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17474 IGNACIO SANTIAGO, PABLO                HE     21   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17482 GERVACIO ORTEGA, HECTOR                HE     17   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17482 GERVACIO ORTEGA, HECTOR                HE     18   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17482 GERVACIO ORTEGA, HECTOR                HE     19   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17482 GERVACIO ORTEGA, HECTOR                HE     20   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17483 BONIFACIO SANTIAGO, NIEVE              HE     17   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17483 BONIFACIO SANTIAGO, NIEVE              HE     18   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17483 BONIFACIO SANTIAGO, NIEVE              HE     19   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17483 BONIFACIO SANTIAGO, NIEVE              HE     20   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17484 GONZALEZ SOLANO, FEDERICO              HE     17   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17484 GONZALEZ SOLANO, FEDERICO              HE     18   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17484 GONZALEZ SOLANO, FEDERICO              HE     19   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17484 GONZALEZ SOLANO, FEDERICO              HE     20   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17484 GONZALEZ SOLANO, FEDERICO              HE     21   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17485 GERVACIO LOPEZ, SEBASTIAN              HE     17   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17485 GERVACIO LOPEZ, SEBASTIAN              HE     18   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17485 GERVACIO LOPEZ, SEBASTIAN              HE     20   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17485 GERVACIO LOPEZ, SEBASTIAN              HE     21   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17486 LOPEZ FLORES, SUSANA                   HE     17   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17486 LOPEZ FLORES, SUSANA                   HE     18   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17486 LOPEZ FLORES, SUSANA                   HE     20   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17486 LOPEZ FLORES, SUSANA                   HE     21   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17487 SANTIAGO PONCE, JOSEFINA               HE     17   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17487 SANTIAGO PONCE, JOSEFINA               HE     18   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17487 SANTIAGO PONCE, JOSEFINA               HE     19   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17487 SANTIAGO PONCE, JOSEFINA               HE     20   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17488 LOPEZ, LUIS                            HE     17   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17488 LOPEZ, LUIS                            HE     18   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17488 LOPEZ, LUIS                            HE     19   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17488 LOPEZ, LUIS                            HE     20   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
  17488 LOPEZ, LUIS                            HE     21   Shoot Thinning         Reg. Hrs     4.00                     15.0000           60.00
    Total for Crop ID RABLIVE Rabbit Ridge Live oak                                          472.00                                    7,112.00


             Gross Wages, This Report:                                                       472.00                                    7,112.00


Employee information for the week ending 05/23/2021:


 03/27/2022 21:10       Printed by: EUFEMIAN                   Report ID: LC101                       Rev: 8.181.2753             Page: 2

                                                                                                                    EXHIBIT 20
                                                                                                                     PAGE 359
     Case 8:20-bk-13014-ES                    Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                         Desc
                                              Main Document   Page 364 of 392


                                                           Nevarez Farm Labor, Inc.
                                                            5880 North River Road
                                                           Paso Robles, CA 93446
              Date:    05/26/2021                          Labor Contractor Report                        Worker's Comp Co:     Preferred Employers Inc.
      Farm Labor #:    FLC000172472                                                                                 Policy #:   FLN-169583-1
       Federal ID #:   XX-XXXXXXX
         State ID #:   513-8203-4
         Grower #:     75               Grower Name: RABBIT RIDGE

Employee Name/Address                 S.S. #/Acct # Hours Pieces    Report        Gross     SDI   FICA Fed Wht          Other    Net Check    Check #
                                                                    Wages         Wages        Medicare St Wht
BONIFACIO SANTIAGO, NIEVE    XXX-XX-4336           16.00      0     240.00        240.00   2.88   14.88    0.00          0.00        218.76    175911
1012 CORRAL CREEK AVENUE APT# 17483                                                                3.48    0.00
PASO ROBLES, CA 93446
DE LA CRUZ VASQUEZ, MAURILIO XXX-XX-0528           16.00      0     240.00        480.00   5.76   29.76        0.00      0.00        437.52    175883
4750 JARDINE ROAD             14708                                                                6.96        0.00
PASO ROBLES, CA 93446
GERVACIO GONZALEZ, ANTONINO XXX-XX-0242            20.00      0     300.00        540.00   6.48   33.48        0.00      0.00        492.21    175896
1209 ALAMO CREEK APT#10       17452                                                                7.83        0.00
PASO ROBLES, CA `93446
GERVACIO ORTEGA, HECTOR      XXX-XX-3288           16.00      0     240.00        240.00   2.88   14.88        0.00      0.00        218.76    175910
1012 CORRAL CREEK AVENUE APT# 17482                                                                3.48        0.00
PASO ROBLES, CA 93446
GERVACIO LOPEZ, SEBASTIAN    XXX-XX-2387           16.00      0     240.00        240.00   2.88   14.88        0.00      0.00        218.76    175913
1210 CORRAL CREEK AVENUE APT# 17485                                                                3.48        0.00
PASO ROBLES, CA 93446
GERVACIO SANTIAGO, SEVERIANO XXX-XX-2891           20.00      0     300.00        300.00   3.60   18.60        0.00      0.00        273.45    175884
1210 CORRAL CREEK AVENUE APT# 16468                                                                4.35        0.00
PASO ROBLES, CA 93446
GONZALEZ SOLANO, FEDERICO    XXX-XX-8463           20.00      0     300.00        300.00   3.60   18.60        0.00      0.00        273.45    175912
1210 CORRAL CREEK AVENUE APT# 17484                                                                4.35        0.00
PASO ROBLES, CA 93446
IGNACIO SANTIAGO, PABLO      XXX-XX-6642           16.00      0     240.00        480.00   5.76   29.76        0.00      0.00        437.52    175908
304 SPRING STREET             17474                                                                6.96        0.00
PASO ROBLES, CA 93446
LOPEZ GARCIA, DOMINICA       XXX-XX-7870           16.00      0     240.00        480.00   5.76   29.76        0.00      0.00        437.52    175901
1208 CORRAL CREEK APT#7       17457                                                                6.96        0.00
PASO ROBLES, CA 93446
LOPEZ GARCIA, HELIODORO      XXX-XX-6792           16.00      0     272.00        544.00   6.53   33.73        0.00      0.00        495.85    175890
1208 CORRAL CREEK APT#7       17446                                                                7.89        0.00
PASO ROBLES, CA 93446
LOPEZ GARCIA, HERMENEGILDO XXX-XX-0304             20.00      0     300.00        427.50   5.13   26.51        0.00      0.00        389.67    175893
1208 CORRAL CREEK APT# 7      17449                                                                6.19        0.00
PASO ROBLES, CA 93446
LOPEZ CUELLAR, ISMAEL        XXX-XX-5853           20.00      0     300.00        540.00   6.48   33.48        0.00      0.00        492.21    175892
1209 ALAMO CREEK APT#10       17448                                                                7.83        0.00
PASO ROBLES, CA 93446
LOPEZ GARCIA, JUVENTINO      XXX-XX-1820           16.00      0     240.00        367.50   4.41   22.79        0.00      0.00        334.98    175894
1208 CORRAL CREEK APT#7       17450                                                                5.32        0.00
PASO ROBLES, CA 93446
LOPEZ CUELLAR, MARCELINO     XXX-XX-2089           20.00      0     300.00        540.00   6.48   33.48        0.00      0.00        492.21    175895
1209 ALAMO CREEK APT#10       17451                                                                7.83        0.00
PASO ROBLES, CA 93446
LOPEZ FLORES, SUSANA         XXX-XX-3312           16.00      0     240.00        240.00   2.88   14.88        0.00      0.00        218.76    175914
1210 CORRAL CREEK AVENUE APT# 17486                                                                3.48        0.00
PASO ROBLES, CA 93446
LOPEZ GARCIA, ZENAIDA        XXX-XX-8683           20.00      0     300.00        540.00   6.48   33.48        0.00      0.00        492.21    175900
1208 CORRAL CREEK APT#7       17456                                                                7.83        0.00
PASO ROBLES, CA 93446
LOPEZ, LUIS                  XXX-XX-7743           20.00      0     300.00        540.00   6.48   33.48        0.00      0.00        492.21    175916
165 N 3RD STREET              17488                                                                7.83        0.00
SHANDON, CA 934461
MAYA ALEJANDRO, MISAEL       XXX-XX-0459           16.00      0     240.00        352.50   4.23   21.85        0.00      0.00        321.31    175886
828 TOBY WAY                  17409                                                                5.11        0.00
SHANDON, CA 93461
MAYA ALEJANDRO, RODOLFO      XXX-XX-1980           16.00      0     240.00        352.50   4.23   21.85        0.00      0.00        321.31    175888
828 TOBY WAY                  17413                                                                5.11        0.00
SHANDON, CA 93451
MIGUEL LOPEZ, MODESTA        XXX-XX-0535           20.00      0     300.00        540.00   6.48   33.48        0.00      0.00        492.21    175898
1222 CORAL CREEK APT#6        17454                                                                7.83        0.00
PASO ROBLES, CA 93446
PENIAFORT ALEJO, BENITO      XXX-XX-6729           16.00      0     240.00        480.00   5.76   29.76        0.00      0.00        437.52    175889
4750 JARDINE ROAD             17414                                                                6.96        0.00

03/27/2022 21:10       Printed by: EUFEMIAN                    Report ID: LC101                           Rev: 8.181.2753                Page: 3

                                                                                                                         EXHIBIT 20
                                                                                                                          PAGE 360
          Case 8:20-bk-13014-ES                   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                      Desc
                                                  Main Document   Page 365 of 392


                                                            Nevarez Farm Labor, Inc.
                                                             5880 North River Road
                                                            Paso Robles, CA 93446
                  Date:    05/26/2021                       Labor Contractor Report                        Worker's Comp Co:     Preferred Employers Inc.
          Farm Labor #:    FLC000172472                                                                              Policy #:   FLN-169583-1
           Federal ID #:   XX-XXXXXXX
             State ID #:   513-8203-4
             Grower #:     75             Grower Name: RABBIT RIDGE

 PASO ROBLES, CA 93446
 PENIAFORT HILARIO, SAMUEL    XXX-XX-4127           20.00      0      300.00      540.00   6.48    33.48        0.00      0.00        492.21    175897
 1222 CORRAL CREEK APT#7       17453                                                                7.83        0.00
 PASO ROBLES, CA 93446
 PINZON PENIAFORT, ALONSO     XXX-XX-7643           20.00      0      300.00      540.00   6.48    33.48        0.00      0.00        492.21    175899
 1222 CORRAL CREEK APT#7       17455                                                                7.83        0.00
 PASO ROBLES, CA 93446
 ROJAS GALVEZ, ELENA          XXX-XX-2881           16.00      0      240.00      480.00   5.76    29.76        0.00      0.00        437.52    175885
 304 SPRING STREET             17404                                                                6.96        0.00
 PASO ROBLES, CA 93446
 SANTIAGO PONCE, JOSEFINA     XXX-XX-2253           16.00      0      240.00      240.00   2.88    14.88        0.00      0.00        218.76    175915
 1208 CORRAL CREEK AVENUE APT# 17487                                                                3.48        0.00
 PASO ROBLES, CA 93446
 SANTIAGO CASTILLO, RAFAELA   XXX-XX-8852           16.00      0      240.00      352.50   4.23    21.85        0.00      0.00        321.31    175887
 828 TOBY WAY                  17412                                                                5.11        0.00
 SHANDON, CA 93461
 VASQUEZ OLEA, RICARDO        XXX-XX-0268           12.00      0      180.00      307.50   3.69    19.07        0.00      0.00        280.28    175891
 727 N TRIGO LANE              17447                                                                4.46        0.00
 PASO ROBLES, CA 93446

Totals:                                            472.00      0   7,112.00 11,224.00 134.69      695.89        0.00      0.00     10,230.69
                                                                                                  162.73        0.00




 03/27/2022 21:10          Printed by: EUFEMIAN                Report ID: LC101                            Rev: 8.181.2753                Page: 4

                                                                                                                          EXHIBIT 20
                                                                                                                           PAGE 361
    Case 8:20-bk-13014-ES          Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55           Desc
                                   Main Document   Page 366 of 392


                                                                      Invoice




     Bill To:                                                      License #:   FLC000172472
     RABBIT RIDGE                                                Federal ID#:   XX-XXXXXXX
     1172 SAN MARCOS ROAD                                          State ID#:   513-8203-4
     PASO ROBLES, CA 93446                                     W/C Company:     Preferred Employers Inc.
                                                                W/C Policy #:   FLN-169583-1

                05/17/2021 to 05/23/2021                              Invoice #: 2439
                                                                   Invoice Date: 05/26/2021
                                                                         Terms: Net On Receipt


Description                                              Quantity Unit          Price            Total

NIEVE BONIFACIO SANTIAGO                                      16    Hrs         15.00            240.00
MAURILIO DE LA CRUZ VASQUEZ                                   16    Hrs         15.00            240.00
ANTONINO GERVACIO GONZALEZ                                    20    Hrs         15.00            300.00
HECTOR GERVACIO ORTEGA                                        16    Hrs         15.00            240.00
SEBASTIAN GERVACIO LOPEZ                                      16    Hrs         15.00            240.00
SEVERIANO GERVACIO SANTIAGO                                   20    Hrs         15.00            300.00
FEDERICO GONZALEZ SOLANO                                      20    Hrs         15.00            300.00
PABLO IGNACIO SANTIAGO                                        16    Hrs         15.00            240.00
DOMINICA LOPEZ GARCIA                                         16    Hrs         15.00            240.00
HELIODORO LOPEZ GARCIA                                        16    Hrs         17.00            272.00
HERMENEGILDO LOPEZ GARCIA                                     20    Hrs         15.00            300.00
ISMAEL LOPEZ CUELLAR                                          20    Hrs         15.00            300.00
JUVENTINO LOPEZ GARCIA                                        16    Hrs         15.00            240.00
MARCELINO LOPEZ CUELLAR                                       20    Hrs         15.00            300.00
SUSANA LOPEZ FLORES                                           16    Hrs         15.00            240.00
ZENAIDA LOPEZ GARCIA                                          20    Hrs         15.00            300.00
LUIS LOPEZ                                                    20    Hrs         15.00            300.00
MISAEL MAYA ALEJANDRO                                         16    Hrs         15.00            240.00
RODOLFO MAYA ALEJANDRO                                        16    Hrs         15.00            240.00
MODESTA MIGUEL LOPEZ                                          20    Hrs         15.00            300.00
BENITO PENIAFORT ALEJO                                        16    Hrs         15.00            240.00
SAMUEL PENIAFORT HILARIO                                      20    Hrs         15.00            300.00
ALONSO PINZON PENIAFORT                                       20    Hrs         15.00            300.00
ELENA ROJAS GALVEZ                                            16    Hrs         15.00            240.00
JOSEFINA SANTIAGO PONCE                                       16    Hrs         15.00            240.00
RAFAELA SANTIAGO CASTILLO                                     16    Hrs         15.00            240.00



Please Send all Payments to 5880 North River Road, Paso Robles, CA 93446



                                                                                   EXHIBIT 20
                                                                                    PAGE 362
    Case 8:20-bk-13014-ES          Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55             Desc
                                   Main Document   Page 367 of 392


                                                                        Invoice                   Page #: 2




     Bill To:                                                      License #:     FLC000172472
     RABBIT RIDGE                                                Federal ID#:     XX-XXXXXXX
     1172 SAN MARCOS ROAD                                          State ID#:     513-8203-4
     PASO ROBLES, CA 93446                                     W/C Company:       Preferred Employers Inc.
                                                                W/C Policy #:     FLN-169583-1

                05/17/2021 to 05/23/2021                            Invoice #: 2439
                                                                 Invoice Date: 05/26/2021
                                                                       Terms: Net On Receipt


Description                                              Quantity Unit            Price           Total

RICARDO VASQUEZ OLEA                                          12 Hrs              15.00            180.00
Labor Subtotal                                               472 Hrs                             7,112.00

LABOR FEE                                                   37.00%                               2,631.44


                                                                     Invoice Total:             $9,743.44

                                                              Totals:
                                                              Other                               9,743.44




Please Send all Payments to 5880 North River Road, Paso Robles, CA 93446



                                                                                      EXHIBIT 20
                                                                                       PAGE 363
         Case 8:20-bk-13014-ES                   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                               Desc
                                                 Main Document   Page 368 of 392


                                                          Nevarez Farm Labor, Inc.
                                                           5880 North River Road
                                                          Paso Robles, CA 93446
                 Date:    06/03/2021                      Labor Contractor Report               Worker's Comp Co:     Preferred Employers Inc.
         Farm Labor #:    FLC000172472                                                                    Policy #:   FLN-169583-1
          Federal ID #:   XX-XXXXXXX
            State ID #:   513-8203-4
            Grower #:     75             Grower Name: RABBIT RIDGE

Acct #    Employee Name                      Crew # Day Description             Type        Hours          Pieces      Rate           Amount

  17100 GONZALES, DOMINGO VAZQUEZ DOM               24   Training New Plants    Reg. Hrs     8.00                     16.0000          128.00
  17100 GONZALES, DOMINGO VAZQUEZ DOM               25   Training New Plants    Reg. Hrs     8.00                     16.0000          128.00
  17100 GONZALES, DOMINGO VAZQUEZ DOM               26   Training New Plants    Reg. Hrs     8.00                     16.0000          128.00
  17100 GONZALES, DOMINGO VAZQUEZ DOM               27   Training New Plants    Reg. Hrs     8.00                     16.0000          128.00
  17100 GONZALES, DOMINGO VAZQUEZ DOM               28   Training New Plants    Reg. Hrs     8.00                     16.0000          128.00
  17100 GONZALES, DOMINGO VAZQUEZ DOM               29   Training New Plants    Reg. Hrs     5.00                     16.0000           80.00
  17099 LEAL GONZALES, TOMASA                 DOM   24   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
  17099 LEAL GONZALES, TOMASA                 DOM   25   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
  17099 LEAL GONZALES, TOMASA                 DOM   26   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
  17099 LEAL GONZALES, TOMASA                 DOM   27   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
  17099 LEAL GONZALES, TOMASA                 DOM   28   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
  17099 LEAL GONZALES, TOMASA                 DOM   29   Training New Plants    Reg. Hrs     5.00                     15.0000           75.00
  16358 MARTINEZ, ISAIAS                      DOM   24   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
  17502 GERVACIO ORTEGA, ERNESTO              DOM   24   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
  17502 GERVACIO ORTEGA, ERNESTO              DOM   25   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
  17502 GERVACIO ORTEGA, ERNESTO              DOM   26   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
  17502 GERVACIO ORTEGA, ERNESTO              DOM   27   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
  17502 GERVACIO ORTEGA, ERNESTO              DOM   28   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
  17502 GERVACIO ORTEGA, ERNESTO              DOM   29   Training New Plants    Reg. Hrs     5.00                     15.0000           75.00
  17499 RAMIREZ RAMON, ABEL                   DOM   25   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
  17499 RAMIREZ RAMON, ABEL                   DOM   26   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
  17499 RAMIREZ RAMON, ABEL                   DOM   27   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
  17499 RAMIREZ RAMON, ABEL                   DOM   28   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
  17499 RAMIREZ RAMON, ABEL                   DOM   29   Training New Plants    Reg. Hrs     5.00                     15.0000           75.00
  17475 PADILLA MENDIOLA, ROBERTO             DOM   24   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
  17475 PADILLA MENDIOLA, ROBERTO             DOM   25   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
  17475 PADILLA MENDIOLA, ROBERTO             DOM   26   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
  17475 PADILLA MENDIOLA, ROBERTO             DOM   27   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
  17475 PADILLA MENDIOLA, ROBERTO             DOM   28   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
  17475 PADILLA MENDIOLA, ROBERTO             DOM   29   Training New Plants    Reg. Hrs     5.00                     15.0000           75.00
   9915 PACHECO CERVANTES, EUTIQUIO DOM             24   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
   9915 PACHECO CERVANTES, EUTIQUIO DOM             26   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
   9915 PACHECO CERVANTES, EUTIQUIO DOM             27   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
   9915 PACHECO CERVANTES, EUTIQUIO DOM             28   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
   9915 PACHECO CERVANTES, EUTIQUIO DOM             29   Training New Plants    Reg. Hrs     5.00                     15.0000           75.00
  17371 CERVANTES BAUTISTA, MISAEL            DOM   24   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
  17371 CERVANTES BAUTISTA, MISAEL            DOM   26   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
  17371 CERVANTES BAUTISTA, MISAEL            DOM   27   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
  17371 CERVANTES BAUTISTA, MISAEL            DOM   28   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
  15956 HERNANDEZ SARMIENTO, ROGEL DOM              24   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
  15956 HERNANDEZ SARMIENTO, ROGEL DOM              26   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
  15956 HERNANDEZ SARMIENTO, ROGEL DOM              27   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
  15956 HERNANDEZ SARMIENTO, ROGEL DOM              28   Training New Plants    Reg. Hrs     8.00                     15.0000          120.00
  15956 HERNANDEZ SARMIENTO, ROGEL DOM              29   Training New Plants    Reg. Hrs     5.00                     15.0000           75.00
    Total for Crop ID LIVEOAK Live Oak Vineyard                                            331.00                                    5,010.00

  14708   DE LA CRUZ VASQUEZ, MAURILIO       HE     24   Training New Plants    Reg. Hrs     4.00                     15.0000             60.00
  14708   DE LA CRUZ VASQUEZ, MAURILIO       HE     25   Training New Plants    Reg. Hrs     4.00                     15.0000             60.00
  14708   DE LA CRUZ VASQUEZ, MAURILIO       HE     26   Training New Plants    Reg. Hrs     4.00                     15.0000             60.00
  14708   DE LA CRUZ VASQUEZ, MAURILIO       HE     27   Training New Plants    Reg. Hrs     4.00                     15.0000             60.00
  17404   ROJAS GALVEZ, ELENA                HE     24   Training New Plants    Reg. Hrs     4.00                     15.0000             60.00
  17404   ROJAS GALVEZ, ELENA                HE     25   Training New Plants    Reg. Hrs     4.00                     15.0000             60.00
  17404   ROJAS GALVEZ, ELENA                HE     27   Training New Plants    Reg. Hrs     4.00                     15.0000             60.00
  17404   ROJAS GALVEZ, ELENA                HE     28   Training New Plants    Reg. Hrs     4.00                     15.0000             60.00
  17446   LOPEZ GARCIA, HELIODORO            HE     24   Training New Plants    Reg. Hrs     4.00                     17.0000             68.00
  17446   LOPEZ GARCIA, HELIODORO            HE     25   Training New Plants    Reg. Hrs     4.00                     17.0000             68.00
  17446   LOPEZ GARCIA, HELIODORO            HE     26   Training New Plants    Reg. Hrs     4.00                     17.0000             68.00
  17446   LOPEZ GARCIA, HELIODORO            HE     27   Training New Plants    Reg. Hrs     4.00                     17.0000             68.00
  17446   LOPEZ GARCIA, HELIODORO            HE     28   Training New Plants    Reg. Hrs     4.00                     17.0000             68.00
  17448   LOPEZ CUELLAR, ISMAEL              HE     24   Training New Plants    Reg. Hrs     4.00                     15.0000             60.00
  17448   LOPEZ CUELLAR, ISMAEL              HE     25   Training New Plants    Reg. Hrs     4.00                     15.0000             60.00
  17448   LOPEZ CUELLAR, ISMAEL              HE     26   Training New Plants    Reg. Hrs     4.00                     15.0000             60.00

 03/27/2022 21:14         Printed by: EUFEMIAN               Report ID: LC101                       Rev: 8.181.2753             Page: 1

                                                                                                                    EXHIBIT 20
                                                                                                                     PAGE 364
       Case 8:20-bk-13014-ES                    Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                                Desc
                                                Main Document   Page 369 of 392


                                                             Nevarez Farm Labor, Inc.
                                                              5880 North River Road
                                                             Paso Robles, CA 93446
               Date:    06/03/2021                           Labor Contractor Report                            Worker's Comp Co:     Preferred Employers Inc.
       Farm Labor #:    FLC000172472                                                                                      Policy #:   FLN-169583-1
        Federal ID #:   XX-XXXXXXX
          State ID #:   513-8203-4
          Grower #:     75               Grower Name: RABBIT RIDGE

  17448 LOPEZ CUELLAR, ISMAEL                  HE     27     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17448 LOPEZ CUELLAR, ISMAEL                  HE     28     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17449 LOPEZ GARCIA, HERMENEGILDO HE                 24     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17449 LOPEZ GARCIA, HERMENEGILDO HE                 26     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17449 LOPEZ GARCIA, HERMENEGILDO HE                 27     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17450 LOPEZ GARCIA, JUVENTINO                HE     24     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17450 LOPEZ GARCIA, JUVENTINO                HE     25     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17450 LOPEZ GARCIA, JUVENTINO                HE     26     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17450 LOPEZ GARCIA, JUVENTINO                HE     27     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17451 LOPEZ CUELLAR, MARCELINO               HE     24     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17451 LOPEZ CUELLAR, MARCELINO               HE     25     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17451 LOPEZ CUELLAR, MARCELINO               HE     26     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17451 LOPEZ CUELLAR, MARCELINO               HE     27     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17451 LOPEZ CUELLAR, MARCELINO               HE     28     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17452 GERVACIO GONZALEZ, ANTONIN HE                 24     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17452 GERVACIO GONZALEZ, ANTONIN HE                 28     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17453 PENIAFORT HILARIO, SAMUEL              HE     24     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17454 MIGUEL LOPEZ, MODESTA                  HE     24     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17455 PINZON PENIAFORT, ALONSO               HE     24     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17456 LOPEZ GARCIA, ZENAIDA                  HE     24     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17456 LOPEZ GARCIA, ZENAIDA                  HE     25     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17456 LOPEZ GARCIA, ZENAIDA                  HE     26     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17456 LOPEZ GARCIA, ZENAIDA                  HE     27     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17456 LOPEZ GARCIA, ZENAIDA                  HE     28     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17457 LOPEZ GARCIA, DOMINICA                 HE     24     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17457 LOPEZ GARCIA, DOMINICA                 HE     25     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17457 LOPEZ GARCIA, DOMINICA                 HE     26     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17457 LOPEZ GARCIA, DOMINICA                 HE     27     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17457 LOPEZ GARCIA, DOMINICA                 HE     28     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17474 IGNACIO SANTIAGO, PABLO                HE     24     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17474 IGNACIO SANTIAGO, PABLO                HE     25     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17474 IGNACIO SANTIAGO, PABLO                HE     27     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17474 IGNACIO SANTIAGO, PABLO                HE     28     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17487 SANTIAGO PONCE, JOSEFINA               HE     24     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17487 SANTIAGO PONCE, JOSEFINA               HE     27     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17488 LOPEZ, LUIS                            HE     24     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17488 LOPEZ, LUIS                            HE     26     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17488 LOPEZ, LUIS                            HE     27     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
  17488 LOPEZ, LUIS                            HE     28     Training New Plants             Reg. Hrs     4.00                        15.0000           60.00
    Total for Crop ID RABLIVE Rabbit Ridge Live oak                                                     220.00                                       3,340.00


             Gross Wages, This Report:                                                                  551.00                                       8,350.00


Employee information for the week ending 05/30/2021:

 Employee Name/Address                 S.S. #/Acct # Hours Pieces      Report       Gross        SDI   FICA Fed Wht           Other    Net Check    Check #
                                                                       Wages        Wages           Medicare St Wht
 CERVANTES BAUTISTA, MISAEL            XXX-XX-2319 32.00         0     480.00       607.50      7.29   37.67    0.00           0.00        553.73    176296
 3450 PARK ST UNIT 102                  17371                                                           8.81    0.00
 PASO ROBLES, CA 93446
 DE LA CRUZ VASQUEZ, MAURILIO          XXX-XX-0528 16.00         0     240.00       300.00      3.60    18.60        0.00      0.00        273.45    176094
 4750 JARDINE ROAD                      14708                                                            4.35        0.00
 PASO ROBLES, CA 93446
 GERVACIO GONZALEZ, ANTONINO           XXX-XX-0242    8.00       0     120.00       555.00      6.66    34.41        0.00      0.00        505.89    176105
 1209 ALAMO CREEK APT#10                17452                                                            8.04        0.00
 PASO ROBLES, CA `93446
 GERVACIO ORTEGA, ERNESTO              XXX-XX-0994 45.00         0     675.00       675.00      8.10    41.85        0.00      0.00        615.26    176292
 1210 CORRAL CREEK AVE APT#3            17502                                                            9.79        0.00
 PASO ROBLES, CA 93446
 GONZALES, DOMINGO VAZQUEZ             XXX-XX-9679 45.00         0     720.00       720.00      8.64    44.64        0.00      0.00        656.28    176289
 1210 CORRAL CREEK ATP 3                17100                                                           10.44        0.00
 PASO ROBLES, CA 93446


 03/27/2022 21:14       Printed by: EUFEMIAN                     Report ID: LC101                                Rev: 8.181.2753                Page: 2

                                                                                                                               EXHIBIT 20
                                                                                                                                PAGE 365
          Case 8:20-bk-13014-ES                   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                      Desc
                                                  Main Document   Page 370 of 392


                                                            Nevarez Farm Labor, Inc.
                                                             5880 North River Road
                                                            Paso Robles, CA 93446
                  Date:    06/03/2021                       Labor Contractor Report                        Worker's Comp Co:     Preferred Employers Inc.
          Farm Labor #:    FLC000172472                                                                              Policy #:   FLN-169583-1
           Federal ID #:   XX-XXXXXXX
             State ID #:   513-8203-4
             Grower #:     75             Grower Name: RABBIT RIDGE

 HERNANDEZ SARMIENTO, ROGELI XXX-XX-4851            37.00      0      555.00      682.50   8.19    42.32        0.00      0.00        622.09    176297
 815 34TH ST. #B
                               15956                                                                9.90        0.00
 PASO ROBLES, CA 93446
 IGNACIO SANTIAGO, PABLO      XXX-XX-6642           16.00      0      240.00      240.00   2.88    14.88        0.00      0.00        218.76    176119
 304 SPRING STREET             17474                                                                3.48        0.00
 PASO ROBLES, CA 93446
 LEAL GONZALES, TOMASA        XXX-XX-6219           45.00      0      675.00      675.00   8.10    41.85        0.00      0.00        615.27    176290
 1210 CORRAL CREEK AVE APT 3   17099                                                                9.78        0.00
 PASO ROBLES, CA 93446
 LOPEZ GARCIA, DOMINICA       XXX-XX-7870           20.00      0      300.00      427.50   5.13    26.51        0.00      0.00        389.67    176110
 1208 CORRAL CREEK APT#7       17457                                                                6.19        0.00
 PASO ROBLES, CA 93446
 LOPEZ GARCIA, HELIODORO      XXX-XX-6792           20.00      0      340.00      629.00   7.55    39.00        0.00      0.00        573.33    176100
 1208 CORRAL CREEK APT#7       17446                                                                9.12        0.00
 PASO ROBLES, CA 93446
 LOPEZ GARCIA, HERMENEGILDO XXX-XX-0304             12.00      0      180.00      180.00   2.16    11.16        0.00      0.00        164.07    176102
 1208 CORRAL CREEK APT# 7      17449                                                                2.61        0.00
 PASO ROBLES, CA 93446
 LOPEZ CUELLAR, ISMAEL        XXX-XX-5853           20.00      0      300.00      427.50   5.13    26.51        0.00      0.00        389.67    176101
 1209 ALAMO CREEK APT#10       17448                                                                6.19        0.00
 PASO ROBLES, CA 93446
 LOPEZ GARCIA, JUVENTINO      XXX-XX-1820           16.00      0      240.00      240.00   2.88    14.88        0.00      0.00        218.76    176103
 1208 CORRAL CREEK APT#7       17450                                                                3.48        0.00
 PASO ROBLES, CA 93446
 LOPEZ CUELLAR, MARCELINO     XXX-XX-2089           20.00      0      300.00      555.00   6.66    34.41        0.00      0.00        505.89    176104
 1209 ALAMO CREEK APT#10       17451                                                                8.04        0.00
 PASO ROBLES, CA 93446
 LOPEZ GARCIA, ZENAIDA        XXX-XX-8683           20.00      0      300.00      555.00   6.66    34.41        0.00      0.00        505.89    176109
 1208 CORRAL CREEK APT#7       17456                                                                8.04        0.00
 PASO ROBLES, CA 93446
 LOPEZ, LUIS                  XXX-XX-7743           16.00      0      240.00      240.00   2.88    14.88        0.00      0.00        218.76    176121
 165 N 3RD STREET              17488                                                                3.48        0.00
 SHANDON, CA 934461
 MARTINEZ, ISAIAS             XXX-XX-7865            8.00      0      120.00      120.00   1.44     7.44        0.00      0.00        109.38    176291
 125 11TH ST.
                               16358                                                                1.74        0.00
 SAN MIGUEL, CA 93451
 MIGUEL LOPEZ, MODESTA        XXX-XX-0535            4.00      0       60.00      300.00   3.60    18.60        0.00      0.00        273.45    176107
 1222 CORAL CREEK APT#6        17454                                                                4.35        0.00
 PASO ROBLES, CA 93446
 PACHECO CERVANTES, EUTIQUIO XXX-XX-1532            37.00      0      555.00      682.50   8.19    42.32        0.00      0.00        622.09    176295
 3200 SPRING STREET APT # 25   9915                                                                 9.90        0.00
 PASO ROBLES, CA 93446
 PADILLA MENDIOLA, ROBERTO    XXX-XX-9895           45.00      0      675.00      675.00   8.10    41.85        0.00      0.00        615.27    176294
 5825 VISTA SERRANO            17475                                                                9.78        0.00
 PASO ROBLES, CA 93446
 PENIAFORT HILARIO, SAMUEL    XXX-XX-4127            4.00      0       60.00      427.50   5.13    26.51        0.00      0.00        389.67    176106
 1222 CORRAL CREEK APT#7       17453                                                                6.19        0.00
 PASO ROBLES, CA 93446
 PINZON PENIAFORT, ALONSO     XXX-XX-7643            4.00      0       60.00      555.00   6.66    34.41        0.00      0.00        505.89    176108
 1222 CORRAL CREEK APT#7       17455                                                                8.04        0.00
 PASO ROBLES, CA 93446
 RAMIREZ RAMON, ABEL          XXX-XX-5509           37.00      0      555.00      555.00   6.66    34.41        0.00      0.00        505.89    176293
 2749 E NORMAN DRIVE           17499                                                                8.04        0.00
 VISALIA, CA 93292
 ROJAS GALVEZ, ELENA          XXX-XX-2881           16.00      0      240.00      240.00   2.88    14.88        0.00      0.00        218.76    176095
 304 SPRING STREET             17404                                                                3.48        0.00
 PASO ROBLES, CA 93446
 SANTIAGO PONCE, JOSEFINA     XXX-XX-2253            8.00      0      120.00      120.00   1.44     7.44        0.00      0.00        109.38    176120
 1208 CORRAL CREEK AVENUE APT# 17487                                                                1.74        0.00
 PASO ROBLES, CA 93446

Totals:                                            551.00      0   8,350.00 11,384.00 136.61      705.84        0.00      0.00     10,376.55

 03/27/2022 21:14          Printed by: EUFEMIAN                Report ID: LC101                            Rev: 8.181.2753                Page: 3

                                                                                                                          EXHIBIT 20
                                                                                                                           PAGE 366
     Case 8:20-bk-13014-ES                    Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                         Desc
                                              Main Document   Page 371 of 392


                                                      Nevarez Farm Labor, Inc.
                                                       5880 North River Road
                                                      Paso Robles, CA 93446
              Date:    06/03/2021                     Labor Contractor Report             Worker's Comp Co:     Preferred Employers Inc.
      Farm Labor #:    FLC000172472                                                                 Policy #:   FLN-169583-1
       Federal ID #:   XX-XXXXXXX
         State ID #:   513-8203-4
         Grower #:     75             Grower Name: RABBIT RIDGE

                                                                                 165.00        0.00




03/27/2022 21:14       Printed by: EUFEMIAN               Report ID: LC101                Rev: 8.181.2753                Page: 4

                                                                                                         EXHIBIT 20
                                                                                                          PAGE 367
    Case 8:20-bk-13014-ES          Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55           Desc
                                   Main Document   Page 372 of 392


                                                                      Invoice




     Bill To:                                                      License #:   FLC000172472
     RABBIT RIDGE                                                Federal ID#:   XX-XXXXXXX
     1172 SAN MARCOS ROAD                                          State ID#:   513-8203-4
     PASO ROBLES, CA 93446                                     W/C Company:     Preferred Employers Inc.
                                                                W/C Policy #:   FLN-169583-1

                05/24/2021 to 05/30/2021                              Invoice #: 2470
                                                                   Invoice Date: 06/03/2021
                                                                         Terms: Net On Receipt


Description                                              Quantity Unit          Price             Total

MISAEL CERVANTES BAUTISTA                                     32    Hrs         15.00              480.00
MAURILIO DE LA CRUZ VASQUEZ                                   16    Hrs         15.00              240.00
ANTONINO GERVACIO GONZALEZ                                     8    Hrs         15.00              120.00
ERNESTO GERVACIO ORTEGA                                       45    Hrs         15.00              675.00
DOMINGO VAZQUEZ GONZALES                                      45    Hrs         16.00              720.00
ROGELIO HERNANDEZ SARMIENTO                                   37    Hrs         15.00              555.00
PABLO IGNACIO SANTIAGO                                        16    Hrs         15.00              240.00
TOMASA LEAL GONZALES                                          45    Hrs         15.00              675.00
DOMINICA LOPEZ GARCIA                                         20    Hrs         15.00              300.00
HELIODORO LOPEZ GARCIA                                        20    Hrs         17.00              340.00
HERMENEGILDO LOPEZ GARCIA                                     12    Hrs         15.00              180.00
ISMAEL LOPEZ CUELLAR                                          20    Hrs         15.00              300.00
JUVENTINO LOPEZ GARCIA                                        16    Hrs         15.00              240.00
MARCELINO LOPEZ CUELLAR                                       20    Hrs         15.00              300.00
ZENAIDA LOPEZ GARCIA                                          20    Hrs         15.00              300.00
LUIS LOPEZ                                                    16    Hrs         15.00              240.00
ISAIAS MARTINEZ                                                8    Hrs         15.00              120.00
MODESTA MIGUEL LOPEZ                                           4    Hrs         15.00               60.00
EUTIQUIO PACHECO                                              37    Hrs         15.00              555.00
ROBERTO PADILLA MENDIOLA                                      45    Hrs         15.00              675.00
SAMUEL PENIAFORT HILARIO                                       4    Hrs         15.00               60.00
ALONSO PINZON PENIAFORT                                        4    Hrs         15.00               60.00
ABEL RAMIREZ RAMON                                            37    Hrs         15.00              555.00
ELENA ROJAS GALVEZ                                            16    Hrs         15.00              240.00
JOSEFINA SANTIAGO PONCE                                        8    Hrs         15.00              120.00
Labor Subtotal                                               551    Hrs                          8,350.00



Please Send all Payments to 5880 North River Road, Paso Robles, CA 93446



                                                                                   EXHIBIT 20
                                                                                    PAGE 368
    Case 8:20-bk-13014-ES          Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55             Desc
                                   Main Document   Page 373 of 392


                                                                        Invoice                   Page #: 2




     Bill To:                                                      License #:     FLC000172472
     RABBIT RIDGE                                                Federal ID#:     XX-XXXXXXX
     1172 SAN MARCOS ROAD                                          State ID#:     513-8203-4
     PASO ROBLES, CA 93446                                     W/C Company:       Preferred Employers Inc.
                                                                W/C Policy #:     FLN-169583-1

                05/24/2021 to 05/30/2021                            Invoice #: 2470
                                                                 Invoice Date: 06/03/2021
                                                                       Terms: Net On Receipt


Description                                              Quantity Unit            Price           Total

LABOR FEE                                                   37.00%                               3,089.50


                                                                     Invoice Total:            $11,439.50

                                                              Totals:
                                                              Other                              11,439.50




Please Send all Payments to 5880 North River Road, Paso Robles, CA 93446



                                                                                      EXHIBIT 20
                                                                                       PAGE 369
         Case 8:20-bk-13014-ES                   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                             Desc
                                                 Main Document   Page 374 of 392


                                                          Nevarez Farm Labor, Inc.
                                                           5880 North River Road
                                                          Paso Robles, CA 93446
                 Date:    06/09/2021                      Labor Contractor Report             Worker's Comp Co:     Preferred Employers Inc.
         Farm Labor #:    FLC000172472                                                                  Policy #:   FLN-169583-1
          Federal ID #:   XX-XXXXXXX
            State ID #:   513-8203-4
            Grower #:     75             Grower Name: RABBIT RIDGE

Acct #    Employee Name                      Crew # Day Description             Type       Hours         Pieces      Rate           Amount

  14708   DE LA CRUZ VASQUEZ, MAURILIO       HE     31   Training New Plants    Reg. Hrs   4.00                     15.0000              60.00
  14708   DE LA CRUZ VASQUEZ, MAURILIO       HE     01   Training New Plants    Reg. Hrs   4.00                     15.0000              60.00
  17446   LOPEZ GARCIA, HELIODORO            HE     31   Training New Plants    Reg. Hrs   4.00                     17.0000              68.00
  17446   LOPEZ GARCIA, HELIODORO            HE     01   Training New Plants    Reg. Hrs   4.00                     17.0000              68.00
  17448   LOPEZ CUELLAR, ISMAEL              HE     31   Training New Plants    Reg. Hrs   4.00                     15.0000              60.00
  17448   LOPEZ CUELLAR, ISMAEL              HE     01   Training New Plants    Reg. Hrs   4.00                     15.0000              60.00
  17450   LOPEZ GARCIA, JUVENTINO            HE     31   Training New Plants    Reg. Hrs   4.00                     15.0000              60.00
  17450   LOPEZ GARCIA, JUVENTINO            HE     01   Training New Plants    Reg. Hrs   4.00                     15.0000              60.00
  17451   LOPEZ CUELLAR, MARCELINO           HE     31   Training New Plants    Reg. Hrs   4.00                     15.0000              60.00
  17451   LOPEZ CUELLAR, MARCELINO           HE     01   Training New Plants    Reg. Hrs   4.00                     15.0000              60.00
  17452   GERVACIO GONZALEZ, ANTONIN         HE     31   Training New Plants    Reg. Hrs   4.00                     15.0000              60.00
  17452   GERVACIO GONZALEZ, ANTONIN         HE     01   Training New Plants    Reg. Hrs   4.00                     15.0000              60.00
  17453   PENIAFORT HILARIO, SAMUEL          HE     31   Training New Plants    Reg. Hrs   4.00                     15.0000              60.00
  17453   PENIAFORT HILARIO, SAMUEL          HE     01   Training New Plants    Reg. Hrs   4.00                     15.0000              60.00
  17454   MIGUEL LOPEZ, MODESTA              HE     31   Training New Plants    Reg. Hrs   4.00                     15.0000              60.00
  17454   MIGUEL LOPEZ, MODESTA              HE     01   Training New Plants    Reg. Hrs   4.00                     15.0000              60.00
  17455   PINZON PENIAFORT, ALONSO           HE     31   Training New Plants    Reg. Hrs   4.00                     15.0000              60.00
  17455   PINZON PENIAFORT, ALONSO           HE     01   Training New Plants    Reg. Hrs   4.00                     15.0000              60.00
  17456   LOPEZ GARCIA, ZENAIDA              HE     31   Training New Plants    Reg. Hrs   4.00                     15.0000              60.00
  17456   LOPEZ GARCIA, ZENAIDA              HE     01   Training New Plants    Reg. Hrs   4.00                     15.0000              60.00
  17457   LOPEZ GARCIA, DOMINICA             HE     31   Training New Plants    Reg. Hrs   4.00                     15.0000              60.00
  17457   LOPEZ GARCIA, DOMINICA             HE     01   Training New Plants    Reg. Hrs   4.00                     15.0000              60.00
  17488   LOPEZ, LUIS                        HE     01   Training New Plants    Reg. Hrs   4.00                     15.0000              60.00
  17518   VASZQUEZ SANTIAGO, ALVARO          HE     31   Training New Plants    Reg. Hrs   4.00                     15.0000              60.00
  17518   VASZQUEZ SANTIAGO, ALVARO          HE     01   Training New Plants    Reg. Hrs   4.00                     15.0000              60.00
  17519   JIMENEZ PALACIOS, NELIDA           HE     01   Training New Plants    Reg. Hrs   4.00                     15.0000              60.00
  17520   SALGADO, MARIO                     HE     01   Training New Plants    Reg. Hrs   4.00                     15.0000              60.00
  15956   HERNANDEZ SARMIENTO, ROGEL         DOM    31   Training New Plants    Reg. Hrs   8.00                     15.0000             120.00
  17099   LEAL GONZALES, TOMASA              DOM    01   Training New Plants    Reg. Hrs   6.50                     15.0000              97.50
  17099   LEAL GONZALES, TOMASA              DOM    03   Training New Plants    Reg. Hrs   8.00                     15.0000             120.00
  17099   LEAL GONZALES, TOMASA              DOM    04   Training New Plants    Reg. Hrs   8.00                     15.0000             120.00
  17099   LEAL GONZALES, TOMASA              DOM    05   Training New Plants    Reg. Hrs   5.00                     15.0000              75.00
  17100   GONZALES, DOMINGO VAZQUEZ          DOM    01   Training New Plants    Reg. Hrs   6.50                     16.0000             104.00
  17100   GONZALES, DOMINGO VAZQUEZ          DOM    03   Training New Plants    Reg. Hrs   8.00                     16.0000             128.00
  17100   GONZALES, DOMINGO VAZQUEZ          DOM    04   Training New Plants    Reg. Hrs   8.00                     16.0000             128.00
  17100   GONZALES, DOMINGO VAZQUEZ          DOM    05   Training New Plants    Reg. Hrs   5.00                     16.0000              80.00
  17371   CERVANTES BAUTISTA, MISAEL         DOM    31   Training New Plants    Reg. Hrs   8.00                     15.0000             120.00
  17475   PADILLA MENDIOLA, ROBERTO          DOM    31   Training New Plants    Reg. Hrs   8.00                     15.0000             120.00
  17475   PADILLA MENDIOLA, ROBERTO          DOM    01   Training New Plants    Reg. Hrs   8.00                     15.0000             120.00
  17475   PADILLA MENDIOLA, ROBERTO          DOM    02   Training New Plants    Reg. Hrs   8.00                     15.0000             120.00
  17475   PADILLA MENDIOLA, ROBERTO          DOM    03   Training New Plants    Reg. Hrs   8.00                     15.0000             120.00
  17475   PADILLA MENDIOLA, ROBERTO          DOM    04   Training New Plants    Reg. Hrs   8.00                     15.0000             120.00
  17475   PADILLA MENDIOLA, ROBERTO          DOM    05   Training New Plants    Reg. Hrs   5.00                     15.0000              75.00
  17499   RAMIREZ RAMON, ABEL                DOM    31   Training New Plants    Reg. Hrs   8.00                     15.0000             120.00
  17499   RAMIREZ RAMON, ABEL                DOM    01   Training New Plants    Reg. Hrs   8.00                     15.0000             120.00
  17499   RAMIREZ RAMON, ABEL                DOM    02   Training New Plants    Reg. Hrs   8.00                     15.0000             120.00
  17499   RAMIREZ RAMON, ABEL                DOM    03   Training New Plants    Reg. Hrs   8.00                     15.0000             120.00
  17499   RAMIREZ RAMON, ABEL                DOM    04   Training New Plants    Reg. Hrs   8.00                     15.0000             120.00
  17499   RAMIREZ RAMON, ABEL                DOM    05   Training New Plants    Reg. Hrs   5.00                     15.0000              75.00
  17502   GERVACIO ORTEGA, ERNESTO           DOM    31   Training New Plants    Reg. Hrs   8.00                     15.0000             120.00
  17502   GERVACIO ORTEGA, ERNESTO           DOM    01   Training New Plants    Reg. Hrs   8.00                     15.0000             120.00
  17502   GERVACIO ORTEGA, ERNESTO           DOM    02   Training New Plants    Reg. Hrs   8.00                     15.0000             120.00
  17502   GERVACIO ORTEGA, ERNESTO           DOM    03   Training New Plants    Reg. Hrs   8.00                     15.0000             120.00
  17502   GERVACIO ORTEGA, ERNESTO           DOM    04   Training New Plants    Reg. Hrs   8.00                     15.0000             120.00
  17502   GERVACIO ORTEGA, ERNESTO           DOM    05   Training New Plants    Reg. Hrs   5.00                     15.0000              75.00
  17062   AMADO LEON, AGUSTIN                DOM    01   Training New Plants    Reg. Hrs   8.00                     15.0000             120.00
  17062   AMADO LEON, AGUSTIN                DOM    02   Training New Plants    Reg. Hrs   8.00                     15.0000             120.00
  17062   AMADO LEON, AGUSTIN                DOM    03   Training New Plants    Reg. Hrs   8.00                     15.0000             120.00
  17062   AMADO LEON, AGUSTIN                DOM    04   Training New Plants    Reg. Hrs   8.00                     15.0000             120.00
  17063   ORTEGA LEONARDO, AMALIA            DOM    01   Training New Plants    Reg. Hrs   8.00                     15.0000             120.00
  17063   ORTEGA LEONARDO, AMALIA            DOM    02   Training New Plants    Reg. Hrs   8.00                     15.0000             120.00
  17063   ORTEGA LEONARDO, AMALIA            DOM    03   Training New Plants    Reg. Hrs   8.00                     15.0000             120.00

 03/27/2022 21:16         Printed by: EUFEMIAN               Report ID: LC101                     Rev: 8.181.2753             Page: 1

                                                                                                                  EXHIBIT 20
                                                                                                                   PAGE 370
      Case 8:20-bk-13014-ES                    Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                                  Desc
                                               Main Document   Page 375 of 392


                                                              Nevarez Farm Labor, Inc.
                                                               5880 North River Road
                                                              Paso Robles, CA 93446
               Date:    06/09/2021                            Labor Contractor Report                            Worker's Comp Co:     Preferred Employers Inc.
       Farm Labor #:    FLC000172472                                                                                       Policy #:   FLN-169583-1
        Federal ID #:   XX-XXXXXXX
          State ID #:   513-8203-4
          Grower #:     75               Grower Name: RABBIT RIDGE

  17063 ORTEGA LEONARDO, AMALIA                DOM     04     Training New Plants             Reg. Hrs     8.00                        15.0000          120.00
  17401 MARTINEZ MATEO, JAVIER                 DOM     01     Training New Plants             Reg. Hrs     8.00                        15.0000          120.00
  17401 MARTINEZ MATEO, JAVIER                 DOM     02     Training New Plants             Reg. Hrs     8.00                        15.0000          120.00
  17401 MARTINEZ MATEO, JAVIER                 DOM     03     Training New Plants             Reg. Hrs     8.00                        15.0000          120.00
  17401 MARTINEZ MATEO, JAVIER                 DOM     04     Training New Plants             Reg. Hrs     8.00                        15.0000          120.00
  17498 GARCIA ORTEGA, ALFONSO                 DOM     01     Training New Plants             Reg. Hrs     8.00                        15.0000          120.00
  17498 GARCIA ORTEGA, ALFONSO                 DOM     02     Training New Plants             Reg. Hrs     8.00                        15.0000          120.00
  17498 GARCIA ORTEGA, ALFONSO                 DOM     03     Training New Plants             Reg. Hrs     8.00                        15.0000          120.00
  17498 GARCIA ORTEGA, ALFONSO                 DOM     04     Training New Plants             Reg. Hrs     8.00                        15.0000          120.00
  17498 GARCIA ORTEGA, ALFONSO                 DOM     05     Training New Plants             Reg. Hrs     4.50                        15.0000           67.50
  17498 GARCIA ORTEGA, ALFONSO                 DOM     05     Training New Plants             OT Hrs       0.50                        22.5000           11.25
  17515 FLORES ORTIZ, MICHELLE                 DOM     01     Training New Plants             Reg. Hrs     8.00                        15.0000          120.00
  17515 FLORES ORTIZ, MICHELLE                 DOM     04     Training New Plants             Reg. Hrs     8.00                        15.0000          120.00
  17515 FLORES ORTIZ, MICHELLE                 DOM     05     Training New Plants             Reg. Hrs     5.00                        15.0000           75.00
    Total for Crop ID RABLIVE Rabbit Ridge Live oak                                                      468.00                                       7,067.25


             Gross Wages, This Report:                                                                   468.00                                       7,067.25


Employee information for the week ending 06/06/2021:

 Employee Name/Address                 S.S. #/Acct # Hours Pieces       Report       Gross        SDI   FICA Fed Wht           Other    Net Check    Check #
                                                                        Wages        Wages           Medicare St Wht
 AMADO LEON, AGUSTIN           XXX-XX-3478            32.00       0     480.00       607.50      7.29   37.67    0.00           0.00        553.73    176459
 1213 CORRAL CREEK AVENUE APT# 17062                                                                     8.81    0.00
 PASO ROBLES, CA 93446
 CERVANTES BAUTISTA, MISAEL    XXX-XX-2319             8.00       0     120.00       120.00      1.44     7.44        0.00      0.00        109.38    176357
 3450 PARK ST UNIT 102          17371                                                                     1.74        0.00
 PASO ROBLES, CA 93446
 DE LA CRUZ VASQUEZ, MAURILIO XXX-XX-0528              8.00       0     120.00       180.00      2.16    11.16        0.00      0.00        164.07    176301
 4750 JARDINE ROAD              14708                                                                     2.61        0.00
 PASO ROBLES, CA 93446
 FLORES ORTIZ, MICHELLE        XXX-XX-0738            21.00       0     315.00       442.50      5.31    27.43        0.00      0.00        403.34    176467
 1106 ALAMO CREEK TERRACE APT# 17515                                                                      6.42        0.00
 PASO ROBLES, CA 93446
 GARCIA ORTEGA, ALFONSO        XXX-XX-4832            37.00       0     558.75       686.25      8.24    42.55        0.00      0.00        625.51    176465
 1106 ALAMO CREEK APT#3         17498                                                                     9.95        0.00
 PASO ROBLES, CA 93446
 GERVACIO GONZALEZ, ANTONINO XXX-XX-0242               8.00       0     120.00       495.00      5.94    30.69        0.00      0.00        451.19    176307
 1209 ALAMO CREEK APT#10        17452                                                                     7.18        0.00
 PASO ROBLES, CA `93446
 GERVACIO ORTEGA, ERNESTO      XXX-XX-0994            45.00       0     675.00       675.00      8.10    41.85        0.00      0.00        615.27    176360
 1210 CORRAL CREEK AVE APT#3    17502                                                                     9.78        0.00
 PASO ROBLES, CA 93446
 GONZALES, DOMINGO VAZQUEZ XXX-XX-9679                27.50       0     440.00       440.00      5.28    27.28        0.00      0.00        401.06    176356
 1210 CORRAL CREEK ATP 3        17100                                                                     6.38        0.00
 PASO ROBLES, CA 93446
 HERNANDEZ SARMIENTO, ROGELI XXX-XX-4851               8.00       0     120.00       120.00      1.44     7.44        0.00      0.00        109.38    176354
 815 34TH ST. #B
                                15956                                                                     1.74        0.00
 PASO ROBLES, CA 93446
 JIMENEZ PALACIOS, NELIDA      XXX-XX-6065             4.00       0      60.00        60.00      0.72     3.72        0.00      0.00         54.69    176315
 1112 E WHITNEY STREET APT# J3 17519                                                                      0.87        0.00
 AVENAL, CA 93204
 LEAL GONZALES, TOMASA         XXX-XX-6219            27.50       0     412.50       412.50      4.95    25.57        0.00      0.00        376.00    176355
 1210 CORRAL CREEK AVE APT 3    17099                                                                     5.98        0.00
 PASO ROBLES, CA 93446
 LOPEZ GARCIA, DOMINICA        XXX-XX-7870             8.00       0     120.00       375.00      4.50    23.25        0.00      0.00        341.81    176312
 1208 CORRAL CREEK APT#7        17457                                                                     5.44        0.00
 PASO ROBLES, CA 93446
 LOPEZ GARCIA, HELIODORO       XXX-XX-6792             8.00       0     136.00       416.50      5.00    25.82        0.00      0.00        379.64    176302
 1208 CORRAL CREEK APT#7        17446                                                                     6.04        0.00
 PASO ROBLES, CA 93446


 03/27/2022 21:16       Printed by: EUFEMIAN                      Report ID: LC101                                Rev: 8.181.2753                Page: 2

                                                                                                                                EXHIBIT 20
                                                                                                                                 PAGE 371
          Case 8:20-bk-13014-ES                   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                      Desc
                                                  Main Document   Page 376 of 392


                                                            Nevarez Farm Labor, Inc.
                                                             5880 North River Road
                                                            Paso Robles, CA 93446
                  Date:    06/09/2021                       Labor Contractor Report                        Worker's Comp Co:     Preferred Employers Inc.
          Farm Labor #:    FLC000172472                                                                              Policy #:   FLN-169583-1
           Federal ID #:   XX-XXXXXXX
             State ID #:   513-8203-4
             Grower #:     75             Grower Name: RABBIT RIDGE

 LOPEZ CUELLAR, ISMAEL        XXX-XX-5853            8.00      0      120.00      495.00   5.94    30.69        0.00      0.00        451.19    176303
 1209 ALAMO CREEK APT#10       17448                                                                7.18        0.00
 PASO ROBLES, CA 93446
 LOPEZ GARCIA, JUVENTINO      XXX-XX-1820            8.00      0      120.00      247.50   2.97    15.34        0.00      0.00        225.60    176305
 1208 CORRAL CREEK APT#7       17450                                                                3.59        0.00
 PASO ROBLES, CA 93446
 LOPEZ CUELLAR, MARCELINO     XXX-XX-2089            8.00      0      120.00      375.00   4.50    23.25        0.00      0.00        341.81    176306
 1209 ALAMO CREEK APT#10       17451                                                                5.44        0.00
 PASO ROBLES, CA 93446
 LOPEZ GARCIA, ZENAIDA        XXX-XX-8683            8.00      0      120.00      375.00   4.50    23.25        0.00      0.00        341.81    176311
 1208 CORRAL CREEK APT#7       17456                                                                5.44        0.00
 PASO ROBLES, CA 93446
 LOPEZ, LUIS                  XXX-XX-7743            4.00      0       60.00      120.00   1.44     7.44        0.00      0.00        109.38    176313
 165 N 3RD STREET              17488                                                                1.74        0.00
 SHANDON, CA 934461
 MARTINEZ MATEO, JAVIER       XXX-XX-8326           32.00      0      480.00      607.50   7.29    37.66        0.00      0.00        553.74    176463
 1213 CORRAL CREEK AVENUE APT# 17401                                                                8.81        0.00
 PASO ROBLES, CA 93446
 MIGUEL LOPEZ, MODESTA        XXX-XX-0535            8.00      0      120.00      495.00   5.94    30.69        0.00      0.00        451.20    176309
 1222 CORAL CREEK APT#6        17454                                                                7.17        0.00
 PASO ROBLES, CA 93446
 ORTEGA LEONARDO, AMALIA      XXX-XX-7263           32.00      0      480.00      607.50   7.29    37.66        0.00      0.00        553.74    176460
 3025 VINE ST                  17063                                                                8.81        0.00
 PASO ROBLES, CA 93446
 PADILLA MENDIOLA, ROBERTO    XXX-XX-9895           45.00      0      675.00      675.00   8.10    41.85        0.00      0.00        615.26    176358
 5825 VISTA SERRANO            17475                                                                9.79        0.00
 PASO ROBLES, CA 93446
 PENIAFORT HILARIO, SAMUEL    XXX-XX-4127            8.00      0      120.00      495.00   5.94    30.69        0.00      0.00        451.19    176308
 1222 CORRAL CREEK APT#7       17453                                                                7.18        0.00
 PASO ROBLES, CA 93446
 PINZON PENIAFORT, ALONSO     XXX-XX-7643            8.00      0      120.00      240.00   2.88    14.88        0.00      0.00        218.76    176310
 1222 CORRAL CREEK APT#7       17455                                                                3.48        0.00
 PASO ROBLES, CA 93446
 RAMIREZ RAMON, ABEL          XXX-XX-5509           45.00      0      675.00      675.00   8.10    41.85        0.00      0.00        615.26    176359
 2749 E NORMAN DRIVE           17499                                                                9.79        0.00
 VISALIA, CA 93292
 SALGADO, MARIO               XXX-XX-4552            4.00      0       60.00       60.00   0.72     3.72        0.00      0.00         54.69    176316
 1112 E WHITNEY STREET APT J3  17520                                                                0.87        0.00
 AVENAL, CA 93204
 VASZQUEZ SANTIAGO, ALVARO    XXX-XX-3416            8.00      0      120.00      240.00   2.88    14.88        0.00      0.00        218.76    176314
 1148 L STREET                 17518                                                                3.48        0.00
 PASO ROBLES, CA 93446

Totals:                                            468.00      0   7,067.25 10,737.75 128.86      665.72        0.00      0.00      9,787.46
                                                                                                  155.71        0.00




 03/27/2022 21:16          Printed by: EUFEMIAN                Report ID: LC101                            Rev: 8.181.2753                Page: 3

                                                                                                                          EXHIBIT 20
                                                                                                                           PAGE 372
    Case 8:20-bk-13014-ES          Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55            Desc
                                   Main Document   Page 377 of 392


                                                                       Invoice




     Bill To:                                                      License #:    FLC000172472
     RABBIT RIDGE                                                Federal ID#:    XX-XXXXXXX
     1172 SAN MARCOS ROAD                                          State ID#:    513-8203-4
     PASO ROBLES, CA 93446                                     W/C Company:      Preferred Employers Inc.
                                                                W/C Policy #:    FLN-169583-1

                05/31/2021 to 06/06/2021                               Invoice #: 2471
                                                                    Invoice Date: 06/09/2021
                                                                          Terms: Net On Receipt


Description                                              Quantity Unit           Price            Total

AGUSTIN AMADO LEON                                          32.00    Hrs         15.00            480.00
MISAEL CERVANTES BAUTISTA                                    8.00    Hrs         15.00            120.00
MAURILIO DE LA CRUZ VASQUEZ                                  8.00    Hrs         15.00            120.00
MICHELLE FLORES ORTIZ                                       21.00    Hrs         15.00            315.00
ALFONSO GARCIA ORTEGA                                       36.50    Hrs         15.00            547.50
ALFONSO GARCIA ORTEGA                                        0.50    OT Hrs      22.50             11.25
ANTONINO GERVACIO GONZALEZ                                   8.00    Hrs         15.00            120.00
ERNESTO GERVACIO ORTEGA                                     45.00    Hrs         15.00            675.00
DOMINGO VAZQUEZ GONZALES                                    27.50    Hrs         16.00            440.00
ROGELIO HERNANDEZ SARMIENTO                                  8.00    Hrs         15.00            120.00
NELIDA JIMENEZ                                               4.00    Hrs         15.00             60.00
TOMASA LEAL GONZALES                                        27.50    Hrs         15.00            412.50
DOMINICA LOPEZ GARCIA                                        8.00    Hrs         15.00            120.00
HELIODORO LOPEZ GARCIA                                       8.00    Hrs         17.00            136.00
ISMAEL LOPEZ CUELLAR                                         8.00    Hrs         15.00            120.00
JUVENTINO LOPEZ GARCIA                                       8.00    Hrs         15.00            120.00
MARCELINO LOPEZ CUELLAR                                      8.00    Hrs         15.00            120.00
ZENAIDA LOPEZ GARCIA                                         8.00    Hrs         15.00            120.00
LUIS LOPEZ                                                   4.00    Hrs         15.00             60.00
JAVIER MARTINEZ MATEO                                       32.00    Hrs         15.00            480.00
MODESTA MIGUEL LOPEZ                                         8.00    Hrs         15.00            120.00
AMALIA ORTEGA LEONARDO                                      32.00    Hrs         15.00            480.00
ROBERTO PADILLA MENDIOLA                                    45.00    Hrs         15.00            675.00
SAMUEL PENIAFORT HILARIO                                     8.00    Hrs         15.00            120.00
ALONSO PINZON PENIAFORT                                      8.00    Hrs         15.00            120.00
ABEL RAMIREZ RAMON                                          45.00    Hrs         15.00            675.00



Please Send all Payments to 5880 North River Road, Paso Robles, CA 93446



                                                                                    EXHIBIT 20
                                                                                     PAGE 373
    Case 8:20-bk-13014-ES          Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55             Desc
                                   Main Document   Page 378 of 392


                                                                        Invoice                   Page #: 2




     Bill To:                                                      License #:     FLC000172472
     RABBIT RIDGE                                                Federal ID#:     XX-XXXXXXX
     1172 SAN MARCOS ROAD                                          State ID#:     513-8203-4
     PASO ROBLES, CA 93446                                     W/C Company:       Preferred Employers Inc.
                                                                W/C Policy #:     FLN-169583-1

                05/31/2021 to 06/06/2021                              Invoice #: 2471
                                                                   Invoice Date: 06/09/2021
                                                                         Terms: Net On Receipt


Description                                              Quantity Unit            Price           Total

MARIO SALGADO                                               4.00    Hrs           15.00             60.00
ALVARO VASZQUEZ SANTIAGO                                    8.00    Hrs           15.00            120.00
Labor Subtotal                                            467.50    Hrs                          7,067.25
                                                            0.50    OT Hrs

LABOR FEE                                                   37.00%                               2,614.88


                                                                     Invoice Total:             $9,682.13

                                                              Totals:
                                                              Other                               9,682.13




Please Send all Payments to 5880 North River Road, Paso Robles, CA 93446



                                                                                      EXHIBIT 20
                                                                                       PAGE 374
     Case 8:20-bk-13014-ES            Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55            Desc
                                      Main Document   Page 379 of 392


                                                                          Invoice




      Bill To:                                                       License #:     FLC000172472
      RABBIT RIDGE                                                 Federal ID#:     XX-XXXXXXX
      1172 SAN MARCOS ROAD                                           State ID#:     513-8203-4
      PASO ROBLES, CA 93446                                      W/C Company:       Preferred Employers Inc.
                                                                  W/C Policy #:     FLN-169583-1

                 Interest Accrued Invoice                             Invoice #: 2927
                                                                   Invoice Date: 11/16/2021
                                                                         Terms: Net On Receipt


Description                                                      Quantity           Price           Total

12% Interest on Unpaid ($56,803.97) Invoices                               1    6,816.48           6,816.48


                                                                      Invoice Total:              $6,816.48

                                                                Totals:
                                                                Other                               6,816.48




 Please Send all Payments to 5880 North River Road, Paso Robles, CA 93446



                                                                                       EXHIBIT 20
                                                                                        PAGE 375
     Case 8:20-bk-13014-ES           Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55            Desc
                                     Main Document   Page 380 of 392


                                                                         Invoice




      Bill To:                                                      License #:     FLC000172472
      RABBIT RIDGE                                                Federal ID#:     XX-XXXXXXX
      1172 SAN MARCOS ROAD                                          State ID#:     513-8203-4
      PASO ROBLES, CA 93446                                     W/C Company:       Preferred Employers Inc.
                                                                 W/C Policy #:     FLN-169583-1

                 2nd Interest Accrued Invoice                        Invoice #: 2990
                                                                  Invoice Date: 12/16/2021
                                                                        Terms: Net On Receipt


Description                                                     Quantity           Price           Total

12% Interest on Unpaid ($63,620.45) Invoices                              1    7,634.45           7,634.45


                                                                     Invoice Total:              $7,634.45

                                                               Totals:
                                                               Other                               7,634.45




 Please Send all Payments to 5880 North River Road, Paso Robles, CA 93446



                                                                                      EXHIBIT 20
                                                                                       PAGE 376
     Case 8:20-bk-13014-ES            Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55            Desc
                                      Main Document   Page 381 of 392


                                                                          Invoice




      Bill To:                                                       License #:     FLC000172472
      RABBIT RIDGE                                                 Federal ID#:     XX-XXXXXXX
      1172 SAN MARCOS ROAD                                           State ID#:     513-8203-4
      PASO ROBLES, CA 93446                                      W/C Company:       Preferred Employers Inc.
                                                                  W/C Policy #:     FLN-169583-1

                 3rd Interest Accrued Invoice                         Invoice #: 3050
                                                                   Invoice Date: 01/16/2022
                                                                         Terms: Net On Receipt


Description                                                      Quantity           Price           Total

12% Interest on Unpaid ($71,254.90) Invoices                               1    8,550.58           8,550.58


                                                                      Invoice Total:              $8,550.58

                                                                Totals:
                                                                Other                               8,550.58




 Please Send all Payments to 5880 North River Road, Paso Robles, CA 93446



                                                                                       EXHIBIT 20
                                                                                        PAGE 377
     Case 8:20-bk-13014-ES            Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55            Desc
                                      Main Document   Page 382 of 392


                                                                          Invoice




      Bill To:                                                       License #:     FLC000172472
      RABBIT RIDGE                                                 Federal ID#:     XX-XXXXXXX
      1172 SAN MARCOS ROAD                                           State ID#:     513-8203-4
      PASO ROBLES, CA 93446                                      W/C Company:       Preferred Employers Inc.
                                                                  W/C Policy #:     FLN-169583-1

                 4th Interest Accrued Invoice                         Invoice #: 3108
                                                                   Invoice Date: 02/16/2022
                                                                         Terms: Net On Receipt


Description                                                      Quantity           Price           Total

12% Interest on Unpaid ($79,805.49) Invoices                               1    9,576.66           9,576.66


                                                                      Invoice Total:              $9,576.66

                                                                Totals:
                                                                Other                               9,576.66




 Please Send all Payments to 5880 North River Road, Paso Robles, CA 93446



                                                                                       EXHIBIT 20
                                                                                        PAGE 378
     Case 8:20-bk-13014-ES            Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55            Desc
                                      Main Document   Page 383 of 392


                                                                          Invoice




      Bill To:                                                       License #:     FLC000172472
      RABBIT RIDGE                                                 Federal ID#:     XX-XXXXXXX
      1172 SAN MARCOS ROAD                                           State ID#:     513-8203-4
      PASO ROBLES, CA 93446                                      W/C Company:       Preferred Employers Inc.
                                                                  W/C Policy #:     FLN-169583-1

                 5th Interest Accrued Invoice                         Invoice #: 3228
                                                                   Invoice Date: 03/16/2022
                                                                         Terms: Net On Receipt


Description                                                      Quantity           Price           Total

12% Interest on Unpaid ($89,382.15) Invoices                               1   10,725.86          10,725.86


                                                                      Invoice Total:             $10,725.86

                                                                Totals:
                                                                Other                              10,725.86




 Please Send all Payments to 5880 North River Road, Paso Robles, CA 93446



                                                                                       EXHIBIT 20
                                                                                        PAGE 379
Case 8:20-bk-13014-ES   Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55   Desc
                        Main Document   Page 384 of 392




                                                EXHIBIT 21

                                                                   PAGE 380
Case 8:20-bk-13014-ES           Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                   Desc
                                Main Document   Page 385 of 392



  1 D. EDWARD HAYS, #162507
    ehays@marshackhays.com
  2 TINHO MANG, #322146
    tmang@marshackhays.com
  3 MARSHACK HAYS LLP
    870 Roosevelt
  4 Irvine, California 92620
    Telephone: (949) 333-7777
  5 Facsimile: (949) 333-7778
  6 Attorneys for Chapter 7 Trustee,
    RICHARD A. MARSHACK
  7

  8                              UNITED STATES BANKRUPTCY COURT
  9                  CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
 10
      In re                                                 Case No. 8:20-bk-13014-ES
 11
      NORTHERN HOLDING, LLC,                                Chapter 7 (converted)
 12
                      Debtor.                               [PROPOSED] ORDER TO SHOW CAUSE
 13                                                         RE: CIVIL CONTEMPT FOR WILLFUL
                                                            VIOLATION OF AUTOMATIC STAY
 14                                                         AND THE COURT’S FARM OPERATOR
                                                            ORDER
 15
                                                            [MOTION – DOCKET NO. X]
 16
                                                            [HEARING NOT REQUIRED –
 17                                                         LBR 9020-1(D)]
 18           The Court has read and considered the application (“Motion”) filed on April 1 2022, as
 19 Docket No. __, by Richard A. Marshack, the duly-appointed and acting chapter 7 trustee (“Trustee”)

 20 of the bankruptcy estate (“Estate”) of Northern Holding, LLC (“Debtor”) for issuance of an order to

 21 show cause re: civil contempt pursuant to Local Bankruptcy Rule 9020-1, against alleged contemnor

 22 LeRoy E. Codding IV (“Codding”), in his individual capacity and as the manager of any other entity
 23 including Rabbit Ridge Wine Sales, Inc. (“RR”) for unlawfully receiving money constituting cash

 24 collateral and property of the Estate.
 25           After review of the Motion and evidence attached thereto, and the oppositions and responses
 26 to the Motion filed on _____________ by ______________________, as Docket No. __, the Court

 27 finds good cause to commence contempt proceedings regarding Codding’s alleged disobedience of

 28 specific and definite orders of the Court, including (as discussed in the Motion) the “Operate Order”




                                                                                        EXHIBIT 21
                                                                                         PAGE 381
Case 8:20-bk-13014-ES         Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                     Desc
                              Main Document   Page 386 of 392



  1 entered on September 7, 2021, as Docket No. 211, and the “Turnover Order” entered on August 23,

  2 2021, as Docket No. 196, violated the automatic stay of 11 U.S.C. § 362, and Codding may not be
  3 entitled to a claim for reimbursement against the Estate pursuant to 11 U.S.C. § 502(d).

  4         After reviewing the Motion, filed on April 1, 2022, as Dk. No. __, the Court has found good
  5 cause to issue an Order to Show Cause as follows;
  6         IT IS ORDERED THAT the personal attendance of LeRoy E. Codding IV is required, in
  7 Courtroom 5A of the United States Bankruptcy Court, Central District, located at 411 W. Fourth
  8 Street, Santa Ana, CA 92701, on ______ ___, 2022 at ________ __.m. At that time, Codding is

  9 ORDERED to appear and show cause why the Court should not hold Codding in contempt and

 10 impose appropriate civil contempt sanctions. Pursuant to the Court’s remote hearing procedures, and

 11 in light of the ongoing COVID-19 pandemic, the hearing shall be conducted remotely via Zoom for
 12 Government, and appearances may be made using the following information:

 13         [INSERT ZOOM INFORMATION]
 14 Codding shall appear via Zoom video and may appear alongside counsel. However, Codding’s

 15 personal attendance at the hearing is required.

 16         IT IS FURTHER ORDERED that Codding may file a written response to this Order to
 17 Show Cause no later than _________, 2022, and may attach any evidence, including declarations
 18 and documents, in response to this Order to Show Cause; and the Trustee may file a reply brief no

 19 later than ________, 2022.

 20         At the hearing, Codding shall appear in person and be prepared to show cause why the Court
 21 should not issue an order:
 22         (1)     Finding Codding and his related entities, such as Rabbit Ridge Wine Sales, Inc. or
 23 Humanity Wine Company, LLC, in civil contempt of the Operate Order by disobeying the Court’s

 24 directive that all proceeds shall be paid to the Trustee prior to the payment of reimbursements;
 25         (2)     Finding Codding and his related entities, such as Rabbit Ridge Wine Sales, Inc. or
 26 Humanity Wine Company, LLC, in civil contempt of the Turnover Order by their continued use and

 27 unauthorized access to buildings, equipment, and inventory at 1172 San Marcos Road, Paso Robles,
 28 CA (“San Marcos Property”) when Codding had agreed in both a turnover stipulation and the farm




                                                                                        EXHIBIT 21
                                                                                         PAGE 382
Case 8:20-bk-13014-ES          Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                     Desc
                               Main Document   Page 387 of 392



  1 operator agreement not to access the San Marcos Property or to operate any equipment at the San

  2 Marcos Property;
  3         (3)      Finding Codding knowingly and willfully violated the automatic stay of 11 U.S.C.
  4 § 362(a)(3) by knowingly receiving and refusing to turn over funds constituting property of the

  5 Estate derived from the sale of crops on Estate properties in an amount no less than $140,960.31
  6 totaling the amounts Codding admitted to receiving in an e-mail dated December 8, 2021, and by

  7 unilaterally negotiating grape purchase agreements with third-party buyers without informing
  8 Trustee, which prevented Trustee from having sufficient knowledge and negotiating power to obtain

  9 the best result for the Estate; and

 10         (4)      Issuing coercive civil contempt sanctions under the Court’s inherent authority and
 11 pursuant to 11 U.S.C. § 105(a), including:
 12               a. Imposition of compensatory damages incurred by the Estate, to remedy the willful
 13                  violation of the Operate Order, including but not limited to the following:
 14                      i. Attorneys’ fees and costs;
 15                      ii. The entire amount of proceeds unlawfully received by Codding derived from
 16                         crops grown on property of the Estate;
 17                     iii. Any claims for unpaid farm laborers or other third-party incurred during
 18                         Codding’s period of operations in the Chapter 7 period, including but not
 19                         limited to the invoices of Miller Drilling Company and Wayne Cooper, or any
 20                         unpaid farm laborer, or any unpaid trucking or shipping company; and/or
 21                     iv. Any claims for breach of contract, if any, from third party grape purchasers
 22                         dissatisfied with the shipment of crop received in 2021.
 23               b. Disallowance of any claim of reimbursement by Codding unless and until he has paid
 24                  the compensatory damages and turned over all property of the Estate and proceeds of
 25                  property of the Estate to Trustee pursuant to 11 U.S.C. § 502(d).
 26         (5)      Directing Codding to provide, within 30 days of the entry of such order,
 27 documentation to Trustee which fully and satisfactorily explains the following:
 28               a. All direct farming expenses incurred from the date of the Operate Order (September




                                                                                          EXHIBIT 21
                                                                                           PAGE 383
Case 8:20-bk-13014-ES     Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                      Desc
                          Main Document   Page 388 of 392



  1            7, 2021) through October 31, 2021, the last date of authorized farming operations;
  2         b. To the extent that additional reimbursements are sought, an explanation and check
  3            image or other proof of payment of any actual expense reasonably related to farming
  4            operations;
  5         c. All crops and grapes harvested on Estate property for the Fall 2021 harvest, including
  6            a report for each grape varietal of acreage grown, acres and tonnage harvested, acres
  7            and tonnage shipped (including recipients), and tonnage wasted;
  8         d. All crops and grapes processed on property of the Estate, including any crops and
  9            grapes harvested from the Properties or any other grapes crushed or pressed using
 10            equipment located at the San Marcos Property after June 15, 2021;
 11         e. All proceeds of grapes or wine/inventory sales received by Codding or his related
 12            entities since June 15, 2021, including bank statements and check images, or credit
 13            card processing records;
 14         f. All subsequent expenditures, transfers, distributions, or disbursements of the proceeds
 15            of grapes received by Codding or his related entities, including but not limited to the
 16            $140,960.31 in funds that he admitted to receiving directly; and
 17         g. All grape purchase contracts for the purchase of grapes and crop from the Properties
 18            from the Petition Date through March 2022, whether or not Trustee was a party to
 19            such agreement, and whether or not such agreement was ultimately executed and
 20            performed by any party.
 21         h. Copies (front and back) of all cancelled checks or check images, where they exist, for
 22            all payments made by check – for payments not made by check, copies of proof of
 23            payment (cashier’s check, cash, credit, etc.) for any other expenses.
 24         i. All utility bills including gas, electric, power, and water which were actually paid by
 25            Codding or any related entity for the months of June 2021 through March 2022.
 26 / / /

 27 / / /
 28




                                                                                       EXHIBIT 21
                                                                                        PAGE 384
Case 8:20-bk-13014-ES         Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                      Desc
                              Main Document   Page 389 of 392



  1         (6)     Providing injunctive and declaratory relief regarding any of the foregoing, including a
  2 declaratory order finding that no other court, commission, panel, committee, or federal or state
  3 authority, has jurisdiction regarding property of the Estate and the administration of property of the

  4 Estate absent an express order from this Court pursuant to Barton v. Barbour.

  5                                                  ###
  6

  7
  8

  9

 10

 11
 12

 13

 14

 15

 16

 17
 18

 19

 20
 21
 22

 23

 24
 25
 26

 27
 28




                                                                                         EXHIBIT 21
                                                                                          PAGE 385
        Case 8:20-bk-13014-ES                    Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                       Desc
                                                 Main Document   Page 390 of 392



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled: NOTICE AND APPLICATION FOR ISSUANCE OF AN
ORDER TO SHOW CAUSE RE: CIVIL CONTEMPT FOR WILLFUL VIOLATION OF AUTOMATIC STAY AND THE
COURT’S FARM OPERATOR ORDER; MEMORANDUM OF POINTS AND AUTHORITIES; DECLARATIONS OF
RICHARD A. MARSHACK AND LORI ENSLEY; REQUEST FOR JUDICIAL NOTICE will be served or was served (a) on
the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On March
31, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On April 1, 2022, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL: Pursuant to
F.R.Civ.P. 5 and/or controlling LBR, on April 1, 2022, I served the following persons and/or entities by personal delivery,
overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission and/or
email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge
will be completed no later than 24 hours after the document is filed.

VIA PERSONAL DELIVERY:
PRESIDING JUDGE’S COPY
HONORABLE ERITHE A. SMITH
UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
RONALD REAGAN FEDERAL BUILDING AND COURTHOUSE
411 WEST FOURTH STREET, SUITE 5040 / COURTROOM 5A
SANTA ANA, CA 92701-4593

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 April 1, 2022                  Layla Buchanan                                                   /s/ Layla Buchanan
 Date                                     Printed Name                                           Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 8:20-bk-13014-ES                    Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                       Desc
                                                 Main Document   Page 391 of 392


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:
     INTERESTED PARTY COURTESY NEF: William H Brownstein Brownsteinlaw.bill@gmail.com
     INTERESTED PARTY COURTESY NEF: Steve Burnell sburnell@sulmeyerlaw.com,
       sburnell@ecf.courtdrive.com; sburnell@ecf.inforuptcy.com; mviramontes@sulmeyerlaw.com
     ATTORNEY FOR INTERESTED PARTY LEE CODDING: Robert P Goe kmurphy@goeforlaw.com,
       rgoe@goeforlaw.com; goeforecf@gmail.com
     ATTORNEY FOR U.S. TRUSTEE (SA): Nancy S Goldenberg nancy.goldenberg@usdoj.gov
     ATTORNEY FOR CREDITOR FARM CREDIT WEST, FLCA: Michael J Gomez mgomez@frandzel.com,
       dmoore@frandzel.com
     ATTORNEY FOR TRUSTEE RICHARD A MARSHACK (TR): D Edward Hays ehays@marshackhays.com,
       ehays@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com; cmendoza@marshackhays.com;
       cmendoza@ecf.courtdrive.com
     ATTORNEY FOR INTERESTED PARTY LEE CODDING: Brandon J Iskander biskander@goeforlaw.com,
       kmurphy@goeforlaw.com
     ATTORNEY FOR RESPONDENTS ERICH RUSSELL AND JOANNE RUSSELL: Kari L Ley Ley1238@att.net
     ATTORNEY FOR TRUSTEE RICHARD A MARSHACK (TR): Tinho Mang tmang@marshackhays.com,
       tmang@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com; cmendoza@ecf.courtdrive.com
     TRUSTEE RICHARD A MARSHACK (TR): Richard A Marshack (TR) pkraus@marshackhays.com,
       rmarshack@iq7technology.com; ecf.alert+Marshack@titlexi.com
     ATTORNEY FOR INTERESTED PARTY BANK DIRECT CAPITAL FINANCE: Elissa Miller
       emiller@sulmeyerlaw.com, emillersk@ecf.inforuptcy.com; ccaldwell@sulmeyerlaw.com
     ATTORNEY FOR DEBTOR NORTHERN HOLDING LLC: Roksana D. Moradi-Brovia roksana@rhmfirm.com,
       matt@rhmfirm.com; janita@rhmfirm.com; susie@rhmfirm.com; max@rhmfirm.com; priscilla@rhmfirm.com;
       pardis@rhmfirm.com; russ@rhmfirm.com; rebeca@rhmfirm.com; david@rhmfirm.com; sloan@rhmfirm.com
     ATTORNEY FOR CREDITOR ADLER BELMONT GROUP, INC.: Paul F Ready tamara@farmerandready.com
     ATTORNEY FOR DEBTOR NORTHERN HOLDING LLC: Matthew D. Resnik matt@rhmfirm.com,
       roksana@rhmfirm.com; janita@rhmfirm.com; susie@rhmfirm.com; max@rhmfirm.com; priscilla@rhmfirm.com;
       pardis@rhmfirm.com; russ@rhmfirm.com; rebeca@rhmfirm.com; david@rhmfirm.com; sloan@rhmfirm.com
     ATTORNEY FOR INTERESTED PARTY RIBOLI PASO ROBLES, LLC: Victor A Sahn
       vsahn@sulmeyerlaw.com, pdillamar@sulmeyerlaw.com; pdillamar@ecf.inforuptcy.com;
       vsahn@ecf.inforuptcy.com; cblair@sulmeyerlaw.com; cblair@ecf.inforuptcy.com
     ATTORNEY FOR TRUSTEE RICHARD A MARSHACK (TR): Kristine A Thagard kthagard@marshackhays.com,
       kthagard@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com
     UNITED STATES TRUSTEE (SA): United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
     ATTORNEY FOR CREDITOR FARM CREDIT WEST, FLCA: Reed S Waddell rwaddell@frandzel.com,
       sking@frandzel.com
     ATTORNEY FOR CREDITOR FARM CREDIT WEST, FLCA: Gerrick Warrington gwarrington@frandzel.com,
       sking@frandzel.com
     INTERESTED PARTY COURTESY NEF: David Wood dwood@marshackhays.com, dwood@ecf.courtdrive.com;
       lbuchananmh@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com

2. SERVED BY UNITED STATES MAIL: CONTINUED:
 DEBTOR                                                                       INTERESTED PARTY
 NORTHERN HOLDING, LLC                                                        LEE CODDING
 ATTN: OFFICER, A MANAGING OR GENERAL AGENT,                                  13217 JAMBOREE ROAD, #429
 OR TO ANY OTHER AGENT AUTHORIZED BY                                          TUSTIN, CA 92782
 APPOINTMENT OR LAW TO RECEIVE SERVICE
 13217 JAMBOREE RD #429
 TUSTIN, CA 92782




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 8:20-bk-13014-ES                    Doc 304 Filed 04/01/22 Entered 04/01/22 17:45:55                                       Desc
                                                 Main Document   Page 392 of 392


 ATTORNEYS FOR FARM CREDIT WEST, FLCA                                         CREDITOR (MAIL MATRIX & CA SOS WEBSITE)
 MICHAEL J. GOMEZ, REED S. WADDELL, GERRICK                                   RABBIT RIDGE WINE SALES, INC.
 WARRINGTON                                                                   ATTN: OFFICER, A MANAGING OR GENERAL AGENT,
 FRANDZEL ROBINS BLOOM & CSATO, LC                                            OR TO ANY OTHER AGENT AUTHORIZED BY
 1000 WILSHIRE BLVD, FL 19                                                    APPOINTMENT OR LAW TO RECEIVE SERVICE
 LOS ANGELES, CA 90017                                                        179 NIBLICK ROAD, #406
                                                                              PASO ROBLES, CA 93446-9693

 CREDITOR (CA SOS WEBSITE)                                                    INTERESTED PARTY (CA SOS WEBSITE)
 RABBIT RIDGE WINE SALES, INC.                                                FLUID WINE FUND LLC
 ATTN: LEROY CODDING, AGENT FOR SERVICE OF                                    ATTN: STEVEN JONES, AGENT FOR SERVICE OF
 PROCESS                                                                      PROCESS
 179 NIBLICK ROAD, SUITE 406                                                  2814 COTTAGE LANE
 PASO ROBLES, CA 93446-9693                                                   PASO ROBLES, CA 93446

 INTERESTED PARTY (CA SOS WEBSITE)                                            INTERESTED PARTY (CA SOS WEBSITE)
 FLUID WINE FUND LLC                                                          FLUID WINE FUND LLC
 ATTN: OFFICER, A MANAGING OR GENERAL AGENT,                                  ATTN: OFFICER, A MANAGING OR GENERAL AGENT,
 OR TO ANY OTHER AGENT AUTHORIZED BY                                          OR TO ANY OTHER AGENT AUTHORIZED BY
 APPOINTMENT OR LAW TO RECEIVE SERVICE                                        APPOINTMENT OR LAW TO RECEIVE SERVICE
 1244 PINE STREET, 101B                                                       179 NIBLICK ROAD, SUITE 406
 PASO ROBLES, CA 93446                                                        PASO ROBLES, CA 93446-9693

 INTERESTED PARTY (CA SOS WEBSITE)                                            INTERESTED PARTY (CA SOS WEBSITE)
 HUMANITY WINE COMPANY LLC                                                    HUMANITY WINE COMPANY LLC
 ATTN: STEVEN JONES, AGENT FOR SERVICE OF                                     ATTN: OFFICER, A MANAGING OR GENERAL AGENT,
 PROCESS                                                                      OR TO ANY OTHER AGENT AUTHORIZED BY
 2814 COTTAGE LANE                                                            APPOINTMENT OR LAW TO RECEIVE SERVICE
 PASO ROBLES, CA 93446                                                        2814 COTTAGE LANE
                                                                              PASO ROBLES, CA 93446

 INTERESTED PARTY (CA SOS WEBSITE)
 HUMANITY WINE COMPANY LLC
 ATTN: OFFICER, A MANAGING OR GENERAL AGENT,
 OR TO ANY OTHER AGENT AUTHORIZED BY
 APPOINTMENT OR LAW TO RECEIVE SERVICE
 179 NIBLICK ROAD, SUITE 326
 PASO ROBLES, CA 93446-9693




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
